Case: 22-10312, 04/25/2023, ID: 12702996, DktEntry: 36-12, Page 1 of 228




                 EXHIBIT 11
     Case: 22-10312, 04/25/2023,
     Case 5:18-cr-00258-EJD      ID: 12702996,
                              Document   1271 DktEntry:  36-12, Page
                                               Filed 01/18/22   Page 12 of
                                                                        of 227
                                                                           228
                                                                                 2775


 1

 2                           UNITED STATES DISTRICT COURT

 3                          NORTHERN DISTRICT OF CALIFORNIA

 4                                  SAN JOSE DIVISION

 5
         UNITED STATES OF AMERICA,                )   CR-18-00258-EJD
 6                                                )
                             PLAINTIFF,           )   SAN JOSE, CALIFORNIA
 7                                                )
                      VS.                         )   VOLUME 16
 8                                                )
         ELIZABETH A. HOLMES,                     )   OCTOBER 6, 2021
 9                                                )
                             DEFENDANT.           )   PAGES 2775 - 3000
10                                                )

11
                           TRANSCRIPT OF TRIAL PROCEEDINGS
12                      BEFORE THE HONORABLE EDWARD J. DAVILA
                             UNITED STATES DISTRICT JUDGE
13
        A P P E A R A N C E S:
14
        FOR THE PLAINTIFF:          UNITED STATES ATTORNEY'S OFFICE
15                                  BY: JOHN C. BOSTIC
                                         JEFFREY B. SCHENK
16                                  150 ALMADEN BOULEVARD, SUITE 900
                                    SAN JOSE, CALIFORNIA 95113
17
                                    BY:  ROBERT S. LEACH
18                                       KELLY VOLKAR
                                    1301 CLAY STREET, SUITE 340S
19                                  OAKLAND, CALIFORNIA 94612

20            (APPEARANCES CONTINUED ON THE NEXT PAGE.)

21
        OFFICIAL COURT REPORTERS:
22                              IRENE L. RODRIGUEZ, CSR, RMR, CRR
                                CERTIFICATE NUMBER 8074
23                              LEE-ANNE SHORTRIDGE, CSR, CRR
                                CERTIFICATE NUMBER 9595
24
              PROCEEDINGS RECORDED BY MECHANICAL STENOGRAPHY
25                  TRANSCRIPT PRODUCED WITH COMPUTER



                             UNITED STATES COURT REPORTERS
     Case: 22-10312, 04/25/2023,
     Case 5:18-cr-00258-EJD      ID: 12702996,
                              Document   1271 DktEntry:  36-12, Page
                                               Filed 01/18/22   Page 23 of
                                                                        of 227
                                                                           228
                                                                                 2776


 1
        A P P E A R A N C E S: (CONT'D)
 2

 3      FOR DEFENDANT HOLMES:       WILLIAMS & CONNOLLY LLP
                                    BY: KEVIN M. DOWNEY
 4                                       LANCE A. WADE
                                         KATHERINE TREFZ
 5                                       RICHARD CLEARY
                                         J.R. FLEURMONT
 6                                       ANDREW LEMENS
                                    725 TWELFTH STREET, N.W.
 7                                  WASHINGTON, D.C. 20005

 8                                  LAW OFFICE OF JOHN D. CLINE
                                    BY: JOHN D. CLINE
 9                                  ONE EMBARCADERO CENTER, SUITE 500
                                    SAN FRANCISCO, CALIFORNIA 94111
10

11      ALSO PRESENT:               FEDERAL BUREAU OF INVESTIGATION
                                    BY: ADELAIDA HERNANDEZ
12
                                    OFFICE OF THE U.S. ATTORNEY
13                                  BY: LAKISHA HOLLIMAN, PARALEGAL
                                         MADDI WACHS, PARALEGAL
14
                                    WILLIAMS & CONNOLLY
15                                  BY: TIMIKA ADAMS-SHERMAN, PARALEGAL

16                                  TBC
                                    BY:   BRIAN BENNETT, TECHNICIAN
17

18

19

20

21

22

23

24

25



                             UNITED STATES COURT REPORTERS
     Case: 22-10312, 04/25/2023,
     Case 5:18-cr-00258-EJD      ID: 12702996,
                              Document   1271 DktEntry:  36-12, Page
                                               Filed 01/18/22   Page 34 of
                                                                        of 227
                                                                           228
                                                                                 2777


 1
                                  INDEX OF PROCEEDINGS
 2
        GOVERNMENT'S:
 3

 4      ADAM ROSENDORFF
        REDIRECT EXAM BY MR. BOSTIC                       P. 2804
 5      RECROSS-EXAM BY MR. WADE                          P. 2890

 6

 7      STEVEN BURD
        DIRECT EXAM BY MR. LEACH                          P. 2938
 8

 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25



                             UNITED STATES COURT REPORTERS
     Case: 22-10312, 04/25/2023,
     Case 5:18-cr-00258-EJD      ID: 12702996,
                              Document   1271 DktEntry:  36-12, Page
                                               Filed 01/18/22   Page 45 of
                                                                        of 227
                                                                           228
                                                                                 2778


 1                                 INDEX OF EXHIBITS

 2
                                                   IDENT.        EVIDENCE
 3      GOVERNMENT'S:

 4      1113                                                     2819
        4316                                                     2846
 5      1295                                                     2849
        5417                                                     2861
 6      336                                                      2950
        370                                                      2959
 7      378                                                      2965
        387                                                      2969
 8      423                                                      2982
        5426                                                     2986
 9      495                                                      2987
        496                                                      2989
10      718                                                      2994

11

12

13      DEFENDANT'S:

14      13950                                                    2892

15

16

17

18

19

20

21

22

23

24

25



                             UNITED STATES COURT REPORTERS
                Case: 22-10312, 04/25/2023,
                Case 5:18-cr-00258-EJD      ID: 12702996,
                                         Document   1271 DktEntry:  36-12, Page
                                                          Filed 01/18/22   Page 56 of
                                                                                   of 227
                                                                                      228
                                                                                            2779


            1      SAN JOSE, CALIFORNIA                              OCTOBER 6, 2021

            2                               P R O C E E D I N G S

08:35:16    3            (COURT CONVENED AT 8:35 A.M.)

08:35:16    4            (JURY OUT AT 8:35 A.M.)

08:35:16    5                 THE COURT:     THANK YOU.    PLEASE BE SEATED.

08:35:22    6            AND WE'RE BACK ON THE RECORD IN UNITED STATES VERSUS

08:35:27    7     HOLMES.    ALL COUNSEL ARE PRESENT.       MS. HOLMES IS PRESENT.

08:35:33    8            WE'RE OUTSIDE THE PRESENCE OF THE JURY.

08:35:34    9            I THINK COUNSEL WANTED TO MEET THIS MORNING.

08:35:36   10            MR. DOWNEY, YOU HAD A QUESTION, I THINK.

08:35:40   11                 MR. DOWNEY:     I DO, YOUR HONOR.

08:35:42   12            YOUR HONOR, THIS IS RELATED TO OUR SECOND WITNESS TODAY,

08:35:46   13     THE NEW WITNESS WHO IS STEVEN BURD, WHO IS THE FORMER CEO OF

08:35:51   14     SAFEWAY.

08:35:52   15            AS THE COURT KNOWS, SAFEWAY WAS A CONTRACTUAL COUNTERPARTY

08:35:55   16     OF THERANOS UNDER AN AGREEMENT WHERE THERANOS WAS TO OPEN SITES

08:36:07   17     WITHIN SAFEWAY STORES.       THAT WAS DONE PURSUANT TO A SERIES OF

08:36:09   18     CONTRACTS UNDER WHICH SAFEWAY PAID UNDER FAIRLY COMPLEX

08:36:11   19     ARRANGEMENTS WHICH AREN'T REALLY RELEVANT TO THE DISCUSSION I

08:36:15   20     WANT TO HAVE WITH THE COURT THIS MORNING.

08:36:17   21            WE RAISED THE ISSUE, AS YOUR HONOR KNOWS, IN THE PRETRIAL

08:36:21   22     PHASE AS TO WHETHER THAT CONSTITUTED AN INVESTMENT.

08:36:24   23            THE COURT HAS ALREADY RULED THAT IT DOES, SO THERE'S NO

08:36:26   24     QUESTION, I THINK, FOR PRESENT PURPOSES THAT THE ASSUMPTION IS

08:36:29   25     THAT THE MONEY SPENT BY SAFEWAY UNDER THAT CONTRACT ARE THE



                                        UNITED STATES COURT REPORTERS
                Case: 22-10312, 04/25/2023,
                Case 5:18-cr-00258-EJD      ID: 12702996,
                                         Document   1271 DktEntry:  36-12, Page
                                                          Filed 01/18/22   Page 67 of
                                                                                   of 227
                                                                                      228
                                                                                            2780


08:36:36    1     PROPERTY OF WHICH IT WAS DEPRIVED, AND IT'S BEEN DETERMINED BY

08:36:39    2     YOUR HONOR THAT THAT WAS AN INVESTMENT.

08:36:41    3            THAT EVIDENCE I ANTICIPATE WILL ALL COME IN.

08:36:45    4            THIS DISCUSSION RELATES TO A SEPARATE SET OF EVIDENCE,

08:36:50    5     WHICH IS TESTIMONY FROM MR. BURD ABOUT RENOVATION EXPENSES THAT

08:36:53    6     SAFEWAY INCURRED TO PLACE THERANOS IN ITS STORES.

08:36:59    7            I DON'T THINK THERE'S ANY SERIOUS QUESTION THAT THAT IS

08:37:01    8     NOT AN INVESTMENT.      IT'S FAIRLY -- IT'S NOT AN INVESTMENT, NOR

08:37:05    9     IS IT PROPERTY UNDER THE WIRE FRAUD STATUTE.           I THINK THE

08:37:10   10     SUPREME COURT CASE LAW IS VERY CLEAR, INCLUDING IN THE LAST

08:37:14   11     TERM UNDER UNITED STATES VERSUS KELLY, THAT THAT DOES NOT

08:37:17   12     CONSTITUTE PROPERTY, WHICH IS -- WHICH THE VICTIM IS DEPRIVED

08:37:23   13     OF.

08:37:24   14            SO I DON'T THINK UNDER 401 IT HAS DIRECT RELEVANCE.

08:37:28   15            THAT'S NOT REALLY THE ISSUE, BECAUSE THE COURT MIGHT SAY

08:37:30   16     THERE'S SOME OTHER REASON THAT A DISCUSSION OF THAT IS

08:37:33   17     RELEVANT.

08:37:34   18            IT'S A VERY COMPLEX ISSUE, YOUR HONOR.         WE WOULD HAVE TO

08:37:39   19     PUT IN EVIDENCE REBUTTING THE REASONS WHY SAFEWAY SPENT THAT

08:37:43   20     MONEY, THERANOS'S OFFER TO ACTUALLY PAY TO LEASE THAT SPACE,

08:37:48   21     WHETHER THAT MONEY, THE DETERMINATION TO PAY THAT MONEY WAS

08:37:55   22     SAFEWAY'S OWN DECISION OR NOT.

08:37:56   23            SO WE'RE EXPOSED TO A VARIETY OF MINI TRIALS AS OPPOSED TO

08:38:00   24     PREJUDICE FROM SHOWING THE AMOUNT OF THE EXPENDITURE, WHICH IS

08:38:03   25     SAID TO BE IN THE HUNDREDS OF MILLIONS OF DOLLARS.



                                        UNITED STATES COURT REPORTERS
                Case: 22-10312, 04/25/2023,
                Case 5:18-cr-00258-EJD      ID: 12702996,
                                         Document   1271 DktEntry:  36-12, Page
                                                          Filed 01/18/22   Page 78 of
                                                                                   of 227
                                                                                      228
                                                                                            2781


08:38:06    1            SO I WOULD LIKE TO ASK THAT THAT BE EXCLUDED FROM

08:38:09    2     MR. BURD'S TESTIMONY, WHICH I THINK WILL LARGELY BE ORAL.

08:38:12    3                 THE COURT:     OKAY.   THANK YOU.

08:38:14    4            MR. LEACH, DO YOU WANT TO COMMENT ON THIS?          LET'S SEE IF

08:38:18    5     THIS -- MAYBE YOU KNOW MR. LEACH IS GOING TO GO INTO THIS.                I

08:38:22    6     DON'T KNOW.

08:38:22    7                 MR. DOWNEY:     I DON'T KNOW FOR SURE, BUT WE DID CHAT

08:38:26    8      YESTERDAY AND I SUSPECT SO.

08:38:27    9                 MR. LEACH:     WE ARE GOING TO GET INTO IT, YOUR HONOR,

08:38:30   10      ABSENT THE COURT SUSTAINING AN OBJECTION.

08:38:33   11            AND JUST TO BE CLEAR, SAFEWAY IS AN INVESTOR.           THEY

08:38:37   12     ENTERED INTO A CONTRACTUAL ARRANGEMENT WITH THERANOS WHEREBY

08:38:42   13     THEY NEED TO HAVE THE RIGHTS TO ACQUIRE CONVERTIBLE NOTES.

08:38:49   14            A NUMBER OF REPRESENTATIONS ARE MADE DIRECTLY BY

08:38:52   15     MS. HOLMES TO MR. BURD ABOUT WHAT THERANOS'S TECHNOLOGY CAN DO,

08:38:57   16     WHAT THERANOS'S FINANCIAL STATUS IS, THEIR RELATIONSHIP WITH

08:39:02   17     PHARMACEUTICAL COMPANIES, AND THE BONA FIDES OF THE TECHNOLOGY.

08:39:06   18            BASED ON THOSE STATEMENTS, SAFEWAY SPENT APPROXIMATELY

08:39:10   19     $300 MILLION BUILDING OUT ITS STORES IN ANTICIPATION OF THE

08:39:14   20     DEVICE BEING PLACED INTO THE SAFEWAY STORES.

08:39:19   21            THE AMOUNTS THAT SAFEWAY SPENDS IS DIRECTLY RELEVANT TO

08:39:23   22     THE MATERIALITY OF MS. HOLMES'S STATEMENTS.          IT SHOWS THE

08:39:27   23     SERIOUSNESS WITH WHICH SAFEWAY TOOK MS. HOLMES'S

08:39:31   24     REPRESENTATIONS IN REAL TIME.        I THINK IT'S DIRECTLY RELEVANT

08:39:36   25     TO ONE OF THE ESSENTIAL ELEMENTS OF THE OFFENSE, WHICH IS



                                        UNITED STATES COURT REPORTERS
                Case: 22-10312, 04/25/2023,
                Case 5:18-cr-00258-EJD      ID: 12702996,
                                         Document   1271 DktEntry:  36-12, Page
                                                          Filed 01/18/22   Page 89 of
                                                                                   of 227
                                                                                      228
                                                                                            2782


08:39:40    1     MATERIALITY.

08:39:41    2             AND, FRANKLY, I DON'T UNDERSTAND THE PREJUDICE OF THIS

08:39:48    3     NUMBER.

08:39:49    4             PERHAPS THERE ARE SOME ALTERNATIVE REASONS WHY SAFEWAY DID

08:39:51    5     THIS.    YOU CAN EXPLORE THAT IN CROSS-EXAMINATION.

08:39:54    6             BUT I'M TALKING ABOUT ONE, MAYBE TWO DOCUMENTS WHERE

08:39:57    7     MR. BURD MAKES REFERENCE TO THE NUMBER OR THE NUMBER OF STORES

08:40:01    8     DIRECTLY TO MS. HOLMES.       ONE OF THEM IS IN A POWERPOINT THAT

08:40:05    9     SHE HAD A HAND IN PREPARING FOR THE SAFEWAY BOARD.

08:40:09   10             AND I REALLY THINK THIS IS DIRECTLY RELEVANT TO

08:40:12   11     MATERIALITY.

08:40:13   12             IT'S ALSO DIRECTLY RELEVANT TO THE STATE OF MIND OF THE

08:40:16   13     VICTIM AND WHY IT -- ONE OF THE VICTIMS AND WHY IT DID WHAT IT

08:40:20   14     DID.

08:40:21   15             THE OBJECTION I HEAR FROM MR. DOWNEY IS THAT THERE'S

08:40:25   16     SOMEHOW SOME CONFUSION ABOUT WHAT THE MONEY OR PROPERTY THAT'S

08:40:30   17     AT ISSUE WITHIN -- FOR PURPOSES OF THE WIRE FRAUD STATUTE.

08:40:36   18             THAT CAN BE CURED WITH INSTRUCTION, AS I ANTICIPATE THE

08:40:40   19     COURT WILL DO IN FINAL INSTRUCTIONS.

08:40:42   20             BUT THE AMOUNT THAT SAFEWAY SPENDS TO BUILD OUT ITS STORES

08:40:45   21     IS DIRECTLY RELEVANT TO THE MATERIALITY OF MS. HOLMES'S

08:40:50   22     REPRESENTATIONS.      IT SHOWS THE SERIOUSNESS WITH WHICH THEY TOOK

08:40:53   23     THIS INVESTMENT IN WHAT SHE WAS SAYING, AND IT'S A VERY

08:40:57   24     IMPORTANT PIECE OF THE GOVERNMENT'S PROOF.

08:41:00   25             SO I DON'T -- I DON'T THINK THERE'S A BASIS UNDER 403 TO



                                        UNITED STATES COURT REPORTERS
                Case:
                 Case 22-10312, 04/25/2023,
                      5:18-cr-00258-EJD     ID: 12702996,
                                         Document   1271 DktEntry: 36-12, Page
                                                          Filed 01/18/22  Page 10
                                                                               9 ofof227
                                                                                      228
                                                                                            2783


08:41:03    1      EXCLUDE IT HERE.

08:41:07    2                  MR. DOWNEY:    INJECTING THOSE ISSUES INTO THIS CASE,

08:41:09    3       YOUR HONOR, REQUIRES AN EXAMINATION OF WHY SAFEWAY SPENT THAT

08:41:12    4       MONEY.

08:41:13    5             ITS DECISION TO SPEND THAT MONEY WASN'T THE RESULT OF ANY

08:41:16    6       AGREEMENT WITH THERANOS.      IT WAS THE RESULT OF ITS OWN

08:41:18    7       DECISIONS AS TO WHEN IT WOULD BUILD THOSE FACILITIES, ITS

08:41:22    8       EFFORTS TO PRESSURE THERANOS TO HAVE TECHNOLOGY READY AT

08:41:25    9       PARTICULAR POINTS IN TIME.

08:41:26   10             THAT SPACE IS, IN FACT, USED FOR OTHER PURPOSES TODAY.             IT

08:41:31   11       HAD MULTIPLE USES.      THOSE POTENTIAL USES EXISTED AT THAT TIME

08:41:35   12       AND, IN FACT, ANOTHER PROVIDER OF BLOOD TESTING SERVICES SITS

08:41:40   13       IN THAT SPACE TODAY, WHICH SAFEWAY ALWAYS KNEW WAS POSSIBLE.

08:41:44   14             SO I THINK TO GET INTO THIS ISSUE AND, YOU KNOW, SPEND

08:41:48   15      TIME ON IT IS, IS MORE WITNESSES AND MORE DAYS WHEN IT'S REALLY

08:41:52   16      NOT -- I THINK IT'S CONCEDED THAT IT'S NOT PROPERTY OF WHICH

08:41:56   17      SAFEWAY IS DEPRIVED.

08:41:57   18                  THE COURT:    IS IT THE -- MR. DOWNEY, IS IT THE NUMBER

08:42:00   19       THAT TROUBLES YOU?      IS THAT WHAT IT IS?    IS IT THE FACT THAT

08:42:05   20       SAFEWAY, EITHER IN RELIANCE OR BECAUSE OF THEIR RELATIONSHIP,

08:42:11   21       DID SOMETHING TO FURTHER THEIR SIDE OF THE AGREEMENT?

08:42:15   22             ISN'T THAT RELEVANT AND SHOULDN'T THE JURY KNOW THAT?             AND

08:42:21   23       THEN THEY CAN DECIDE WHETHER OR NOT -- ISN'T THAT A JURY

08:42:23   24       QUESTION, TO DECIDE WHETHER OR NOT THAT HAS ANY RELATION?

08:42:27   25                  MR. DOWNEY:    WELL, I THINK IT'S BOTH, YOUR HONOR,



                                        UNITED STATES COURT REPORTERS
                Case: 22-10312, 04/25/2023,
                Case 5:18-cr-00258-EJD      ID: 12702996,
                                         Document   1271 DktEntry:  36-12, Page
                                                          Filed 01/18/22   Page 10
                                                                                11 of
                                                                                   of 227
                                                                                      228
                                                                                            2784


08:42:30    1       BOTH THE PREJUDICE OF THE NUMBER, BUT ALSO DISTRACTING INTO

08:42:34    2       THAT ISSUE AS A SIDE ISSUE.

08:42:36    3             I THINK WHAT WE WOULD SAY TO YOUR HONOR IS THE NOTION --

08:42:40    4       THERE'S NO CONDUCT ON THERANOS'S PART THAT AUTHORIZES OR

08:42:45    5       ENCOURAGES SAFEWAY TO UNDERTAKE THE DECISION TO BUILD THESE

08:42:50    6       FACILITIES AT THAT TIME.      THERANOS HAS NO INVOLVEMENT IN THEIR

08:42:55    7       SUBSEQUENT USE OF THOSE PROPERTIES OF -- YOU KNOW, THOSE

08:42:58    8       RENOVATIONS FOR OTHER PURPOSES.

08:43:00    9             SO ALL OF THOSE ISSUES BECOME RELEVANT AND IT SWITCHES A

08:43:03   10      BURDEN TO US THAT I THINK IS, YOU KNOW, CUMULATIVE AND A

08:43:06   11      DISTRACTION AND WILL LEAD TO, YOU KNOW, A LOT OF EVIDENCE ON AN

08:43:12   12      ISSUE THAT'S NOT CENTRALLY RELEVANT HERE.

08:43:14   13                  THE COURT:    THANK YOU.

08:43:15   14                  MR. DOWNEY:    SO IT IS THE NUMBER, AND THAT'S A

08:43:17   15       PREJUDICE ISSUE.

08:43:17   16                  THE COURT:    RIGHT.

08:43:17   17                  MR. DOWNEY:    BUT IT'S ALSO A QUESTION OF WHAT IT'S

08:43:19   18       PUTTING INTO THIS TRIAL.

08:43:21   19                  THE COURT:    WELL, IT -- MR. LEACH SUGGESTS IF THERE

08:43:24   20       IS AN ISSUE ABOUT THAT AS TO WHETHER OR NOT THAT'S APPROPRIATE

08:43:27   21       FOR THE JURY TO CONSIDER WHEN THEY CONSIDER A WIRE FRAUD

08:43:34   22       CONDUCT, AN INSTRUCTION CAN CERTAINLY GUIDE THEM AS TO WHAT

08:43:39   23       THEY MAY OR MAY NOT USE, THE NUMBER OR ANYTHING ABOUT IT, IN

08:43:44   24       THEIR DELIBERATIONS.     WOULDN'T THAT BE PROPHYLACTIC?

08:43:47   25                  MR. DOWNEY:    YOUR HONOR, I THINK THE NOTION THAT



                                        UNITED STATES COURT REPORTERS
                Case: 22-10312, 04/25/2023,
                Case 5:18-cr-00258-EJD      ID: 12702996,
                                         Document   1271 DktEntry:  36-12, Page
                                                          Filed 01/18/22   Page 11
                                                                                12 of
                                                                                   of 227
                                                                                      228
                                                                                            2785


08:43:49    1       THERE'S A LARGE NUMBER PUT IN FRONT OF THE JURY AND THAT IT'S

08:43:52    2       CURED BY AN INSTRUCTION WOULD EVISCERATE REALLY THE PURPOSES OF

08:43:58    3       403.

08:44:00    4              I MEAN, I THINK IT'S -- WHEN YOU COMBINE THE PREJUDICE OF

08:44:03    5      THE NUMBER WITH THE FACT THAT YOU HAVE COMPLEX CIRCUMSTANCES

08:44:06    6      AROUND DECISIONS SAFEWAY MADE THAT HAVE NOTHING TO DO WITH

08:44:10    7      THERANOS, YOU KNOW, I THINK IT'S -- IT'S LEADING TO A

08:44:14    8      DISTRACTION IN THE CASE THAT WE DON'T NEED AND THAT I THINK

08:44:19    9      ISN'T NECESSARY FOR THE GOVERNMENT TO PROVE ITS CASE.

08:44:22   10              WE ALL AGREE IT'S NOT THE PROPERTY THAT'S AT ISSUE.         THEY

08:44:27   11      SAY THAT IT'S A DEMONSTRATION OF MATERIALITY.         THEY CAN ELICIT

08:44:33   12      THAT SAFEWAY BEGAN TO BUILD FACILITIES WITHOUT GETTING INTO

08:44:39   13      NUMBERS AND DETAILS ABOUT THAT.

08:44:41   14                   THE COURT:   WELL, LET -- MY SENSE IS THE NUMBER IS,

08:44:45   15       IS WHAT'S CONSUMING THE CONVERSATION HERE.

08:44:48   16              IS THERE ANY WAY TO GET THIS INFORMATION IN WITHOUT

08:44:52   17      MENTIONING A NUMBER OR MENTIONING PERHAPS A RANGE OR SOME

08:44:56   18      ALTERNATIVE, MR. LEACH?

08:44:57   19                   MR. LEACH:   I CERTAINLY COULD DO IT WITHOUT THE

08:45:00   20       NUMBER, YOUR HONOR.      BUT THE NUMBER ITSELF IS EVIDENCE OF THE

08:45:05   21       WEIGHT SAFEWAY PUT ON THE DEFENDANT'S MISREPRESENTATIONS.

08:45:10   22              SAFEWAY DIDN'T SPEND 30 BUCKS BUILDING OUT A SINGLE STORE.

08:45:14   23      IT SPENT $300 MILLION BUILDING OUT HUNDREDS OF STORES BASED ON

08:45:19   24      THIS CONTRACT, THIS INVESTMENT, THE REPRESENTATIONS OF THE

08:45:23   25      DEFENDANT.



                                        UNITED STATES COURT REPORTERS
                Case: 22-10312, 04/25/2023,
                Case 5:18-cr-00258-EJD      ID: 12702996,
                                         Document   1271 DktEntry:  36-12, Page
                                                          Filed 01/18/22   Page 12
                                                                                13 of
                                                                                   of 227
                                                                                      228
                                                                                            2786


08:45:24    1             I CAN'T THINK OF MANY THINGS MORE PROBATIVE OF

08:45:27    2      MATERIALITY --

08:45:28    3                  THE COURT:    SURE.

08:45:28    4                  MR. LEACH:    -- THAN WHAT THE VICTIM DOES IN RESPONSE

08:45:31    5       TO THOSE STATEMENTS.

08:45:32    6                  THE COURT:    SO IF THE --

08:45:33    7                  MR. LEACH:    THERE ARE A LOT OF BIG NUMBERS IN THIS

08:45:35    8       CASE, YOUR HONOR.

08:45:36    9                  THE COURT:    YEAH, WE'VE HEARD SEVERAL ALREADY.

08:45:38   10             IF THEY -- IF YOU ASKED HIM, WHAT DID YOU DO?         WE BUILT

08:45:43   11      HUNDREDS OF STORES.      DID YOU SPEND MILLIONS OF DOLLARS?       WE

08:45:47   12      DID.

08:45:48   13                  MR. LEACH:    I COULD DO IT THAT WAY, YOUR HONOR.          I

08:45:50   14       DON'T THINK IT'S NECESSARY.

08:45:51   15                  MR. DOWNEY:    WELL, YOUR HONOR, I STILL OBJECT TO

08:45:52   16       THAT.   I THINK THAT PUTS A BURDEN ON US TO SHOW THE CONTEXT IN

08:45:56   17       WHICH THOSE DECISIONS WERE MADE INTERNALLY AT SAFEWAY THAT JUST

08:46:01   18       SHOULD NOT BE PART OF THIS TRIAL.

08:46:02   19                  THE COURT:    WELL, IS THAT SOMETHING THAT YOU WOULD BE

08:46:04   20       ABLE TO PROBE WITH THIS WITNESS?

08:46:06   21                  MR. DOWNEY:    POSSIBLY.    BUT POSSIBLY NOT.

08:46:09   22             AND IT CERTAINLY WOULD INTRODUCE A BURDEN THAT SHOULDN'T

08:46:12   23       BE HERE FOR, YOU KNOW, AN EXCHANGE OF MONEY THAT HAS NOTHING TO

08:46:17   24       DO WITH THE PROPERTY THAT THIS DEFENDANT IS ACCUSED OF --

08:46:21   25                  THE COURT:    SURE, OKAY.



                                        UNITED STATES COURT REPORTERS
                Case: 22-10312, 04/25/2023,
                Case 5:18-cr-00258-EJD      ID: 12702996,
                                         Document   1271 DktEntry:  36-12, Page
                                                          Filed 01/18/22   Page 13
                                                                                14 of
                                                                                   of 227
                                                                                      228
                                                                                            2787


08:46:22    1                  MR. DOWNEY:     -- DEFRAUDING THEM OF.

08:46:26    2                  THE COURT:    ARE YOU INTENDING TO GET INTO THIS TODAY?

08:46:28    3       WILL THIS COME UP TODAY, MR. LEACH?        OF COURSE, THAT'S

08:46:31    4       DEPENDENT ON DR. ROSENDORFF'S TESTIMONY.

08:46:33    5                  MR. LEACH:    YES, I DO BELIEVE IT'LL COME UP TODAY,

08:46:36    6       YOUR HONOR.

08:46:36    7                  THE COURT:    PROBABLY NOT THIS MORNING.      MY SENSE IS

08:46:38    8       WE'RE GOING TO FINISH DR. ROSENDORFF THIS MORNING.

08:46:41    9             OKAY.   THANK YOU.    THANK YOU FOR GIVING ME THE HEADS UP.

08:46:43   10             BEFORE YOU LEAVE THE LECTERNS, I DO WANT TO TALK ABOUT A

08:46:46   11      COUPLE OF OTHER ISSUES.

08:46:48   12             APPARENTLY ONE OF THE JURORS HAS CONTACTED MS. KRATZMANN

08:46:51   13      AND THE JUROR HAS ASKED TO SPEAK WITH ME PRIVATELY.          AND I'M

08:46:59   14      INFORMED THIS IS IN REGARDS TO THIS JUROR'S THOUGHTS AND

08:47:04   15      FEELINGS ABOUT CONTINUED SERVICE AS A JUROR IN THE CASE.

08:47:09   16             I HAVEN'T RESPONDED TO THE JUROR THROUGH MS. KRATZMANN

08:47:14   17      YET.   I WANTED TO RAISE IT TO YOUR ATTENTION.

08:47:17   18             MY SENSE IS -- AND I -- MS. KRATZMANN SHARED WITH ME SOME

08:47:22   19      OF THE COMMENTS THAT THIS JUROR HAS MADE, AND IT -- IT SOUNDS

08:47:28   20      LIKE THE JUROR HAS EXPRESSED, I THINK -- I'M NOT TRYING TO

08:47:36   21      QUOTE WHAT SHE TOLD MS. KRATZMANN -- THAT IT WAS ANXIETY ABOUT

08:47:39   22      CONTINUING AND HAVING SOME CONCERNS ABOUT -- AND, AGAIN, THIS

08:47:44   23      ISSUE OF PUNISHMENT APPARENTLY CAME UP AND THIS JUROR IS

08:47:49   24      CONCERNED ABOUT PUNISHMENT AND WHETHER OR NOT HER CONTINUED

08:47:54   25      SERVICE WILL CREATE ISSUES FOR THAT.



                                        UNITED STATES COURT REPORTERS
                Case: 22-10312, 04/25/2023,
                Case 5:18-cr-00258-EJD      ID: 12702996,
                                         Document   1271 DktEntry:  36-12, Page
                                                          Filed 01/18/22   Page 14
                                                                                15 of
                                                                                   of 227
                                                                                      228
                                                                                            2788


08:47:57    1             I THINK SHE EXPRESSED SOME RELIGIOUS FEELINGS TO

08:48:01    2      MS. KRATZMANN.

08:48:02    3             SO I THINK WE NEED TO TALK WITH HER.        SHE ASKED TO SPEAK

08:48:06    4      WITH ME PRIVATELY.     I'M GOING TO TELL MS. KRATZMANN TO INFORM

08:48:10    5      THE JUROR THAT THAT'S NOT POSSIBLE, UNLESS YOU CONSENT TO THAT.

08:48:19    6             BUT WHAT I WOULD INTEND TO DO IS TO BRING HER TO THE

08:48:23    7      COURTROOM AND SEE IF I CAN ENGAGE A DIALOGUE WITH HER.           IF

08:48:28    8      SHE -- IF SHE TELLS ME THAT SHE WANTS TO SPEAK PRIVATELY

08:48:36    9      OUTSIDE THE COURTROOM, WE'LL SEE IF -- I WON'T DO THAT WITHOUT

08:48:40   10      COUNSEL PRESENT.

08:48:42   11             BUT PERHAPS WE SHOULD ENGAGE THAT BEFORE WE START OUR

08:48:45   12      EVIDENCE THIS MORNING.

08:48:47   13                  MR. LEACH:    THAT'S FINE WITH THE GOVERNMENT, YOUR

08:48:49   14       HONOR.

08:48:49   15                  THE COURT:    OKAY.

08:48:50   16                  MR. DOWNEY:    THAT'S FINE HERE, YOUR HONOR.

08:48:51   17                  THE COURT:    OKAY, GREAT.

08:48:52   18                  MR. DOWNEY:    WHILE WE'RE DISCUSSING THE JURY, I DID

08:48:55   19       WANT TO SEE IF WE SHOULD CLOSE THE LOOP ON ALTERNATE JUROR 3.

08:48:58   20       I THINK SHE WAS GOING TO GET BACK TO US.         I THINK SHE, SHE

08:49:01   21       LIKELY HAS ADDRESSED THE ISSUE, BUT I THINK FOR PURPOSES OF THE

08:49:04   22       RECORD, MAYBE WE SHOULD HAVE A FURTHER COLLOQUY WITH HER.

08:49:07   23                  THE COURT:    MS. KRATZMANN RECEIVED AN EMAIL -- YOU'RE

08:49:13   24       PRESCIENT, MR. DOWNEY -- MS. KRATZMANN RECEIVED AN EMAIL AND

08:49:18   25       THE ISSUE OF THAT EMPLOYMENT IS NO LONGER ON THE TABLE, SO SHE



                                        UNITED STATES COURT REPORTERS
                Case: 22-10312, 04/25/2023,
                Case 5:18-cr-00258-EJD      ID: 12702996,
                                         Document   1271 DktEntry:  36-12, Page
                                                          Filed 01/18/22   Page 15
                                                                                16 of
                                                                                   of 227
                                                                                      228
                                                                                            2789


08:49:21    1       WILL BE ABLE TO CONTINUE WITH HER SERVICE AS I UNDERSTAND IT.

08:49:25    2             IS THAT CORRECT, MS. KRATZMANN?

08:49:27    3                  THE CLERK:    YES, YOUR HONOR.

08:49:27    4                  THE COURT:    ALL RIGHT.

08:49:30    5             ALL RIGHT.    SO LET'S -- I'LL STAND DOWN AND WE'LL SEE IF,

08:49:33    6      IF AND WHEN THE JUROR ARRIVES, AND THEN WE'LL INVITE THAT JUROR

08:49:36    7      OUT AND WE'LL HAVE A CONVERSATION.

08:49:38    8                  MR. LEACH:    THANK YOU, YOUR HONOR.

08:49:39    9                  THE COURT:    ALL RIGHT.    THANK YOU.

08:49:40   10                  MR. DOWNEY:    THANK YOU, YOUR HONOR.

08:49:40   11                  THE CLERK:    COURT IS IN RECESS.

08:49:42   12             (RECESS FROM 8:49 A.M. UNTIL 8:57 A.M.)

08:57:46   13             (JURY OUT AT 8:57 A.M.)

08:57:48   14                  THE COURT:    ALL RIGHT.    WE'RE BACK ON THE RECORD.

08:57:57   15       ALL COUNSEL ARE PRESENT.      DR. ROSENDORFF WAS IN THE ROOM, HE'S

08:58:00   16       LEAVING NOW.

08:58:09   17             AND WE'RE OUTSIDE THE PRESENCE OF THE JURY.

08:58:15   18             MS. KRATZMANN, IF YOU COULD PLEASE BRING IN JUROR

08:58:18   19      NUMBER 4.

08:58:19   20                  THE CLERK:    YES, YOUR HONOR.

08:58:37   21             (JUROR NUMBER 4 PRESENT.)

08:58:41   22                  JUROR:   GOOD MORNING.

08:58:41   23                  THE COURT:    GOOD MORNING, JUROR NUMBER 4.       PLEASE,

08:58:44   24       SIT DOWN, PLEASE.     THANK YOU.

08:58:45   25             AND I BROUGHT YOU OUT HERE BECAUSE MS. KRATZMANN, OUR



                                        UNITED STATES COURT REPORTERS
                Case: 22-10312, 04/25/2023,
                Case 5:18-cr-00258-EJD      ID: 12702996,
                                         Document   1271 DktEntry:  36-12, Page
                                                          Filed 01/18/22   Page 16
                                                                                17 of
                                                                                   of 227
                                                                                      228
                                                                                            2790


08:58:50    1      COURTROOM DEPUTY, TOLD ME THAT YOU WANTED TO SPEAK WITH ME, AND

08:58:53    2      I'M GOING TO IDENTIFY YOU AS JUROR NUMBER 4.          AND MS. KRATZMANN

08:58:59    3      SAID YOU WANTED TO TALK WITH ME ABOUT SOMETHING ABOUT YOUR JURY

08:59:03    4      SERVICE.

08:59:05    5                   JUROR:   YES.

08:59:07    6                   THE COURT:   IF YOU COULD USE THE MICROPHONE, THAT --

08:59:10    7                   JUROR:   YES.

08:59:11    8             MY NAME IS MINH NGUYEN, AND I AM A BUDDHIST, AND SO I

08:59:15    9       PRACTICE FOR COMPASSION, YOU KNOW, FOR, LIKE, NOT KILLING

08:59:21   10       PEOPLE, FOR LOVING AND FORGIVENESS.

08:59:24   11             SO FROM BEGINNING, I ONLY THINK FOR FAIR.

08:59:28   12             BUT THEN, IF I BE FAIR FOR BOTH SIDES AND THEN MAYBE I

08:59:32   13      HAVE TO VOTE, MAYBE I HAVE TO VOTE FOR HER GUILTY, AND THEN I'M

08:59:37   14      THINKING ALL THE TIME SHE IN JAIL AND I WOULD BE SO SAD.           SO

08:59:45   15      IT'S REALLY HARD FOR ME.

08:59:47   16             FROM BEGINNING, I DIDN'T THINK ANYTHING LIKE THAT.          I JUST

08:59:51   17      THINK TO BE FAIR.

08:59:52   18             BUT NOW I'M THINKING, WHAT HAPPEN IF SHE HAVE TO BE IN

08:59:58   19      THERE FOR LONG, LONG TIME, AND THEN I AM OUT HERE.

09:00:00   20                   THE COURT:   OKAY.

09:00:01   21                   JUROR:   I FEEL LIKE IT'S MY FAULT AND I FEEL GUILTY

09:00:04   22       FOR THAT.

09:00:04   23                   THE COURT:   SO -- THANK YOU.     AND LET ME SAY, JUROR

09:00:07   24       NUMBER 4, FIRST OF ALL, YOUR RESPONSIBILITY AS A JUROR, AND ALL

09:00:15   25       OF YOUR COLLEAGUES, YOUR FELLOW JURORS, YOUR RESPONSIBILITY IS



                                         UNITED STATES COURT REPORTERS
                Case: 22-10312, 04/25/2023,
                Case 5:18-cr-00258-EJD      ID: 12702996,
                                         Document   1271 DktEntry:  36-12, Page
                                                          Filed 01/18/22   Page 17
                                                                                18 of
                                                                                   of 227
                                                                                      228
                                                                                            2791


09:00:18    1       TO ONLY DECIDE THE FACTS OF THE CASE.

09:00:23    2                  JUROR:   YEAH.

09:00:24    3                  THE COURT:    YOU ARE NOT TO DETERMINE, YOU ARE NOT TO

09:00:27    4       DETERMINE ANY PUNISHMENT AT ALL.       THAT'S FOR THE COURT TO

09:00:31    5       DECIDE.   THAT'S NOT YOUR DECISION.

09:00:34    6             DO YOU UNDERSTAND THAT?      AS A MATTER OF FACT, YOU'LL BE

09:00:38    7      INSTRUCTED THAT YOU MAY NOT CONSIDER PUNISHMENT AT ALL IN YOUR

09:00:42    8      DELIBERATIONS.

09:00:47    9                  JUROR:   BUT, YOU KNOW, I STILL FEEL -- I'M NOT -- I

09:00:56   10       KEEP THINKING ABOUT THIS EVERY DAY, EVERY TIME.

09:00:58   11                  THE COURT:    I SEE.    HAS THAT -- WELL, LET ME -- AND

09:01:01   12       THANK YOU FOR YOUR CANDOR.        THANK YOU FOR BEING HONEST.     I'M

09:01:04   13       GRATEFUL FOR YOU TELLING ALL OF US THIS.

09:01:07   14             I THINK WHAT I HEARD YOU SAY EARLIER IS YOU'RE A BUDDHIST.

09:01:11   15                  JUROR:   YES, I AM.

09:01:12   16                  THE COURT:    AND YOUR FAITH PERMITS YOU TO EXPRESS

09:01:17   17       COMPASSION.

09:01:20   18                  JUROR:   YES.

09:01:21   19                  THE COURT:    I THINK I HEARD YOU SAY THAT.

09:01:23   20                  JUROR:   YEAH.   THAT'S WHY FOR, YOU KNOW, FOR LOVING,

09:01:26   21       FORGIVENESS.

09:01:27   22                  THE COURT:    YES.   ALL RIGHT.

09:01:29   23             ARE YOU -- DO YOU THINK, MA'AM, DO YOU THINK YOU'RE ABLE

09:01:33   24      TO SEPARATE, TO SEPARATE YOUR BELIEFS, YOUR RELIGIOUS AND YOUR

09:01:40   25      PERSONAL BELIEFS, CAN YOU SEPARATE THOSE FROM YOUR JOB TO



                                        UNITED STATES COURT REPORTERS
                Case: 22-10312, 04/25/2023,
                Case 5:18-cr-00258-EJD      ID: 12702996,
                                         Document   1271 DktEntry:  36-12, Page
                                                          Filed 01/18/22   Page 18
                                                                                19 of
                                                                                   of 227
                                                                                      228
                                                                                            2792


09:01:45    1      DECIDE THE FACTS IN THIS CASE?       IS THAT SOMETHING THAT YOU CAN

09:01:48    2      DO?

09:01:49    3                  JUROR:    I -- I CAN -- YOU KNOW, THE FACTS, YOU KNOW,

09:01:55    4       I CAN DO THAT.      BUT THEN I STILL -- IF SOMETHING, YOU KNOW, IS

09:02:01    5       LIKE -- IT'S TO VOTE, AND THEN I FEEL LIKE IT'S BECOME MY, MY

09:02:09    6       VOTE IS A VOTE FOR THE FUTURE OF HERS.         SO THAT'S THE THING I

09:02:16    7       WOULD --

09:02:17    8                  THE COURT:    I SEE.   OKAY.   AND IF YOU COULD SPEAK

09:02:19    9       INTO THE MICROPHONE, PLEASE.

09:02:20   10             AND DO YOU THINK THAT THOSE FEELINGS ARE GOING TO STAY

09:02:28   11      WITH YOU IF YOU REMAIN ON THIS JURY?

09:02:30   12                  JUROR:    I CAN -- IF IN THE FUTURE, LET'S SAY, LET'S

09:02:37   13       SAY IF SHE GUILTY AND THEN, YOU KNOW, SHE GET PUNISHMENT FROM

09:02:44   14       THE GOVERNMENT AND, YOU KNOW, AND IT'S -- IT WILL STAY WITH ME

09:02:49   15       BECAUSE I KEEP THINKING OF THAT EVERY DAY --

09:02:52   16                  THE COURT:    I SEE.

09:02:54   17                  JUROR:    -- IN MY LIFE.

09:02:56   18                  THE COURT:    I SEE.   AND DO YOU THINK THAT -- IT

09:02:58   19       SOUNDS LIKE THAT'S GIVING YOU TROUBLE TO SIT AS A JUROR IN THIS

09:03:01   20       CASE.   IS THAT -- IS THAT WHAT YOU'RE FEELING NOW?         YOU'RE

09:03:09   21       FEELING PROBLEMS ABOUT SITTING AS A JUROR BECAUSE OF THAT?

09:03:12   22                  JUROR:    I CAN SIT, BUT MY -- MAY I NOT VOTE?

09:03:16   23                  THE COURT:    OKAY.    ALL RIGHT.   THANK YOU.

09:03:18   24             ALL RIGHT.    I'M GOING TO ASK THE LAWYERS IF THEY HAVE ANY

09:03:21   25      QUESTIONS FOR YOU.



                                         UNITED STATES COURT REPORTERS
                Case: 22-10312, 04/25/2023,
                Case 5:18-cr-00258-EJD      ID: 12702996,
                                         Document   1271 DktEntry:  36-12, Page
                                                          Filed 01/18/22   Page 19
                                                                                20 of
                                                                                   of 227
                                                                                      228
                                                                                            2793


09:03:23    1                  MR. SCHENK:      NO FURTHER QUESTIONS, THANK YOU.

09:03:25    2                  MR. DOWNEY:      NOT FROM US, YOUR HONOR.

09:03:26    3                  THE COURT:       ALL RIGHT.

09:03:27    4              IS THERE ANYTHING ELSE YOU WOULD LIKE ME TO KNOW?

09:03:29    5                  JUROR:     NO.   I OKAY TO SIT HERE UNTIL THE END, BUT

09:03:33    6       MY -- IF I CAN -- IF I'M NOT TO VOTE, I WILL BE OKAY.

09:03:36    7                  THE COURT:       IF YOU DON'T HAVE TO VOTE, YOU'D BE OKAY.

09:03:39    8       ALL RIGHT.    OKAY.

09:03:41    9              ALL RIGHT.   WELL, THANK YOU VERY MUCH.        THANK YOU VERY

09:03:43   10      MUCH.

09:03:43   11              YOU CAN LEAVE THE MICROPHONE, AND MS. KRATZMANN WILL TAKE

09:03:46   12      YOU BACK.

09:03:48   13                  JUROR:     THANK YOU.

09:03:48   14                  THE COURT:       YOU'RE WELCOME.

09:03:49   15                  JUROR:     THANK YOU, EVERYONE.

09:03:57   16              (JUROR NUMBER 4 NOT PRESENT.)

09:04:00   17                  THE COURT:       ALL RIGHT.   THE RECORD SHOULD REFLECT

09:04:02   18       THAT WE HAVE FINISHED OUR CONVERSATION WITH JUROR NUMBER 4.

09:04:07   19              I'M HAPPY TO HEAR FROM COUNSEL NOW.       AND YOU CAN COME UP

09:04:12   20       TO THE LECTERN.     I DON'T KNOW, MR. DOWNEY, ARE YOU SPEAKING FOR

09:04:15   21       YOUR TEAM?

09:04:15   22                  MR. DOWNEY:      YES.

09:04:17   23                  MR. SCHENK:      YOUR HONOR, I THINK WE SHOULD EXCUSE

09:04:20   24       JUROR NUMBER 4.     HER BELIEFS SEEM TO BE SINCERELY HELD.        I

09:04:25   25       FOUND IT INSIGHTFUL THAT SHE OFFERED TO STAY ON AND SIT THROUGH



                                          UNITED STATES COURT REPORTERS
                Case: 22-10312, 04/25/2023,
                Case 5:18-cr-00258-EJD      ID: 12702996,
                                         Document   1271 DktEntry:  36-12, Page
                                                          Filed 01/18/22   Page 20
                                                                                21 of
                                                                                   of 227
                                                                                      228
                                                                                            2794


09:04:28    1       THE TRIAL IF SHE DIDN'T HAVE TO VOTE, AND THAT CERTAINLY

09:04:32    2       SUGGESTS SHE'S NOT SAYING THIS TO TRY TO GET OUT OF THE REST OF

09:04:37    3       HER SERVICE, BUT INSTEAD THAT THESE ARE SINCERELY HELD BELIEFS

09:04:40    4       THAT ARE CAUSING A SIGNIFICANT AMOUNT OF STRESS AND ANXIETY,

09:04:43    5       AND THAT CERTAINLY ISN'T SOMETHING WE WANT THE TRIAL TO CAUSE.

09:04:46    6             SO WE THINK THAT SHE SHOULD BE EXCUSED.

09:04:48    7                  MR. DOWNEY:    YOUR HONOR, WE DON'T HAVE -- MOVE FOR

09:04:51    8       HER EXCUSAL, BUT WE DON'T HAVE AN OBJECTION TO IT.

09:04:53    9                  THE COURT:    ALL RIGHT.    THANK YOU.    AND THANK YOU FOR

09:04:58   10       HEARING JUROR NUMBER 4.      SHE -- WE ALL HEARD WHAT SHE SAID.

09:05:02   11       SHE DID EXPRESS HER RELIGIOUS BELIEFS.

09:05:05   12             I KNOW I READ -- I THINK I READ TO THE PANEL 7.4 EARLIER

09:05:09   13       ABOUT PUNISHMENT AND THEY MAY NOT CONSIDER PUNISHMENT.           WE HAD

09:05:14   14       ANOTHER ISSUE WITH ANOTHER JUROR AND I READ THAT AGAIN.

09:05:17   15             AND I APPRECIATE JUROR NUMBER 4'S CANDOR.         IT APPEARS THAT

09:05:22   16      HER DEEPLY HELD RELIGIOUS CONVICTIONS WOULD CAUSE HER SOME

09:05:27   17      DIFFICULTY.    THEY ARE CAUSING HER DIFFICULTY.       SHE'S EXPRESSED

09:05:33   18      SOME CONCERN, IF NOT ANXIOUSNESS, ABOUT CONTINUED SERVICE.

09:05:37   19             AND EVEN THOUGH, AS I TOLD HER, EVEN THOUGH THE PUNISHMENT

09:05:43   20      IS SOMETHING THEY MAY NOT CONSIDER, IT'S SOMETHING THAT THE

09:05:45   21      JURORS DO NOT CONSIDER, THAT'S THE COURT'S PROVINCE, THAT DID

09:05:48   22      NOT SEEM TO, TO ASSUAGE HER FROM HER FEELINGS.

09:05:55   23             SO I DO THINK IT'S APPROPRIATE AT THIS TIME TO EXCUSE

09:05:57   24      JUROR NUMBER 4, AND WE WILL EXCUSE JUROR NUMBER 4 AND WE'LL

09:06:01   25      HAVE OUR NEXT ALTERNATE MOVE IN, MS. KRATZMANN, TO THAT SEAT.



                                        UNITED STATES COURT REPORTERS
                Case: 22-10312, 04/25/2023,
                Case 5:18-cr-00258-EJD      ID: 12702996,
                                         Document   1271 DktEntry:  36-12, Page
                                                          Filed 01/18/22   Page 21
                                                                                22 of
                                                                                   of 227
                                                                                      228
                                                                                            2795


09:06:05    1                   THE CLERK:    YES, YOUR HONOR.

09:06:07    2                   THE COURT:    ALL RIGHT.

09:06:07    3                   THE CLERK:    THAT WOULD BE MS. -- JUROR NUMBER --

09:06:12    4       ALTERNATE 2.

09:06:12    5                   THE COURT:    YES, THANK YOU.

09:06:16    6             AND WE CAN INFORM -- MS. KRATZMANN, YOU'LL INFORM JUROR

09:06:19    7      NUMBER 4 OF THAT, AND PLEASE SEND HER OUR THANKS FROM COUNSEL

09:06:24    8      AND THE COURT.

09:06:25    9                   THE CLERK:    YES, YOUR HONOR.

09:06:25   10                   THE COURT:    AND WE'LL TAKE A RECESS FOR ABOUT FIVE

09:06:29   11       MINUTES TO GET THINGS SET UP AND THEN WE'LL BEGIN THE

09:06:32   12       EXAMINATION.

09:06:33   13             THANK YOU.

09:06:33   14                   MR. DOWNEY:    THANK YOU, YOUR HONOR.

09:06:34   15                   MR. SCHENK:    THANK YOU.

09:06:35   16                   THE CLERK:    COURT IS IN RECESS.

09:06:37   17             (RECESS FROM 9:06 A.M. UNTIL 9:23 A.M.)

09:23:19   18                   THE COURT:    DOCTOR, CAN I ASK YOU TO WAIT OUTSIDE?

09:23:24   19                   THE WITNESS:   SURE.

09:23:24   20                   THE COURT:    WE'RE BACK ON THE RECORD.     ALL COUNSEL

09:23:26   21       ARE PRESENT.    MS. HOLMES IS PRESENT.

09:23:31   22             THE WITNESS, DR. ROSENDORFF, IS LEAVING THE COURTROOM.

09:23:34   23             I JUST WANT TO TALK TO COUNSEL ABOUT SOMETHING.

09:23:47   24             AND THE RECORD SHOULD REFLECT DR. ROSENDORFF HAS LEFT THE

09:23:50   25      COURTROOM.



                                        UNITED STATES COURT REPORTERS
                Case: 22-10312, 04/25/2023,
                Case 5:18-cr-00258-EJD      ID: 12702996,
                                         Document   1271 DktEntry:  36-12, Page
                                                          Filed 01/18/22   Page 22
                                                                                23 of
                                                                                   of 227
                                                                                      228
                                                                                            2796


09:23:51    1              AS WE WERE COLLECTING -- AS MS. KRATZMANN WAS COLLECTING

09:23:59    2      THE JURORS TO COME AND RETURN, SHE WAS APPROACHED BY ALTERNATE

09:24:02    3      NUMBER 2, WHO WOULD REPLACE THE JUST RELEASED JUROR.          ALTERNATE

09:24:10    4      NUMBER 2 APPARENTLY EXPRESSED TO MS. KRATZMANN SIMILAR CONCERNS

09:24:14    5      ABOUT CONTINUING HER SERVICE.       SO WE'RE GOING TO BRING HER IN

09:24:23    6      AND HAVE A CONVERSATION WITH HER.

09:24:55    7              (PAUSE IN PROCEEDINGS.)

09:24:55    8                   THE CLERK:   ARE YOU READY, YOUR HONOR?

09:24:59    9                   THE COURT:   YES.

09:25:00   10                   THE CLERK:   OKAY.

09:25:04   11              (JUROR NUMBER 4, FORMER ALTERNATE JUROR NUMBER 2,

09:25:06   12      PRESENT.)

09:25:11   13                   THE COURT:   GOOD MORNING.    PLEASE BE SEATED.     THANK

09:25:13   14       YOU.    AND GOOD MORNING.

09:25:15   15              YOU ARE ALTERNATE -- ACTUALLY, YOU'RE NOW SEATED JUROR

09:25:23   16       NUMBER 4.

09:25:24   17              YOU HAD -- I UNDERSTAND YOU EXPRESSED SOME COMMENTS TO

09:25:28   18      MS. KRATZMANN, OUR COURTROOM DEPUTY, ABOUT YOUR SERVICE.

09:25:32   19                   JUROR:   YES, SIR.

09:25:33   20                   THE COURT:   YES.    WHAT WOULD YOU LIKE ME TO KNOW

09:25:35   21       ABOUT THAT?    AND PLEASE SPEAK INTO THE MICROPHONE.

09:25:37   22                   JUROR:   WELL, I PREFER TO SPEAK PRIVATELY, PLEASE.

09:25:40   23                   THE COURT:   YES.    WELL, I -- I'M NOT ABLE TO DO THAT.

09:25:44   24       I NEED TO HAVE THESE LAWYERS HERE LISTENING.

09:25:46   25                   JUROR:   IT'S OKAY.



                                         UNITED STATES COURT REPORTERS
                Case: 22-10312, 04/25/2023,
                Case 5:18-cr-00258-EJD      ID: 12702996,
                                         Document   1271 DktEntry:  36-12, Page
                                                          Filed 01/18/22   Page 23
                                                                                24 of
                                                                                   of 227
                                                                                      228
                                                                                            2797


09:25:47    1                  THE COURT:    YES, PLEASE.    SO --

09:25:49    2                  JUROR:   WELL, AS I TOLD YOU FROM THE BEGINNING,

09:25:53    3       ENGLISH IS NOT MY FIRST LANGUAGE.       AND I'M FOLLOWING ALL THE

09:25:59    4       SITUATION HERE.     IT'S MY FIRST TIME IN THIS SITUATION, AND IT'S

09:26:10    5       HER FUTURE.

09:26:12    6             I DON'T KNOW IF I'M 100 PERCENT READY TO PARTICIPATE IN

09:26:21    7      SOMETHING LIKE THIS BEING ENGLISH NOT MY FIRST LANGUAGE, AND I

09:26:28    8      COULD MAKE A MISTAKE IN SOMETHING.

09:26:30    9             SO I DON'T KNOW.

09:26:37   10                  THE COURT:    OKAY.   WELL, THANK YOU FOR TELLING US

09:26:39   11       ABOUT THIS.

09:26:40   12             FIRST OF ALL, THIS IS YOUR FIRST JURY TRIAL.         YOU'VE NEVER

09:26:45   13      SAT ON A JURY BEFORE.

09:26:46   14                  JUROR:   YES.

09:26:47   15                  THE COURT:    AND I THINK THERE ARE -- MANY OF YOUR

09:26:52   16       FELLOW JURORS HAVE THE SAME EXPERIENCE.          THE FIRST TIME FOR

09:26:59   17       ANYTHING CAN BE SOMETIMES CHALLENGING.        I UNDERSTAND THAT.

09:27:02   18             SO I HOPE YOU DON'T FEEL THAT -- AND YOU SHOULDN'T FEEL --

09:27:08   19      THAT JUST BECAUSE IT'S YOUR FIRST TIME, THAT ANY, ANY FEELINGS

09:27:13   20      YOU HAVE, NERVOUS FEELINGS ABOUT YOUR SERVICE SHOULD PRESENT A

09:27:18   21      PROBLEM.   THAT'S VERY NORMAL FOR JURORS TO BE NERVOUS ABOUT THE

09:27:26   22      PROCEEDING.

09:27:27   23             YOU TALKED ABOUT ENGLISH NOT BEING YOUR FIRST LANGUAGE.

09:27:31   24      YOU MENTIONED THAT IN YOUR QUESTIONNAIRE, AND THESE LAWYERS

09:27:34   25      HAVE HAD AN OPPORTUNITY READ YOUR QUESTIONNAIRE ABOUT THAT.



                                        UNITED STATES COURT REPORTERS
                Case: 22-10312, 04/25/2023,
                Case 5:18-cr-00258-EJD      ID: 12702996,
                                         Document   1271 DktEntry:  36-12, Page
                                                          Filed 01/18/22   Page 24
                                                                                25 of
                                                                                   of 227
                                                                                      228
                                                                                            2798


09:27:36    1      THERE WERE QUESTIONS ASKED ABOUT YOU BEFORE YOUR JURY SERVICE.

09:27:40    2             AND I THINK YOU'VE TOLD ME THAT YOU'RE FOLLOWING THINGS,

09:27:46    3      YOU'RE ABLE TO UNDERSTAND.

09:27:47    4             I THINK I MENTIONED ALSO AT THE BEGINNING OF THE TRIAL

09:27:50    5      THAT THIS COURT WHERE WE SIT, WE DRAW, WE DRAW -- WE ASK PEOPLE

09:27:58    6      TO COME IN TO SIT AS JURORS FROM MANY, MANY DIFFERENT

09:28:02    7      NEIGHBORHOODS, GEOGRAPHIC REGIONS, MANY DIFFERENT PARTS ALL THE

09:28:09    8      WAY FROM MONTEREY COUNTY UP TO SANTA CLARA COUNTY AND

09:28:12    9      EVERYTHING IN BETWEEN, SAN BENITO, SANTA CRUZ.

09:28:17   10             AND SO WE PULL PEOPLE IN FROM ALL THESE REGIONS AND WE

09:28:22   11      ENJOY THE DIVERSITY OF THOSE PEOPLE WHO COME, PEOPLE WHO COME

09:28:26   12      FROM DIFFERENT CULTURES, DIFFERENT BACKGROUNDS, DIFFERENT

09:28:29   13      GENDERS, AND OFTEN TIMES PEOPLE WHO SPEAK DIFFERENT LANGUAGES

09:28:33   14      AS THEIR PRIMARY LANGUAGE.

09:28:35   15             BUT THEY'VE COME HERE TO LIVE IN THIS AREA, AND WE RESPECT

09:28:40   16      AND ENJOY OUR COMMUNITIES THAT ARE MADE UP BY THIS RICH, RICH

09:28:47   17      COLLECTION OF INDIVIDUALS.

09:28:48   18             AND WE RECOGNIZE THAT IN OUR COUNTRY, THIS IS A COUNTRY

09:28:51   19      THAT WAS CREATED FROM IMMIGRANTS, WASN'T IT?         WE KNOW THAT.

09:28:55   20      AND WE KNOW THAT WHEN PEOPLE COME TO THE COUNTRY FROM DIFFERENT

09:28:58   21      PLACES, TO THIS COUNTRY FROM DIFFERENT PLACES, THEY BRING THEIR

09:29:03   22      CULTURE, THEIR LANGUAGE.

09:29:05   23             BUT WHEN THEY ALSO COME AND THEY SERVE THE COMMUNITY AS

09:29:09   24      YOU'RE DOING, AND AS YOU'VE DONE -- YOUR QUESTIONNAIRE INFORMS

09:29:14   25      US THAT YOUR BACKGROUND AND YOUR ABILITY TO LIVE AND WORK IN



                                        UNITED STATES COURT REPORTERS
                Case: 22-10312, 04/25/2023,
                Case 5:18-cr-00258-EJD      ID: 12702996,
                                         Document   1271 DktEntry:  36-12, Page
                                                          Filed 01/18/22   Page 25
                                                                                26 of
                                                                                   of 227
                                                                                      228
                                                                                            2799


09:29:17    1      THE COMMUNITY USING ENGLISH, WE RECOGNIZE IT'S NOT YOUR FIRST

09:29:22    2      LANGUAGE.    THESE LAWYERS RECOGNIZE THAT.

09:29:27    3             AND I THINK I ALSO MENTIONED THAT, RECOGNIZING THAT, THE

09:29:29    4      LAWYERS WILL DO THEIR BEST, NOT JUST FOR YOU, BUT FOR YOUR

09:29:34    5      FELLOW JURORS, THEY WILL DO THEIR BEST TO MAKE THE INFORMATION

09:29:40    6      ACCESSIBLE, MAKE IT UNDERSTANDABLE, TO NOT USE COMPLICATED

09:29:45    7      WORDS THAT MIGHT CONFUSE ANYONE.       THAT'S WHAT LAWYERS TRY TO

09:29:53    8      DO, TO HELP THE JURY UNDERSTAND THE EVIDENCE, NOT TO CONFUSE

09:29:59    9      THE JURY.

09:30:00   10             AND THAT'S WHAT MY SENSE IS THESE LAWYERS ARE DOING IN

09:30:03   11      THIS CASE.

09:30:05   12             NOW, THE OTHER POINT YOU RAISED, YOU MENTIONED SHE'S SO

09:30:09   13      YOUNG, AND I THINK YOU WERE REFERRING TO THE DEFENDANT,

09:30:12   14      MS. HOLMES IN THIS CASE, AND THAT SUGGESTS TO ME THAT YOU HAVE

09:30:16   15      CONCERNS ABOUT THE QUESTION OF PUNISHMENT.

09:30:24   16             AND YOU SHOULD NOT BECAUSE YOU'RE NOT PERMITTED AS A JUROR

09:30:27   17      TO EVEN CONSIDER THAT AT ALL IN YOUR DELIBERATIONS.          THAT HAS

09:30:31   18      TO BE OFF THE TABLE.     YOU ARE ONLY, AS A JUROR, THE JUDGES OF

09:30:38   19      THE FACTS.    YOU GET TO DECIDE WHAT HAPPENED OR WHAT DIDN'T

09:30:42   20      HAPPEN.   YOU GET TO DECIDE WHAT THE EVIDENCE IS, AND THEN YOU

09:30:45   21      COME AND YOU TELL, YOU TELL ME, YOU TELL THE LAWYERS, YOU TELL

09:30:48   22      THE PUBLIC WHAT YOUR JURY FINDING IS.        AND THAT'S IT.

09:30:53   23             YOU MAY NOT CONSIDER PUNISHMENT IN ANY WAY.         THAT'S

09:30:59   24      FORBIDDEN.    YOU MAY NOT DO THAT.

09:31:01   25             AND I TELL YOU THAT TO -- HOPEFULLY THAT HELPS YOU, THAT



                                        UNITED STATES COURT REPORTERS
                Case: 22-10312, 04/25/2023,
                Case 5:18-cr-00258-EJD      ID: 12702996,
                                         Document   1271 DktEntry:  36-12, Page
                                                          Filed 01/18/22   Page 26
                                                                                27 of
                                                                                   of 227
                                                                                      228
                                                                                            2800


09:31:06    1      EASES YOUR CONSCIOUS.       NUMBER ONE, YOU WON'T BE CALLED UPON TO

09:31:10    2      DECIDE PUNISHMENT IN THE CASE SHOULD THAT BECOME AN ISSUE IN

09:31:13    3      THE CASE.    THAT'S NOT -- THAT'S NOT FOR YOUR DECISION.         THE

09:31:16    4      JURY DOESN'T DECIDE THAT.

09:31:19    5             DO YOU UNDERSTAND THAT?

09:31:19    6                  JUROR:   UM-HUM.

09:31:20    7                  THE COURT:    ALL RIGHT.     DOES THAT GIVE YOU SOME MORE

09:31:23    8       CONFIDENCE, OR DOES THAT GIVE YOU SOME REASSURANCE ABOUT YOUR

09:31:27    9       CONTINUED SERVICE AS A JUROR?

09:31:29   10                  JUROR:   YES, SIR.

09:31:32   11                  THE COURT:    OKAY.     I'M GOING TO ASK THESE LAWYERS IF

09:31:34   12       THEY HAVE ANY QUESTIONS FOR YOU.

09:31:36   13                  MR. SCHENK:     THANK YOU.   JUST ONE QUESTION.

09:31:37   14                  THE COURT:    YES.

09:31:38   15                  MR. SCHENK:     I WANT TO JUST CONFIRM, YOU SAID THAT

09:31:41   16       YOU HAVE BEEN ABLE TO UNDERSTAND EVERYTHING SO FAR; IS THAT

09:31:43   17       RIGHT?

09:31:44   18                  JUROR:   YES.

09:31:45   19                  MR. SCHENK:     OKAY.   THANK YOU.

09:31:46   20                  MR. DOWNEY:     NOTHING FROM US.

09:31:47   21                  THE COURT:    OKAY.     THANK YOU.

09:31:49   22             DO YOU HAVE ANY OTHER QUESTIONS FOR ME?

09:31:51   23                  JUROR:   NO, SIR.

09:31:52   24                  THE COURT:    OKAY.     ALL RIGHT.   THANK YOU.

09:31:53   25             SO I HOPE I'VE -- AND THANK YOU FOR RAISING THIS.          THIS IS



                                        UNITED STATES COURT REPORTERS
                Case: 22-10312, 04/25/2023,
                Case 5:18-cr-00258-EJD      ID: 12702996,
                                         Document   1271 DktEntry:  36-12, Page
                                                          Filed 01/18/22   Page 27
                                                                                28 of
                                                                                   of 227
                                                                                      228
                                                                                            2801


09:31:57    1      THE APPROPRIATE THING TO DO AND I'M GRATEFUL THAT YOU TALKED TO

09:32:00    2      MS. KRATZMANN TO RAISE THIS, THIS QUESTION.          IT'S ABOUT YOUR

09:32:04    3      JURY SERVICE.

09:32:05    4             AND I JUST WANT TO INFORM YOU, IN THE STRONGEST TERMS

09:32:11    5      POSSIBLE, JURORS DO NOT DECIDE PUNISHMENT.         THAT'S NOT ANYTHING

09:32:15    6      THAT THEY SHOULD DO, THINK ABOUT, CONSIDER AT ALL WHEN THEY

09:32:20    7      DELIBERATE THE FACTS OF THE CASE.       YOU HAVE TO DECIDE WHAT

09:32:25    8      HAPPENED AND THEN YOU'LL RETURN AND YOU'LL TELL US ALL WHAT THE

09:32:29    9      JURY DECIDED IN THE CASE.

09:32:31   10             THE COURT WILL DO WHATEVER IT NEEDS TO DO AFTER IT HEARS

09:32:35   11      YOUR DECISION.    OKAY?

09:32:37   12                  JUROR:   OKAY.

09:32:37   13                  THE COURT:     ALL RIGHT.   ANY QUESTION ABOUT THAT?

09:32:39   14                  JUROR:   NO.

09:32:39   15                  THE COURT:     OKAY.   THANK YOU VERY MUCH.    THANK YOU.

09:32:42   16                  JUROR:   THANK YOU.

09:32:43   17                  THE COURT:     YOU'RE WELCOME.

09:32:51   18             (JUROR NUMBER 4, FORMER ALTERNATE JUROR NUMBER 2, NOT

09:32:54   19      PRESENT.)

09:32:55   20                  THE COURT:     ALL RIGHT.   THANK YOU.    PLEASE BE SEATED.

09:32:58   21       THANK YOU.

09:32:59   22             THE RECORD SHOULD REFLECT FORMER ALTERNATE, NOW SEATED

09:33:02   23      JUROR NUMBER 4, HAS LEFT.

09:33:08   24             ANYTHING FURTHER FROM THE GOVERNMENT?

09:33:09   25             MR. DOWNEY, YOU WANT TO COME FORWARD?



                                        UNITED STATES COURT REPORTERS
                Case: 22-10312, 04/25/2023,
                Case 5:18-cr-00258-EJD      ID: 12702996,
                                         Document   1271 DktEntry:  36-12, Page
                                                          Filed 01/18/22   Page 28
                                                                                29 of
                                                                                   of 227
                                                                                      228
                                                                                            2802


09:33:16    1                  MR. SCHENK:    YOUR HONOR, IT SEEMS LIKE THERE'S TWO

09:33:18    2       ISSUES HERE, WHETHER THERE'S A LANGUAGE BARRIER AND WHETHER HER

09:33:21    3       CONCERNS ABOUT PUNISHMENT MAKE THIS NOT THE RIGHT TRIAL FOR

09:33:28    4       HER.

09:33:28    5              I THINK THAT THAT COLLOQUY DEMONSTRATED THAT NEITHER ONE

09:33:31    6       OF THOSE AT THIS POINT ARE A BASIS TO EXCUSE THE JUROR.           SHE

09:33:34    7       CONFIRMED SHE HAS UNDERSTOOD THE CONTENT OF THE PROCEEDINGS SO

09:33:38    8       FAR AND SHE UNDERSTOOD THAT PUNISHMENT IS NOT AN ISSUE BEFORE

09:33:41    9       THE JURY AND THEY'RE NOT TO CONSIDER THAT IN THEIR

09:33:45   10       DELIBERATIONS, AND IT SEEMED TO GIVE HER A MEASURE OF COMFORT.

09:33:49   11              SO I DON'T THINK IT'S NECESSARY TO EXCUSE HER.

09:33:51   12                  MR. DOWNEY:    YOUR HONOR, I HAVE MY OWN VIEW OF THIS,

09:33:53   13       BUT MAY I JUST HAVE ONE MOMENT TO CONSULT WITH MY CLIENT?

09:33:57   14                  THE COURT:    SURE, OF COURSE.

09:34:28   15              (PAUSE IN PROCEEDINGS.)

09:34:39   16                  MR. CLINE:    YOUR HONOR, EXCUSE US JUST ONE SECOND,

09:34:42   17       PLEASE.

09:34:45   18              (DISCUSSION OFF THE RECORD AMONGST DEFENSE COUNSEL.)

09:34:45   19                  MR. DOWNEY:    IT'S ALWAYS EASIER TO AGREE.       I THINK WE

09:34:51   20       AGREE THIS JUROR SHOULD CONTINUE.

09:34:52   21                  THE COURT:    OKAY.   THANK YOU.

09:34:54   22              ALL RIGHT.   WE'LL BRING OUR PANEL IN IN JUST A MOMENT.

09:34:57   23              WE'RE NOT GOING TO MOVE THE ALTERNATE DOWN.        I THINK

09:34:59   24      IT'S -- IT MIGHT BE EASIER JUST TO ALLOW THE JUROR TO REMAIN IN

09:35:03   25      THE SEAT THAT SHE CURRENTLY OCCUPIES, AND THEN NEXT WEEK WE'RE



                                        UNITED STATES COURT REPORTERS
                Case: 22-10312, 04/25/2023,
                Case 5:18-cr-00258-EJD      ID: 12702996,
                                         Document   1271 DktEntry:  36-12, Page
                                                          Filed 01/18/22   Page 29
                                                                                30 of
                                                                                   of 227
                                                                                      228
                                                                                            2803


09:35:08    1      GOING TO DO THE LINEUP CHANGE AND -- A LINE CHANGE, AND YOU CAN

09:35:14    2      TELL MR. BOSTIC WHAT THAT IS.

09:35:17    3             (LAUGHTER.)

09:35:20    4                  MR. SCHENK:    YES, YOUR HONOR.

09:35:22    5                  THE COURT:    I'M HERE TO HELP, MR. BOSTIC.

09:35:24    6             ALL RIGHT.    THANK YOU.

09:35:25    7                  MR. SCHENK:    THANK YOU.

09:35:27    8                  THE CLERK:    COURT'S IN RECESS.

09:35:32    9             (RECESS FROM 9:35 A.M. UNTIL 9:38 A.M.)

09:38:18   10             (JURY IN AT 9:38 A.M.)

09:38:28   11                  THE COURT:    ALL RIGHT.    THANK YOU.

09:38:48   12             WE ARE BACK ON THE RECORD IN THE HOLMES MATTER.         ALL

09:38:53   13      COUNSEL ARE PRESENT, MS. HOLMES IS PRESENT.          OUR RECONSTITUTED

09:38:59   14      JURY IS PRESENT, AND ALTERNATE NUMBER 2 IS NOW JUROR NUMBER 4.

09:39:06   15      BUT WE'LL MOVE YOU NEXT WEEK WHEN WE DO A REARRANGEMENT.             THANK

09:39:10   16      YOU.

09:39:10   17             BEFORE WE BEGIN, MR. BOSTIC, I DO WANT TO INQUIRE OF THE

09:39:14   18      JURY, DURING THE BREAK, HAS ANYONE OR DID ANYONE HAVE CAUSE TO

09:39:19   19      SEE, HEAR, DISCUSS OR COME ACROSS ANY OUTSIDE INFORMATION ABOUT

09:39:25   20      THIS CASE SUCH THAT THEY'D LIKE TO INFORM ME?

09:39:28   21             IF SO, WOULD YOU PLEASE RAISE YOUR HAND AND LET ME KNOW?

09:39:33   22             AND, AGAIN, IF YOU WANT TO TALK PRIVATELY ABOUT THIS, I'M

09:39:37   23      HAPPY TO DO THAT.

09:39:38   24             I SEE NO HANDS.    THANK YOU.

09:39:41   25             DR. ROSENDORFF, IF YOU COULD PLEASE STATE YOUR NAME AGAIN



                                        UNITED STATES COURT REPORTERS
                Case: 22-10312, 04/25/2023,
                Case 5:18-cr-00258-EJD      ID: 12702996,
                                         Document   1271 DktEntry:  36-12, Page
                                                          Filed 01/18/22   Page 30
                                                                                31 of
                                                                                   of 227
                                                                                      228
                    ROSENDORFF REDIRECT BY MR. BOSTIC (RES.)                                2804


09:39:43    1      FOR THE RECORD, PLEASE.

09:39:44    2                    THE WITNESS:   ADAM ROSENDORFF.

09:39:46    3                    THE COURT:    THANK YOU.   YOU'RE STILL UNDER OATH.

09:39:49    4             (GOVERNMENT'S WITNESS, ADAM ROSENDORFF, WAS PREVIOUSLY

09:39:49    5      SWORN.)

09:39:49    6                    THE COURT:    AND MR. BOSTIC.

09:39:50    7                    MR. BOSTIC:    THANK YOU, YOUR HONOR.

09:39:52    8                          REDIRECT EXAMINATION (RESUMED)

09:39:53    9       BY MR. BOSTIC:

09:39:53   10       Q.    GOOD MORNING, DR. ROSENDORFF.

09:39:55   11       A.    GOOD MORNING, SIR.

09:39:56   12       Q.    DO YOU RECALL WHEN WE LEFT OFF YESTERDAY, WE HAD BEEN

09:39:58   13       LOOKING AT SOME EMAILS REPORTING QUALITY CONTROL FAILURE FOR

09:40:04   14       THE EDISON ANALYZERS?

09:40:05   15       A.    YES, FROM LANGLY GEE.

09:40:08   16       Q.    CORRECT.    AND DO YOU RECALL LOOKING AT AN EMAIL WHERE ON A

09:40:11   17       GIVEN DAY MORE THAN HALF OF THE EDISON ANALYZERS HAD FAILED QC?

09:40:16   18       A.    YES.

09:40:17   19       Q.    WHEN IT CAME TO QUALITY CONTROLS PROBLEMS AT THERANOS,

09:40:21   20       WERE THOSE PROBLEMS LIMITED TO THE HCG ASSAY?

09:40:25   21       A.    NO.

09:40:25   22       Q.    I'D LIKE TO SHOW YOU EXHIBIT 13809, WHICH IS IN EVIDENCE.

09:40:29   23       IF WE COULD PUBLISH THAT.

09:40:34   24             DR. ROSENDORFF, DO YOU SEE IN FRONT OF YOU A THERANOS

09:40:37   25      PRESENTATION ENTITLED QUALITY SYSTEMS PRESENTATION?



                                         UNITED STATES COURT REPORTERS
                Case: 22-10312, 04/25/2023,
                Case 5:18-cr-00258-EJD      ID: 12702996,
                                         Document   1271 DktEntry:  36-12, Page
                                                          Filed 01/18/22   Page 31
                                                                                32 of
                                                                                   of 227
                                                                                      228
                    ROSENDORFF REDIRECT BY MR. BOSTIC (RES.)                                2805


09:40:40    1       A.    YES.

09:40:41    2       Q.    DO YOU RECALL REVIEWING THIS SLIDE DECK WITH MR. WADE

09:40:45    3       DURING YOUR CROSS-EXAMINATION?

09:40:46    4       A.    YES.

09:40:46    5       Q.    LET'S TURN TO WHAT I THINK IS PAGE 12 OF THIS EXHIBIT.

09:40:54    6             AND, DR. ROSENDORFF, DO YOU SEE A SLIDE TITLED QUALITY

09:40:57    7       CONTROL IN FRONT OF YOU?

09:40:58    8       A.    YES.

09:40:59    9       Q.    WE'VE REVIEWED OTHER DOCUMENTS IN EVIDENCE DURING THIS

09:41:05   10       TRIAL THAT SPEAK TO QUALITY CONTROL FAILURE RATES OF EDISON

09:41:10   11       DEVICES; CORRECT?

09:41:11   12       A.    YES.

09:41:11   13       Q.    AS LAB DIRECTOR AT THERANOS, DID YOU HAVE A GENERAL

09:41:16   14       UNDERSTANDING OF HOW THE EDISONS PERFORMED ON QUALITY CONTROL?

09:41:21   15       A.    YES.

09:41:21   16       Q.    WHEN IT COMES TO THE SPECIFIC NUMBERS DEPICTED IN THE

09:41:25   17       EXHIBIT IN FRONT OF YOU, CAN YOU VOUCH FOR THOSE SPECIFIC

09:41:28   18       NUMBERS?

09:41:29   19       A.    NO.    MY RECOLLECTION IS NOT GOOD ENOUGH TO VOUCH FOR THOSE

09:41:37   20       NUMBERS.

09:41:37   21       Q.    I'LL DRAW YOUR ATTENTION TO THE MIDDLE SECTION OF THAT

09:41:45   22       GRAPH AND THE RIGHT MOST SECTION.       THEY BOTH LIST QUALITY

09:41:50   23       CONTROL PERFORMANCE FOR QUARTER 1 OF 2014; IS THAT RIGHT?

09:41:54   24       A.    THE -- YES, THE MIDDLE AND THE RIGHT, CORRECT.

09:41:59   25       Q.    THE MIDDLE SECTION SAYS Q1 PREDICATE.        WHAT DOES PREDICATE



                                        UNITED STATES COURT REPORTERS
                Case: 22-10312, 04/25/2023,
                Case 5:18-cr-00258-EJD      ID: 12702996,
                                         Document   1271 DktEntry:  36-12, Page
                                                          Filed 01/18/22   Page 32
                                                                                33 of
                                                                                   of 227
                                                                                      228
                    ROSENDORFF REDIRECT BY MR. BOSTIC (RES.)                                2806


09:42:03    1       MEAN IN THIS CONTEXT?

09:42:05    2       A.    THE FDA APPROVED INSTRUMENTS.

09:42:08    3       Q.    THE NON-THERANOS INSTRUMENTS?

09:42:11    4       A.    CORRECT.

09:42:11    5       Q.    WHAT ABOUT Q1 THERANOS?      WHICH INSTRUMENTS WOULD THAT

09:42:15    6       REFER TO?

09:42:15    7       A.    ALL OF THE THERANOS LABORATORY DEVELOPED TESTS.

09:42:18    8       Q.    WOULD THAT INCLUDE THE EDISONS?

09:42:20    9       A.    YES.

09:42:20   10       Q.    WOULD IT ALSO INCLUDE, TO YOUR UNDERSTANDING, THE THERANOS

09:42:23   11       MODIFIED THIRD PARTY DEVICES?

09:42:25   12       A.    YES.

09:42:25   13       Q.    DO YOU SEE THAT UNDER EACH OF THOSE HEADINGS, THERE ARE

09:42:29   14       FOUR BULLET POINTS?

09:42:30   15       A.    YES.

09:42:31   16       Q.    I'LL DRAW YOUR ATTENTION TO THE THIRD BULLET POINT DOWN IN

09:42:34   17       EACH OF THOSE.    DO YOU SEE THAT THAT LISTS CONTROLS FAILED?

09:42:38   18       A.    YES.

09:42:39   19       Q.    IS THAT REFERRING TO QUALITY CONTROL PERFORMANCE?

09:42:41   20       A.    I BELIEVE SO, YES.

09:42:42   21       Q.    UNDER PREDICATE, THIS CHART INDICATES THAT .75 PERCENT

09:42:49   22       CONTROLS FAILED.

09:42:50   23             DO YOU SEE THAT?

09:42:51   24       A.    YES.

09:42:51   25       Q.    FOR THE THERANOS DEVICES IN CONTRAST, 2.9 PERCENT CONTROLS



                                        UNITED STATES COURT REPORTERS
                Case: 22-10312, 04/25/2023,
                Case 5:18-cr-00258-EJD      ID: 12702996,
                                         Document   1271 DktEntry:  36-12, Page
                                                          Filed 01/18/22   Page 33
                                                                                34 of
                                                                                   of 227
                                                                                      228
                    ROSENDORFF REDIRECT BY MR. BOSTIC (RES.)                                2807


09:42:55    1       FAILED.

09:42:56    2             DO YOU SEE THAT?

09:42:57    3       A.    YES.

09:42:57    4       Q.    IN OTHER WORDS, THE THERANOS DEVICES FAILED CONTROLS MORE

09:43:00    5       THAN THREE TIMES AS OFTEN AS THE NON-THERANOS DEVICES ACCORDING

09:43:04    6       TO THIS?

09:43:04    7       A.    ACCORDING TO THIS, YES.

09:43:06    8       Q.    AND IS THAT GENERALLY CONSISTENT WITH YOUR RECOLLECTION OF

09:43:10    9       HOW THOSE TWO GROUPS OF ANALYZERS PERFORMED?

09:43:13   10       A.    NO.    THE MONTHLY QC FAILURE RATES I REVIEWED WITH LANGLY

09:43:20   11       SHOWED A MUCH HIGHER PERCENTAGE CONTROL FAILURE.

09:43:23   12       Q.    FOR WHICH CATEGORY OF DEVICE?

09:43:25   13       A.    JUST, JUST -- I THINK IT WAS ACROSS ALL THE DEVICES, THE

09:43:31   14       QC WAS SHOWING ACROSS ALL THE DEVICES.

09:43:34   15       Q.    HOW ABOUT WHEN IT COMES TO ANY DIFFERENCES IN PERFORMANCE

09:43:36   16       BETWEEN THE THERANOS DEVICE QUALITY CONTROL PERFORMANCE AND THE

09:43:41   17       UNMODIFIED DEVICE QUALITY CONTROL PERFORMANCE?          DID YOU SEE A

09:43:48   18       DIFFERENCE THERE AT THERANOS?

09:43:50   19       A.    YES.

09:43:50   20       Q.    AND WHAT WAS THAT DIFFERENCE?

09:43:52   21       A.    THE QUALITY CONTROL FAILED MUCH MORE FREQUENTLY ON THE

09:43:54   22       THERANOS DEVICES, OR LDT'S.

09:43:57   23       Q.    LET'S LOOK BRIEFLY AT PAGE 4 OF EXHIBIT 13809.

09:44:05   24             DO YOU SEE, DR. ROSENDORFF, A SLIDE ENTITLED THERANOS

09:44:08   25      LABORATORY LICENSURES?



                                        UNITED STATES COURT REPORTERS
                Case: 22-10312, 04/25/2023,
                Case 5:18-cr-00258-EJD      ID: 12702996,
                                         Document   1271 DktEntry:  36-12, Page
                                                          Filed 01/18/22   Page 34
                                                                                35 of
                                                                                   of 227
                                                                                      228
                    ROSENDORFF REDIRECT BY MR. BOSTIC (RES.)                                2808


09:44:09    1       A.    YES.

09:44:10    2       Q.    THE THIRD BULLET DOWN MENTIONS CLIA ARIZONA.

09:44:13    3             DO YOU SEE THAT?

09:44:14    4       A.    YES.

09:44:15    5       Q.    DID THERANOS OPERATE A LAB IN ARIZONA DURING YOUR TIME AS

09:44:18    6       LAB DIRECTOR?

09:44:19    7       A.    YES.

09:44:20    8       Q.    THIS INDICATES THAT THE LICENSE WAS RECEIVED ON JUNE 24TH,

09:44:24    9       2014.

09:44:25   10             DO YOU SEE THAT?

09:44:26   11       A.    YES.

09:44:27   12       Q.    DID YOU HAVE AN UNDERSTANDING DURING YOUR TIME AT THE

09:44:31   13       COMPANY OF WHAT KINDS OF TESTS WERE RUN IN THE ARIZONA LAB

09:44:34   14       VERSUS IN THE CALIFORNIA LAB?

09:44:36   15       A.    MY UNDERSTANDING WAS ARIZONA WAS FDA APPROVED PREDICATE

09:44:40   16       INSTRUMENTS ONLY.

09:44:42   17       Q.    SO IN OTHER WORDS, NO THERANOS SPECIFIC DEVICES IN THE

09:44:45   18       ARIZONA LAB?

09:44:46   19       A.    CORRECT.

09:44:46   20       Q.    ON THAT SAME TOPIC OF LICENSES, YOU TESTIFIED THAT

09:44:53   21       THERANOS HAD A CLIA LICENSE IN 2013 AT THE TIME OF THE LAUNCH;

09:44:57   22       IS THAT CORRECT?

09:44:58   23       A.    YES.

09:44:58   24       Q.    WHO ISSUED THAT CLIA LICENSE?

09:45:01   25       A.    LABORATORY FIELD SERVICES, STATE OF CALIFORNIA.



                                        UNITED STATES COURT REPORTERS
                Case: 22-10312, 04/25/2023,
                Case 5:18-cr-00258-EJD      ID: 12702996,
                                         Document   1271 DktEntry:  36-12, Page
                                                          Filed 01/18/22   Page 35
                                                                                36 of
                                                                                   of 227
                                                                                      228
                    ROSENDORFF REDIRECT BY MR. BOSTIC (RES.)                                2809


09:45:05    1       Q.    AND IS THERE AN AFFILIATION THERE WITH CMS?

09:45:08    2       A.    YES.    LFS PERFORMANCE INSPECTIONS ISSUES LICENSURE ON

09:45:15    3       BEHALF OF CMS.

09:45:16    4       Q.    AND DID THE GRANTING OF THAT LICENSE MEAN THAT EITHER CMS

09:45:23    5       OR LFS HAD EVALUATED AND APPROVED THE EDISON DEVICE

09:45:27    6       SPECIFICALLY?

09:45:27    7       A.    NO.

09:45:28    8       Q.    OKAY.   WE CAN TAKE THAT EXHIBIT DOWN.       THANK YOU.

09:45:33    9             I'D LIKE TO TALK BRIEFLY ABOUT A COUPLE OTHER ASSAYS OR

09:45:37   10      ASSAY CATEGORIES THAT YOU DISCUSSED WITH MR. WADE.

09:45:41   11             FIRST, DO YOU RECALL DISCUSSION YESTERDAY ABOUT A SPATE OF

09:45:44   12      LOW HDL RESULTS THAT THE THERANOS TECHNOLOGY PRODUCED?

09:45:49   13       A.    YES.

09:45:49   14       Q.    DO YOU RECALL A DISCUSSION OF THE STEPS THAT THERANOS TOOK

09:45:53   15       TO TRY AND ADDRESS THAT ISSUE?

09:45:55   16       A.    YES.

09:45:55   17       Q.    AND DO YOU RECALL THAT INCLUDING A DISCUSSION OF A STUDY

09:45:59   18       COMPARING RESULTS BETWEEN TWO DIFFERENT ADVIA MACHINES?

09:46:04   19       A.    YES.

09:46:05   20       Q.    OR AT LEAST MULTIPLE ADVIA MACHINES?

09:46:07   21       A.    YES.

09:46:08   22       Q.    CAN YOU REMIND US, WHAT KIND OF DEVICE AT THERANOS WAS

09:46:10   23       USED DURING THIS TIME TO TEST HDL?

09:46:12   24       A.    ADVIA 1800 MODIFIED FOR THE THERANOS LDT.

09:46:20   25       Q.    SO IT WAS A MODIFIED THIRD PARTY DEVICE NO LONGER IN THE



                                        UNITED STATES COURT REPORTERS
                Case: 22-10312, 04/25/2023,
                Case 5:18-cr-00258-EJD      ID: 12702996,
                                         Document   1271 DktEntry:  36-12, Page
                                                          Filed 01/18/22   Page 36
                                                                                37 of
                                                                                   of 227
                                                                                      228
                    ROSENDORFF REDIRECT BY MR. BOSTIC (RES.)                                2810


09:46:24    1       FDA APPROVED CATEGORY?

09:46:25    2       A.    CORRECT.   AS SOON AS YOU MAKE A MODIFICATION TO AN FDA

09:46:30    3       APPROVED DEVICE, IT IMMEDIATELY BECOMES A LABORATORY DEVELOPED

09:46:33    4       TEST.

09:46:34    5       Q.    YESTERDAY YOU MENTIONED THAT THAT STUDY SHOWED SOME

09:46:42    6       VARIATION BETWEEN ADVIA INSTRUMENTS WHEN IT CAME TO HDL.

09:46:47    7             DO YOU RECALL THAT?

09:46:48    8       A.    YES.

09:46:49    9       Q.    DO YOU RECALL WHETHER THE SAMPLE TYPE, VEIN OR

09:46:54   10       FINGERSTICK, HAD ANY EFFECT IN THAT STUDY ON THE LEVEL OF

09:46:58   11       VARIATION BETWEEN THOSE DEVICES?

09:46:59   12       A.    YES, IT DID.    THE VARIATION COMPARING VENOUS TO

09:47:06   13       FINGERSTICK WAS MUCH MORE PRONOUNCED WHEN FINGERSTICK SAMPLES

09:47:09   14       WERE ASSAYED ON EITHER INSTRUMENT.

09:47:12   15             THERE'S DATA TO THAT EFFECT.

09:47:16   16       Q.    AND HOW DID THERANOS ACTUALLY TEST HDL IN THE LAB?          WAS IT

09:47:21   17       ON VEIN SAMPLES ON THE MODIFIED SIEMENS ADVIA OR DID THEY USE

09:47:26   18       FINGERSTICK SAMPLES?

09:47:27   19       A.    FINGERSTICK.

09:47:28   20       Q.    DOES THAT MEAN THAT USING THE THERANOS APPROACH ON THESE

09:47:34   21       DEVICES ACTUALLY MADE THE DEVICES PERFORM WORSE?

09:47:38   22       A.    YES.   IT -- IT INCREASED THE, THE DIFFERENCES IN RESULTS

09:47:49   23       BETWEEN INSTRUMENTS.

09:47:51   24       Q.    AND ARE THOSE KINDS OF DIFFERENCES AND RESULTS BETWEEN

09:47:56   25       INSTRUMENTS SOMETHING THAT'S GOOD TO SEE IN A BLOOD TESTING LAB



                                         UNITED STATES COURT REPORTERS
                Case: 22-10312, 04/25/2023,
                Case 5:18-cr-00258-EJD      ID: 12702996,
                                         Document   1271 DktEntry:  36-12, Page
                                                          Filed 01/18/22   Page 37
                                                                                38 of
                                                                                   of 227
                                                                                      228
                    ROSENDORFF REDIRECT BY MR. BOSTIC (RES.)                                2811


09:47:59    1       OR BAD?

09:47:59    2       A.    BAD.

09:48:03    3       Q.    MR. WADE SUGGESTED TO YOU ON CROSS-EXAMINATION THAT THE

09:48:07    4       HDL PROBLEMS AT THERANOS WERE NOT THERANOS ASSAY PROBLEMS.

09:48:11    5             DO YOU RECALL THAT?

09:48:12    6       A.    SORRY.   I -- MR. WADE SUGGESTED THAT?

09:48:16    7       Q.    DO YOU RECALL A DISCUSSION ABOUT WHETHER THE HDL PROBLEMS

09:48:19    8       AT THERANOS WERE THERANOS ASSAY PROBLEMS OR NOT?

09:48:24    9       A.    YES.

09:48:25   10       Q.    WHAT WAS YOUR CONCLUSION AT THE TIME AS TO WHETHER THIS

09:48:29   11       REPRESENTED A PROBLEM WITH THE ASSAY OR NOT?

09:48:31   12       A.    I THOUGHT THERE WAS A PROBLEM WITH THE ASSAY.

09:48:33   13       Q.    MR. WADE, ON CROSS-EXAMINATION, SAID, I THINK, THAT HE

09:48:42   14       DIDN'T WANT TO HEAR YOUR ANALYSIS CURRENTLY.

09:48:45   15             I WOULD, THOUGH.     HOW DO YOU REACH THAT CONCLUSION THAT

09:48:49   16      THE HDL ISSUES WERE PROBLEMS WITH THE THERANOS ASSAY?

09:48:52   17       A.    SO WE, WE DID A STUDY WITH MATCHED VENOUS AND FINGERSTICK

09:49:06   18       WHERE THE RESULTS SHOULD BE VERY CLOSE TO EACH OTHER, COMPARING

09:49:11   19       ON EACH INSTRUMENT JUST LOOKING FROM INSTRUMENT TO INSTRUMENT.

09:49:15   20       THE VENOUS AND FINGERSTICK RESULT SHOULD BE PRETTY CLOSE, EVEN

09:49:19   21       IF THERE ARE DIFFERENCES BETWEEN THE TWO INSTRUMENTS.           IF YOU

09:49:21   22       JUST LOOK AT ONE INSTRUMENT, THOSE RESULTS SHOULD MATCH PRETTY

09:49:25   23       CLOSELY, AND THEY WEREN'T MATCHING.

09:49:26   24             SO TO MY MIND, THAT INDICATED A PROBLEM WITH -- THAT THE

09:49:31   25       ASSAY -- THE OTHER ISSUE WAS -- YEAH, I'LL JUST LEAVE IT THERE,



                                        UNITED STATES COURT REPORTERS
                Case: 22-10312, 04/25/2023,
                Case 5:18-cr-00258-EJD      ID: 12702996,
                                         Document   1271 DktEntry:  36-12, Page
                                                          Filed 01/18/22   Page 38
                                                                                39 of
                                                                                   of 227
                                                                                      228
                    ROSENDORFF REDIRECT BY MR. BOSTIC (RES.)                                2812


09:49:34    1       YEAH.

09:49:35    2       Q.    I DON'T WANT TO CUT YOU OFF, THOUGH.

09:49:36    3       A.    NO.

09:49:38    4       Q.    PLEASE COMPLETE YOUR ANSWER.

09:49:40    5       A.    THAT'S FINE, YEAH.

09:49:41    6       Q.    LET'S TALK NEXT ABOUT ISE ASSAYS.       DO YOU RECALL A

09:49:46    7       DISCUSSION ON CROSS-EXAMINATION ABOUT THAT CATEGORY?

09:49:48    8       A.    YES.

09:49:49    9       Q.    IF WE COULD BRING UP, PLEASE, EXHIBIT 13893, WHICH IS IN

09:49:52   10       EVIDENCE.

09:50:01   11             DR. ROSENDORFF, DO YOU SEE AN EMAIL IN FRONT OF YOU THAT'S

09:50:03   12      DATED MAY 24TH, 2014?

09:50:07   13       A.    YES.

09:50:08   14       Q.    AND DO YOU RECALL DISCUSSING THIS EMAIL CHAIN ABOUT ISE'S

09:50:13   15       WITH MR. WADE ON CROSS?

09:50:14   16       A.    YES.

09:50:15   17       Q.    LET'S GO TO PAGE 2 OF THIS EMAIL, PLEASE.         AND LET'S ZOOM

09:50:24   18       IN ON THE -- SEE IF WE CAN CAPTURE ALL THAT TEXT IN DR. YOUNG'S

09:50:29   19       EMAIL.

09:50:32   20             AND, DR. ROSENDORFF, I WANT TO DRAW YOUR ATTENTION TO

09:50:35   21      ABOUT HALFWAY DOWN THAT SELECTION WHERE IT SAYS "ADDITIONAL

09:50:38   22      ISSUES THAT I PLAN TO HAVE THE TEAM ADDRESS."

09:50:41   23             DO YOU SEE THAT?

09:50:43   24       A.    YES.

09:50:43   25       Q.    THE BULLET POINT UNDER THAT SAYS "WE HAVE SEEN THAT



                                        UNITED STATES COURT REPORTERS
                Case: 22-10312, 04/25/2023,
                Case 5:18-cr-00258-EJD      ID: 12702996,
                                         Document   1271 DktEntry:  36-12, Page
                                                          Filed 01/18/22   Page 39
                                                                                40 of
                                                                                   of 227
                                                                                      228
                    ROSENDORFF REDIRECT BY MR. BOSTIC (RES.)                                2813


09:50:47    1       DILUTED VENOUS SAMPLES HAVE MUCH BETTER PRECISION THAN DILUTED

09:50:52    2       PCTN/CAPILLARY SAMPLES."

09:50:55    3             DO YOU SEE THAT?

09:50:57    4       A.    YES.

09:50:57    5       Q.    CAN YOU EXPLAIN IN PLAIN LANGUAGE WHAT THAT'S SAYING?

09:51:01    6       A.    SO JUST TO TRY TO EXPLAIN IT TO THE JURY, PRECISION MEANS

09:51:05    7       WHEN YOU TAKE A SAMPLE AND YOU DO REPEATED MEASUREMENT OF IT

09:51:08    8       AND YOU MAKE SURE THAT THE RESULT MATCHES EACH TIME YOU

09:51:14    9       MEASURE.     THAT'S WHAT PRECISION IS.

09:51:16   10             SO DANIEL IS DOING PRECISION ON DILUTED VENOUS BLOOD, AND

09:51:22   11      HE'S ALSO LOOKING AT PRECISION FOR THE -- FOR THIS -- WITH

09:51:28   12      THESE ISE ASSAYS ON CAPILLARY SAMPLES AND HE'S SAYING THAT THE

09:51:33   13      PRECISION IS MUCH BETTER WITH THE DILUTED VENOUS BLOOD THAN

09:51:37   14      WITH THE CAPILLARY BLOOD SAMPLES.

09:51:39   15       Q.    IS CAPILLARY ANOTHER WAY TO DESCRIBE FINGERSTICK SAMPLES?

09:51:42   16       A.    YES.

09:51:42   17       Q.    AND HOW DID THERANOS TEST ISE ANALYTES AT THIS TIME?          WAS

09:51:53   18       IT THROUGH VENOUS SAMPLES OR FINGERSTICK SAMPLES?

09:51:56   19       A.    FINGERSTICK.

09:51:57   20       Q.    THE KIND OF SAMPLE THAT WAS SHOWING HIGHER VARIABILITY; IS

09:52:01   21       THAT RIGHT?

09:52:02   22       A.    CORRECT.

09:52:02   23       Q.    THE BULLET POINT DOWN TOWARDS THE BOTTOM OF THE SELECTION

09:52:06   24       SAYS, "WE STARTED THIS WEEK MEASURING LITHIUM IN OUR

09:52:14   25       PCTN/CAPILLARY SAMPLES" --



                                         UNITED STATES COURT REPORTERS
                Case: 22-10312, 04/25/2023,
                Case 5:18-cr-00258-EJD      ID: 12702996,
                                         Document   1271 DktEntry:  36-12, Page
                                                          Filed 01/18/22   Page 40
                                                                                41 of
                                                                                   of 227
                                                                                      228
                    ROSENDORFF REDIRECT BY MR. BOSTIC (RES.)                                2814


09:52:15    1       A.    YES.

09:52:16    2       Q.    -- "TO ASSESS HEPARIN CONCENTRATIONS."

09:52:18    3             DO YOU SEE THAT?

09:52:18    4       A.    YES.

09:52:19    5       Q.    "INITIAL DATA SUGGEST A WIDE RANGE OF CONCENTRATIONS IN

09:52:22    6       OUR CAPILLARY SAMPLES, AND POSSIBLY CONCENTRATIONS THAT ARE

09:52:24    7       VERY HIGH."

09:52:25    8             DO YOU SEE THAT?

09:52:27    9       A.    YES.

09:52:27   10       Q.    AND HE SAYS THEY'RE CONTINUING TO WORK ON THAT; IS THAT

09:52:30   11       RIGHT?

09:52:30   12       A.    YES.

09:52:31   13       Q.    BASED ON THAT, WAS IT YOUR UNDERSTANDING, OR IS IT YOUR

09:52:33   14       UNDERSTANDING THAT THE ISE ISSUES AT THERANOS WERE SOLVED AT

09:52:37   15       THIS TIME, OR WAS THERE MORE WORK TO BE DONE?

09:52:40   16       A.    MORE WORK TO BE DONE.

09:52:41   17       Q.    WHEN IT COMES TO DIFFERENCES IN BEHAVIOR BETWEEN

09:52:49   18       FINGERSTICK SAMPLES AND VEIN SAMPLES, WAS THAT A RECURRING

09:52:53   19       SOURCE OF DIFFICULTY OR PROBLEMS AT THERANOS?

09:52:55   20       A.    YES.

09:52:56   21       Q.    OKAY.   WE CAN PUT THAT EXHIBIT ASIDE.       THANK YOU.

09:53:06   22             I'D LIKE TO TALK BRIEFLY ABOUT THE BICARBONATE ASSAY.             DO

09:53:10   23      YOU REMEMBER DISCUSSING THAT WITH MR. WADE?

09:53:13   24       A.    YES.

09:53:14   25       Q.    DO YOU RECALL A DISCUSSION OF A STUDY THAT DANIEL YOUNG



                                        UNITED STATES COURT REPORTERS
                Case: 22-10312, 04/25/2023,
                Case 5:18-cr-00258-EJD      ID: 12702996,
                                         Document   1271 DktEntry:  36-12, Page
                                                          Filed 01/18/22   Page 41
                                                                                42 of
                                                                                   of 227
                                                                                      228
                    ROSENDORFF REDIRECT BY MR. BOSTIC (RES.)                                2815


09:53:16    1       WAS DOING TO TRY AND ADDRESS PROBLEMS THAT THERANOS WAS HAVING

09:53:19    2       WITH THE BICARBONATE TEST?

09:53:21    3       A.    I DON'T RECALL THAT SPECIFICALLY.

09:53:26    4       Q.    ARE YOU GENERALLY -- LET ME START AGAIN.

09:53:31    5             DURING YOUR TIME AT THERANOS, WERE YOU GENERALLY AWARE OF

09:53:34    6      STUDIES THAT DR. YOUNG WOULD CONDUCT TO TRY TO ADDRESS ACCURACY

09:53:39    7      AND RELIABILITY PROBLEMS THAT POPPED UP WITH THERANOS TESTS?

09:53:42    8       A.    YES, CONTINUALLY.

09:53:44    9       Q.    THAT WAS A COMMON OCCURRENCE OR SITUATION AT THERANOS?

09:53:47   10       A.    VERY COMMON, YES.

09:53:48   11       Q.    AS A WHOLE, DID DR. YOUNG'S STUDIES GIVE YOU ANY REASON TO

09:53:55   12       DOUBT YOUR ULTIMATE DECISION TO LEAVE THE COMPANY IN 2014?

09:53:59   13       A.    NO.

09:54:00   14       Q.    WHY NOT?

09:54:01   15       A.    FREQUENTLY THE TROUBLESHOOTING WOULD BE DONE ON VENOUS

09:54:07   16       BLOOD, DILUTED VENOUS BLOOD, WHEREAS ACTUAL PATIENT SAMPLES WAS

09:54:11   17       CAPILLARY BLOOD COLLECTED IN CTN.

09:54:14   18             SO THE TROUBLESHOOTING DIDN'T CAPTURE ISSUES WITH BLOOD

09:54:19   19      COLLECTION.

09:54:25   20             NOT TO BE TOO CRITICAL, BUT AT TIMES I DIDN'T FULLY TRUST

09:54:29   21      THE DATA THAT WAS COMING OUT OF R&D FOR TROUBLESHOOTING.

09:54:35   22             EVEN AFTER THE SO-CALLED FIXES, I WAS STILL SEEING

09:54:39   23      ANOMALIES IN THE RESULTS, TOO MANY COMING OUT HIGH OR LOW, NOT

09:54:45   24      MATCHING UP WITH OTHER REFERENCE LABORATORIES, ET CETERA.

09:54:49   25       Q.    AND ARE YOU REFERRING TO --



                                        UNITED STATES COURT REPORTERS
                Case: 22-10312, 04/25/2023,
                Case 5:18-cr-00258-EJD      ID: 12702996,
                                         Document   1271 DktEntry:  36-12, Page
                                                          Filed 01/18/22   Page 42
                                                                                43 of
                                                                                   of 227
                                                                                      228
                    ROSENDORFF REDIRECT BY MR. BOSTIC (RES.)                                2816


09:54:51    1                    MR. WADE:    YOUR HONOR, I MOVE TO STRIKE THAT LAST

09:54:53    2       ANSWER.

09:54:54    3                    MR. BOSTIC:   I THINK IT'S DIRECTLY RESPONSIVE, YOUR

09:54:57    4       HONOR.

09:54:57    5                    THE COURT:    OVERRULED.

09:55:00    6       BY MR. BOSTIC:

09:55:01    7       Q.    DR. ROSENDORFF, WHEN YOU SAY THAT YOU SAW CONTINUED

09:55:06    8       PROBLEMS NOT MATCHING UP TO REFERENCE LABS -- IS THAT WHAT YOU

09:55:11    9       JUST SAID?

09:55:11   10       A.    YES.

09:55:12   11       Q.    ARE YOU REFERRING TO RESULTS THAT YOU SAW FROM PATIENT

09:55:16   12       TESTING AT THERANOS?

09:55:17   13       A.    YES.

09:55:18   14       Q.    I'D LIKE TO SHIFT GEARS AND TALK ABOUT THE TIMING OF WHEN

09:55:26   15       THERANOS BEGAN OFFERING ITS TESTING SERVICES.

09:55:30   16             DO YOU RECALL SOME DISCUSSION ON CROSS-EXAMINATION ABOUT

09:55:34   17      WHEN THERANOS ACTUALLY LAUNCHED ITS SERVICES?

09:55:37   18       A.    YES.

09:55:37   19       Q.    DURING YOUR DIRECT EXAMINATION, WE TALKED ABOUT A DATE

09:55:43   20       THAT WAS IN YOUR MIND IN THE FIRST PART OF SEPTEMBER.

09:55:50   21             DO YOU RECALL THAT?

09:55:51   22       A.    YES.

09:55:51   23       Q.    AND THERE WAS A QUESTION ABOUT, OR A SERIES OF QUESTIONS

09:55:54   24       FROM MR. WADE ABOUT WHETHER THAT WAS A TRUE LAUNCH OR A SOFT

09:55:56   25       LAUNCH I THINK HE SAID.



                                         UNITED STATES COURT REPORTERS
                Case: 22-10312, 04/25/2023,
                Case 5:18-cr-00258-EJD      ID: 12702996,
                                         Document   1271 DktEntry:  36-12, Page
                                                          Filed 01/18/22   Page 43
                                                                                44 of
                                                                                   of 227
                                                                                      228
                    ROSENDORFF REDIRECT BY MR. BOSTIC (RES.)                                2817


09:55:58    1             DO YOU RECALL THAT DISCUSSION?

09:55:59    2       A.    YES.

09:55:59    3       Q.    I'D LIKE YOU TO LOOK AT EXHIBIT 5407, WHICH IS IN

09:56:03    4       EVIDENCE.

09:56:08    5             IF WE COULD PUBLISH THAT, AND IF WE COULD ZOOM IN ON THE

09:56:15    6       BOTTOM HALF OF THIS PAGE, PLEASE.

09:56:21    7             OKAY.   DR. ROSENDORFF, YOU ARE NOT ON THIS EMAIL; CORRECT?

09:56:25    8       A.    CORRECT.

09:56:26    9       Q.    DO YOU SEE AN EMAIL AT THE TOP OF THAT SELECTION FROM

09:56:32   10       ELIZABETH HOLMES TO JIM, AND IT'S ADDRESSED TO GENERAL MATTIS?

09:56:36   11       A.    YES.

09:56:37   12       Q.    AND THE DATE IS SEPTEMBER 7TH, 2013; CORRECT?

09:56:40   13       A.    YES.

09:56:43   14       Q.    TWO DAYS BEFORE THE SEPTEMBER 9TH DATE THAT YOU

09:56:45   15       IDENTIFIED?

09:56:46   16       A.    CORRECT.

09:56:47   17       Q.    AND MS. HOLMES SAYS IN HER EMAIL, "GENERAL MATTIS, FYI,

09:56:53   18       THE BELOW WILL GO OUT TO OUR SHAREHOLDERS TONIGHT.          WE HAVE

09:56:56   19       BEGUN THE LAUNCH."

09:56:57   20             DO YOU SEE THAT?

09:56:58   21       A.    YES.

09:56:59   22       Q.    BELOW THAT, THERE'S A MESSAGE FROM MS. HOLMES APPARENTLY

09:57:02   23       TO THERANOS SHAREHOLDERS.

09:57:04   24             DO YOU SEE THAT?

09:57:04   25       A.    YES.



                                        UNITED STATES COURT REPORTERS
                Case: 22-10312, 04/25/2023,
                Case 5:18-cr-00258-EJD      ID: 12702996,
                                         Document   1271 DktEntry:  36-12, Page
                                                          Filed 01/18/22   Page 44
                                                                                45 of
                                                                                   of 227
                                                                                      228
                    ROSENDORFF REDIRECT BY MR. BOSTIC (RES.)                                2818


09:57:05    1       Q.    AND THAT MESSAGE SAYS, "TO OUR SHAREHOLDERS, I AM

09:57:09    2       DELIGHTED TO SHARE THAT WE HAVE NOW BEGUN THE COMMERCIAL LAUNCH

09:57:11    3       OF THE NEW PRODUCTS AND SERVICES WE'VE BEEN WORKING ON FOR THE

09:57:14    4       PAST YEARS."

09:57:15    5             DO YOU SEE THAT?

09:57:16    6       A.    YES.

09:57:17    7       Q.    DO YOU SEE ANY MENTION OF A SOFT LAUNCH IN THIS MESSAGE?

09:57:20    8       A.    NO.

09:57:20    9       Q.    I'D LIKE TO SHOW YOU WHAT WE'VE MARKED AS EXHIBIT 1113,

09:57:33   10       AND I'M HANDING A COPY OF THAT TO THE COURT, AS WELL AS THE

09:57:35   11       NEXT FEW EXHIBITS THAT I'D LIKE TO INTRODUCE (HANDING).

09:57:39   12             THESE HAVE BEEN PROVIDED TO THE DEFENSE ALREADY.

09:57:49   13             MAY I APPROACH THE WITNESS, YOUR HONOR?

09:57:51   14                    THE COURT:    YES.

09:57:53   15                    MR. BOSTIC:    (HANDING.)

09:57:55   16                    THE WITNESS:    THANK YOU.

09:57:56   17       BY MR. BOSTIC:

09:57:57   18       Q.    DR. ROSENDORFF, DO YOU HAVE EXHIBIT 1113 IN FRONT OF YOU?

09:58:00   19       A.    YES.

09:58:00   20       Q.    OKAY.    AND I'LL GIVE YOU A SECOND TO LOOK IT OVER, BUT CAN

09:58:05   21       YOU TELL ME GENERALLY WHAT IT IS?

09:58:07   22       A.    IT APPEARS TO BE A PRESS RELEASE THAT'S DATED

09:58:22   23       SEPTEMBER 9TH, 2013.        IT APPEARS TO BE A JOINT PRESS RELEASE

09:58:27   24       BETWEEN THERANOS AND WALGREENS, AND STATING THAT THERANOS IS

09:58:33   25       NOW ABLE TO --



                                         UNITED STATES COURT REPORTERS
                Case: 22-10312, 04/25/2023,
                Case 5:18-cr-00258-EJD      ID: 12702996,
                                         Document   1271 DktEntry:  36-12, Page
                                                          Filed 01/18/22   Page 45
                                                                                46 of
                                                                                   of 227
                                                                                      228
                    ROSENDORFF REDIRECT BY MR. BOSTIC (RES.)                                2819


09:58:34    1       Q.    AND ACTUALLY, BEFORE YOU GET INTO THE CONTENTS, APOLOGIES.

09:58:37    2       A.    OH, I'M SORRY.

09:58:39    3       Q.    IS IT GENERALLY ON THE LAUNCH OF TESTING SERVICES?

09:58:42    4       A.    YES.

09:58:42    5                    MR. BOSTIC:   YOUR HONOR, THE GOVERNMENT MOVES TO

09:58:43    6       ADMIT EXHIBIT 1113.

09:58:45    7                    MR. WADE:    NO OBJECTION, YOUR HONOR.

09:58:46    8                    THE COURT:    IT'S ADMITTED, IT MAY BE PUBLISHED.

09:58:48    9             (GOVERNMENT'S EXHIBIT 1113 WAS ADMITTED IN EVIDENCE.)

09:58:49   10       BY MR. BOSTIC:

09:59:01   11       Q.    AND, DR. ROSENDORFF, DO YOU SEE THAT AT THE TOP OF THAT

09:59:05   12       PAGE, THIS IS A PRESS RELEASE DATED SEPTEMBER 9TH, 2013?

09:59:08   13       A.    YES.

09:59:09   14       Q.    THAT SEPTEMBER 9TH DATE, IS THAT THE DATE THAT YOU

09:59:13   15       RECALLED AS BEING THE LAUNCH DATE?

09:59:15   16       A.    YES.

09:59:15   17       Q.    THAT FIRST PARAGRAPH READS, "THERANOS, INCORPORATED AND

09:59:21   18       WALGREENS TODAY ANNOUNCED A LONG-TERM PARTNERSHIP TO BRING

09:59:24   19       ACCESS TO THERANOS'S NEW LAB TESTING SERVICE THROUGH WALGREENS

09:59:28   20       PHARMACIES NATIONWIDE."

09:59:30   21             DO YOU SEE THAT?

09:59:31   22       A.    YES.

09:59:31   23       Q.    IT SAYS, "AS THE SERVICE BECOMES AVAILABLE THROUGH

09:59:35   24       THERANOS WELLNESS CENTERS INSIDE WALGREENS STORES, CONSUMERS

09:59:38   25       WILL BE ABLE TO ACCESS LESS INVASIVE AND MORE AFFORDABLE



                                         UNITED STATES COURT REPORTERS
                Case: 22-10312, 04/25/2023,
                Case 5:18-cr-00258-EJD      ID: 12702996,
                                         Document   1271 DktEntry:  36-12, Page
                                                          Filed 01/18/22   Page 46
                                                                                47 of
                                                                                   of 227
                                                                                      228
                    ROSENDORFF REDIRECT BY MR. BOSTIC (RES.)                                2820


09:59:42    1       CLINICIAN-DIRECTED LAB TESTING, FROM A BLOOD SAMPLE AS SMALL AS

09:59:46    2       A FEW DROPS, OR 1/1000 THE SIZE OF A TYPICAL BLOOD DRAW."

09:59:52    3             DO YOU SEE THAT?

09:59:52    4       A.    YES.

09:59:53    5       Q.    THERE'S SOME MENTION OF A FINGERSTICK METHOD OR

09:59:56    6       MICRO-SAMPLE.

09:59:57    7             DO YOU SEE THAT IN THE REMAINDER OF THAT PARAGRAPH?

09:59:59    8       A.    YES.

09:59:59    9       Q.    AND I'LL DRAW YOUR ATTENTION TO THE BOTTOM PARAGRAPH IN

10:00:07   10       THIS PAGE.    DO YOU SEE THAT THE SECOND SENTENCE OF THE THIRD

10:00:15   11       PARAGRAPH SAYS, "THERANOS'S PROPRIETARY LABORATORY

10:00:18   12       INFRASTRUCTURE MINIMIZES HUMAN ERROR THROUGH EXTENSIVE

10:00:21   13       AUTOMATION TO PRODUCE HIGH QUALITY RESULTS."

10:00:25   14             DO YOU SEE THAT?

10:00:27   15       A.    YES.

10:00:27   16       Q.    ANYWHERE IN THIS PRESS RELEASE DO YOU SEE THE PHRASE "SOFT

10:00:32   17       LAUNCH"?

10:00:33   18       A.    NO.

10:00:34   19       Q.    OKAY.   WE CAN PUT THAT EXHIBIT ASIDE.

10:00:40   20             THE PHRASE "SOFT LAUNCH," IS THAT A MEDICAL TERM IN YOUR

10:00:44   21      EXPERIENCE?

10:00:44   22       A.    NO.

10:00:45   23       Q.    IS THE PHRASE "SOFT LAUNCH" A TERM FROM CLINICAL

10:00:50   24       LABORATORY TESTING?

10:00:51   25       A.    NO.



                                        UNITED STATES COURT REPORTERS
                Case: 22-10312, 04/25/2023,
                Case 5:18-cr-00258-EJD      ID: 12702996,
                                         Document   1271 DktEntry:  36-12, Page
                                                          Filed 01/18/22   Page 47
                                                                                48 of
                                                                                   of 227
                                                                                      228
                    ROSENDORFF REDIRECT BY MR. BOSTIC (RES.)                                2821


10:00:52    1       Q.    DO YOU RECALL THAT YOU DISCUSSED WITH MR. WADE ON A FEW

10:00:59    2       OCCASIONS THE CLIA REGULATIONS AND HOW THEY GOVERN CLINICAL LAB

10:01:04    3       TESTING?

10:01:05    4       A.    YES.

10:01:06    5       Q.    TO YOUR KNOWLEDGE, DO THOSE CLIA REGULATIONS PROVIDE ANY

10:01:09    6       SPECIAL, MORE RELAXED RULES FOR SOMETHING CALLED A SOFT LAUNCH?

10:01:13    7       A.    NO.

10:01:13    8       Q.    DURING YOUR CROSS, THERE WAS SOME DISCUSSION ABOUT THE

10:01:22    9       OVERALL TESTING VOLUME IN THE DAYS FOLLOWING SEPTEMBER 9TH.

10:01:27   10             DO YOU RECALL THAT?

10:01:27   11       A.    YES.

10:01:28   12       Q.    THERE WAS A SUGGESTION THAT THE OVERALL TESTING VOLUME

10:01:32   13       MIGHT HAVE BEEN RELATIVELY LOW.

10:01:34   14             DO YOU RECALL DISCUSSING THAT?

10:01:36   15       A.    YES.

10:01:37   16       Q.    DO YOU HAVE PERSONAL KNOWLEDGE OF THAT?        IN OTHER WORDS,

10:01:40   17       ARE YOU ABLE TO TESTIFY ONE WAY OR ANOTHER ABOUT THE ACTUAL

10:01:43   18       NUMBER OF TESTS THAT THERANOS WAS RUNNING DURING THAT TIME

10:01:46   19       PERIOD?

10:01:46   20       A.    NO.

10:01:46   21       Q.    ASSUMING THAT THE OVERALL TEST VOLUME WAS LOW DURING THE

10:01:51   22       INITIAL WEEKS FOLLOWING THAT LAUNCH DATE, WOULD THAT ELIMINATE

10:01:56   23       YOUR CONCERNS ABOUT ACCURACY PROBLEMS THAT THERANOS WAS SEEING

10:01:59   24       AT THAT TIME?

10:02:00   25       A.    NO.



                                        UNITED STATES COURT REPORTERS
                Case: 22-10312, 04/25/2023,
                Case 5:18-cr-00258-EJD      ID: 12702996,
                                         Document   1271 DktEntry:  36-12, Page
                                                          Filed 01/18/22   Page 48
                                                                                49 of
                                                                                   of 227
                                                                                      228
                    ROSENDORFF REDIRECT BY MR. BOSTIC (RES.)                                2822


10:02:00    1       Q.    WHY NOT?

10:02:01    2       A.    IT -- SO IF YOU -- WHILE IT'S TRUE, IF YOU HAVE ACCURACY

10:02:13    3       PROBLEMS, YOU'RE GOING TO SEE MORE THE MORE TESTS THAT YOU RUN.

10:02:20    4       THAT'S JUST -- IF IT'S A FIXED PERCENTAGE OF TESTS THAT ARE

10:02:22    5       INACCURATE, YOU'RE GOING TO GET MORE INACCURATE TESTS THE MORE

10:02:26    6       TESTS YOU RUN.

10:02:27    7             BUT IN MY MIND, EVEN TESTING ONE PATIENT WITH A HIGH

10:02:30    8      PROBABILITY OF INACCURACY WAS HIGHLY PROBLEMATIC FOR ME.

10:02:35    9       Q.    DO YOU RECALL THAT SOME OF THE INCIDENTS WE REVIEWED

10:02:41   10       DURING YOUR DIRECT EXAMINATION RELATED TO INACCURATE TEST

10:02:46   11       RESULTS THAT WERE RELEASED BY THERANOS?

10:02:47   12       A.    YES.

10:02:48   13       Q.    ASSUMING THAT THE OVERALL TEST VOLUME WAS LOW DURING THAT

10:02:52   14       TIME PERIOD --

10:02:53   15       A.    YES.

10:02:54   16       Q.    -- DOES THAT HAVE ANY EFFECT ON THE SIGNIFICANCE OF

10:02:57   17       INDIVIDUAL INACCURATE TEST RESULTS?

10:03:00   18       A.    NO.

10:03:01   19       Q.    HOW ABOUT WHEN YOU PUT THOSE RESULTS INTO CONTEXT AND TRY

10:03:06   20       TO DETERMINE HOW SERIOUS A RED FLAG THEY ARE?         DOES IT MATTER

10:03:12   21       HOW MANY TESTS THE LAB IS PERFORMING IN THE BACKGROUND?

10:03:18   22             LET ME ASK A BETTER QUESTION.

10:03:21   23             IF YOU SEE -- I'LL GIVE YOU A HYPOTHETICAL.         IF YOU SEE 5

10:03:25   24      INACCURATE TEST RESULTS OUT OF A TOTAL OF 10,000 TESTS THAT A

10:03:30   25      LAB DID DURING A CERTAIN TIME PERIOD --



                                        UNITED STATES COURT REPORTERS
                Case: 22-10312, 04/25/2023,
                Case 5:18-cr-00258-EJD      ID: 12702996,
                                         Document   1271 DktEntry:  36-12, Page
                                                          Filed 01/18/22   Page 49
                                                                                50 of
                                                                                   of 227
                                                                                      228
                    ROSENDORFF REDIRECT BY MR. BOSTIC (RES.)                                2823


10:03:32    1       A.    YES.

10:03:33    2       Q.    -- VERSUS SEEING 5 INACCURATE TEST RESULTS OUT OF A TOTAL

10:03:36    3       OF 50 --

10:03:38    4       A.    YES.

10:03:38    5       Q.    -- RESULTS THAT A LAB DID DURING A CERTAIN TIME PERIOD, DO

10:03:42    6       THOSE TWO SITUATIONS CAUSE YOU TO HAVE DIFFERENT VIEWS ABOUT

10:03:45    7       THE LAB'S OVERALL PERFORMANCE?

10:03:47    8       A.    YES.

10:03:48    9       Q.    CAN YOU EXPLAIN WHY?

10:03:49   10       A.    IF THERE ARE 5 INACCURATE TESTS OUT OF 50, THAT'S A 10

10:03:54   11       PERCENT FAILURE RATE, FOR WANT OF A BETTER TERM.

10:04:00   12             IF IT'S 5 OUT OF 50,000, IT'S A MUCH LOWER RATE OF

10:04:05   13      FAILURE.

10:04:06   14             SO ANY ANALYTIC SYSTEM WILL GIVE YOU FAILURES, BUT YOU --

10:04:12   15      SO IT'S REALLY IMPORTANT TO TRACK THE SCALE AND THE PERIOD OF

10:04:17   16      TIME TABLES THAT YOU'RE SEEING.

10:04:19   17       Q.    ASSUMING THAT THERE WAS A RELATIVELY LOW TEST VALUE IN THE

10:04:24   18       DAYS FOLLOWING THE LAUNCH AT THERANOS --

10:04:28   19       A.    YES.

10:04:28   20       Q.    -- WERE YOU SATISFIED WITH THE NUMBER OF INACCURATE TEST

10:04:35   21       RESULTS THAT YOU WERE SEEING AT THE TIME?

10:04:36   22       A.    NO.

10:04:37   23       Q.    SPEAKING OF TESTING VOLUME, DO YOU RECALL YOUR PREVIOUS

10:04:44   24       TESTIMONY THAT YOU REVIEWED AT A DEPOSITION WHERE YOU COMPARED

10:04:48   25       THE NUMBER OF COMPLAINTS YOU RECEIVED AT THERANOS TO WHAT YOU



                                        UNITED STATES COURT REPORTERS
                Case: 22-10312, 04/25/2023,
                Case 5:18-cr-00258-EJD      ID: 12702996,
                                         Document   1271 DktEntry:  36-12, Page
                                                          Filed 01/18/22   Page 50
                                                                                51 of
                                                                                   of 227
                                                                                      228
                    ROSENDORFF REDIRECT BY MR. BOSTIC (RES.)                                2824


10:04:51    1       SAW AT UNIVERSITY OF PITTSBURGH?

10:04:53    2       A.     YES.

10:04:53    3       Q.     JUST SO THE RECORD IS CLEAR, WERE YOU TROUBLED BY THE

10:04:58    4       NUMBER OF DOCTOR AND PATIENT COMPLAINTS THAT YOU SAW COME IN

10:05:02    5       THE DOOR AT THERANOS?

10:05:03    6       A.     YES.

10:05:03    7       Q.     BY THE WAY, DID YOU KNOW ABOUT EACH AND EVERY DOCTOR OR

10:05:08    8       PATIENT COMPLAINT THAT CAME IN TO THE COMPANY DURING YOUR TIME

10:05:11    9       AS LAB DIRECTOR?

10:05:12   10       A.     NO.

10:05:13   11       Q.     THE ONES YOU SAW STILL TROUBLED YOU?

10:05:15   12       A.     YES.

10:05:18   13       Q.     WAS THE LEVEL OF COMPLAINTS THAT YOU SAW AT UNIVERSITY OF

10:05:22   14       PITTSBURGH EQUALLY TROUBLING TO YOU?

10:05:24   15       A.     NO.

10:05:27   16       Q.     WHY NOT?   WHY WERE THOSE TWO SITUATIONS DIFFERENT?

10:05:30   17       A.     SO AT THE UNIVERSITY OF PITTSBURGH, THE DISCUSSIONS WITH

10:05:37   18       THE PHYSICIANS WERE FREQUENTLY ABOUT WHAT TEST METHOD WE SHOULD

10:05:42   19       USE.    I REMEMBER FREQUENT CONVERSATIONS WITH THE

10:05:44   20       ENDOCRINOLOGISTS ABOUT HORMONES THAT WERE PRESENT IN VERY LOW

10:05:51   21       LEVELS THAT CAN BE TRICKY TO TEST ACCURATELY AND WHAT THE BEST

10:05:56   22       METHOD SHOULD BE.

10:05:57   23              THERE WERE A COUPLE OF COMPLAINTS, I REMEMBER ONE WAS

10:06:01   24      ABOUT A VERY HIGH PHOSPHOROUS.       IT HAD TO DO WITH A NURSE

10:06:08   25      DRAWING BLOOD FROM A CENTRAL CATHETER INSTEAD OF FROM THE ARM.



                                        UNITED STATES COURT REPORTERS
                Case: 22-10312, 04/25/2023,
                Case 5:18-cr-00258-EJD      ID: 12702996,
                                         Document   1271 DktEntry:  36-12, Page
                                                          Filed 01/18/22   Page 51
                                                                                52 of
                                                                                   of 227
                                                                                      228
                    ROSENDORFF REDIRECT BY MR. BOSTIC (RES.)                                2825


10:06:12    1             THE COMPLAINTS WERE NOT ABOUT TEST ACCURACY, PER SE.          THEY

10:06:18    2      WERE ABOUT -- THEY WERE COMPLAINTS ABOUT RESULTS, OCCASIONAL

10:06:23    3      FLIERS, RESULTS THAT DIDN'T MAKE SENSE.

10:06:25    4             BUT IT WAS NOT -- NONE OF THE CLINICIANS WERE QUESTIONING

10:06:29    5      THE ACCURACY OF THE LABORATORY.

10:06:31    6       Q.    I'D LIKE TO SHIFT GEARS AND TALK ABOUT PROFICIENCY

10:06:39    7       TESTING.

10:06:40    8             ON DIRECT, YOU TESTIFIED ABOUT THE LACK OF PROFICIENCY

10:06:44    9      TESTING AT THERANOS.

10:06:45   10             DO YOU RECALL THAT?

10:06:46   11       A.    YES.

10:06:47   12       Q.    THERE WAS, HOWEVER, SOME PROFICIENCY TESTING AT THE

10:06:50   13       COMPANY; ISN'T THAT RIGHT?

10:06:51   14       A.    YES.

10:06:52   15       Q.    ON WHAT DEVICES DID THERANOS CONDUCT REGULAR PROFICIENCY

10:06:58   16       TESTING WHEN YOU WERE AT THE COMPANY?

10:07:00   17       A.    THE -- THE ONLY PROFICIENCY TESTING DATA THAT I CAN RECALL

10:07:13   18       BEING RUN ACCORDING TO THE AAP WAS FOR VITAMIN D, I BELIEVE.

10:07:20   19       Q.    AND FOR NOW I'M ASKING YOU A BROADER QUESTION, NOT JUST

10:07:23   20       ABOUT AAP, BUT PROFICIENCY TESTING IN GENERAL.

10:07:29   21             DO YOU RECALL STANDARD PROFICIENCY TESTING OCCURRING AT

10:07:32   22      THERANOS?

10:07:32   23       A.    YES.

10:07:32   24       Q.    ON FDA APPROVED DEVICES?

10:07:34   25       A.    YES.



                                        UNITED STATES COURT REPORTERS
                Case: 22-10312, 04/25/2023,
                Case 5:18-cr-00258-EJD      ID: 12702996,
                                         Document   1271 DktEntry:  36-12, Page
                                                          Filed 01/18/22   Page 52
                                                                                53 of
                                                                                   of 227
                                                                                      228
                    ROSENDORFF REDIRECT BY MR. BOSTIC (RES.)                                2826


10:07:35    1       Q.     WOULD THAT BE THE NON-THERANOS AND NON-THERANOS MODIFIED

10:07:41    2       DEVICES?

10:07:41    3       A.     YES.

10:07:42    4       Q.     WHEN YOU ANSWERED ON DIRECT THAT THERE WAS NO PROFICIENCY

10:07:48    5       TESTING AT THERANOS, WAS THERE SOMETHING THAT WAS CONFUSING YOU

10:07:52    6       AT THAT TIME THAT CAUSED YOU TO GIVE THAT ANSWER?

10:07:53    7       A.     I, I WANTED TO CLARIFY THAT EVEN THOUGH I HAD WRITTEN AN

10:08:05    8       SOP OR AAP, BUT IT WASN'T BEING IMPLEMENTED ACROSS ALL OF THE

10:08:10    9       ASSAYS.

10:08:11   10       Q.     OUR CONVERSATION DURING DIRECT, DID IT FOCUS MORE ON THE

10:08:17   11       THERANOS SPECIFIC DEVICES OR THE UNMODIFIED FDA APPROVED

10:08:22   12       DEVICES?

10:08:22   13       A.     I ASSUMED YOU WERE TALKING ABOUT THE THERANOS DEVICES,

10:08:25   14       YES.

10:08:25   15       Q.     HOW ABOUT YOUR CONCERNS WHEN IT CAME TO TESTING ACCURACY?

10:08:29   16       DID THOSE CONCERNS RELATE MOSTLY TO THE THERANOS SPECIFIC

10:08:34   17       DEVICES OR THE UNMODIFIED THIRD PARTY DEVICES?

10:08:38   18       A.     THERANOS SPECIFIC DEVICES.

10:08:39   19       Q.     OKAY.   I'D LIKE TO SHOW YOU BRIEFLY EXHIBIT 10029, WHICH

10:08:46   20       IS IN EVIDENCE.

10:09:00   21              AND IF WE COULD ZOOM IN JUST ON THE TOP PART OF THE PAGE.

10:09:04   22              DR. ROSENDORFF, DO YOU SEE A COMPARATIVE EVALUATION REPORT

10:09:08   23      FROM THE AMERICAN PROFICIENCY INSTITUTE?

10:09:10   24       A.     YES.

10:09:10   25       Q.     DO YOU RECALL REVIEWING THIS DOCUMENT WITH MR. WADE DURING



                                        UNITED STATES COURT REPORTERS
                Case: 22-10312, 04/25/2023,
                Case 5:18-cr-00258-EJD      ID: 12702996,
                                         Document   1271 DktEntry:  36-12, Page
                                                          Filed 01/18/22   Page 53
                                                                                54 of
                                                                                   of 227
                                                                                      228
                    ROSENDORFF REDIRECT BY MR. BOSTIC (RES.)                                2827


10:09:14    1       CROSS-EXAMINATION?

10:09:15    2       A.    YES.

10:09:15    3       Q.    I'LL ASK YOU TO TAKE A LOOK AT THIS PAGE.         FIRST OF ALL,

10:09:22    4       THIS IS DATED 2014.

10:09:25    5             DO YOU SEE THAT IN THE TOP LEFT?

10:09:27    6       A.    YES.

10:09:28    7       Q.    THE PROFICIENCY TESTING RESULTS THAT ARE REPORTED IN THIS

10:09:35    8       EXHIBIT, ARE THEY A RESULT OF PROFICIENCY TESTING ON THE

10:09:41    9       THERANOS EDISON DEVICE?

10:09:43   10       A.    NO.

10:09:44   11       Q.    WHAT DEVICE OR WHAT CATEGORY OF DEVICES IS REFLECTED IN

10:09:50   12       THIS PROFICIENCY TESTING DATA?

10:09:52   13       A.    THESE ARE IMMUNOASSAYS AS INDICATED ON THE, ON THE REPORT,

10:10:00   14       OR EVALUATION.    THEY WERE RUN ON THE SIEMENS IMMULITE 2000 WITH

10:10:08   15       IMMULITE REAGENT.

10:10:09   16       Q.    AND SO WOULD THAT HAVE BEEN AN UNMODIFIED, NON-THERANOS,

10:10:13   17       FDA APPROVED TESTING METHOD?

10:10:15   18       A.    CORRECT.

10:10:15   19       Q.    IF WE COULD ZOOM OUT.

10:10:17   20             DR. ROSENDORFF, LET ME KNOW IF THE TEXT IS TOO SMALL AND

10:10:20   21      WE CAN ZOOM BACK IN, BUT LOOKING AT THE ACTUAL ASSAYS INVOLVED

10:10:27   22      HERE, WERE ANY OF THESE ASSAYS RUN ON THE EDISON AT THERANOS?

10:10:34   23       A.    YES, ON -- YES, I BELIEVE ON PROLACTIN, PSA, TESTOSTERONE,

10:10:45   24       ESTRADIOL, FSH.     THOSE ARE THE ONES THAT I CAN RECALL.

10:10:49   25       Q.    AND ACTUALLY, I SHOULD HAVE ASKED YOU, WERE ANY OF THOSE



                                        UNITED STATES COURT REPORTERS
                Case: 22-10312, 04/25/2023,
                Case 5:18-cr-00258-EJD      ID: 12702996,
                                         Document   1271 DktEntry:  36-12, Page
                                                          Filed 01/18/22   Page 54
                                                                                55 of
                                                                                   of 227
                                                                                      228
                    ROSENDORFF REDIRECT BY MR. BOSTIC (RES.)                                2828


10:10:52    1       ASSAYS RUN ON EITHER THE EDISON OR THE THERANOS MODIFIED THIRD

10:10:56    2       PARTY DEVICES?    WOULD THAT CHANGE YOUR ANSWER?

10:11:01    3       A.    THEY WERE RUN ON THE EDISON.

10:11:04    4             THERE WAS ALSO -- I SHOULD SAY, THERE WAS ALSO AN ATTEMPT

10:11:07    5      TO RUN DILUTED FINGERSTICK SAMPLES ON THE IMMULITE.          I DON'T

10:11:13    6      RECALL WHETHER THAT WAS ACTUALLY IMPLEMENTED FOR PATIENTS OR

10:11:16    7      NOT.

10:11:17    8       Q.    OKAY.   UNDERSTOOD.

10:11:20    9             IN 2013 -- OR SORRY.

10:11:22   10             IN 2014, WERE SOME OF THESE ASSAYS BEING RUN ON THERANOS

10:11:28   11      SPECIFIC DEVICES OR THERANOS MODIFIED DEVICES?

10:11:32   12       A.    SOME OF THEM WERE BEING RUN ON THERANOS SPECIFIC DEVICES

10:11:37   13       AND OTHERS ON -- I'M SORRY.

10:11:39   14             SOME OF THEM WERE RUN ON FDA APPROVED DEVICES AND SOME OF

10:11:42   15      THEM ON THE EDISONS.

10:11:44   16       Q.    DO YOU HAVE AN UNDERSTANDING THEN AS TO WHY, FOR

10:11:47   17       PROFICIENCY TESTING, THE PROFICIENCY TESTING WOULD HAVE BEEN

10:11:52   18       DONE USING THE UNMODIFIED THIRD PARTY DEVICES?

10:11:54   19       A.    I DID NOT THINK THAT THIS WAS APPROPRIATE GIVEN THE FACT

10:12:02   20       THAT THE REGULATIONS STATE THAT YOU'RE SUPPOSED TO DO

10:12:05   21       PROFICIENCY TESTING ON YOUR MOST COMMONLY USED METHOD.           IN MANY

10:12:13   22       CASES, WE WERE NOT USING THE IMMULITE FOR A NUMBER OF THESE

10:12:19   23       ANALYTES.

10:12:23   24             I SENT AN E-MAIL LISTING THE ANALYTES FOR WHICH WE SHOULD

10:12:28   25      STOP THE CMS REPORTING BECAUSE CMS WAS UNDER THE IMPRESSION



                                        UNITED STATES COURT REPORTERS
                Case: 22-10312, 04/25/2023,
                Case 5:18-cr-00258-EJD      ID: 12702996,
                                         Document   1271 DktEntry:  36-12, Page
                                                          Filed 01/18/22   Page 55
                                                                                56 of
                                                                                   of 227
                                                                                      228
                    ROSENDORFF REDIRECT BY MR. BOSTIC (RES.)                                2829


10:12:33    1      THAT WE WERE STILL USING THE FDA DEVICES AS THE PREDOMINANT

10:12:38    2      DEVICES.

10:12:38    3       Q.    WE SAW THAT EMAIL DURING YOUR CROSS-EXAMINATION.          IS THAT

10:12:42    4       THE ONE YOU'RE REFERRING TO?

10:12:43    5       A.    YES, YES.

10:12:44    6       Q.    OKAY.   WE CAN TAKE THAT EXHIBIT DOWN.       THANK YOU.

10:12:48    7             AS TO THE EDISON AND THE MODIFIED THIRD PARTY DEVICES,

10:12:53    8      BASED ON WHAT YOU SAW AT THERANOS, WAS THERE EVER REGULAR

10:12:57    9      PROFICIENCY TESTING ACTUALLY IMPLEMENTED FOR THOSE KINDS OF

10:13:01   10      TESTS?

10:13:01   11       A.    NO.

10:13:02   12       Q.    ON CROSS-EXAMINATION, YOU WERE SHOWN AN SOP RELATING TO

10:13:08   13       THAT KIND OF PROFICIENCY TESTING ON THOSE DEVICES.

10:13:11   14             DO YOU RECALL THAT?

10:13:11   15       A.    YES.

10:13:12   16       Q.    IS THERE A DIFFERENCE IN A LAB BETWEEN HAVING A WRITTEN

10:13:17   17       SOP AND ACTUALLY IMPLEMENTING OR CARRYING OUT THAT SOP?

10:13:20   18       A.    YES, HUGE DIFFERENCE.

10:13:21   19       Q.    ON CROSS-EXAMINATION, YOU ALSO SAW THAT PROFICIENCY

10:13:27   20       TESTING AND AAP REMAINED A SUBJECT OF DISCUSSION THROUGHOUT

10:13:32   21       YOUR TIME AT THE COMPANY; IS THAT CORRECT?

10:13:35   22       A.    YES.

10:13:35   23       Q.    DID ANY OF THAT DISCUSSION REFRESH YOUR RECOLLECTION THAT

10:13:42   24       THERE WAS PROFICIENCY TESTING ON THOSE METHODS THAT YOU HAD

10:13:46   25       FORGOTTEN ABOUT, FOR EXAMPLE?



                                        UNITED STATES COURT REPORTERS
                Case: 22-10312, 04/25/2023,
                Case 5:18-cr-00258-EJD      ID: 12702996,
                                         Document   1271 DktEntry:  36-12, Page
                                                          Filed 01/18/22   Page 56
                                                                                57 of
                                                                                   of 227
                                                                                      228
                    ROSENDORFF REDIRECT BY MR. BOSTIC (RES.)                                2830


10:13:48    1       A.    SO R&D WAS DOING WHAT THEY WERE CALLING IQP.         I NEVER SAW

10:13:58    2       OR APPROVED THE PROCEDURE FOR IQP.        THEY WERE DOING THEIR OWN

10:14:02    3       THING.

10:14:03    4       Q.    I THINK WE'RE ABOUT TO LOOK AT SOME RELEVANT EXHIBITS FOR

10:14:08    5       THAT.

10:14:09    6             LET'S TAKE A QUICK LOOK AT EXHIBIT 2009 FIRST.         AND THIS

10:14:13    7      IS IN EVIDENCE.

10:14:23    8             DR. ROSENDORFF, DO YOU SEE EXHIBIT 2009 IS AN EMAIL CHAIN

10:14:26    9      FROM EARLY OCTOBER 2014?

10:14:28   10       A.    YES.

10:14:28   11       Q.    AND DO YOU RECALL DISCUSSING THIS EMAIL CHAIN AND THESE

10:14:33   12       CIRCUMSTANCES DURING YOUR TESTIMONY?

10:14:35   13       A.    YES.

10:14:35   14       Q.    LET'S LOOK NEXT AT EXHIBIT 7482, WHICH IS ALSO IN

10:14:40   15       EVIDENCE.    AND LET'S GO TO THE NEXT PAGE.

10:14:57   16             AND, DR. ROSENDORFF, DO YOU SEE THAT THIS IS A CONTINUED

10:15:03   17      EMAIL DISCUSSION ABOUT, I BELIEVE, TESTOSTERONE RESULTS?

10:15:21   18       A.    YES.

10:15:21   19       Q.    IF WE COULD ZOOM ON THE BOTTOM HALF OF THIS PAGE, PLEASE.

10:15:25   20             DO YOU RECALL REVIEWING THIS EMAIL DURING YOUR

10:15:27   21      CROSS-EXAMINATION WHERE YOU SAY, PLEASE LET CHRISTIAN HANDLE

10:15:32   22      THE COMMUNICATION WITH THE DOCTOR?

10:15:35   23       A.    YES.

10:15:36   24       Q.    DURING DIRECT, WE SPOKE ABOUT CHRISTIAN HOLMES'S ROLE IN

10:15:40   25       DEALING WITH INQUIRIES FROM PATIENTS AND DOCTORS.



                                        UNITED STATES COURT REPORTERS
                Case: 22-10312, 04/25/2023,
                Case 5:18-cr-00258-EJD      ID: 12702996,
                                         Document   1271 DktEntry:  36-12, Page
                                                          Filed 01/18/22   Page 57
                                                                                58 of
                                                                                   of 227
                                                                                      228
                    ROSENDORFF REDIRECT BY MR. BOSTIC (RES.)                                2831


10:15:44    1             DO YOU RECALL THAT?

10:15:44    2       A.    YES.

10:15:45    3       Q.    GENERALLY SPEAKING, WHAT WAS YOUR POSITION ON THE WAY THAT

10:15:51    4       CHRISTIAN HOLMES WAS INVOLVED IN SPEAKING WITH DOCTORS AND

10:15:56    5       PATIENTS AT THERANOS?

10:15:57    6       A.    I KNOW THAT CHRISTIAN WAS A MIDDLEMAN, INTERMEDIARY

10:16:05    7       BETWEEN CUSTOMER SERVICE OR THE REMOTE SITE IN ARIZONA AND

10:16:10    8       MYSELF.   SO HE WOULD BE RECEIVING THESE QUERIES AND COMPLAINTS.

10:16:18    9             AND I DON'T KNOW WHAT WOULD -- WHAT -- IN HIS MIND, I

10:16:22   10      DON'T KNOW WHAT DETERMINED WHAT SHOULD BE ESCALATED TO ME OR

10:16:25   11      WHAT HE COULD HANDLE HIMSELF OR HE WOULD BE HANDLING THROUGH

10:16:29   12      DANIEL.

10:16:30   13             I ASSUMED THAT IF THERE WERE MEDICAL ISSUES AT PLAY, HE

10:16:34   14      WOULD BE FORWARDING THOSE TO ME.

10:16:35   15       Q.    DID MR. HOLMES'S INVOLVEMENT IN THIS AREA HAVE AN EFFECT,

10:16:41   16       IN YOUR MIND, ON YOUR COMMUNICATIONS WITH DOCTORS AND PATIENTS?

10:16:44   17       A.    I -- I GUESS I WASN'T CLEAR ON WHAT CHRISTIAN HAD ALREADY

10:16:54   18       COMMUNICATED TO DOCTORS ON MANY OCCASIONS.

10:16:57   19       Q.    YOU TESTIFIED ON DIRECT ABOUT PRESSURE THAT YOU FELT IN

10:17:02   20       CONNECTION WITH YOUR COMMUNICATIONS WITH DOCTORS AND PATIENTS.

10:17:08   21             DO YOU RECALL THAT TESTIMONY?

10:17:09   22       A.    YES.

10:17:09   23       Q.    WAS CHRISTIAN HOLMES PART OF THAT PRESSURE?

10:17:12   24       A.    YES.

10:17:12   25       Q.    WHY IN THIS CASE, IN OCTOBER 2014, DID YOU EXPRESS A



                                        UNITED STATES COURT REPORTERS
                Case: 22-10312, 04/25/2023,
                Case 5:18-cr-00258-EJD      ID: 12702996,
                                         Document   1271 DktEntry:  36-12, Page
                                                          Filed 01/18/22   Page 58
                                                                                59 of
                                                                                   of 227
                                                                                      228
                    ROSENDORFF REDIRECT BY MR. BOSTIC (RES.)                                2832


10:17:16    1       PREFERENCE FOR CHRISTIAN TO HANDLE THIS PARTICULAR

10:17:18    2       COMMUNICATION WITH THAT DOCTOR?

10:17:19    3       A.    IN ORDER TO TALK HONESTLY AND TRANSPARENTLY WITH THE

10:17:24    4       DOCTOR, I NEEDED MORE INFORMATION FROM THE ELISA GROUP ON THAT

10:17:31    5       PARTICULAR ASSAY AND THAT RUN, ET CETERA.         I DID NOT RECEIVE

10:17:34    6       THAT, SO I DIDN'T FEEL LIKE I WAS EQUIPPED TO ADDRESS THE

10:17:39    7       ISSUES WITH THE DOCTOR.

10:17:40    8       Q.    LET'S GO TO PAGE 1 OF THIS EXHIBIT, AND LET'S ZOOM IN ON

10:17:51    9       THE TOP HALF OF THIS PAGE.

10:17:58   10             DR. ROSENDORFF, DO YOU RECALL REVIEWING THIS PORTION OF

10:18:00   11      THE EMAIL WITH MR. WADE?

10:18:01   12       A.    YES.

10:18:02   13       Q.    FIRST OF ALL, THIS IS AN EMAIL FROM SUNNY BALWANI TO YOU

10:18:08   14       CC'ING ELIZABETH HOLMES.

10:18:13   15             DO YOU SEE THAT?

10:18:13   16       A.    YES.

10:18:14   17       Q.    OR RATHER BCC'ING ELIZABETH HOLMES.

10:18:17   18             DO YOU SEE THAT?

10:18:18   19       A.    YES.

10:18:18   20       Q.    HIS EMAIL SAYS THAT WE ARE IN THE PROCESS OF RESPONDING TO

10:18:21   21       THE DOCTOR, BUT HE WANTS TO SHARE WITH YOU A FEW THOUGHTS.

10:18:26   22             UNDER NUMBER 1 HERE, MR. BALWANI SAYS THE SPURIOUS RESULT

10:18:32   23      IN ALL LIKELIHOOD SEEMS TO BE DUE TO HEMOLYSIS.

10:18:36   24             DO YOU SEE THAT?

10:18:36   25       A.    YES.



                                        UNITED STATES COURT REPORTERS
                Case: 22-10312, 04/25/2023,
                Case 5:18-cr-00258-EJD      ID: 12702996,
                                         Document   1271 DktEntry:  36-12, Page
                                                          Filed 01/18/22   Page 59
                                                                                60 of
                                                                                   of 227
                                                                                      228
                    ROSENDORFF REDIRECT BY MR. BOSTIC (RES.)                                2833


10:18:37    1       Q.    CAN YOU REMIND US WHAT HEMOLYSIS IS?

10:18:40    2       A.    HEMOLYSIS IS BREAKING OPEN OF RED BLOOD CELLS WITHIN THE

10:18:45    3       SAMPLE BEFORE IT'S TESTED.

10:18:47    4       Q.    AND WAS THAT A RECURRING SOURCE OF ISSUES AT THERANOS IN

10:18:51    5       YOUR EXPERIENCE?

10:18:52    6       A.    YES.

10:18:54    7       Q.    WAS THAT PROBLEM MORE OR LESS COMMON WITH FINGERSTICK

10:18:58    8       SAMPLES AS OPPOSED TO VEIN SAMPLES?

10:19:00    9       A.    MUCH, MUCH MORE COMMON WITH FINGERSTICK.

10:19:03   10       Q.    ALL RIGHT.    NUMBER 2 IN MR. BALWANI'S LIST HERE SAYS, "WE

10:19:09   11       ARE DOING MONTHLY (MOST CASES WEEKLY) IQP (AAP) FOR EACH ASSAY

10:19:16   12       ON EDISON AND OTHER DEVICES DOWNSTAIRS."

10:19:19   13             DO YOU SEE THAT?

10:19:20   14       A.    YES.

10:19:21   15       Q.    DID YOU AGREE WITH THAT STATEMENT?

10:19:22   16       A.    NO.

10:19:23   17       Q.    WHY NOT?

10:19:23   18       A.    I NEVER -- SO AS I'VE TESTIFIED, THERE WAS NOT A FORMAL

10:19:30   19       IQP POLICY OR SOP.     I DID NOT VIEW IQP AND AAP AS

10:19:39   20       INTERCHANGEABLE.     AND I DID NOT SEE THE DATA THAT HE'S

10:19:41   21       REFERRING TO.

10:19:42   22       Q.    DID YOU EVER HAVE A CHANCE TO LOOK AT ANY PORTION OF THE

10:19:46   23       DATA THAT RESULTED FROM THIS KIND OF TESTING AT THERANOS?

10:19:51   24       A.    YES.   I BELIEVE THAT I DID SEE DATA OVER THE COURSE OF A

10:19:57   25       WEEK LOOKING AT POTASSIUM VALUES THAT DANIEL HAD GENERATED.



                                        UNITED STATES COURT REPORTERS
                Case: 22-10312, 04/25/2023,
                Case 5:18-cr-00258-EJD      ID: 12702996,
                                         Document   1271 DktEntry:  36-12, Page
                                                          Filed 01/18/22   Page 60
                                                                                61 of
                                                                                   of 227
                                                                                      228
                    ROSENDORFF REDIRECT BY MR. BOSTIC (RES.)                                2834


10:20:03    1             I DON'T RECALL WHAT THE DATA INDICATED.

10:20:05    2       Q.    OKAY.   WERE YOU ABLE TO REACH ANY CONCLUSIONS ABOUT THE

10:20:12    3       COMPLETENESS OF THAT DATA OR THE APPROPRIATENESS OF THE TESTING

10:20:14    4       THAT THERANOS WAS RUNNING AT THAT TIME?

10:20:17    5       A.    INCOMPLETE.

10:20:17    6       Q.    AND WHAT MADE YOU CONCLUDE THAT THAT DATA WAS INCOMPLETE?

10:20:20    7       A.    WELL, FOR INSTANCE, FOR THE CBC ASSAY, I KEPT -- I KEPT

10:20:27    8       ASKING FOR THE AAP DATA, AND THEN EVENTUALLY SOMEBODY FROM R&D

10:20:35    9       SAID IT'S IN THIS FOLDER, IT'S ALL IN THIS FOLDER.

10:20:39   10             I WENT INTO THE FOLDER, IT WAS AN EXCEL SPREADSHEET THAT

10:20:42   11       WASN'T ANNOTATED, AND I NOTICED THAT THE SPREADSHEET ACTUALLY

10:20:46   12       HAD BEEN CHANGED A FEW MINUTES BEFORE MY INQUIRY.

10:20:53   13             AND I BELIEVE THERE'S AN EMAIL TO THAT EFFECT WITH

10:20:57   14      MR. BALWANI CHASTISING ME FOR MY FRUSTRATION ABOUT THAT.

10:21:00   15       Q.    AND DURING YOUR CROSS-EXAMINATION, YOU REVIEWED PORTIONS

10:21:07   16       OF THE CLIA REGULATIONS WITH MR. WADE.

10:21:10   17             DO YOU RECALL THAT?

10:21:10   18       A.    YES.

10:21:11   19       Q.    WHOSE RESPONSIBILITY UNDER THE REGULATIONS IS IT TO

10:21:14   20       IMPLEMENT PROFICIENCY TESTING AT A CLINICAL LABORATORY?

10:21:17   21       A.    THE LAB DIRECTOR.

10:21:21   22       Q.    WHEN YOU WERE ASKED THAT QUESTION ON CROSS-EXAMINATION,

10:21:25   23       YOU STARTED TO EXPLAIN THE PRACTICAL CONCERNS AROUND ACTUALLY

10:21:30   24       IMPLEMENTING --

10:21:31   25       A.    YES.



                                        UNITED STATES COURT REPORTERS
                Case: 22-10312, 04/25/2023,
                Case 5:18-cr-00258-EJD      ID: 12702996,
                                         Document   1271 DktEntry:  36-12, Page
                                                          Filed 01/18/22   Page 61
                                                                                62 of
                                                                                   of 227
                                                                                      228
                    ROSENDORFF REDIRECT BY MR. BOSTIC (RES.)                                2835


10:21:32    1       Q.    -- PROFICIENCY TESTING.

10:21:34    2       A.    YES.

10:21:34    3       Q.    CAN YOU EXPLAIN WHAT IT TAKES TO ACTUALLY IMPLEMENT

10:21:37    4       PROFICIENCY TESTING AT A LAB LIKE THERANOS?

10:21:39    5       A.    SO THERE WERE -- I DON'T KNOW HOW MANY ASSAYS WERE BEING

10:21:45    6       RUN, BUT IT WAS MANY, MANY ASSAYS ON DIFFERENT PLATFORMS.           AND

10:21:54    7       IT WOULD HAVE REQUIRED MAJOR COORDINATED EFFORTS WITHIN R&D AND

10:21:59    8       CLIA.   IT WOULD HAVE REQUIRED PEOPLE TO BE ASSIGNED DUTIES AND

10:22:03    9       TIMELINES TO COMPLETE THIS, A PLAN FORMED TO RECORD THE RESULTS

10:22:10   10       OF THE PROFICIENCY TESTING.

10:22:12   11             IT ALSO WOULD HAVE TIED UP A LOT OF EDISONS AND THE OTHER

10:22:18   12      LDT'S FOR THE PURPOSES OF PROFICIENCY TESTING AT VARIOUS TIMES.

10:22:26   13             IT ALSO WOULD HAVE INVOLVED REALLY DISCUSSING HOW TO DO

10:22:29   14      THE PROFICIENCY TESTING SPECIFICALLY FOR THE LDT'S THAT WERE

10:22:37   15      BEING RUN ON THE ADVIA.

10:22:39   16             DANIEL HAD MADE A FEW SUGGESTIONS, BUT THE SOP THAT I

10:22:42   17      WROTE WAS SPECIFIC FOR THE EDISONS, SO --

10:22:45   18       Q.    AND WHEN YOU THINK ABOUT ALL OF THE THINGS THAT WOULD BE

10:22:47   19       REQUIRED TO ACTUALLY IMPLEMENT AND FOLLOW THROUGH ON

10:22:50   20       PROFICIENCY TESTING --

10:22:51   21       A.    YES.

10:22:52   22       Q.    -- AS YOU'RE DESCRIBING, ARE THOSE THINGS THAT YOU COULD

10:22:56   23       HAVE ALL DONE ON YOUR OWN AT THERANOS?

10:22:58   24       A.    THAT I COULD HAVE DONE ON MY OWN?

10:23:01   25       Q.    YES.



                                        UNITED STATES COURT REPORTERS
                Case: 22-10312, 04/25/2023,
                Case 5:18-cr-00258-EJD      ID: 12702996,
                                         Document   1271 DktEntry:  36-12, Page
                                                          Filed 01/18/22   Page 62
                                                                                63 of
                                                                                   of 227
                                                                                      228
                    ROSENDORFF REDIRECT BY MR. BOSTIC (RES.)                                2836


10:23:01    1       A.    NO, ABSOLUTELY NOT.

10:23:03    2       Q.    WERE THERE THINGS THAT WOULD HAVE BEEN REQUIRED THAT WOULD

10:23:06    3       HAVE NEEDED THE SUPPORT OF UPPER MANAGEMENT IN ORDER TO

10:23:09    4       ACTUALLY FOLLOW THROUGH ON PROFICIENCY TESTING?

10:23:11    5       A.    YES.

10:23:11    6       Q.    WHEN YOU WERE AT THERANOS, DID YOU FEEL THAT YOU HAD THE

10:23:15    7       SUPPORT OF UPPER MANAGEMENT -- AND I SPECIFICALLY MEAN

10:23:19    8       MS. HOLMES AND MR. BALWANI -- WHEN IT CAME TO IMPLEMENTING

10:23:22    9       PROFICIENCY TESTING?

10:23:22   10       A.    NO.

10:23:23   11       Q.    WHAT MADE YOU FEEL THAT WAY?

10:23:25   12       A.    AFTER THE MEETING IN 2014 WHERE PROFICIENCY TESTING WAS

10:23:32   13       DISCUSSED, THERE WAS NO FOLLOW THROUGH.

10:23:44   14       Q.    THERE WAS SOME DISCUSSION DURING DIRECT AND ON

10:23:46   15       CROSS-EXAMINATION OF I BELIEVE A TEST THAT YOU CALLED A SPOT

10:23:49   16       CHECK.

10:23:50   17             DO YOU REMEMBER THAT?

10:23:50   18       A.    YES.

10:23:51   19       Q.    AND, FIRST OF ALL, LET'S LOOK AT EXHIBIT 1548, WHICH IS IN

10:23:56   20       EVIDENCE.

10:24:10   21             AND, DR. ROSENDORFF, DO YOU SEE AN EMAIL FROM FEBRUARY

10:24:13   22       2014?

10:24:13   23       A.    YES.

10:24:14   24       Q.    LET'S LOOK AT THE ATTACHMENT TO THIS EMAIL IN NATIVE.

10:24:25   25             OKAY.   DR. ROSENDORFF, DO YOU SEE IN FRONT OF YOU DATA



                                        UNITED STATES COURT REPORTERS
                Case: 22-10312, 04/25/2023,
                Case 5:18-cr-00258-EJD      ID: 12702996,
                                         Document   1271 DktEntry:  36-12, Page
                                                          Filed 01/18/22   Page 63
                                                                                64 of
                                                                                   of 227
                                                                                      228
                    ROSENDORFF REDIRECT BY MR. BOSTIC (RES.)                                2837


10:24:28    1      FROM THAT SPOT CHECK THAT WE PREVIOUSLY DISCUSSED?

10:24:30    2       A.    YES.

10:24:31    3       Q.    DURING CROSS-EXAMINATION, THERE WAS SOME DISCUSSION OF HOW

10:24:38    4       AAP OR ALTERNATIVE ASSESSMENT AND PROFICIENCY WAS DIFFERENT

10:24:41    5       FROM STANDARD PT.

10:24:43    6             DO YOU REMEMBER THAT?

10:24:44    7       A.    YES.

10:24:44    8       Q.    YOUR PREFERENCE BETWEEN THOSE TWO OPTIONS -- WELL, LET ME

10:24:51    9       JUST ASK.    WHAT WAS YOUR PREFERENCE BETWEEN THOSE TWO OPTIONS

10:24:53   10       AT THERANOS?     SHOULD THERANOS HAVE BEEN USING STANDARD

10:24:57   11       PROFICIENCY TESTING OR AAP FOR ITS COMPANY SPECIFIC TESTS?

10:25:00   12       A.    AAP.

10:25:01   13       Q.    THE DATA THAT WE'RE LOOKING AT IN THIS CHART DOES NOT

10:25:05   14       RESULT FROM AAP; IS THAT CORRECT?

10:25:07   15       A.    CORRECT.

10:25:07   16       Q.    YOU CALLED IT A SPOT CHECK BEFORE.       CAN YOU EXPLAIN WHAT

10:25:14   17       MADE YOU USE THAT TERM?      WHY IS THIS A SPOT CHECK IN YOUR VIEW?

10:25:17   18       A.    IT'S A -- IT'S A SNAPSHOT IN TIME USING COMMERCIALLY

10:25:23   19       AVAILABLE PT SPECIMENS TO BE RUN ON THE EDISONS.

10:25:30   20             THOSE PT SPECIMENS DID WORK ON THE IMMULITE AND THE

10:25:35   21      EDISONS WERE VALIDATED AGAINST THE IMMULITE.

10:25:42   22             SO I -- IN DISCUSSING THIS WITH THE GROUP, I THOUGHT IT

10:25:44   23      WAS A REASONABLE SPOT CHECK AND AUTHORIZED IT EVEN THOUGH IT

10:25:49   24      WASN'T PART OF A FORMAL SOP.

10:25:51   25       Q.    SO DESPITE YOUR PREFERENCE FOR AAP AND YOUR ADVOCACY FOR



                                        UNITED STATES COURT REPORTERS
                Case: 22-10312, 04/25/2023,
                Case 5:18-cr-00258-EJD      ID: 12702996,
                                         Document   1271 DktEntry:  36-12, Page
                                                          Filed 01/18/22   Page 64
                                                                                65 of
                                                                                   of 227
                                                                                      228
                    ROSENDORFF REDIRECT BY MR. BOSTIC (RES.)                                2838


10:25:56    1       AAP IN THE COMPANY, DID YOU FEEL THAT THIS TEST WAS USEFUL IN

10:26:02    2       ASSESSING THE ACCURACY OF THERANOS TESTS?

10:26:06    3       A.    YES.

10:26:06    4       Q.    WHO WERE THE OTHER PEOPLE IN THE LAB WHO WERE INVOLVED IN

10:26:14    5       CONDUCTING THIS TESTING AND LOOKING AT THE DATA, IF YOU RECALL?

10:26:18    6       A.    I KNOW LANGLY GEE WAS COORDINATING IT.        MARK PANDORI AND

10:26:25    7       MYSELF DISCUSSED THE PLAN.      ERIKA CHEUNG, I BELIEVE, RAN MANY

10:26:30    8       OF THESE SAMPLES.

10:26:31    9       Q.    AND DID THOSE INDIVIDUALS SUPPORT THIS APPROACH OF DOING

10:26:36   10       THIS TESTING TO ASSESS THE ACCURACY OF THERANOS'S ASSAYS?

10:26:43   11       A.    YES.

10:26:43   12       Q.    MARK PANDORI ALSO HAD A SUPERVISORY POSITION IN THE LAB;

10:26:47   13       IS THAT CORRECT?

10:26:48   14       A.    I DON'T RECALL.

10:26:50   15       Q.    DO YOU RECALL GENERALLY WHAT MARK PANDORI'S ROLE AT

10:26:56   16       THERANOS WAS?

10:26:56   17       A.    I BELIEVE HE WAS HIRED AS A CO-LABORATORY DIRECTOR.          HE

10:27:01   18       HAD A LOT OF EXPERIENCE IN MICROBIOLOGY, SO THE COMPANY WAS --

10:27:08   19       I GUESS IT'S -- WELL, WHAT MARK TOLD ME WAS THAT HE WAS GOING

10:27:11   20       TO HEAD UP THE MICRO EFFORT AT THERANOS.

10:27:16   21       Q.    AND DID -- IS IT DR. PANDORI?

10:27:18   22       A.    YES.

10:27:19   23       Q.    DID DR. PANDORI KNOW WHAT AAP WAS?

10:27:22   24       A.    YES.

10:27:22   25       Q.    DID DR. PANDORI SUPPORT THE USE OF OR THE IMPLEMENTATION



                                        UNITED STATES COURT REPORTERS
                Case: 22-10312, 04/25/2023,
                Case 5:18-cr-00258-EJD      ID: 12702996,
                                         Document   1271 DktEntry:  36-12, Page
                                                          Filed 01/18/22   Page 65
                                                                                66 of
                                                                                   of 227
                                                                                      228
                    ROSENDORFF REDIRECT BY MR. BOSTIC (RES.)                                2839


10:27:28    1       OF AAP AT THERANOS?

10:27:29    2       A.    WELL, AT THE TIME THE SPOT CHECK WAS DONE, DR. PANDORI WAS

10:27:34    3       NOT AWARE OF THE DISCUSSIONS -- PERHAPS WAS NOT AWARE OF THE

10:27:38    4       DISCUSSIONS THAT HAD HAPPENED BETWEEN ME AND DANIEL PREVIOUSLY

10:27:41    5       ON THE TOPIC OF AAP.

10:27:42    6       Q.    OKAY.    I UNDERSTAND THAT.

10:27:46    7             DURING YOUR TIME AT THERANOS, DID YOU COME TO UNDERSTAND

10:27:49    8      WHETHER DR. PANDORI HAD A PREFERENCE ON THE USE OF AAP AT

10:27:53    9      THERANOS?      DID HE SUPPORT IT OR WAS HE AGAINST IT?

10:27:55   10       A.    IN MY DISCUSSIONS WITH HIM, HE -- HE DIDN'T SEEM TO RULE

10:28:06   11       ONE WAY OR THE OTHER.

10:28:08   12       Q.    DO YOU RECALL REVIEWING A PRESENTATION ON AAP AND THE

10:28:10   13       BENEFITS OF AAP --

10:28:11   14       A.    YES.

10:28:12   15       Q.    -- PREPARED PARTLY BY DR. PANDORI?

10:28:14   16       A.    YES.

10:28:14   17       Q.    DID DR. PANDORI SUPPORT THE GENERATION OF THE TEST DATA

10:28:24   18       THAT WE'RE LOOKING AT HERE?

10:28:25   19       A.    YES, HE DID.

10:28:26   20       Q.    HOW WOULD YOU RESPOND TO THE CLAIM THAT BECAUSE THIS TEST

10:28:36   21       DATA WAS NOT GENERATED THROUGH THE FORMAL AAP SOP, THE FORMER

10:28:43   22       PROCEDURE -- THE FORMAL PROCEDURE AT THERANOS, THAT WE SHOULD

10:28:47   23       IGNORE THIS DATA, THAT IT DOESN'T MEAN ANYTHING?          WOULD YOU

10:28:49   24       AGREE WITH THAT?

10:28:50   25       A.    NO.    IT'S VERY FREQUENT IN CLINICAL LABORATORIES TO DO QC



                                         UNITED STATES COURT REPORTERS
                Case: 22-10312, 04/25/2023,
                Case 5:18-cr-00258-EJD      ID: 12702996,
                                         Document   1271 DktEntry:  36-12, Page
                                                          Filed 01/18/22   Page 66
                                                                                67 of
                                                                                   of 227
                                                                                      228
                    ROSENDORFF REDIRECT BY MR. BOSTIC (RES.)                                2840


10:28:58    1       CHECKS, PILOT STUDIES, TO DO EVALUATION OF METHODS THAT WOULD

10:29:02    2       NOT BE AN ONGOING PROCESS, SO IT WOULDN'T HAVE TO BE CAPTURED

10:29:06    3       IN SOP BECAUSE YOU'RE NOT PLANNING ON IMPLEMENTING IT ON A

10:29:09    4       REGULAR CADENCE.

10:29:13    5       Q.    THE --

10:29:15    6       A.    AS LONG AS EVERYBODY IS CLEAR ON WHAT NEEDED TO BE DONE

10:29:19    7       AND HOW THE RESULTS WERE TO BE INTERPRETED.

10:29:21    8       Q.    WE WERE JUST TALKING ABOUT DR. PANDORI AT THERANOS.          WAS

10:29:26    9       HE STILL AT THE COMPANY WHEN YOU DEPARTED IN NOVEMBER 2014?

10:29:30   10       A.    NO.

10:29:31   11       Q.    DO YOU HAVE AN UNDERSTANDING AS TO WHY HE LEFT THE

10:29:34   12       COMPANY?

10:29:35   13       A.    YES, I CAN TELL YOU WHAT HE TOLD ME.

10:29:37   14       Q.    WHAT DID HE SAY?

10:29:38   15                    MR. WADE:    OBJECTION, YOUR HONOR.   HEARSAY.

10:29:40   16                    THE COURT:    SUSTAINED.

10:29:42   17                    MR. BOSTIC:   THIS IS UNDER 803(3), YOUR HONOR.

10:29:53   18                    THE COURT:    I'M GOING TO SUSTAIN THE OBJECTION.

10:29:56   19       BY MR. BOSTIC:

10:29:58   20       Q.    DR. ROSENDORFF, LET'S SHIFT GEARS.

10:30:01   21             WE CAN TAKE THAT EXHIBIT DOWN.

10:30:02   22             DO YOU RECALL A DISCUSSION DURING CROSS-EXAMINATION ABOUT

10:30:05   23      PATENTS HELD BY THERANOS?

10:30:07   24       A.    YES.

10:30:08   25       Q.    YOU SAID THAT THERANOS'S PATENTS, WHEN YOU WERE DECIDING



                                         UNITED STATES COURT REPORTERS
                Case: 22-10312, 04/25/2023,
                Case 5:18-cr-00258-EJD      ID: 12702996,
                                         Document   1271 DktEntry:  36-12, Page
                                                          Filed 01/18/22   Page 67
                                                                                68 of
                                                                                   of 227
                                                                                      228
                    ROSENDORFF REDIRECT BY MR. BOSTIC (RES.)                                2841


10:30:13    1       TO JOIN THE COMPANY, INCREASED YOUR EXCITEMENT ABOUT BEING PART

10:30:17    2       OF IT; IS THAT CORRECT?

10:30:18    3       A.    YES.

10:30:19    4       Q.    ONCE YOU DID JOIN, COULD YOU HAVE SKIPPED THE VALIDATION

10:30:23    5       PROCESS, IGNORED QUALITY CONTROL, AND JUST RELIED ON THOSE

10:30:27    6       PATENTS AS EVIDENCE THAT THE TESTS WERE ACCURATE?

10:30:30    7       A.    NO.

10:30:33    8       Q.    DOES THE FACT THAT A BLOOD TESTING METHOD IS PATENTED MEAN

10:30:36    9       THAT IT'S ACCURATE?

10:30:37   10       A.    NO.

10:30:37   11       Q.    DOES ONE HAVE ANYTHING TO DO WITH THE OTHER?

10:30:40   12       A.    NO.

10:30:41   13       Q.    DO YOU RECALL DISCUSSION DURING YOUR DIRECT EXAMINATION OF

10:30:52   14       A PRACTICE AT THERANOS OF GENERATING MULTIPLE RESULTS FOR A

10:30:55   15       GIVEN ASSAY AND THEN REMOVING TWO OF THEM AND AVERAGING THE

10:30:59   16       REST?

10:31:00   17       A.    YES.

10:31:00   18       Q.    DURING CROSS-EXAMINATION, YOU WERE ASKED SOME MORE

10:31:09   19       QUESTIONS ABOUT THAT.

10:31:10   20             DO YOU RECALL?

10:31:10   21       A.    YES.

10:31:11   22       Q.    I WANT TO BE CLEAR ABOUT WHETHER THAT PRACTICE WAS USED BY

10:31:15   23       THE THIRD PARTY DEVICES THAT YOU'VE WORKED WITH.

10:31:18   24             CAN WE BRING UP EXHIBIT 392, PLEASE.        THAT'S IN EVIDENCE.

10:31:32   25             AND, DR. ROSENDORFF, DO YOU SEE THAT EXHIBIT 392 IS THE



                                        UNITED STATES COURT REPORTERS
                Case: 22-10312, 04/25/2023,
                Case 5:18-cr-00258-EJD      ID: 12702996,
                                         Document   1271 DktEntry:  36-12, Page
                                                          Filed 01/18/22   Page 68
                                                                                69 of
                                                                                   of 227
                                                                                      228
                    ROSENDORFF REDIRECT BY MR. BOSTIC (RES.)                                2842


10:31:36    1      OPERATOR'S GUIDE FOR THE IMMULITE 2000?

10:31:39    2       A.    YES.

10:31:40    3       Q.    WAS THIS A THIRD PARTY DEVICE THAT YOU HAD EXPERIENCE WITH

10:31:43    4       AT THERANOS?

10:31:44    5       A.    YES.

10:31:45    6       Q.    LET'S GO TO PAGE 40 OF THIS EXHIBIT, PLEASE.

10:31:54    7             I'M SORRY, PAGE 40.     AND IF WE COULD ZOOM IN ON THE BOTTOM

10:32:03    8      HALF OF THAT PAGE.

10:32:07    9             DR. ROSENDORFF, DO YOU SEE A SECTION HERE TITLED

10:32:09   10      TECHNOLOGY, DATA REDUCTION AND THE CHEMILUMINESCENT REACTION

10:32:15   11      INTERNAL CALCULATIONS?

10:32:16   12       A.    YES.

10:32:17   13       Q.    JUST AT A VERY GENERAL LEVEL, WHAT DOES CHEMILUMINESCENT

10:32:22   14       MEAN IN THIS CONTEXT?

10:32:23   15       A.    IT'S THE SIGNAL THAT IS GENERATED WHEN THE ANALYTE IS

10:32:28   16       DETECTED BY THE ANTIBODY IN THE INSTRUMENT.         SO IT'S -- THAT

10:32:33   17       SIGNAL IS THEN TRANSLATED INTO AN ACTUAL CONCENTRATION.

10:32:38   18       Q.    IN OTHER WORDS, IS THE DEVICE MEASURING AN AMOUNT OF LIGHT

10:32:42   19       OUTPUT AND THEN CONVERTING THAT INTO A CONCENTRATION?

10:32:45   20       A.    YES.

10:32:45   21       Q.    THE LIST HERE TALKS ABOUT INTERNAL CALCULATIONS PERFORMED

10:32:55   22       BY THE SYSTEM WHEN DETERMINING TEST RESULTS.

10:32:59   23             DO YOU SEE THAT NEAR THE TOP OF THAT SECTION?

10:33:00   24       A.    YES.

10:33:01   25       Q.    TAKE A MOMENT TO JUST FAMILIARIZE YOURSELF WITH THE STEPS



                                        UNITED STATES COURT REPORTERS
                Case: 22-10312, 04/25/2023,
                Case 5:18-cr-00258-EJD      ID: 12702996,
                                         Document   1271 DktEntry:  36-12, Page
                                                          Filed 01/18/22   Page 69
                                                                                70 of
                                                                                   of 227
                                                                                      228
                    ROSENDORFF REDIRECT BY MR. BOSTIC (RES.)                                2843


10:33:04    1       1, 2, 3 LISTED HERE.

10:33:07    2       A.    OKAY.

10:33:08    3             (PAUSE IN PROCEEDINGS.)

10:33:27    4       BY MR. BOSTIC:

10:33:29    5       Q.    AND I'LL HAVE A QUESTION FOR YOU ABOUT SOMETHING ON THE

10:33:31    6       FOLLOWING PAGE.

10:33:41    7       A.    OKAY.

10:33:41    8       Q.    OKAY.   IF WE COULD TURN TO THE NEXT PAGE, PAGE 41.         AND

10:33:47    9       ZOOM IN ON THE TOP PORTION ONCE WE GET THERE.

10:33:58   10             DR. ROSENDORFF, DO YOU SEE THE CONTINUATION OF THAT LIST

10:33:59   11      WE WERE JUST LOOKING AT?

10:34:01   12       A.    YES.

10:34:01   13       Q.    ITEM 4 IN THIS LIST OF STEPS --

10:34:06   14       A.    YES.

10:34:07   15       Q.    -- TALKS ABOUT TAKING FIVE ONE-SECOND READINGS.

10:34:11   16             DO YOU SEE THAT?

10:34:11   17       A.    YES.

10:34:12   18       Q.    IS THIS THE SAME THING THAT THE THERANOS ANALYZER WAS

10:34:18   19       DOING?   IN OTHER WORDS, GENERATING MULTIPLE RESULTS FOR EACH

10:34:22   20       ASSAY AND THEN MANAGING THOSE MULTIPLE RESULTS?

10:34:26   21       A.    NO.    IF YOU LOOK AT NUMBER 5, WHAT THEY'RE SAYING IS THEY

10:34:32   22       TAKE DARK COUNT READINGS, WHICH I BELIEVE IS BACKGROUND, AND

10:34:39   23       THEY'RE SUBTRACTING IT FROM THE ACTUAL -- THERE'S FIVE READINGS

10:34:43   24       THAT ARE TAKEN.     THEY SUBTRACT THE BACKGROUND AND THEN THEY

10:34:46   25       AVERAGE THE FIVE.



                                        UNITED STATES COURT REPORTERS
                Case: 22-10312, 04/25/2023,
                Case 5:18-cr-00258-EJD      ID: 12702996,
                                         Document   1271 DktEntry:  36-12, Page
                                                          Filed 01/18/22   Page 70
                                                                                71 of
                                                                                   of 227
                                                                                      228
                    ROSENDORFF REDIRECT BY MR. BOSTIC (RES.)                                2844


10:34:47    1             BUT THEY'RE NOT DISCARDING ANY OF THOSE FIVE.

10:34:49    2       Q.    SO NONE OF THE ACTUAL RESULTS ARE BEING DISCARDED IN THE

10:34:53    3       THIRD PARTY DEVICE; IS THAT CORRECT?

10:34:55    4       A.    CORRECT, CORRECT.

10:34:56    5       Q.    WHEN IT TALKS ABOUT TAKING FIVE ONE-SECOND READINGS, DOES

10:35:00    6       THAT MEAN THAT THE CHEMICAL REACTION IS ACTUALLY OCCURRING FIVE

10:35:06    7       SEPARATE TIMES?

10:35:06    8       A.    NO.    IT'S OCCURRING ONCE.    IT'S A -- IT'S DIFFERENT

10:35:10    9       SNAPSHOTS OF THE LIGHT THAT'S BEING PUT OUT DURING THOSE FIVE

10:35:15   10       SECONDS.

10:35:16   11       Q.    IN OTHER WORDS, LIKE TAKING FIVE PICTURES --

10:35:19   12       A.    PICTURES.

10:35:21   13       Q.    -- OF THE SAME OBJECT?

10:35:22   14       A.    YEAH, YEAH.

10:35:22   15       Q.    IS THAT DIFFERENT FROM HOW THE THERANOS DEVICE WORKED?

10:35:25   16       A.    RIGHT.   SO THE THERANOS DEVICE HAD SIX SEPARATE TIPS, AT

10:35:35   17       LEAST IN THE 3.5 CONFIGURATION, AND EACH TIP WOULD BE PUTTING

10:35:40   18       OUT ITS OWN CHEMILUMINESCENCE, OR LIGHT.

10:35:45   19       Q.    SO THIS IS NOT THE SAME AS THAT?

10:35:47   20       A.    NO, THEY'RE NOT.     THESE ARE FIVE READINGS FROM THE SAME

10:35:50   21       PIECE OF INSTRUMENTATION.      IT'S NOT SIX SEPARATE TIPS.

10:35:54   22       Q.    BY THE WAY, AT THERANOS, DO YOU RECALL DISCUSSION OF HOW

10:36:02   23       EDISON DEVICES WERE USED IN GROUPS OF THREE TO RUN A SINGLE

10:36:06   24       ASSAY?

10:36:06   25       A.    YES.



                                        UNITED STATES COURT REPORTERS
                Case: 22-10312, 04/25/2023,
                Case 5:18-cr-00258-EJD      ID: 12702996,
                                         Document   1271 DktEntry:  36-12, Page
                                                          Filed 01/18/22   Page 71
                                                                                72 of
                                                                                   of 227
                                                                                      228
                    ROSENDORFF REDIRECT BY MR. BOSTIC (RES.)                                2845


10:36:07    1       Q.    AT THERANOS, WAS THAT APPROACH EVER TAKEN WITH THIRD PARTY

10:36:11    2       DEVICES?     DID IT REQUIRE MULTIPLE THIRD PARTY DEVICES TO RETURN

10:36:14    3       A SINGLE RESULT?

10:36:15    4       A.    NO.

10:36:16    5       Q.    WE CAN TAKE THAT EXHIBIT DOWN.       THANK YOU.

10:36:26    6             CHANGING TOPICS.

10:36:29    7             DO YOU RECALL TESTIMONY THAT YOU GAVE ABOUT AN INSPECTION

10:36:32    8      OF THERANOS IN 2013 AND WHERE THE INSPECTOR WAS GOING TO

10:36:37    9      INSPECT?

10:36:37   10       A.    YES.

10:36:38   11       Q.    LET'S LOOK BRIEFLY AT EXHIBIT 4047, WHICH IS IN EVIDENCE.

10:36:53   12       IF WE COULD ZOOM IN ON THE TOP HALF.        LET'S CAPTURE THE TEXT

10:37:03   13       BELOW ALSO.     ACTUALLY, IF WE COULD CAPTURE MS. HOLMES'S EMAIL

10:37:10   14       AT THE BOTTOM, PLEASE.       PERFECT.   THANK YOU.

10:37:18   15             DR. YOUNG, DO YOU SEE THIS EMAIL THAT YOU PREVIOUSLY

10:37:20   16      REVIEWED WHERE MS. HOLMES IS ASKING, IN ADVANCE OF AN

10:37:25   17      INSPECTION, ABOUT WHAT THE PATH WILL BE FOR WALKING THE

10:37:28   18      AUDITORS IN AND DOWNSTAIRS?

10:37:30   19       A.    YES.

10:37:30   20       Q.    IN FRONT OF YOU, YOU SHOULD HAVE -- ACTUALLY, YOU DON'T

10:37:37   21       HAVE IT BECAUSE I HAVEN'T GIVEN IT TO YOU YET.

10:37:40   22             MAY I APPROACH, YOUR HONOR?

10:37:42   23                    THE COURT:    YES.

10:37:46   24                    MR. BOSTIC:   (HANDING.)

10:37:49   25       Q.    I'VE JUST HANDED YOU WHAT'S MARKED AS EXHIBIT 4316.



                                         UNITED STATES COURT REPORTERS
                Case: 22-10312, 04/25/2023,
                Case 5:18-cr-00258-EJD      ID: 12702996,
                                         Document   1271 DktEntry:  36-12, Page
                                                          Filed 01/18/22   Page 72
                                                                                73 of
                                                                                   of 227
                                                                                      228
                    ROSENDORFF REDIRECT BY MR. BOSTIC (RES.)                                2846


10:37:53    1             DO YOU SEE THAT IN FRONT OF YOU?

10:37:55    2       A.    YES.

10:37:55    3       Q.    AND IS THAT AN EMAIL WHERE THE BOTTOM CHAIN IS FROM

10:38:02    4       DECEMBER 3RD, 2013?

10:38:03    5       A.    YES.

10:38:04    6       Q.    AND IS IT ANOTHER EMAIL ON THE TOPIC OF THESE INSPECTORS

10:38:10    7       AND WHERE THE INSPECTORS WILL BE ACTUALLY PHYSICALLY LOCATED IN

10:38:14    8       THE HEADQUARTERS?

10:38:15    9       A.    YES.

10:38:15   10                    MR. BOSTIC:   YOUR HONOR, MOVE TO ADMIT EXHIBIT 4316.

10:38:21   11                    MR. WADE:    NO OBJECTION, YOUR HONOR.

10:38:22   12                    THE COURT:    IT'S ADMITTED.   IT MAY BE PUBLISHED.

10:38:25   13             (GOVERNMENT'S EXHIBIT 4316 WAS ADMITTED IN EVIDENCE.)

10:38:25   14                    MR. BOSTIC:   AND IF WE COULD ZOOM IN ON THE BOTTOM

10:38:34   15       HALF OF PAGE 1.

10:38:38   16       Q.    DR. ROSENDORFF, DO YOU SEE THAT EMAIL FROM DANIEL YOUNG TO

10:38:44   17       YOU ON DECEMBER 3RD, 2013?

10:38:45   18       A.    YES.

10:38:46   19       Q.    THIS IS A FEW DAYS AFTER THE EMAIL FROM MS. HOLMES THAT WE

10:38:48   20       JUST LOOKED AT; CORRECT?

10:38:50   21       A.    CORRECT.

10:38:50   22       Q.    THE TEXT OF THAT EMAIL SAYS, "LET'S NOT REMIND HER ABOUT

10:38:53   23       THE DOWNSTAIRS LAB UNLESS SHE ASKS AGAIN.         JUST SIMPLER IF WE

10:38:58   24       CAN JUST SHOW HER THE LAB UPSTAIRS."

10:39:00   25             DO YOU SEE THAT?



                                         UNITED STATES COURT REPORTERS
                Case: 22-10312, 04/25/2023,
                Case 5:18-cr-00258-EJD      ID: 12702996,
                                         Document   1271 DktEntry:  36-12, Page
                                                          Filed 01/18/22   Page 73
                                                                                74 of
                                                                                   of 227
                                                                                      228
                    ROSENDORFF REDIRECT BY MR. BOSTIC (RES.)                                2847


10:39:02    1       A.    YES.

10:39:02    2       Q.    WAS THIS DAY THE DAY OF THE INSPECTION?

10:39:04    3       A.    YES.

10:39:05    4       Q.    THE "HER" THAT DANIEL YOUNG IS REFERRING TO, IS THAT THE

10:39:09    5       INSPECTOR?

10:39:10    6       A.    YES.

10:39:10    7       Q.    AND CAN YOU REMIND US WHAT THE DIFFERENCE WAS BETWEEN THE

10:39:12    8       DOWNSTAIRS LAB AND THE UPSTAIRS LAB?

10:39:14    9       A.    THE DOWNSTAIRS LAB HAD THE LDT'S, THE MODIFIED METHODS,

10:39:22   10       MODIFIED -- THE THERANOS METHODS, ESSENTIALLY.

10:39:27   11             THE UPSTAIRS LAB HAD THE FDA APPROVED INSTRUMENTS.

10:39:30   12       Q.    MS. HOLMES'S EMAIL THAT WE JUST LOOKED AT, EXHIBIT 4047,

10:39:37   13       DO YOU RECALL WHETHER THAT INCLUDED DANIEL YOUNG ON THE EMAIL?

10:39:41   14       A.    I'M SORRY, I DON'T RECALL THE RECIPIENT LIST.

10:39:46   15       Q.    THAT'S OKAY.    LET'S GO BACK TO IT BRIEFLY.       AND LET'S --

10:40:01   16       THANK YOU.

10:40:01   17             DO YOU SEE THAT MS. HOLMES'S EMAILS, BOTH OF THEM ON THIS

10:40:05   18      CHAIN INCLUDED DANIEL YOUNG?

10:40:08   19       A.    YES.

10:40:08   20       Q.    NOW LET'S GO BACK TO EXHIBIT 4316 AND ZOOM BACK IN ON THE

10:40:18   21       BOTTOM PART.

10:40:22   22             DR. ROSENDORFF, ON NOVEMBER 7TH, 2014, IT APPEARS THAT YOU

10:40:29   23      FORWARDED THIS MESSAGE.

10:40:30   24             DO YOU SEE THAT?

10:40:31   25       A.    YES.



                                         UNITED STATES COURT REPORTERS
                Case: 22-10312, 04/25/2023,
                Case 5:18-cr-00258-EJD      ID: 12702996,
                                         Document   1271 DktEntry:  36-12, Page
                                                          Filed 01/18/22   Page 74
                                                                                75 of
                                                                                   of 227
                                                                                      228
                    ROSENDORFF REDIRECT BY MR. BOSTIC (RES.)                                2848


10:40:32    1       Q.    AND WE'VE REDACTED THE EMAIL ADDRESS THAT YOU FORWARDED IT

10:40:36    2       TO, BUT DO YOU RECALL FORWARDING THIS EMAIL TO YOUR GMAIL

10:40:40    3       ACCOUNT ON THAT DATE?

10:40:41    4       A.    YES, YES.

10:40:42    5       Q.    WHY DID YOU DO THAT ALMOST A YEAR LATER IN NOVEMBER 2014?

10:40:46    6       A.    I -- AGAIN, I WAS CONCERNED ABOUT POSSIBLE GOVERNMENT OR

10:40:54    7       CMS INVESTIGATIONS IN THE LABORATORY AND I WANTED TO HAVE

10:40:56    8       DOCUMENTATION OF THE DISCUSSIONS AROUND THE, THE DAY OF THE

10:41:00    9       INSPECTION.

10:41:01   10       Q.    AND WHAT WAS IT ABOUT THIS PARTICULAR EMAIL THAT YOU

10:41:03   11       THOUGHT NEEDED TO BE DOCUMENTED?

10:41:04   12       A.    IT TROUBLED ME THAT WE WEREN'T TALKING ABOUT THE

10:41:13   13       DOWNSTAIRS LAB.     IT APPEARS FROM DR. YOUNG'S EMAIL THAT SHE HAD

10:41:20   14       ASKED ABOUT IT.     I'M NOT REALLY -- I DON'T HAVE A VERY CLEAR

10:41:25   15       RECOLLECTION OF WHAT THE DISCUSSION WAS WITH THE REGULATOR.

10:41:29   16       THERE WAS SOMETHING ABOUT IT THAT BOTHERED ME, THOUGH.

10:41:33   17       Q.    DID YOU FEEL THAT THERANOS SHOULD HAVE BEEN MORE

10:41:35   18       TRANSPARENT WITH THE REGULATOR ON THAT OCCASION?

10:41:38   19       A.    WELL, WE -- WE SHOWED THE REGULATOR EVERYTHING SHE WANTED

10:41:43   20       TO SEE IN THE LAB, SO I THINK WE RESPONDED TO THE AUDIT

10:41:50   21       APPROPRIATELY.

10:41:51   22       Q.    DO YOU RECALL RECEIVING ANY ADDITIONAL INSTRUCTION FROM

10:42:02   23       MANAGEMENT ABOUT HOW TO HANDLE IT IF THE INSPECTOR DID ASK

10:42:06   24       ABOUT THE DOWNSTAIRS LAB OR ENTERED THE DOWNSTAIRS LAB?

10:42:10   25       A.    NO.



                                        UNITED STATES COURT REPORTERS
                Case: 22-10312, 04/25/2023,
                Case 5:18-cr-00258-EJD      ID: 12702996,
                                         Document   1271 DktEntry:  36-12, Page
                                                          Filed 01/18/22   Page 75
                                                                                76 of
                                                                                   of 227
                                                                                      228
                    ROSENDORFF REDIRECT BY MR. BOSTIC (RES.)                                2849


10:42:11    1       Q.    I'D LIKE TO SHOW YOU WHAT WE'VE MARKED AS EXHIBIT 1295.

10:42:17    2             MAY I APPROACH, YOUR HONOR?

10:42:18    3                    THE COURT:    YES.

10:42:19    4                    MR. BOSTIC:   (HANDING.)

10:42:22    5       Q.    DR. ROSENDORFF, DO YOU HAVE EXHIBIT 1295 IN FRONT OF YOU?

10:42:32    6       A.    YES.

10:42:32    7       Q.    AND IS IT AN EMAIL DATED, AGAIN, DECEMBER 3RD, 2013, THE

10:42:42    8       SAME DATE AS THE INSPECTION?

10:42:44    9       A.    YES.

10:42:45   10       Q.    AND IS IT FROM SUNNY BALWANI TO YOU, DANIEL YOUNG, AND

10:42:48   11       OTHER EMPLOYEES AT THERANOS?

10:42:49   12       A.    YES.

10:42:50   13                    MR. BOSTIC:   YOUR HONOR, MOVE TO ADMIT EXHIBIT 1295.

10:42:52   14                    MR. WADE:    NO OBJECTION.

10:42:52   15                    THE COURT:    IT'S ADMITTED, IT MAY BE PUBLISHED.

10:43:06   16             (GOVERNMENT'S EXHIBIT 1295 WAS ADMITTED IN EVIDENCE.)

10:43:06   17       BY MR. BOSTIC:

10:43:07   18       Q.    IF WE COULD ZOOM IN.

10:43:09   19             OKAY.    DR. ROSENDORFF, DO YOU SEE THAT THIS IS AN E-MAIL

10:43:12   20      FROM SUNNY BALWANI TO YOU AND OTHER MEMBERS OF THE STAFF ON THE

10:43:14   21      DATE OF THE INSPECTION?

10:43:16   22       A.    YES.

10:43:16   23       Q.    THE TEXT OF THE EMAIL READS, "FOR THE AREA INSIDE THE

10:43:19   24       NORMANDY LAB THAT IS CORDONED OFF BY THE DIVIDERS, IF THE

10:43:23   25       INSPECTOR ASKS, WE SHOULD SAY THIS AREA IS FOR FUTURE GROWTH



                                         UNITED STATES COURT REPORTERS
                Case: 22-10312, 04/25/2023,
                Case 5:18-cr-00258-EJD      ID: 12702996,
                                         Document   1271 DktEntry:  36-12, Page
                                                          Filed 01/18/22   Page 76
                                                                                77 of
                                                                                   of 227
                                                                                      228
                    ROSENDORFF REDIRECT BY MR. BOSTIC (RES.)                                2850


10:43:26    1       AND IS BEING ORGANIZED (AS IS THE CASE) BUT IS STILL RESTRICTED

10:43:31    2       ONLY TO THE CLIA LAB AND AUTHORIZED TEAM (AS IS THE CASE)."

10:43:37    3             DO YOU SEE THAT?

10:43:38    4       A.    YES.

10:43:38    5       Q.    DO YOU RECALL A PORTION OF THE NORMANDY LAB BEING BEHIND

10:43:42    6       DIVIDERS FOR THIS INSPECTION?

10:43:44    7       A.    YES.

10:43:45    8       Q.    DO YOU RECALL WHAT WAS ON THE OTHER SIDE OF THAT DIVIDED

10:43:47    9       PORTION?

10:43:48   10       A.    THE EDISONS.

10:43:49   11       Q.    IN YOUR EXPERIENCE AS A LABORATORY DIRECTOR, IS IT NORMAL

10:43:53   12       FOR MANAGEMENT TO GIVE THIS KIND OF SCRIPTING TO A LABORATORY

10:43:57   13       DIRECTOR DIRECTING THEM ON HOW TO RESPOND TO INSPECTOR

10:44:01   14       QUESTIONS?

10:44:01   15       A.    NO.

10:44:02   16       Q.    OKAY.   WE CAN PUT THAT ASIDE.

10:44:14   17             DO YOU RECALL SOME DISCUSSION DURING CROSS-EXAMINATION OF

10:44:19   18      SITUATIONS WHERE A LAB DIRECTOR MIGHT COVER MULTIPLE LABS AT

10:44:23   19      THE SAME TIME?

10:44:23   20       A.    YES.

10:44:23   21       Q.    AND YOU TESTIFIED THAT YOU HAD SUPERVISED UP TO THREE LABS

10:44:28   22       AT ONCE IN YOUR CAREER?

10:44:29   23       A.    YES.

10:44:29   24       Q.    DURING YOUR TIME AT THERANOS, WERE YOU SERVING AS A LAB

10:44:33   25       DIRECTOR ANYWHERE ELSE?



                                         UNITED STATES COURT REPORTERS
                Case: 22-10312, 04/25/2023,
                Case 5:18-cr-00258-EJD      ID: 12702996,
                                         Document   1271 DktEntry:  36-12, Page
                                                          Filed 01/18/22   Page 77
                                                                                78 of
                                                                                   of 227
                                                                                      228
                    ROSENDORFF REDIRECT BY MR. BOSTIC (RES.)                                2851


10:44:35    1       A.    NO.

10:44:36    2       Q.    AND WHY WAS THAT?

10:44:39    3       A.    I WANTED TO GIVE MY FULL ENERGY AND ATTENTION TO THERANOS.

10:44:45    4       IT WAS A COMPLICATED LABORATORY WITH CONSTANT ISSUES COMING UP.

10:44:54    5       I DIDN'T FEEL I HAD THE BANDWIDTH TO BE RESPONSIBLE FOR ANOTHER

10:44:59    6       LABORATORY AT THAT TIME.

10:45:00    7       Q.    ARE SOME CLINICAL LABORATORIES MORE COMPLICATED TO

10:45:04    8       SUPERVISE THAN OTHERS?

10:45:05    9       A.    YES.

10:45:06   10       Q.    AND HOW DOES -- OR HOW DID THERANOS STACK UP IN YOUR

10:45:11   11       EXPERIENCE?

10:45:11   12       A.    IT'S THE MOST COMPLICATED LABORATORY I'VE EVER HAD TO

10:45:15   13       SUPERVISE OR DIRECT.

10:45:17   14       Q.    AND DID PART OF THAT RELATE TO THE PROBLEMS THAT YOU SAW

10:45:20   15       WHEN YOU WERE LABORATORY DIRECTOR?

10:45:22   16       A.    YES.

10:45:22   17       Q.    DO YOU RECALL A DISCUSSION DURING CROSS-EXAMINATION

10:45:30   18       REGARDING A TIME WHEN YOU CONSIDERED BRINGING SOMETHING CALLED

10:45:33   19       A QUI TAM LAWSUIT AGAINST THERANOS?

10:45:35   20       A.    YES.

10:45:36   21       Q.    BASED ON YOUR UNDERSTANDING, DOES THAT KIND OF LAWSUIT

10:45:40   22       INVOLVE THE FEDERAL GOVERNMENT AT ALL?

10:45:42   23       A.    YES.

10:45:42   24       Q.    HOW SO?   WHAT'S YOUR UNDERSTANDING?

10:45:45   25       A.    I BELIEVE THE LAWSUIT IS BROUGHT TO THE FEDERAL GOVERNMENT



                                        UNITED STATES COURT REPORTERS
                Case: 22-10312, 04/25/2023,
                Case 5:18-cr-00258-EJD      ID: 12702996,
                                         Document   1271 DktEntry:  36-12, Page
                                                          Filed 01/18/22   Page 78
                                                                                79 of
                                                                                   of 227
                                                                                      228
                    ROSENDORFF REDIRECT BY MR. BOSTIC (RES.)                                2852


10:45:56    1       EITHER THROUGH CMS OR THROUGH SOME OTHER AGENCY WITHIN THE

10:46:00    2       FEDERAL GOVERNMENT, HEALTH AND HUMAN SERVICES?          I'M NOT REALLY

10:46:06    3       SURE.   I KNOW THAT IT INVOLVES MEDICARE, WHICH IS A GOVERNMENT

10:46:09    4       RUN PROGRAM.

10:46:11    5             THERE IS A RELATER OR SOMEBODY WHO COMMUNICATES THE FRAUD

10:46:17    6      TO THE GOVERNMENT.

10:46:19    7             I KIND OF LOST TRACK OF YOUR QUESTION.         I DON'T KNOW, I'M

10:46:21    8      JUST -- I'M DESCRIBING MY UNDERSTANDING OF A QUI TAM.

10:46:24    9       Q.    THAT'S FINE.    I THINK YOU'VE ANSWERED IT.

10:46:27   10       A.    YEAH.

10:46:27   11       Q.    ON CROSS, MR. WADE SUGGESTED THAT YOU WERE SEEKING A

10:46:30   12       FINANCIAL REWARD IN EXPLORING THAT OPTION.

10:46:33   13             DO YOU RECALL THAT?

10:46:34   14       A.    YES.

10:46:34   15       Q.    WAS THAT YOUR GOAL IN CONSIDERING TAKING THAT STEP?

10:46:36   16       A.    NO.

10:46:37   17       Q.    WHAT WAS YOUR GOAL?

10:46:38   18       A.    TO CORRECT -- TO RIGHT THE WRONGS, BASICALLY, TO ALERT THE

10:46:49   19       PUBLIC OF WHAT WAS GOING ON AT THERANOS.         I FELT A

10:46:52   20       RESPONSIBILITY FOR THIS TO SEE THE LIGHT OF DAY.

10:46:55   21             I WAS UNSURE WHAT AVENUE TO PURSUE.        I WAS EXPLORING

10:46:59   22      DIFFERENT AVENUES.

10:47:00   23       Q.    OKAY.   WHEN YOU WERE QUESTIONED ABOUT THE POSSIBILITY OF A

10:47:02   24       FINANCIAL REWARD, YOU MENTIONED THE EXTENT TO WHICH THERANOS

10:47:07   25       WAS INVOLVED IN MEDICARE.



                                         UNITED STATES COURT REPORTERS
                Case: 22-10312, 04/25/2023,
                Case 5:18-cr-00258-EJD      ID: 12702996,
                                         Document   1271 DktEntry:  36-12, Page
                                                          Filed 01/18/22   Page 79
                                                                                80 of
                                                                                   of 227
                                                                                      228
                    ROSENDORFF REDIRECT BY MR. BOSTIC (RES.)                                2853


10:47:09    1             DO YOU REMEMBER THAT?

10:47:10    2       A.    YES.

10:47:11    3       Q.    EXPLAIN WHAT THE CONNECTION WAS THERE IN YOUR MIND.

10:47:14    4       A.    MY UNDERSTANDING WHILE I WORKED AT THERANOS IS THAT MOST

10:47:17    5       OF THE PATIENTS WERE ACTUALLY PAYING OUT OF POCKET FOR THESE

10:47:21    6       TESTS BECAUSE THERANOS WAS TOUTING THE TESTS AS BEING MUCH

10:47:25    7       CHEAPER THAN OTHER LABS.

10:47:27    8             AND I -- I BELIEVE THERE WERE SOME PRIVATE INSURERS THAT

10:47:32    9      WERE INVOLVED IN PAYING FOR THE TESTS.

10:47:35   10             THERE WAS AN EFFORT TO RECOVER MONIES FROM PRIVATE

10:47:41   11      INSURERS BECAUSE THERE WAS SOME PAPERWORK ISSUE WITH BILLING.

10:47:46   12      I REMEMBER THAT.     SO I KNOW THAT PRIVATE INSURERS WERE

10:47:50   13      INVOLVED.

10:47:50   14             BUT I NEVER SAW ANY INFORMATION REGARDING MEDICARE

10:47:53   15      BILLING, SO I DIDN'T THINK THAT THERE ACTUALLY WOULD BE ANY

10:47:56   16      MONEY RECOVERABLE ON THE BASIS OF MEDICARE FRAUD.

10:47:58   17       Q.    IT WAS YOUR UNDERSTANDING THAT ANY FINANCIAL RECOVERY YOU

10:48:02   18       MIGHT GET FROM THE LAWSUIT WOULD BE BASED ON THE AMOUNT OF

10:48:06   19       THERANOS'S WORK WITH MEDICARE?

10:48:08   20       A.    YES.   IS THAT ACCURATE?     SORRY.

10:48:15   21       Q.    I DON'T WANT YOU TO REVEAL THE CONTENT OF ANY PRIVILEGED

10:48:19   22       CONVERSATION THAT YOU HAD WITH YOUR ATTORNEY --

10:48:21   23       A.    YES.

10:48:22   24       Q.    -- BUT CAN YOU TELL US WHEN YOU FIRST STARTED EXPLORING

10:48:25   25       THE POSSIBILITY OF A QUI TAM LAWSUIT AGAINST THERANOS?



                                        UNITED STATES COURT REPORTERS
                Case: 22-10312, 04/25/2023,
                Case 5:18-cr-00258-EJD      ID: 12702996,
                                         Document   1271 DktEntry:  36-12, Page
                                                          Filed 01/18/22   Page 80
                                                                                81 of
                                                                                   of 227
                                                                                      228
                    ROSENDORFF REDIRECT BY MR. BOSTIC (RES.)                                2854


10:48:28    1       A.    I BELIEVE MY FIRST MEETING WITH THE ATTORNEY WAS MID-2014.

10:48:35    2       Q.    ULTIMATELY, YOU DID NOT GET INVOLVED IN THAT KIND OF

10:48:39    3       LAWSUIT; CORRECT?

10:48:40    4       A.    CORRECT.

10:48:40    5       Q.    AND JUST TO BE CLEAR, YOU'RE TESTIFYING HERE IN A CRIMINAL

10:48:44    6       PROSECUTION; CORRECT?

10:48:45    7       A.    CORRECT.

10:48:46    8       Q.    DO YOU HAVE ANY HOPE OR EXPECTATION OF RECEIVING ANY

10:48:51    9       BENEFIT IN CONNECTION WITH YOUR TESTIMONY IN THIS PROSECUTION?

10:48:54   10       A.    NO.    ON THE CONTRARY.

10:48:56   11       Q.    DO YOU RECALL A DISCUSSION ABOUT YOUR FINANCIAL

10:49:01   12       COMPENSATION AT THERANOS?

10:49:03   13       A.    YES.

10:49:03   14       Q.    YOU TESTIFIED THAT WHEN YOU LEFT THE COMPANY, MR. BALWANI

10:49:08   15       INVITED YOU TO SAY ON.

10:49:09   16       A.    YES.

10:49:10   17       Q.    DID YOU ASK MR. BALWANI FOR A RAISE AT THAT TIME?

10:49:13   18       A.    NO.

10:49:13   19       Q.    WHEN YOU LEFT THE COMPANY, WAS YOUR DECISION TO LEAVE THE

10:49:17   20       COMPANY ABOUT MONEY?

10:49:18   21       A.    NO.

10:49:19   22       Q.    WHAT WAS IT ABOUT?

10:49:20   23       A.    IT WAS ABOUT PATIENT CARE AND MY INTEGRITY AS A PHYSICIAN.

10:49:25   24       Q.    I WANT TO CIRCLE BACK TO THE PRACTICE THAT YOU HAD OF

10:49:31   25       FORWARDING CERTAIN EMAILS TO YOUR PERSONAL EMAIL ACCOUNT.



                                        UNITED STATES COURT REPORTERS
                Case: 22-10312, 04/25/2023,
                Case 5:18-cr-00258-EJD      ID: 12702996,
                                         Document   1271 DktEntry:  36-12, Page
                                                          Filed 01/18/22   Page 81
                                                                                82 of
                                                                                   of 227
                                                                                      228
                    ROSENDORFF REDIRECT BY MR. BOSTIC (RES.)                                2855


10:49:35    1             DO YOU RECALL TESTIFYING ABOUT THAT?

10:49:36    2       A.    YES.

10:49:37    3       Q.    DURING YOUR CROSS-EXAMINATION, MR. WADE ACCUSED YOU OF

10:49:42    4       STEALING COMPANY TRADE SECRET INFORMATION.

10:49:45    5             DO YOU RECALL THAT?

10:49:45    6       A.    YES.

10:49:46    7       Q.    DID YOU EVER DISCLOSE ANY OF THE INFORMATION IN THE EMAILS

10:49:50    8       YOU FORWARDED TO ANY OTHER LABS OR COMPETITORS OF THERANOS?

10:49:54    9       A.    NO.

10:49:54   10       Q.    DID YOU EVER CONSIDER DOING THAT?

10:49:56   11       A.    NO.

10:49:57   12       Q.    BASED ON YOUR EXPERIENCE WITH THE THERANOS TESTING

10:50:02   13       METHODS, WOULD YOU HAVE WANTED OTHER METHODS -- EXCUSE ME.

10:50:05   14             WOULD YOU HAVE WANTED OTHER LABORATORIES TO USE THOSE

10:50:09   15      METHODS?

10:50:09   16       A.    NO.

10:50:10   17       Q.    MR. WADE ALSO CRITICIZED YOU FOR FORWARDING AN EMAIL TO

10:50:17   18       YOURSELF THAT CONTAINED PATIENT IDENTIFYING INFORMATION.

10:50:20   19             DO YOU RECALL THAT?

10:50:20   20       A.    YES.

10:50:21   21       Q.    DID THE WELFARE OF THOSE PATIENTS PLAY ANY ROLE IN YOUR

10:50:30   22       DECISION TO FORWARD THAT EMAIL TO YOURSELF?

10:50:32   23       A.    YES.

10:50:32   24       Q.    HOW SO?

10:50:33   25       A.    AS LABORATORY DIRECTOR, THOSE WERE PATIENTS UNDER MY CARE



                                        UNITED STATES COURT REPORTERS
                Case: 22-10312, 04/25/2023,
                Case 5:18-cr-00258-EJD      ID: 12702996,
                                         Document   1271 DktEntry:  36-12, Page
                                                          Filed 01/18/22   Page 82
                                                                                83 of
                                                                                   of 227
                                                                                      228
                    ROSENDORFF REDIRECT BY MR. BOSTIC (RES.)                                2856


10:50:39    1       AND I -- I WANTED TO BE ABLE TO RESPOND TO QUERIES THAT CAME TO

10:50:46    2       ME AFTER I LEFT THERANOS FROM ANY OF THOSE PATIENTS.

10:50:53    3             I DID NOT SHARE ANY OF THAT INFORMATION WITH THIRD

10:50:57    4       PARTIES.

10:50:57    5             AND AS I TESTIFIED, I DELETED ALL OF THOSE EMAILS I

10:51:02    6      BELIEVE THE EVENING THAT I LEFT THERANOS.

10:51:05    7       Q.    ON CROSS-EXAMINATION, MR. WADE ASKED YOU WHETHER CUSTOMER

10:51:12    8       SERVICE WAS IMPORTANT AT THERANOS.

10:51:13    9             DO YOU REMEMBER THAT QUESTION?

10:51:14   10       A.    YES.

10:51:15   11       Q.    YOUR ANSWER AT THE TIME WAS THAT YOU COULDN'T ANSWER YES

10:51:18   12       OR NO.

10:51:18   13             DO YOU REMEMBER THAT?

10:51:19   14       A.    YES.

10:51:19   15       Q.    WHAT'S THE COMPLETE ANSWER TO THAT QUESTION?         WHY COULDN'T

10:51:24   16       YOU ANSWER YES OR NO?

10:51:25   17       A.    I -- I THINK BECAUSE IF CUSTOMER SERVICE WAS TRULY

10:51:33   18       IMPORTANT TO THE COMPANY, THERE WOULD HAVE BEEN MUCH GREATER

10:51:35   19       DEGREE OF TRANSPARENCY WITH THE PUBLIC.

10:51:39   20       Q.    LET'S TALK SOME MORE ABOUT THE CLIA REGULATIONS GOVERNING

10:51:44   21       CLINICAL LAB PRACTICE.

10:51:46   22       A.    YES.

10:51:46   23       Q.    ON CROSS-EXAMINATION, MR. WADE SHOWED YOU SECTIONS OF THE

10:51:53   24       REGULATIONS THAT GIVE THE LABORATORY DIRECTOR RESPONSIBILITY

10:51:57   25       AND POWER OVER A NUMBER OF ISSUES IN THE LAB; IS THAT CORRECT?



                                        UNITED STATES COURT REPORTERS
                Case: 22-10312, 04/25/2023,
                Case 5:18-cr-00258-EJD      ID: 12702996,
                                         Document   1271 DktEntry:  36-12, Page
                                                          Filed 01/18/22   Page 83
                                                                                84 of
                                                                                   of 227
                                                                                      228
                    ROSENDORFF REDIRECT BY MR. BOSTIC (RES.)                                2857


10:52:01    1       A.    CORRECT.

10:52:01    2       Q.    AND IS THAT CONSISTENT WITH WHAT YOUR UNDERSTANDING WAS OF

10:52:04    3       THE ROLE WHEN YOU WERE LAB DIRECTOR AT THERANOS?

10:52:08    4       A.    SO CLIA ALSO MAKES THE OWNER OR THE OPERATOR OF THE

10:52:16    5       LABORATORY RESPONSIBLE IN THE EVENT THAT THERE ARE ANY

10:52:21    6       VIOLATIONS OF ANY OF THE CLIA STATUTES UNDER C.F.R. 493.

10:52:28    7             GO AHEAD.   I'M SORRY.

10:52:29    8       Q.    AND WERE YOU GENERALLY AWARE OF THE PROVISIONS OF THOSE

10:52:34    9       REGULATIONS DURING YOUR TIME AS LAB DIRECTOR AT THERANOS?

10:52:37   10       A.    YES.

10:52:41   11       Q.    DO YOU AGREE THAT THE POSITION OF LABORATORY DIRECTOR

10:52:45   12       COMES WITH CONSIDERABLE AUTHORITY?

10:52:46   13       A.    IT COMES WITH CONSIDERABLE RESPONSIBILITY AND AN

10:52:54   14       ASSUMPTION OF AUTHORITY, YEAH.

10:52:56   15       Q.    CAN YOU EXPLAIN THE DIFFERENCE BETWEEN RESPONSIBILITY AND

10:53:04   16       AUTHORITY IN THAT CONTEXT?

10:53:05   17       A.    SO RESPONSIBILITY IS WHAT YOU'RE LEGALLY RESPONSIBLE FOR

10:53:10   18       IN THE EYES OF CMS IN TERMS OF HOW THE LAB FUNCTIONS AND

10:53:13   19       PERFORMS, THE ACCURACY OF ITS TESTING, HOW THE LAB REPORTS

10:53:19   20       TESTING, HOW IT HANDLES SAMPLES, ET CETERA, ET CETERA.

10:53:22   21             AUTHORITY IS THE ACTUAL POWER TO MAKE THOSE THINGS HAPPEN

10:53:25   22      AND IMPLEMENT THEM IN THE LABORATORY.

10:53:30   23       Q.    LET'S TALK ABOUT ACTUAL POWER AT THERANOS THEN.

10:53:38   24             IN YOUR EXPERIENCE AT THE COMPANY, WHAT WAS THE POWER

10:53:40   25      DYNAMIC LIKE BETWEEN YOU ON THE ONE HAND AND ELIZABETH HOLMES



                                        UNITED STATES COURT REPORTERS
                Case: 22-10312, 04/25/2023,
                Case 5:18-cr-00258-EJD      ID: 12702996,
                                         Document   1271 DktEntry:  36-12, Page
                                                          Filed 01/18/22   Page 84
                                                                                85 of
                                                                                   of 227
                                                                                      228
                    ROSENDORFF REDIRECT BY MR. BOSTIC (RES.)                                2858


10:53:48    1      ON THE OTHER HAND, FOR EXAMPLE?

10:53:50    2       A.    CAN YOU BE -- CAN YOU BE MORE SPECIFIC?

10:54:00    3       Q.    SURE.

10:54:00    4       A.    YEAH.

10:54:01    5       Q.    IN YOUR ROLE AS LAB DIRECTOR AT THERANOS, DID YOU HAVE

10:54:05    6       CO-EQUAL POWER WITH MS. HOLMES IN THE COMPANY?          DID ONE OF YOU

10:54:10    7       HAVE AUTHORITY OVER THE OTHER?       TELL US HOW THAT WORKED.

10:54:13    8       A.    WELL, MR. BALWANI WAS HEAVILY INVOLVED IN DIRECTING THE

10:54:18    9       CLIA LABORATORY.     HE WOULD MAKE FIRING DECISIONS WITHOUT ME.

10:54:28   10             AND ALSO, AS WE'VE SEEN THROUGH THIS TRIAL, NUMEROUS

10:54:33   11      LABORATORY AND OPERATIONAL DECISIONS THAT DIDN'T INVOLVE ME.

10:54:37   12             AND I ASSUMED HE WAS DISCUSSING THOSE WITH ELIZABETH.

10:54:40   13       Q.    GENERALLY SPEAKING IN THE COMPANY, WHO HAD MORE POWER, YOU

10:54:45   14       OR THE CEO, MS. HOLMES?

10:54:47   15       A.    MS. HOLMES.

10:54:49   16       Q.    DID MS. HOLMES'S POWER AND HER AUTHORITY IN THE COMPANY

10:54:53   17       COME FROM THE CLIA REGULATIONS?

10:54:56   18       A.    NO.    IT CAME FROM BUSINESS PRIORITIES.

10:54:59   19       Q.    AND HER POSITION AT THE COMPANY?

10:55:01   20       A.    YES.

10:55:02   21       Q.    IF YOU HAD BEEN LAB DIRECTOR AND CEO OF THERANOS, IF YOU

10:55:17   22       HAD HAD THE POWER TO DO WHATEVER YOU WANTED AT THE COMPANY, CAN

10:55:20   23       YOU GIVE US SOME EXAMPLES OF THINGS THAT WOULD HAVE BEEN

10:55:22   24       DIFFERENT, THINGS THAT YOU WOULD HAVE DONE DIFFERENTLY?

10:55:25   25                    MR. WADE:   OBJECTION, YOUR HONOR.



                                         UNITED STATES COURT REPORTERS
                Case: 22-10312, 04/25/2023,
                Case 5:18-cr-00258-EJD      ID: 12702996,
                                         Document   1271 DktEntry:  36-12, Page
                                                          Filed 01/18/22   Page 85
                                                                                86 of
                                                                                   of 227
                                                                                      228
                    ROSENDORFF REDIRECT BY MR. BOSTIC (RES.)                                2859


10:55:27    1                   THE COURT:   SUSTAINED.

10:55:30    2             YOU CAN ASK A DIFFERENT METHOD.       AS TO THE FORM OF THE

10:55:37    3      QUESTION, OBJECTION SUSTAINED.

10:55:39    4       BY MR. BOSTIC:

10:55:39    5       Q.    DR. ROSENDORFF, DURING YOUR TIME AT THERANOS, WERE THERE

10:55:42    6       THINGS THAT YOU THOUGHT SHOULD HAVE BEEN DONE TO ENSURE THE

10:55:48    7       ACCURACY OF THE TESTING THAT YOU DIDN'T HAVE THE POWER TO DO?

10:55:52    8       A.    I MIGHT SUGGEST -- FOR INSTANCE, I MADE SUGGESTIONS ABOUT

10:56:01    9       BEING TRANSPARENT WITH CUSTOMERS ABOUT WHETHER FINGERSTICK OR

10:56:05   10       VENOUS BLOOD HAD BEEN DRAWN AND WHAT METHOD HAD BEEN USED.

10:56:10   11       THAT DIDN'T HAPPEN.

10:56:12   12             I HAD HAD A, AN ARGUMENT, PER SE, OR A DISCUSSION WITH

10:56:18   13      DANIEL DURING THE VALIDATION PHASE ABOUT THE FACT THAT ACTUALLY

10:56:24   14      PAIRED VENOUS AND FINGERSTICK SAMPLES WOULD BE A BETTER WAY TO

10:56:28   15      ASSESS ACCURACY THAN JUST DILUTING VENOUS.

10:56:31   16             BUT IN VIEW OF THE RUSH FOR THE LAUNCH, THAT WASN'T

10:56:34   17      SOMETHING THAT THE COMPANY WAS GOING TO AGREE TO.

10:56:41   18       Q.    IN THE SITUATIONS THAT YOU JUST DESCRIBED, WERE YOU THE

10:56:45   19       ULTIMATE DECIDER ON HOW THE COMPANY HANDLED THOSE SITUATIONS?

10:56:48   20       A.    NO.

10:56:49   21       Q.    WHO WERE THE ULTIMATE DECIDERS IN THOSE SITUATIONS?

10:56:54   22       A.    THE EXECUTIVES.

10:56:55   23       Q.    WHO ARE WE TALKING ABOUT THERE?

10:56:57   24       A.    ELIZABETH, SUNNY, AND DANIEL, WHO WAS THE VICE PRESIDENT.

10:57:00   25       Q.    DO YOU RECALL TESTIMONY DURING CROSS-EXAMINATION ABOUT



                                        UNITED STATES COURT REPORTERS
                Case: 22-10312, 04/25/2023,
                Case 5:18-cr-00258-EJD      ID: 12702996,
                                         Document   1271 DktEntry:  36-12, Page
                                                          Filed 01/18/22   Page 86
                                                                                87 of
                                                                                   of 227
                                                                                      228
                    ROSENDORFF REDIRECT BY MR. BOSTIC (RES.)                                2860


10:57:08    1       YOUR VIEW OF MS. HOLMES'S QUALIFICATIONS AND WHETHER SHE WOULD

10:57:11    2       HAVE BEEN QUALIFIED, FOR EXAMPLE, TO BE A LAB DIRECTOR HERSELF?

10:57:14    3       A.    YES.

10:57:14    4       Q.    AND YOU WERE ANSWERING BASED ON WHAT THE REGULATIONS

10:57:20    5       REQUIRE; IS THAT RIGHT?

10:57:22    6       A.    CORRECT.

10:57:23    7       Q.    IN PRACTICE AT THERANOS -- WELL, LET ME ASK A SEPARATE

10:57:30    8       QUESTION FIRST.

10:57:32    9             DOES THE SAME GO FOR MR. BALWANI AND YOUR TESTIMONY ABOUT

10:57:37   10      HIS QUALIFICATIONS?

10:57:38   11       A.    YES.

10:57:38   12       Q.    IN PRACTICE AT THERANOS, DID MS. HOLMES AND MR. BALWANI

10:57:47   13       NEED TO QUALIFY UNDER THE REGULATIONS TO INFLUENCE OPERATIONS

10:57:51   14       IN THE LABORATORY?

10:57:52   15       A.    YES.

10:57:52   16       Q.    AND THAT'S -- THAT WAS A REQUIREMENT BASED ON THE

10:57:56   17       REGULATIONS; CORRECT?

10:57:57   18       A.    YES.

10:57:57   19       Q.    IS THAT HOW IT ACTUALLY WORKED AT THE COMPANY IN PRACTICE?

10:58:00   20       A.    NO.

10:58:01   21       Q.    HOW DID IT WORK AT THE COMPANY IN PRACTICE?

10:58:03   22       A.    SUNNY HAD A STRONG HAND IN, IN THE OPERATIONS OF THE LAB.

10:58:10   23       FOR INSTANCE, HIS DECISION BEHIND MY BACK THAT VACUTAINERS

10:58:15   24       SHOULD BE ALIQUOTED INTO CTN'S THAT I HAD NO AWARENESS OF.

10:58:21   25             DANIEL YOUNG WAS HEAVILY INVOLVED IN CLIA LAB OPERATIONS.



                                        UNITED STATES COURT REPORTERS
                Case: 22-10312, 04/25/2023,
                Case 5:18-cr-00258-EJD      ID: 12702996,
                                         Document   1271 DktEntry:  36-12, Page
                                                          Filed 01/18/22   Page 87
                                                                                88 of
                                                                                   of 227
                                                                                      228
                    ROSENDORFF REDIRECT BY MR. BOSTIC (RES.)                                2861


10:58:24    1              AND MS. HOLMES WAS AWARE OF ALL OF THAT.

10:58:33    2       Q.     I'D LIKE TO SHOW YOU WHAT'S BEEN MARKED AS EXHIBIT 5417.

10:58:37    3              MAY I APPROACH, YOUR HONOR?

10:58:39    4                     THE COURT:    YES.

10:58:40    5                     MR. BOSTIC:   (HANDING.)

10:58:43    6       Q.     AND, DR. ROSENDORFF, DO YOU HAVE EXHIBIT 5417 IN FRONT OF

10:58:53    7       YOU?

10:58:53    8       A.     YES.

10:58:54    9       Q.     IS THAT AN EMAIL CHAIN WITH THE SUBJECT LINE PHYSICIAN

10:59:00   10       QUESTIONING RESULTS BETWEEN INDIVIDUALS AT THERANOS, INCLUDING

10:59:04   11       MR. BALWANI AND ELIZABETH HOLMES?

10:59:06   12       A.     YES.

10:59:06   13                     MR. BOSTIC:   YOUR HONOR, MOVE TO ADMIT EXHIBIT 5417.

10:59:15   14                     MR. WADE:    COURT'S INDULGENCE FOR ONE MOMENT.

10:59:18   15              (PAUSE IN PROCEEDINGS.)

10:59:31   16                     MR. WADE:    NO OBJECTION.

10:59:31   17                     THE COURT:    IT'S ADMITTED AND IT MAY BE PUBLISHED.

10:59:39   18              (GOVERNMENT'S EXHIBIT 5417 WAS ADMITTED IN EVIDENCE.)

10:59:39   19       BY MR. BOSTIC:

10:59:40   20       Q.     AND THIS IS AN EMAIL CHAIN, DR. ROSENDORFF, ABOUT THE

10:59:42   21       PHYSICIAN QUESTIONING RESULTS.

10:59:45   22              DO YOU SEE THAT?

10:59:46   23       A.     YES.

10:59:46   24       Q.     I'D LIKE TO DRAW YOUR ATTENTION TO THE BOTTOM OF THE FIRST

10:59:49   25       PAGE, PLEASE.



                                          UNITED STATES COURT REPORTERS
                Case: 22-10312, 04/25/2023,
                Case 5:18-cr-00258-EJD      ID: 12702996,
                                         Document   1271 DktEntry:  36-12, Page
                                                          Filed 01/18/22   Page 88
                                                                                89 of
                                                                                   of 227
                                                                                      228
                    ROSENDORFF REDIRECT BY MR. BOSTIC (RES.)                                2862


10:59:49    1       A.    OKAY.

10:59:50    2       Q.    AND IF WE COULD ZOOM IN JUST ON THE BOTTOM TWO MESSAGES.

10:59:56    3             DR. ROSENDORFF, DO YOU SEE AT THE BOTTOM, THERE'S AN EMAIL

10:59:58    4      FROM SUNNY BALWANI TO SOMEONE NAMED NICHOLAS MENCHEL?

11:00:02    5       A.    YES.

11:00:06    6       Q.    DO YOU RECALL WHO NICHOLAS MENCHEL WAS AT THE COMPANY?

11:00:10    7       A.    SO THERE WERE THREE INDIVIDUALS WHO WENT TO, OR ATTENDED

11:00:13    8       DUKE UNIVERSITY WITH EACH OTHER.       IT WAS MAX, NICK, AND ANOTHER

11:00:18    9       PERSON.   THEY WERE FACTOTUMS OF A SORT.       THEY PERFORMED MANY

11:00:26   10       DIFFERENT FUNCTIONS IN THE LAB.

11:00:28   11       Q.    OKAY.   MR. BALWANI'S E-MAIL TO MR. MENCHEL ON JULY 19TH,

11:00:33   12       2014 SAYS, "NICK, THIS WAS NOT COMMUNICATED TO ME UNTIL I SAW

11:00:39   13       THIS A FEW MINUTES AGO."      HE'S REFERRING TO AN EARLIER

11:00:42   14       CONVERSATION HERE.

11:00:43   15             HE THEN SAYS, "YOU KNOW, I AM RUNNING CLIA LAB NOW SO IF

11:00:47   16       YOU WANT TO STAY INVOLVED FROM CALL CENTER PERSPECTIVE, YOU

11:00:50   17       NEED TO MAKE APPOINT THAT I GET LOOKED IN."

11:00:55   18             DO YOU SEE THAT?

11:00:56   19       A.    YES, I DO.

11:00:57   20       Q.    JULY 2014, WERE YOU STILL PRESENT AT THE COMPANY?

11:01:02   21       A.    YES, I WAS.

11:01:03   22       Q.    WHAT WAS YOUR POSITION AT THE COMPANY IN JULY 2014?

11:01:05   23       A.    LABORATORY DIRECTOR.

11:01:07   24       Q.    WHAT'S YOUR REACTION TO MR. BALWANI'S STATEMENT, "I AM

11:01:10   25       RUNNING CLIA LAB NOW"?



                                        UNITED STATES COURT REPORTERS
                Case: 22-10312, 04/25/2023,
                Case 5:18-cr-00258-EJD      ID: 12702996,
                                         Document   1271 DktEntry:  36-12, Page
                                                          Filed 01/18/22   Page 89
                                                                                90 of
                                                                                   of 227
                                                                                      228
                    ROSENDORFF REDIRECT BY MR. BOSTIC (RES.)                                2863


11:01:12    1       A.    AFTER MARK PANDORI'S EXIT FROM THE COMPANY, SUNNY BALWANI

11:01:19    2       COMMUNICATED TO ME THAT HE HAD A UNIQUE SET OF SKILLS AND

11:01:24    3       TALENTS THAT WOULD QUALIFY HIM TO DIRECT THE CLIA LAB

11:01:27    4       ESSENTIALLY.

11:01:28    5             I DIDN'T RESPOND TO THAT.

11:01:32    6             AND SO I'M NOT SURPRISED THAT HE'S SAYING HERE, "I'M

11:01:35    7      RUNNING THE CLIA LAB NOW."      HE'S CLEARLY NOT QUALIFIED UNDER

11:01:39    8      THE REGULATIONS.

11:01:40    9       Q.    I'LL DRAW YOUR ATTENTION TO THE VERY TOP OF PAGE 1, AND IF

11:01:47   10       WE CAN ZOOM IN JUST ON THE TOP MESSAGE.

11:01:57   11             DO YOU SEE THAT AT THE TOP OF THIS EMAIL CHAIN, THERE'S

11:01:59   12       ANOTHER MESSAGE FROM MR. BALWANI ON THAT SAME DATE TO

11:02:02   13       NICHOLAS MENCHEL AND BCC'ING ELIZABETH HOLMES --

11:02:06   14       A.    YES.

11:02:07   15       Q.    -- FORWARDING TO HER THE REST OF THIS EMAIL CHAIN.

11:02:09   16             DO YOU SEE THAT?

11:02:10   17       A.    YES.

11:02:10   18       Q.    DID THE CLIA REGULATIONS GIVE YOU THE POWER AT THERANOS TO

11:02:21   19       OVERRULE ELIZABETH HOLMES AND SUNNY BALWANI?

11:02:25   20       A.    UM --

11:02:26   21       Q.    AND I'M ASKING IN PRACTICE BASED ON HOW IT ACTUALLY WORKED

11:02:30   22       AT THE COMPANY.

11:02:31   23       A.    SO THERE'S A CLEAR CONFLICT BETWEEN THE ORGANIZATIONAL

11:02:38   24       CHART AT THE COMPANY WHERE BOTH SUNNY AND ELIZABETH ARE ABOVE

11:02:43   25       ME IN THAT ORG CHART, I REPORT TO THEM AND I'M RESPONSIBLE TO



                                        UNITED STATES COURT REPORTERS
                Case: 22-10312, 04/25/2023,
                Case 5:18-cr-00258-EJD      ID: 12702996,
                                         Document   1271 DktEntry:  36-12, Page
                                                          Filed 01/18/22   Page 90
                                                                                91 of
                                                                                   of 227
                                                                                      228
                    ROSENDORFF REDIRECT BY MR. BOSTIC (RES.)                                2864


11:02:47    1       THEM.

11:02:48    2             ON THE OTHER HAND, THE CLIA REGULATIONS SAY THAT I'M

11:02:50    3      RESPONSIBLE FOR ESSENTIALLY EVERYTHING THAT HAPPENS IN THE

11:02:53    4      LABORATORY.

11:02:54    5       Q.    AND IN PRACTICE AT THERANOS, DID ELIZABETH HOLMES AND

11:02:58    6       SUNNY BALWANI DEFER TO YOU ON THOSE ISSUES BASED ON THE CLIA

11:03:03    7       REGULATIONS?

11:03:04    8       A.    AT TIMES.

11:03:05    9       Q.    ALL THE TIME?

11:03:07   10       A.    NO.

11:03:07   11       Q.    DO YOU RECALL REVIEWING, DURING YOUR TESTIMONY, AN EMAIL

11:03:12   12       INCLUDING MR. BALWANI AND ELIZABETH HOLMES WHERE YOU RAISED

11:03:17   13       ISSUES REGARDING CLIA COMPLIANCE?

11:03:19   14       A.    YES.

11:03:20   15       Q.    AND IN CONNECTION WITH THE ISSUES YOU RAISED THERE, DID

11:03:25   16       MS. HOLMES AND MR. BALWANI DEFER TO YOUR JUDGMENT?

11:03:28   17       A.    SO I BELIEVE THAT WAS AN EMAIL I SENT ON A SUNDAY STATING

11:03:33   18       THAT WE WEREN'T IN COMPLIANCE WITH A NUMBER OF CLIA STATUTES.

11:03:38   19             AND SUNNY RESPONDED THAT HE WAS GOING TO GET THE TEAMS TO

11:03:40   20      WORK ON IT AND SPEND LONG HOURS.

11:03:43   21       Q.    DO YOU REMEMBER MS. HOLMES DIRECTING THAT EMAIL THAT NO

11:03:46   22       ONE SHOULD BE GUESSING ABOUT THOSE ISSUES?

11:03:48   23       A.    MS. HOLMES'S EMAIL ABOUT THE GUESSING WAS ABOUT -- WAS

11:03:54   24       BASICALLY PUTTING A STOP TO THE BACK AND FORTH ABOUT

11:03:58   25       PROFICIENCY TESTING.



                                        UNITED STATES COURT REPORTERS
                Case: 22-10312, 04/25/2023,
                Case 5:18-cr-00258-EJD      ID: 12702996,
                                         Document   1271 DktEntry:  36-12, Page
                                                          Filed 01/18/22   Page 91
                                                                                92 of
                                                                                   of 227
                                                                                      228
                    ROSENDORFF REDIRECT BY MR. BOSTIC (RES.)                                2865


11:04:00    1             SO IT WAS FOLLOWING ON THE HEELS OF THAT SPOT CHECK THAT

11:04:03    2       WE DISCUSSED, AND THERE WAS A DISCUSSION BETWEEN DANIEL AND

11:04:08    3       MYSELF AND SUNNY ABOUT WHAT'S APPROPRIATE IN TERMS OF

11:04:11    4       PROFICIENCY TESTING, AND ELIZABETH SAID, YOU KNOW, WE ENGAGED

11:04:16    5       DIRECTLY WITH YOUR COUNSEL A LONG TIME ABOUT THIS AND NOBODY

11:04:18    6       SHOULD BE GUESSING ON THESE MATTERS.

11:04:20    7       Q.    AND AT THE TIME, DID YOU FEEL THAT THAT'S WHAT YOU WERE

11:04:23    8       DOING?   WERE YOU GUESSING ON THOSE REGULATORY MATTERS?

11:04:26    9       A.    NO.

11:04:26   10       Q.    IN THAT SITUATION, DID MS. HOLMES DEFER TO YOU AS LAB

11:04:30   11       DIRECTOR?

11:04:31   12       A.    NO.

11:04:40   13                    MR. BOSTIC:   MAY I HAVE A MOMENT, YOUR HONOR?

11:04:42   14                    THE COURT:    YES.

11:04:44   15             (DISCUSSION OFF THE RECORD AMONGST GOVERNMENT COUNSEL.)

11:04:59   16       BY MR. BOSTIC:

11:05:02   17       Q.    DR. ROSENDORFF, YOU TESTIFIED A MOMENT AGO THAT UNDER THE

11:05:05   18       REGULATIONS, THE OWNER OR OPERATOR OF A LAB ALSO HAS

11:05:08   19       RESPONSIBILITIES.

11:05:09   20       A.    YES.

11:05:10   21       Q.    CAN YOU EXPLAIN HOW THAT FITS INTO THE PICTURE BASED ON

11:05:12   22       YOUR UNDERSTANDING?

11:05:13   23       A.    IF CMS DECIDES TO SANCTION THE LABORATORY BASED ON

11:05:21   24       NONCOMPLIANCE, IT CAN IMPOSE FINES AND PENALTIES ON EITHER THE

11:05:26   25       LABORATORY DIRECTOR OR THE OWNER/OPERATOR OR BOTH.



                                         UNITED STATES COURT REPORTERS
                Case: 22-10312, 04/25/2023,
                Case 5:18-cr-00258-EJD      ID: 12702996,
                                         Document   1271 DktEntry:  36-12, Page
                                                          Filed 01/18/22   Page 92
                                                                                93 of
                                                                                   of 227
                                                                                      228
                    ROSENDORFF REDIRECT BY MR. BOSTIC (RES.)                                2866


11:05:31    1       Q.    DO YOU RECALL TESTIMONY DURING CROSS-EXAMINATION WHERE

11:05:39    2       MR. WADE ASKED YOU ABOUT WHETHER EVERY LAB MAKES OCCASIONAL

11:05:42    3       MISTAKES?

11:05:43    4       A.    YES.

11:05:44    5       Q.    AND DO YOU AGREE WITH THAT STATEMENT, THAT EVERY LAB

11:05:47    6       SOMETIMES MAKES MISTAKES?

11:05:48    7       A.    YES.

11:05:48    8       Q.    YOU'VE WORKED AT MULTIPLE LABS; IS THAT CORRECT?

11:05:52    9       A.    YES, MANY, MANY LABS.

11:05:54   10       Q.    APPROXIMATELY HOW MANY LABS HAVE YOU WORKED AT IN YOUR

11:05:57   11       13 YEARS OF EXPERIENCE?

11:05:58   12       A.    IT'S SIX NOW.    YEAH.

11:06:07   13       Q.    NONE OF THOSE LABS HAS BEEN PERFECT; IS THAT RIGHT?

11:06:10   14       A.    CORRECT.

11:06:11   15       Q.    WERE THE PROBLEMS THAT YOU SAW AT THERANOS IN LINE WITH

11:06:18   16       WHAT YOU WOULD EXPECT TO SEE AT ANY LABORATORY?

11:06:20   17       A.    NO.

11:06:20   18       Q.    WERE THEY WORSE THAN THAT?

11:06:22   19       A.    YES.

11:06:23   20       Q.    AT ANY OTHER LABORATORY, DID YOU EVER RESORT TO FORWARDING

11:06:29   21       EVIDENCE TO YOUR PERSONAL EMAIL ACCOUNT BECAUSE YOU WORRIED

11:06:31   22       ABOUT FUTURE INVESTIGATIONS INTO LAB PRACTICES?

11:06:34   23       A.    NO.

11:06:36   24                    MR. BOSTIC:   NO FURTHER QUESTIONS.

11:06:37   25             THANK YOU, YOUR HONOR.



                                         UNITED STATES COURT REPORTERS
                Case: 22-10312, 04/25/2023,
                Case 5:18-cr-00258-EJD      ID: 12702996,
                                         Document   1271 DktEntry:  36-12, Page
                                                          Filed 01/18/22   Page 93
                                                                                94 of
                                                                                   of 227
                                                                                      228
                                                                                            2867


11:06:38    1                  THE COURT:    LET'S TAKE OUR MORNING BREAK NOW, LADIES

11:06:40    2       AND GENTLEMEN.

11:06:41    3              LET'S TAKE 45 MINUTES, 45 MINUTES.      AND THEN WE'LL COME

11:06:45    4      BACK.

11:06:46    5              WILL YOU HAVE CROSS-EXAMINATION, OR RECROSS?

11:06:48    6                  MR. WADE:    I WILL, YOUR HONOR.

11:06:49    7                  THE COURT:    ALL RIGHT.    THANK YOU.

11:06:52    8                  THE CLERK:    COURT IS IN RECESS.

11:07:07    9                  THE COURT:    YOU CAN STAND DOWN, DOCTOR, AS WELL.

11:07:12   10              (JURY OUT AT 11:07 A.M.)

11:07:28   11                  THE COURT:    ALL RIGHT.    PLEASE BE SEATED.

11:07:30   12              THE RECORD SHOULD REFLECT OUR JURY HAS LEFT FOR THE BREAK,

11:07:33   13      AND DR. ROSENDORFF HAS LEFT THE COURTROOM.

11:07:36   14              MR. WADE?

11:07:36   15                  MR. WADE:    YOUR HONOR, COUNSEL JUST, WITH A SERIES OF

11:07:40   16       QUESTIONS, ELICITED A COMPARISON OF THE THERANOS LAB AND ISSUES

11:07:45   17       WITHIN THE THERANOS LAB TO EVERY OTHER LAB IN WHICH

11:07:50   18       DR. ROSENDORFF WORKED OVER THE PERIOD OF 13 YEARS AND COMPARED

11:07:53   19       THE SIGNIFICANCE OF THOSE ISSUES.

11:07:56   20              THAT HAS OPENED THE DOOR TO THE CROSS-EXAMINATION THAT THE

11:07:59   21      GOVERNMENT TRIED TO PRECLUDE YESTERDAY, THAT THEY HAVE PUT THAT

11:08:04   22      AT ISSUE.    HE HAS TESTIFIED BEFORE THIS COURT, OR BEFORE THIS

11:08:07   23      JURY, AND NOW IT'S ONLY FAIR TO GO INTO THE PROBLEMS THAT

11:08:11   24      EXISTED WITHIN THOSE LABS SO THE JURY UNDERSTANDS THE FULL

11:08:14   25      PICTURE.



                                        UNITED STATES COURT REPORTERS
                Case: 22-10312, 04/25/2023,
                Case 5:18-cr-00258-EJD      ID: 12702996,
                                         Document   1271 DktEntry:  36-12, Page
                                                          Filed 01/18/22   Page 94
                                                                                95 of
                                                                                   of 227
                                                                                      228
                                                                                            2868


11:08:15    1              WITHOUT IT, IT'S A VERY MISLEADING CHARACTERIZATION BASED

11:08:20    2      ON QUESTIONS THAT THE GOVERNMENT JUST ASKED.

11:08:22    3                   MR. BOSTIC:   I DISAGREE, YOUR HONOR.      THAT WAS IN

11:08:24    4       RESPONSE TO QUESTIONS ON CROSS ABOUT WHETHER LABS MAKE

11:08:30    5       MISTAKES, AND I THINK THE SIMPLE QUESTION OF WHETHER

11:08:35    6       DR. ROSENDORFF CATEGORIZES THE ISSUES AT THERANOS AS JUST

11:08:39    7       SIMPLE RUN OF THE MILL LABORATORY MISTAKES IS IN DIRECT

11:08:42    8       RESPONSE TO THAT LINE OF QUESTIONING ON CROSS.

11:08:45    9              I DON'T THINK HE SAID ANYTHING THAT OPENS THE DOOR TO THE

11:08:48   10      WIDE RANGE OF EVIDENCE THAT MR. WADE IS REFERENCING.

11:08:52   11                   MR. WADE:    YOUR HONOR, THE TRANSCRIPT SPEAKS FOR

11:08:54   12       ITSELF.    HE -- HE OPENED UP 13 YEARS OF HIS LAB EXPERIENCE, ALL

11:08:58   13       OF HIS OTHER EXPERIENCES, AND ASKED HIM TO COMPARE THOSE ERRORS

11:09:03   14       TO THE ERRORS OF ALL THOSE OTHER COMPANIES AND HE SAID THERANOS

11:09:07   15       IS WORSE.

11:09:08   16              AND SO I THINK IT'S ONLY FAIR TO ALLOW THE DEFENSE TO GO

11:09:14   17      INTO THAT.

11:09:15   18              OTHERWISE IT'S AN INCREDIBLY MISLEADING PICTURE TO THE

11:09:18   19      JURY.    THE JURY CAN ASSESS WHETHER THEY'RE BETTER OR WORSE.

11:09:21   20              WE DON'T HAVE TO RELY ON DR. ROSENDORFF'S

11:09:24   21      CHARACTERIZATION.     WE NOW SHOULD HAVE THE ABILITY TO PROBE

11:09:26   22      THAT.

11:09:26   23                   THE COURT:    WELL, THAT WOULD THEN -- IF WE ASK THE

11:09:29   24       JURY TO MAKE THAT DETERMINATION, THAT WOULD BE A SEPARATE MINI

11:09:32   25       TRIAL THAT YOU'VE TALKED TO ME ABOUT THAT CAUSED ME TO HAVE



                                        UNITED STATES COURT REPORTERS
                Case: 22-10312, 04/25/2023,
                Case 5:18-cr-00258-EJD      ID: 12702996,
                                         Document   1271 DktEntry:  36-12, Page
                                                          Filed 01/18/22   Page 95
                                                                                96 of
                                                                                   of 227
                                                                                      228
                                                                                            2869


11:09:35    1       CONCERN ABOUT OTHER ISSUES.

11:09:37    2             NOW, I -- I UNDERSTAND THE NATURE OF THE QUESTION AND THE

11:09:40    3      FACT THAT, YOU KNOW, I THINK I'VE SAID FREQUENTLY, AND YOU

11:09:45    4      PROBABLY KNOW, THERE'S A DIFFERENCE BETWEEN TURNING THE KNOB

11:09:47    5      AND OPENING THE DOOR.

11:09:49    6             HAS THIS DOOR BEEN OPENED THEN AS TO THIS?

11:09:51    7             I DON'T SEE IT OPEN SUCH THAT YOU CAN GET INTO ALL OF THE

11:09:54    8      OTHER ISSUES THAT WERE IN THE OTHER THREE LABS.          I THINK THAT'S

11:09:57    9      WHAT WE'RE TALKING ABOUT.      IS THAT RIGHT?

11:09:59   10                  MR. WADE:    THERE WERE THREE LABS THAT HAD -- HAVE HAD

11:10:02   11       MAJOR ISSUES --

11:10:03   12                  THE COURT:    RIGHT.

11:10:04   13                  MR. WADE:    -- IN HIS TENURE.

11:10:06   14                  THE COURT:    RIGHT.   THE ONES WE TALKED ABOUT

11:10:08   15       YESTERDAY.

11:10:09   16                  MR. WADE:    RIGHT, EXACTLY.

11:10:10   17                  THE COURT:    FIRST OF ALL, THE MIDDLE LAB REGARDING

11:10:12   18       THE CRIMINAL INVESTIGATION, I DON'T THINK THIS LINE OF

11:10:14   19       QUESTIONING TOUCHES ON THAT AT ALL AND I WOULD NOT ALLOW YOU TO

11:10:18   20       PROBE INTO THAT.     I THINK THAT STILL IS PRECLUDED BASED ON THE

11:10:20   21       COURT'S RULING YESTERDAY.

11:10:22   22             ON THE OTHER ISSUES ABOUT WHETHER OR NOT HE'S SEEN

11:10:25   23      DIFFERENCES IN THE OTHER LABS, I MAY ALLOW YOU TO PROBE A

11:10:28   24      LITTLE BIT, BUT WE'RE NOT GOING TO GET INTO THE DOCUMENTS, ANY

11:10:32   25      OF THAT COLLATERAL TYPE EXTRINSIC MATERIAL.         I STILL THINK



                                        UNITED STATES COURT REPORTERS
                Case: 22-10312, 04/25/2023,
                Case 5:18-cr-00258-EJD      ID: 12702996,
                                         Document   1271 DktEntry:  36-12, Page
                                                          Filed 01/18/22   Page 96
                                                                                97 of
                                                                                   of 227
                                                                                      228
                                                                                            2870


11:10:38    1      THAT'S INAPPROPRIATE TO DO.

11:10:40    2             I MAY PERMIT YOU TO ASK SOME QUESTIONS, TO FOLLOW UP

11:10:46    3      ABOUT, WELL, YOU SAID, HE TALKED ABOUT THE OTHER PLACES HE'S

11:10:49    4      WORKED AT WERE NOT AS BAD AS THIS, AND YOU CAN ASK HIM A LITTLE

11:10:52    5      BIT ABOUT THAT.

11:10:53    6             BUT WE'RE NOT GOING TO GET INTO A MINI TRIAL ON ALL THE

11:10:56    7      OTHER SUBJECTS AND THAT.

11:10:58    8             YOU CAN TALK TO HIM IN GENERAL.       I THINK THIS WAS A

11:11:00    9      GENERAL PROBE ABOUT A -- AND I UNDERSTAND YOUR CONCERN ABOUT

11:11:04   10      THE IMPACT IT MIGHT HAVE ON THE JURY.        YOU CAN CERTAINLY PROBE

11:11:07   11      WHETHER OR NOT THERE WERE ISSUES OF OTHER TRIALS.          YOU'VE

11:11:11   12      ELICITED FROM HIM YESTERDAY THAT AT ONE OF THE LABS HE WAS AT,

11:11:16   13      THEY HAD AN INVESTIGATION.

11:11:17   14             SO, AGAIN, AS WE TALKED YESTERDAY PRIOR TO YOUR

11:11:20   15      EXAMINATION ON THE TOPIC, I'LL ALLOW SOME LIMITED, VERY LIMITED

11:11:24   16      PROBING OF THIS.

11:11:26   17             I THINK YOUR QUESTIONING MAY ACTUALLY ENHANCE THE DAMAGE

11:11:30   18      THAT YOU'RE SEEKING TO AVOID BY RAISING SOME OTHER QUESTIONS,

11:11:35   19      BUT YOU KNOW, IT'S YOUR CASE.

11:11:37   20             BUT I WILL PERMIT SOME QUESTIONING ON THAT, BUT GENERALLY.

11:11:42   21      WE'RE NOT GOING TO GET INTO THE CMS REPORTS AND ALL OF THAT.              I

11:11:46   22      DON'T THINK THAT'S NECESSARY.

11:11:47   23                  MR. WADE:    YOUR HONOR, I'LL CONFER WITH MY COLLEAGUES

11:11:51   24       DURING THE BREAK ON THIS ISSUE.

11:11:53   25             I WOULD JUST ASK IF -- ALTERNATIVELY, IF WE COME BACK AND



                                        UNITED STATES COURT REPORTERS
                Case: 22-10312, 04/25/2023,
                Case 5:18-cr-00258-EJD      ID: 12702996,
                                         Document   1271 DktEntry:  36-12, Page
                                                          Filed 01/18/22   Page 97
                                                                                98 of
                                                                                   of 227
                                                                                      228
                                                                                            2871


11:11:58    1      ASK THAT THAT EVIDENCE BE STRICKEN AND THAT THE GOVERNMENT BE

11:12:00    2      ADMONISHED.    I MEAN, THE COURT GAVE CLEAR DIRECTION ON THIS

11:12:04    3      ISSUE YESTERDAY.     YOU SAID YOU DIDN'T WANT MINI TRIALS.        WE

11:12:08    4      TALKED ABOUT THE POSSIBILITY OF OPENING THIS DOOR, WHICH IS NOW

11:12:13    5      WIDE OPEN AS THE GOVERNMENT -- AS THE GOVERNMENT WELL KNEW WHEN

11:12:18    6      IT WAS ASKING THOSE QUESTIONS ABOUT THE BREADTH OF HIS

11:12:20    7      EXPERIENCE.

11:12:21    8                  THE COURT:    SO --

11:12:21    9                  MR. WADE:    I WAS VERY -- I WAS VERY CAREFUL, AS THE

11:12:24   10       COURT OBSERVED I'M SURE YESTERDAY, OF TRYING TO DRAW THE LINE

11:12:28   11       IN THE DIRECTION OF THE COURT, AND NOW WE HAVE COUNSEL, AT THE

11:12:34   12       END OF THE CROSS-EXAMINATION, OR AT THE END OF THE REDIRECT

11:12:38   13       EXAMINATION JUST BLOWING IT WIDE OPEN.

11:12:40   14                  MR. BOSTIC:    YOUR HONOR, IF I CAN RESPOND TO THAT?

11:12:41   15                  THE COURT:    WELL, WHAT YOU DID YESTERDAY WAS YOU GOT

11:12:44   16       HIS RESPONSE THAT HE HAS CONCERNS ABOUT HIS LICENSE BEING

11:12:48   17       SUSPENDED FOR TWO YEARS, AND YOU CHOSE TO STOP YOUR EXAMINATION

11:12:50   18       THEN.   YOU COULD HAVE GONE AND ASKED OTHER QUESTIONS, BUT YOU

11:12:53   19       STOPPED THERE, AND THAT'S WHERE IT IS.

11:12:57   20             I -- I WANT -- I'LL, OF COURSE, ALLOW YOU TO SPEAK,

11:13:00   21      MR. BOSTIC.

11:13:00   22             BUT I'D ALSO LIKE YOU TO COMMENT ON WHETHER OR NOT THE

11:13:03   23      COURT SHOULD JUST STRIKE THE LAST QUESTION AND ANSWER, THAT IS,

11:13:09   24      WERE -- THE COMPARING THE LABS IN HIS CAREER.         MAYBE WE STRIKE

11:13:14   25      THAT AND THAT TAKES CARE OF THE ISSUE.



                                        UNITED STATES COURT REPORTERS
                Case: 22-10312, 04/25/2023,
                Case 5:18-cr-00258-EJD      ID: 12702996,
                                         Document   1271 DktEntry:  36-12, Page
                                                          Filed 01/18/22   Page 98
                                                                                99 of
                                                                                   of 227
                                                                                      228
                                                                                            2872


11:13:16    1                  MR. BOSTIC:    SO, YOUR HONOR, FIRST, AS TO THE NEXUS

11:13:22    2       BETWEEN THAT QUESTIONING AND WHAT HAD COME BEFORE IN

11:13:25    3       DR. ROSENDORFF'S TESTIMONY, DURING HIS DIRECT, HE HAD SPOKEN

11:13:27    4       ABOUT HIS PREVIOUS EXPERIENCE.

11:13:30    5             DURING CROSS-EXAMINATION, I RECALL QUESTIONS SPECIFICALLY

11:13:33    6      ASKING DR. ROSENDORFF TO COMPARE HIS EXPERIENCE AT THERANOS,

11:13:38    7      AND SPECIFICALLY THE FREQUENCY OF COMPLAINTS TO THE FREQUENCY

11:13:41    8      OF COMPLAINTS THAT HE SAW AT UNIVERSITY OF PITTSBURGH.

11:13:46    9             SO THAT'S THE SAME KIND OF GENERAL QUESTION THAT DEFENSE

11:13:49   10      COUNSEL ASKED, ASKING DR. ROSENDORFF TO COMPARE THE SEVERITY

11:13:51   11      AND FREQUENCY OF ISSUES BETWEEN THOSE TWO LABS.

11:13:54   12             HE ANSWERED THAT QUESTION.      I ASKED HIM SOME QUESTIONS

11:13:58   13      ABOUT THAT ON REDIRECT, AGAIN, IN RESPONSE TO THAT LINE OF

11:14:01   14      QUESTIONING.

11:14:02   15             AS TO THE COURT'S PROPOSAL AS TO WHETHER STRIKING THAT

11:14:05   16      ANSWER WOULD BE PREFERABLE TO OPENING THE DOOR TO THE

11:14:08   17      INADMISSIBLE LINES OF QUESTIONING THAT THE DEFENSE RAISED

11:14:11   18      YESTERDAY, I THINK YES, THAT WOULD BE A CLEANER APPROACH AND

11:14:15   19      WOULD SOLVE ANY PREJUDICE THAT THE DEFENSE IS WORRIED ABOUT.

11:14:18   20                  MR. WADE:    WELL, LET ME CONFER AS TO WHETHER WE CAN

11:14:20   21       UNRING THE BELL, BECAUSE THE JURY HAS ALREADY HEARD IT.           IT WAS

11:14:23   22       ONE OF THE LAST QUESTIONS THAT THEY HEARD AND THE ANSWERS THEY

11:14:27   23       HEARD BEFORE THE BREAK.

11:14:28   24             WITH RESPECT TO THE CROSS-EXAMINATION, IT WAS ACTUALLY THE

11:14:31   25      GOVERNMENT WHO EXAMINED DR. ROSENDORFF ON DIRECT COMPARING HIS



                                        UNITED STATES COURT REPORTERS
                Case:
                 Case 22-10312, 04/25/2023,
                      5:18-cr-00258-EJD     ID: 12702996,
                                         Document   1271 DktEntry: 36-12, Page
                                                          Filed 01/18/22  Page 100
                                                                               99 ofof227
                                                                                       228
                                                                                          2873


11:14:36    1      EXPERIENCE AT THERANOS TO HIS PAST EXPERIENCE AT THE UNIVERSITY

11:14:40    2      OF PITTSBURGH AND ELICITED TESTIMONY THAT WAS DIRECTLY AT ODDS

11:14:43    3      WITH HIS PRIOR SWORN TESTIMONY, AND I IMPEACHED THE WITNESS ON

11:14:48    4      THAT.

11:14:48    5              I DID NOT GO INTO FUTURE EMPLOYMENT.       WE GOT DIRECTION

11:14:51    6      FROM THE COURT ON THAT AND I HONORED THAT DIRECTION.           SO --

11:14:54    7                  THE COURT:    RIGHT.    WELL, I THINK THAT THE -- YOU'VE

11:14:58    8       ASKED ME TO STRIKE, MR. WADE, THROUGHOUT THE COURSE OF THIS

11:15:01    9       WITNESS'S TESTIMONY, CERTAIN TESTIMONY AND I'VE GRANTED THAT

11:15:04   10       REQUEST AND I'VE ADMONISHED THE JURY THEY'RE NOT TO CONSIDER

11:15:07   11       THAT EVIDENCE THAT'S STRICKEN.

11:15:09   12              THEY'LL BE INFORMED OF THAT, INSTRUCTED OF THAT IN THE

11:15:11   13      FINAL INSTRUCTIONS, AND I THINK THE JURY WILL FOLLOW THE

11:15:17   14      COURT'S INSTRUCTION.

11:15:18   15              SO LET ME JUST SAY, THAT'S MY INTENTION IS I'M GOING TO --

11:15:22   16      WHEN THEY COME OUT, I'LL HAVE THAT LAST QUESTION AT MY

11:15:26   17      FINGERTIPS FROM THE COURT REPORTER AND I WILL -- THAT ANSWER,

11:15:28   18      QUESTION AND ANSWER, AND I'LL HAVE THAT STRICKEN.          THEY'RE NOT

11:15:31   19      TO CONSIDER IT.     AND I THINK THAT TAKES CARE OF THE ISSUE, AND

11:15:34   20      THEN IT'S DONE.

11:15:34   21                  MR. WADE:    I WOULD MAYBE JUST ADD, IF THE COURT COULD

11:15:37   22       SAY THAT WAS NOT AN APPROPRIATE QUESTION AND AN APPROPRIATE

11:15:39   23       ANSWER FOR THIS TRIAL.      BECAUSE --

11:15:41   24                  THE COURT:    WELL --

11:15:42   25                  MR. WADE:    -- IF IT'S JUST STRICKEN, YOU'RE RIGHT,



                                         UNITED STATES COURT REPORTERS
                Case: 22-10312, 04/25/2023,
                Case 5:18-cr-00258-EJD      ID: 12702996,
                                         Document   1271 DktEntry:  36-12, Page
                                                          Filed 01/18/22   Page 100
                                                                                101 of
                                                                                    of 227
                                                                                       228
                                                                                           2874


11:15:44    1       THERE'S ALL SORTS OF STUFF THAT'S BEEN STRICKEN AND I'M NOT

11:15:47    2       SURE THAT'S AN ADEQUATE REMEDY BECAUSE HE'S NOW COMPARED THIS

11:15:50    3       TO ALL THESE OTHER LABS WHERE THERE ARE ALL THESE OTHER ISSUES.

11:15:54    4                  THE COURT:    WELL, THAT CALLS ME THEN TO -- YOU'RE

11:15:56    5       ASKING THE COURT THEN TO MAKE A MEASUREMENT AS TO EVERYTHING

11:15:58    6       THAT'S STRICKEN AND PUT SOME KIND OF VALUE ON THAT AS TO

11:16:02    7       WHETHER OR NOT I NEED TO ENHANCE THE COURT'S STRIKING.

11:16:08    8             THE PRELIMINARY INSTRUCTIONS INFORMED THE JURY THAT WHEN

11:16:10    9      SOMETHING IS STRICKEN, THEY MAY NOT CONSIDER IT.          THEY'RE NOT

11:16:13   10      TO CONSIDER IT.     WE DON'T HAVE GRADATIONS OF THAT.        THIS IS THE

11:16:17   11      LEVEL 1, A LEVEL 2, A LEVEL 3 VIOLATION.         THEY ARE NOT TO

11:16:20   12      CONSIDER IT AT ALL.

11:16:22   13             AND WE PRESUME THAT THE JURIES FOLLOW THE COURT'S

11:16:26   14      INSTRUCTIONS.

11:16:27   15             BUT I WILL ADMONISH THEM.      I'LL DO THAT.     AND MY SENSE

11:16:32   16      IS -- WE HAVE HOW MANY WEEKS LEFT IN THE TRIAL?          MY SENSE IS

11:16:37   17      THAT AN INSTRUCTION STRIKING THIS WILL, WILL SUFFICE TO REMEDY

11:16:43   18      WHAT WE NEED TO DO IN THIS CASE.        I THINK THAT'S SUFFICIENT.

11:16:46   19             SO I'LL CALL IT UP FROM THE COURT REPORTER AND WE'LL -- I

11:16:50   20      DON'T KNOW HOW STRONG YOU'D LIKE ME TO EMPHASIZE IT.           I KNOW

11:16:53   21      YOU WANT ME TO CHASTISE THE GOVERNMENT IN FRONT OF THE JURY.              I

11:16:57   22      DON'T THINK THAT'S NEEDED AT THIS POINT AND I DON'T THINK

11:16:59   23      THAT'S APPROPRIATE.

11:16:59   24                  MR. WADE:    YOUR HONOR, WHAT I PARTICULARLY DON'T WANT

11:17:01   25       YOU TO DO IS READ THE TESTIMONY AGAIN BECAUSE -- AND THAT'S WHY



                                         UNITED STATES COURT REPORTERS
                Case: 22-10312, 04/25/2023,
                Case 5:18-cr-00258-EJD      ID: 12702996,
                                         Document   1271 DktEntry:  36-12, Page
                                                          Filed 01/18/22   Page 101
                                                                                102 of
                                                                                    of 227
                                                                                       228
                                                                                         2875


11:17:05    1       I'D LIKE TO CONFER WITH MY COLLEAGUES AND MAYBE WE CAN ADDRESS

11:17:08    2       THIS FOR TWO MINUTES BEFORE WE PULL THE JURY BACK.

11:17:11    3             I MEAN, THAT EXACERBATES THE PROBLEM.        LIKE I SAID, IT WAS

11:17:15    4      ONE OF THE LAST QUESTIONS.       IT WAS NOT -- AND YOU CAN'T UNRING

11:17:18    5      THAT BELL.    SO IT MAY BE THAT --

11:17:20    6                   THE COURT:   WELL, I CAN.    I CAN TELL THEM NOT TO

11:17:23    7       CONSIDER IT AND IT'S THE APPROPRIATE THING TO DO.

11:17:25    8             AND THEN THEY'LL HAVE TO JUST -- THEY'LL FORGET ABOUT IT

11:17:30    9      AT THAT POINT, OR AT LEAST THEY WON'T LET IT INTO THEIR

11:17:33   10      DELIBERATIONS, AND IF THE GOVERNMENT TRIES TO ARGUE THAT, I'LL

11:17:37   11      SHUT THE GOVERNMENT DOWN IN THEIR FINAL ARGUMENT IF THEY TRY TO

11:17:40   12      RAISE THIS POINT.     THIS WAS THE WORST LAB HE'S EVER WORKED IN,

11:17:44   13      THEY WON'T BE PERMITTED TO ARGUE THAT.

11:17:46   14             SO I THINK WE CAN -- I THINK WE CAN RESOLVE IT.

11:17:50   15             I UNDERSTAND YOUR CONCERN.       I DO.   IT WAS AT THE END OF

11:17:54   16      HIS INFORMATION, AND IT WAS A LENGTHY EXAMINATION.

11:17:59   17             THIS WITNESS HAS ENDURED NOW FIVE DAYS OF EXAMINATION,

11:18:02   18      WHICH IS TO SAY, THE JURY HAS ENDURED FIVE DAYS OF QUESTION AND

11:18:06   19      ANSWER FROM THIS PARTICULAR WITNESS.        SO I THINK WE ALL

11:18:10   20      RECOGNIZE THAT.

11:18:10   21                   MR. WADE:    I THINK WE ALL HAVE, YOUR HONOR.

11:18:13   22             MIGHT WE COME BACK JUST TWO MINUTES BEFORE WE CALL THE

11:18:16   23      JURY BACK --

11:18:17   24                   THE COURT:   SURE, OF COURSE.

11:18:18   25                   MR. WADE:    -- SO THAT I CAN CLARIFY THIS?



                                         UNITED STATES COURT REPORTERS
                Case: 22-10312, 04/25/2023,
                Case 5:18-cr-00258-EJD      ID: 12702996,
                                         Document   1271 DktEntry:  36-12, Page
                                                          Filed 01/18/22   Page 102
                                                                                103 of
                                                                                    of 227
                                                                                       228
                                                                                         2876


11:18:20    1                  THE COURT:    SURE.

11:18:20    2                  MR. BOSTIC:    AND YOUR HONOR, FINAL POINT, TO

11:18:22    3       MR. WADE'S POINT ABOUT REREADING THE TESTIMONY, I THINK THAT

11:18:25    4       CAN BE ADDRESSED BY THE COURT DESCRIBING THE QUESTION ONLY AND

11:18:28    5       NOT READING THE ANSWER ITSELF.       THE GOVERNMENT WOULD HAVE NO

11:18:31    6       OBJECTION TO THAT, OF COURSE.

11:18:32    7                  THE COURT:    OKAY.   THANK YOU.

11:18:33    8                  MR. WADE:    YOUR HONOR, WILL WE GO UNTIL 3:00 TODAY?

11:18:36    9                  THE COURT:    YES, YES.

11:18:38   10                  THE CLERK:    COURT IS IN RECESS.

11:18:39   11             (THE LUNCH RECESS WAS TAKEN FROM 11:18 A.M. UNTIL

11:56:34   12      11:56 A.M.)

           13

           14

           15

           16

           17

           18

           19

           20

           21

           22

           23

           24

           25



                                         UNITED STATES COURT REPORTERS
                Case: 22-10312, 04/25/2023,
                Case 5:18-cr-00258-EJD      ID: 12702996,
                                         Document   1271 DktEntry:  36-12, Page
                                                          Filed 01/18/22   Page 103
                                                                                104 of
                                                                                    of 227
                                                                                       228
                                                                                         2877


11:56:36    1                                 AFTERNOON SESSION

11:56:54    2             (JURY OUT AT 11:56 A.M.)

11:56:54    3                  THE COURT:    ALL RIGHT.    WE'RE BACK ON THE RECORD IN

11:57:09    4       THE HOLMES MATTER.      WE ARE OUTSIDE THE PRESENCE OF THE JURY.

11:57:14    5       ALL COUNSEL ARE PRESENT AND MS. HOLMES IS PRESENT.

11:57:18    6                  MR. WADE:    YOUR HONOR, THANK YOU.

11:57:19    7             JUST FOLLOWING UP ON THE MATTER THAT WE WERE DISCUSSING

11:57:22    8       BEFORE THE BREAK, WE LOOKED BACK AT OUR NOTES RELATING TO THE

11:57:27    9       QUESTION AND ANSWER AND THE IMPACT OF THAT QUESTION AND ANSWER

11:57:30   10       AND WE BELIEVE IT'S NECESSARY TO EXPLORE THOSE OTHER

11:57:35   11       PROFESSIONAL EXPERIENCES.

11:57:36   12                  THE COURT:    OF COURSE.    OF COURSE YOU DO, YES.

11:57:39   13             MR. BOSTIC?

11:57:39   14                  MR. BOSTIC:    SO, YOUR HONOR, I UNDERSTAND THAT THE

11:57:42   15       COURT'S INTENTION WAS TO STRIKE -- I WASN'T SURE -- IT WASN'T

11:57:47   16       CLEAR HOW MUCH WE WERE TALKING ABOUT STRIKING.

11:57:50   17             MY UNDERSTANDING IS THAT THE CONTROVERSY IS OVER A

11:57:56   18       QUESTION ABOUT ISSUES ENCOUNTERED AT DR. ROSENDORFF'S OTHER

11:58:00   19       LABS AND WHETHER THE ISSUES AT THERANOS WERE WHAT HE CONSIDERED

11:58:04   20       TO BE TYPICAL LABORATORY ISSUES.

11:58:07   21             IN THE CONTEXT OF PREVIOUS QUESTIONS, I DON'T BELIEVE THAT

11:58:11   22      THAT HAS A PREJUDICIAL EFFECT.

11:58:13   23             TO THE EXTENT IT DOES, I THINK THAT STRIKING THAT SINGLE

11:58:16   24      QUESTION AND ANSWER IS THE REMEDY.        I DON'T THINK THAT GOING

11:58:19   25      INTO THE INADMISSIBLE LINES OF QUESTIONING THAT WE DISCUSSED



                                         UNITED STATES COURT REPORTERS
                Case: 22-10312, 04/25/2023,
                Case 5:18-cr-00258-EJD      ID: 12702996,
                                         Document   1271 DktEntry:  36-12, Page
                                                          Filed 01/18/22   Page 104
                                                                                105 of
                                                                                    of 227
                                                                                       228
                                                                                         2878


11:58:22    1      YESTERDAY IS THE SOLUTION HERE.

11:58:24    2              BUT WE'RE GUIDED BY THE COURT.

11:58:26    3                  THE COURT:    YOU FLIPPED YOUR LECTERNS HERE, HAVEN'T

11:58:29    4       YOU?

11:58:30    5                  MR. WADE:    I WAS KIND OF OCCUPYING THE SPACE HERE, SO

11:58:33    6       WE THOUGHT WE'D CHANGE PACE.

11:58:35    7              YOUR HONOR, FOR THE REASONS THAT I STATED PREVIOUSLY, WE

11:58:38    8      THINK THE BELL HAS BEEN RUNG.       THE GOVERNMENT OPENED THE DOOR.

11:58:41    9      I THINK AN INSTRUCTION WOULDN'T BE SUFFICIENT TO, TO CURE THAT

11:58:46   10      AND WE'LL NEED TO EXPLORE WITH HIM THE OTHER ISSUES THAT HE

11:58:51   11      ENCOUNTERED AT HIS LAB AND LET THE JURY DECIDE THE COMPARISON

11:58:56   12      BETWEEN THOSE, BECAUSE RIGHT NOW --

11:58:58   13                  THE COURT:    WELL, LET'S TALK ABOUT THE DANGER OF THAT

11:59:01   14       THOUGH, MR. WADE.      I THINK THERE IS SOME PRESENT DANGER IN

11:59:04   15       DOING THAT.

11:59:05   16              WHAT WE WOULD BE DOING THEN IS TO ENGAGE IN THOSE MINI

11:59:08   17      TRIALS THAT YOU HAVE SUGGESTED I AVOID IN OUR MIL HEARING AND

11:59:12   18      OTHERS, AND IF WE -- IF WE PUT THE COMPARATORS, THAT IS, THE

11:59:17   19      OTHER LABORATORIES AND THIS WITNESS'S EXPERIENCE IN THEM TO THE

11:59:21   20      JURY AND ASK THEM TO WEIGH THAT AS THEY DELIBERATE THE FACTS OF

11:59:29   21      THIS CASE, I DO BELIEVE THAT PUTS YOUR CLIENT AT GREAT RISK,

11:59:35   22      BECAUSE WHAT IF THEY DECIDE, YOU KNOW, HE WAS RIGHT, THERANOS

11:59:39   23      WAS THE WORST PLACE HE WORKED AT?        THESE OTHER PLACES DIDN'T

11:59:42   24      HAVE THE SAME TYPE OF VIOLATIONS OR THIS AND THAT.           THEY DIDN'T

11:59:46   25      RISE TO THAT SEVERITY CERTAINLY THAT BRINGS A FEDERAL



                                         UNITED STATES COURT REPORTERS
                Case: 22-10312, 04/25/2023,
                Case 5:18-cr-00258-EJD      ID: 12702996,
                                         Document   1271 DktEntry:  36-12, Page
                                                          Filed 01/18/22   Page 105
                                                                                106 of
                                                                                    of 227
                                                                                       228
                                                                                         2879


11:59:50    1      PROSECUTION.

11:59:51    2              MY CONCERN IS THAT THEY MIGHT THEN INAPPROPRIATELY USE

11:59:55    3      THAT TO JUDGE YOUR CLIENT AND THE CONDUCT OF THE ALLEGATIONS IN

11:59:59    4      THIS CASE.

12:00:02    5              IN ESSENCE, WE WOULD BE ASKING THE JURY TO SAY, OKAY, IN

12:00:06    6      DECIDING THE CREDIBILITY OF THIS WITNESS AND WHETHER OR NOT YOU

12:00:09    7      SHOULD BELIEVE THIS OR NOT, WE'RE GOING TO SHARE WITH YOU HIS

12:00:12    8      EXPERIENCES AND YOU CAN CONSIDER THOSE.

12:00:15    9              AND I THINK THERE'S GREAT PERIL FOR MS. HOLMES IF THEY

12:00:19   10      DECIDE, YOU KNOW, I THINK THAT WITNESS WAS RIGHT, ALL THE

12:00:22   11      EXPERIENCE HE HAD, LOOK AT THIS, LOOK AT THE CONDUCT HERE, IT

12:00:25   12      DOES NOT AT ALL COME CLOSE TO THIS.

12:00:28   13              AND I HAVE -- YOU KNOW, I HAVE GREAT RESPECT FOR THE

12:00:30   14      PROCESS HERE AND I DON'T THINK IT'S, IT'S FAIR TO PUT A JURY,

12:00:35   15      TO HAVE THEM MAKE THAT DECISION ON A COLLATERAL, EXTRINSIC

12:00:41   16      MATTER THAT RELATES TO THE WITNESS'S TESTIMONY AND THAT MIGHT

12:00:44   17      IN SOME WAY AFFECT THEIR DELIBERATIVE PROCESS.

12:00:48   18              NOW, I UNDERSTAND, WE CAN INSTRUCT THEM, YOU'RE NOT TO DO

12:00:51   19      THAT.    BUT, AGAIN, THEN WE START RINGING MULTIPLE BELLS, DON'T

12:00:55   20      WE?

12:00:56   21              I HOPE YOU APPRECIATE MY COMMENTS HERE AND MY CONCERN.            MY

12:00:59   22      THOUGHT IS THAT PERHAPS THE MOST EFFICIENT WAY TO RESOLVE THIS

12:01:03   23      IS TO TELL THEM THAT THERE WAS THIS QUESTION, AND I WON'T -- AT

12:01:06   24      YOUR SUGGESTION, I WON'T REPEAT IT TO RING THE BELL YET

12:01:10   25      AGAIN -- BUT I THINK THE CONTEXT OF THAT QUESTION WAS, WAS TO



                                         UNITED STATES COURT REPORTERS
                Case: 22-10312, 04/25/2023,
                Case 5:18-cr-00258-EJD      ID: 12702996,
                                         Document   1271 DktEntry:  36-12, Page
                                                          Filed 01/18/22   Page 106
                                                                                107 of
                                                                                    of 227
                                                                                       228
                                                                                         2880


12:01:14    1      ELICIT, THIS WAS THE WORST PLACE HE WORKED AT, OR THERE WERE

12:01:17    2      MORE VIOLATIONS THAN ANY OTHER, AND I DON'T THINK THAT NEEDS --

12:01:22    3      THAT'S NOT NECESSARY FOR THEM, THE JURY, TO MAKE THEIR

12:01:25    4      DECISION.

12:01:25    5                  MR. WADE:     IT WAS DESIGNED TO ELICIT HIS COMPARISON,

12:01:29    6       WHICH IS 702 INFORMATION.       IT'S AN ISSUE THAT THE GOVERNMENT --

12:01:35    7       I MEAN, THE COURT COULDN'T HAVE BEEN CLEARER YESTERDAY ON THESE

12:01:38    8       MATTERS AND THE GOVERNMENT ELICITED THAT TESTIMONY SPECIFICALLY

12:01:43    9       ON ITS DIRECT EXAMINATION.

12:01:45   10             SO WHILE I UNDERSTAND THE RISKS, WE THINK -- WE HAVE TO

12:01:50   11      BALANCE RISKS IN THIS CASE IN TERMS OF THE RISKS OF THAT ANSWER

12:01:54   12      AND CREDITING THAT TESTIMONY VERSUS OUR ABILITY TO TEST THAT

12:01:59   13      ANSWER AND TO LET THE JURY DECIDE WHETHER THEY -- WHICH

12:02:04   14      EVIDENCE THEY WANT TO BELIEVE.

12:02:05   15                  THE COURT:    WELL, WHY DON'T WE JUST DISCARD THAT

12:02:08   16       EVIDENCE FROM THEIR, FROM THEIR KNOWLEDGE BY STRIKING IT SUCH

12:02:12   17       THAT THEY DON'T HAVE TO GO THROUGH THAT THOUGHT PROCESS AT ALL

12:02:16   18       AND, THEREFORE, WE CAN AVOID ANY DANGER THAT MIGHT COME FROM

12:02:22   19       IT?

12:02:22   20             I UNDERSTAND YOUR NEED NOW TO RISE AND RESPOND TO IT.              I

12:02:27   21      RESPECT THAT.     I DO.

12:02:28   22             BUT AS I SAID, I HAVE GREAT CONCERNS THAT IT COULD -- AND

12:02:33   23      YOU'VE WARNED ME SEVERAL TIMES OVER THE PAST MONTHS ABOUT MINI

12:02:38   24      TRIALS -- AND I SEE THIS AS A MINI TRIAL THAT DOESN'T BENEFIT

12:02:42   25      EITHER SIDE AND IT PERHAPS PRESENTS GREATER PERIL TO THE



                                         UNITED STATES COURT REPORTERS
                Case: 22-10312, 04/25/2023,
                Case 5:18-cr-00258-EJD      ID: 12702996,
                                         Document   1271 DktEntry:  36-12, Page
                                                          Filed 01/18/22   Page 107
                                                                                108 of
                                                                                    of 227
                                                                                       228
                                                                                          2881


12:02:45    1      DEFENSE HERE.

12:02:50    2             MR. BOSTIC?

12:02:50    3                  MR. BOSTIC:    NOT MUCH TO ADD, YOUR HONOR.

12:02:51    4             THE GOVERNMENT'S INTENT IN ASKING THAT QUESTION WAS TO

12:02:54    5       PROVIDE A RESPONSE TO PREVIOUS ANSWERS ABOUT LABS IN GENERAL,

12:02:56    6       THE FACT THAT MISTAKES HAPPEN AT LABS.

12:03:00    7             THE PARTIES DISAGREE AS TO THE EFFECT OF THAT QUESTION.

12:03:03    8             OF COURSE IT'S THE COURT'S VIEW THAT CONTROLS.

12:03:07    9             TO THE EXTENT THE EFFECT OF THAT QUESTION CARRIES SOME

12:03:11   10      DANGER OF SOME PREJUDICE TO THE DEFENSE, THE GOVERNMENT AGREES

12:03:14   11      WITH THE COURT THAT STRIKING THE QUESTION IS THE ANSWER.

12:03:17   12             WE'RE TALKING ABOUT ONE QUESTION AND ANSWER IN A VERY

12:03:21   13      LENGTHY WITNESS EXAMINATION, WHICH IS NOT YET OVER.           WE'RE

12:03:24   14      ABOUT TO ENTER RECROSS.      IT WON'T BE THE LAST THING THE WITNESS

12:03:27   15      SAYS ON THE STAND.      THIS WON'T BE THE LAST THING THE JURY

12:03:30   16      HEARS.

12:03:31   17             THERE ARE WEEKS LEFT IN THE TRIAL, AS THE COURT POINTED

12:03:33   18      OUT.   SO THIS IS NOT A SITUATION WHERE ANYTHING MORE THAN

12:03:36   19      STRIKING THAT ANSWER IS REQUIRED.

12:03:38   20                  MR. WADE:    YOUR HONOR, OUR POSITION IS CLEAR ON THIS.

12:03:41   21       I UNDERSTAND MR. BOSTIC'S POSITION.        BUT HE ASKED THE QUESTION

12:03:44   22       AND THE ANSWER WAS GIVEN AND WE'VE MADE OUR JUDGMENT.           OUR

12:03:47   23       POSITION WOULD BE WE SHOULD EXPLORE IT.

12:03:50   24             IF THE COURT IS UNWILLING TO ALLOW US THE LATITUDE TO DO

12:03:54   25      THAT, I COULD GIVE A SPECIFIC PROFFER AS TO EXACTLY WHAT WE



                                         UNITED STATES COURT REPORTERS
                Case: 22-10312, 04/25/2023,
                Case 5:18-cr-00258-EJD      ID: 12702996,
                                         Document   1271 DktEntry:  36-12, Page
                                                          Filed 01/18/22   Page 108
                                                                                109 of
                                                                                    of 227
                                                                                       228
                                                                                          2882


12:03:59    1      WOULD -- THE WAY WE WOULD EXPLORE IT EITHER NOW ORALLY OR IN

12:04:04    2      WRITING AND THE COURT COULD CONSIDER IT.

12:04:07    3             IF THE COURT'S NOT GOING TO CONSIDER THAT, WE WOULD ALSO

12:04:10    4      HAVE A PROPOSED INSTRUCTION THAT WE WOULD HAND UP.

12:04:12    5             WE DO NOT THINK THIS IS A CIRCUMSTANCE IN WHICH SIMPLY

12:04:18    6      STRIKING THIS QUESTION, GIVEN THE SIGNIFICANCE OF IT RIGHT

12:04:21    7      BEFORE THE BREAK, ONE OF THE LAST QUESTIONS, I BELIEVE IT MAY

12:04:24    8      HAVE BEEN KIND OF SET UP AS A SERIES OF QUESTIONS, WE DON'T

12:04:28    9      THINK THAT'S SUFFICIENT.

12:04:29   10                  THE COURT:    ALL RIGHT.    WELL, THANK YOU.

12:04:31   11             WELL, I -- I APPRECIATE YOUR CONCERN.        YOU'VE TALKED ABOUT

12:04:35   12      YOUR BELIEF IN THE IMPACT OF THAT QUESTION ON THE JURY, THE

12:04:40   13      TIMING, THE STRATEGIC NATURE OF THE WAY IT WAS PRESENTED, ET

12:04:44   14      CETERA.    AND TRIALS ARE STRATEGIC.      I KNOW BOTH SIDES PREPARE

12:04:47   15      AND DO THE BEST YOU CAN.

12:04:49   16             THE QUESTION WAS -- LET ME SAY THIS:        IT'S UNFORTUNATE

12:04:52   17      THAT THE QUESTION WAS ASKED.       I'LL CONCEDE THAT.     I DO THINK

12:04:55   18      THAT IT DID CRACK PERHAPS THE DOOR, IT DID RAISE THE ISSUE.

12:04:59   19      THAT'S WHY WE'RE DISCUSSING IT HERE.

12:05:01   20             I DO THINK THAT THE REMEDY, THOUGH, THE APPROPRIATE REMEDY

12:05:04   21      HERE IS NOT TO ENGAGE IN A SERIES OF MINI TRIALS TO TEST

12:05:08   22      WHETHER OR NOT THERANOS WAS THE PLACE THAT HAD GREATER PROBLEMS

12:05:13   23      THAN ANY OTHER.

12:05:14   24             AS I TOLD YOU BEFORE, I WOULD ALLOW YOU SOME LATITUDE IN

12:05:19   25      TALKING ABOUT THAT SUBJECT WITHOUT GETTING INTO THE EXTRINSIC



                                         UNITED STATES COURT REPORTERS
                Case: 22-10312, 04/25/2023,
                Case 5:18-cr-00258-EJD      ID: 12702996,
                                         Document   1271 DktEntry:  36-12, Page
                                                          Filed 01/18/22   Page 109
                                                                                110 of
                                                                                    of 227
                                                                                       228
                                                                                         2883


12:05:23    1      EVIDENCE, THOUGH, AND I -- I EXPECT THAT YOU WILL DELICATELY

12:05:29    2      ADVANCE THOSE QUESTIONS.

12:05:31    3              BUT I DO THINK THE APPROPRIATE REMEDY HERE, UNDER 403 AND

12:05:39    4      UNDER THE COURT'S INHERENT DISCRETION TO RUN THE TRIAL, IS THAT

12:05:43    5      TO ALLOW MINI TRIALS TO ENGAGE ON THIS PARTICULAR ISSUE WOULD

12:05:50    6      BE WASTEFUL OF TIME, IT WOULD CONFUSE THE JURY ON COLLATERAL

12:05:54    7      ISSUES THAT REALLY AREN'T, AREN'T GERMANE TO THE TRIAL IN THIS

12:05:59    8      CASE.

12:06:00    9              I WILL, THOUGH -- I DO RECOGNIZE THE IMPORT OF THE

12:06:03   10      QUESTION AND WHAT IT CAUSES AND MAY CAUSE THE JURY TO SPECULATE

12:06:07   11      ON, SO I WILL STRIKE THAT LAST QUESTION.

12:06:11   12              YOU HAVE SOMETHING YOU'D LIKE ME TO LOOK AT?

12:06:13   13                  MR. WADE:    I WOULD.    IF I COULD HAND IT UP, YOUR

12:06:16   14       HONOR (HANDING)?

12:06:17   15              AND I'LL GIVE A COPY TO THE COURT REPORTER, TOO, SO IT CAN

12:06:24   16      BE MADE PART OF THE RECORD.

12:06:26   17                  THE COURT:    THANK YOU.

12:06:26   18                  MR. WADE:    WOULD THE COURT PREFER THAT I READ THIS SO

12:06:29   19       IT'S PART OF THE RECORD, OR CAN WE JUST APPEND IT AS PART OF

12:06:32   20       THE RECORD?

12:06:32   21                  THE COURT:    LET ME ASK FIRST FOR MR. BOSTIC'S

12:06:35   22       COMMENTS ON THIS.

12:06:36   23              YOU HAVE THIS, MR. BOSTIC?

12:06:37   24                  MR. BOSTIC:    I DO, YOUR HONOR.

12:06:39   25              I THINK THAT TO ACCOMPLISH THE PURPOSE, I'M NOT SURE IT'S



                                         UNITED STATES COURT REPORTERS
                Case: 22-10312, 04/25/2023,
                Case 5:18-cr-00258-EJD      ID: 12702996,
                                         Document   1271 DktEntry:  36-12, Page
                                                          Filed 01/18/22   Page 110
                                                                                111 of
                                                                                    of 227
                                                                                       228
                                                                                         2884


12:06:43    1      NECESSARY TO CHARACTERIZE THE QUESTION.         I THINK THE COURT

12:06:47    2      COMMENTED EARLIER ON ITS INCLINATION TO MAKE A JUDGMENT LIKE

12:06:55    3      THAT IN FRONT OF THE JURY.       I DON'T KNOW IF THE COURT'S

12:06:57    4      THINKING HAS CHANGED, BUT MY THINKING IS ALIGNED WITH WHAT I

12:07:01    5      UNDERSTAND THE COURT'S POSITION TO BE.

12:07:03    6             SO I'M NOT SURE CHARACTERIZING THE QUESTION IS NECESSARY.

12:07:06    7             I THINK OTHERWISE I'M NOT SURE FOR THE NEED TO DEVIATE

12:07:11    8      FROM THE COURT'S STANDARD INSTRUCTION WHEN IT COMES TO STRIKING

12:07:14    9      ANSWERS FROM THE RECORD.        BUT OTHERWISE I HAVE NO SUBSTANTIVE

12:07:20   10      OBJECTIONS TO THIS LANGUAGE.

12:07:21   11                  MR. WADE:    YOUR HONOR, AS WE'VE MADE CLEAR IN SEEKING

12:07:24   12       TO EXPLORE THIS IN CROSS-EXAMINATION, WE THINK THIS IS

12:07:28   13       DIFFERENT IN KIND FROM THE OTHER ANSWERS AND REQUIRES MORE OF A

12:07:31   14       REMEDY.    THAT'S WHY WE'VE PROPOSED THIS INSTRUCTION.

12:07:34   15             OUR PREFERENCE WOULD BE TO EXPLORE IT IN

12:07:36   16       CROSS-EXAMINATION, BUT SHORT OF THAT, UNDERSTANDING THE COURT'S

12:07:40   17       RULING UNDER THE RULES OF EVIDENCE, WE WOULD ASK THAT THIS

12:07:45   18       INSTRUCTION BE GIVEN TO CURE THIS, THIS ISSUE.

12:07:48   19                  THE COURT:    ALL RIGHT.    THANK YOU.

12:07:50   20                  MR. WADE:    SHOULD I READ THIS, JUST FOR THE RECORD?

12:07:52   21                  THE COURT:    I BEG YOUR PARDON.     YOU'D LIKE ME TO --

12:07:55   22       YOU WOULD LIKE ME TO ADVISE THE JURY OF THIS NOW WHEN THEY COME

12:08:00   23       IN?

12:08:00   24                  MR. WADE:    YES.

12:08:00   25                  THE COURT:    YOU SAID INSTRUCTION.      YOU MEANT NOW AS



                                         UNITED STATES COURT REPORTERS
                Case: 22-10312, 04/25/2023,
                Case 5:18-cr-00258-EJD      ID: 12702996,
                                         Document   1271 DktEntry:  36-12, Page
                                                          Filed 01/18/22   Page 111
                                                                                112 of
                                                                                    of 227
                                                                                       228
                                                                                         2885


12:08:02    1       OPPOSED TO A FINAL INSTRUCTION?

12:08:04    2                   MR. WADE:    YEAH, RIGHT.   RIGHT WHEN THE JURY RETURNS,

12:08:08    3       YOUR HONOR.

12:08:08    4                   THE COURT:   RIGHT.    ALL RIGHT.   THANK YOU.

12:08:10    5             WELL, I LOOK AT THIS, I AM GOING TO STRIKE THE, THE MIDDLE

12:08:14    6      SENTENCE IN THE THIRD LINE.        I DON'T THINK THAT'S NECESSARY.

12:08:20    7             BUT I WILL READ TO THE JURY, WHEN THEY RETURN, THE

12:08:24    8      FOLLOWING:     "AT THE END OF HIS REDIRECT EXAMINATION,

12:08:29    9      DR. ROSENDORFF WAS ASKED TO COMPARE THERANOS WITH OTHER LABS

12:08:33   10      WHERE HE HAS WORKED.      YOU MUST ENTIRELY DISREGARD BOTH THE

12:08:38   11      QUESTION AND DR. ROSENDORFF'S ANSWER.         IT WOULD BE IMPROPER FOR

12:08:44   12      YOU TO GIVE ANY WEIGHT WHATSOEVER EITHER TO THE QUESTION OR TO

12:08:49   13      THE ANSWER."

12:08:51   14             THAT'S WHAT I'LL READ TO THEM WHEN THEY COME OUT.

12:08:55   15                   MR. WADE:    AND JUST FOR THE RECORD, YOU'LL SKIP OVER

12:08:58   16       THE SENTENCE "THAT WAS AN INAPPROPRIATE QUESTION" THAT WE HAD

12:09:03   17       REQUESTED?

12:09:03   18                   THE COURT:   THE ONE THAT YOU JUST READ INTO THE

12:09:05   19       RECORD, THAT YOU WANTED TO READ INTO THE RECORD?

12:09:07   20                   MR. WADE:    YES, I DID, YOUR HONOR, JUST TO MAKE SURE

12:09:09   21       WE'RE CLEAR.

12:09:10   22                   THE COURT:   YES.   THANK YOU FOR DOING THAT.      I WAS

12:09:12   23       GOING TO SUGGEST THAT WHAT I DELETED WAS WHAT MR. WADE JUST

12:09:15   24       READ --

12:09:16   25                   MR. WADE:    THANK YOU, YOUR HONOR.



                                         UNITED STATES COURT REPORTERS
                Case: 22-10312, 04/25/2023,
                Case 5:18-cr-00258-EJD      ID: 12702996,
                                         Document   1271 DktEntry:  36-12, Page
                                                          Filed 01/18/22   Page 112
                                                                                113 of
                                                                                    of 227
                                                                                       228
                                                                                         2886


12:09:17    1                  THE COURT:    -- FROM THE PROPOSED INSTRUCTION.

12:09:20    2             OKAY.   ANYTHING ELSE?

12:09:21    3             OH, LET ME -- BUT, MR. WADE, I DID SAY THAT I WOULD ALLOW

12:09:25    4      YOU TO PROBE SOMEWHAT.

12:09:27    5             HAVING READ THIS INSTRUCTION, THOUGH, THEY'RE NOT TO

12:09:30    6      CONSIDER THAT, YOU SEE, SO THIS PRESENTS THEN ANOTHER DOOR THAT

12:09:34    7      YOU'RE FACING, DOESN'T IT?

12:09:36    8                  MR. WADE:    MAYBE I'M NOT CLEAR ON WHAT IT IS THE

12:09:39    9       COURT IS WILLING TO LET ME PROBE.

12:09:41   10                  THE COURT:    RIGHT.

12:09:41   11                  MR. WADE:    I HAD UNDERSTOOD THE COURT SAYING I CAN'T

12:09:44   12       PROBE IT, SO MAYBE --

12:09:46   13                  THE COURT:    WELL, I -- I FIRST SAID, WHEN WE WERE

12:09:50   14       TALKING ABOUT POSSIBLE REMEDIES, I SAID I MIGHT LET YOU PROBE

12:09:53   15       INTO THIS.

12:09:54   16             BUT IF I'M GOING TO READ THIS INSTRUCTION NOW, I THINK IT

12:09:56   17      BEST TO KEEP THE WHITE BOARD COMPLETELY CLEAN SO THEY'RE NOT

12:09:59   18      REMINDED ABOUT ANYTHING.

12:10:04   19             IF I ALLOW YOU TO, AS I SAID I WAS GOING TO DO, ALLOW YOU

12:10:07   20      TO PROBE A LITTLE BIT ON THE AREA OF WHETHER OR NOT THIS WAS

12:10:12   21      THE WORST PLACE, OR WHATEVER IT WAS HE SAID ABOUT THAT, THAT

12:10:16   22      TANGENTIALLY KEEPS THAT -- THIS -- THAT QUESTION IN THEIR

12:10:21   23      MINDS, AND I'M ASKING THEM TO STRIKE IT.

12:10:23   24             SO WHAT I'M SUGGESTING NOW IS MAYBE WE SHOULD MOVE ON AND

12:10:26   25      YOU DON'T NEED TO ASK ANY QUESTIONS ABOUT IT BECAUSE THAT



                                         UNITED STATES COURT REPORTERS
                Case: 22-10312, 04/25/2023,
                Case 5:18-cr-00258-EJD      ID: 12702996,
                                         Document   1271 DktEntry:  36-12, Page
                                                          Filed 01/18/22   Page 113
                                                                                114 of
                                                                                    of 227
                                                                                       228
                                                                                         2887


12:10:28    1      QUESTION ISN'T IN THEIR MIND.

12:10:32    2                  MR. WADE:    I APOLOGIZE IF I WAS CONFUSED, YOUR HONOR.

12:10:34    3       I UNDERSTOOD THAT YOU WERE NOT GOING TO ALLOW US TO PROBE THAT.

12:10:37    4       THAT'S WHAT I UNDERSTOOD TO BE THE COURT'S RULING.

12:10:39    5                  THE COURT:    RIGHT.

12:10:40    6                  MR. WADE:    WHAT MY REFERENCE WOULD BE WOULD BE TO

12:10:42    7       PROBE WITH RESPECT TO THE TWO, TWO PLACES OF EMPLOYMENT WHERE

12:10:48    8       THERE WERE SIGNIFICANT ISSUES WITHIN THE LAB, ONE BEING INVITAE

12:10:55    9       AND THE VOIDING OF THE 50,000 TESTS, THERE BEING A NUMBER OF

12:10:59   10       ERRONEOUS TESTS AND HIS SEPARATION FROM THE COMPANY AS A RESULT

12:11:02   11       OF THAT; AND THE OTHER BEING THE SIGNIFICANT ISSUES, INCLUDING

12:11:08   12       THE TESTING ACCURACY AND LAB PRACTICES DEFICIENCIES AT

12:11:13   13       PERKIN ELMER.

12:11:15   14             THAT WOULD HAVE BEEN WHAT I WOULD HAVE INTENDED TO PROBE,

12:11:17   15       AND I HAD UNDERSTOOD THAT THE COURT DOESN'T, DOESN'T WANT ME TO

12:11:21   16       GO INTO THAT.

12:11:22   17             AM I --

12:11:22   18                  THE COURT:    THAT'S RIGHT.     AND I'M SORRY, WE'RE

12:11:24   19       TALKING KIND OF -- WE'RE SHIPS PASSING.

12:11:27   20                  MR. WADE:    OKAY.

12:11:27   21                  THE COURT:    BUT WHAT I'M GOING TO DO, BECAUSE THIS

12:11:29   22       ISSUE HAS BEEN RAISED AND IN LIGHT OF YESTERDAY'S RULING WHERE

12:11:32   23       I SAID YOU CAN'T GET INTO ANY OF THAT, TODAY THIS ISSUE CAME UP

12:11:38   24       FROM MR. BOSTIC'S QUESTION AND THE ANSWER.

12:11:40   25             THE REMEDY TODAY IS TO STRIKE THAT QUESTION AND THAT



                                         UNITED STATES COURT REPORTERS
                Case: 22-10312, 04/25/2023,
                Case 5:18-cr-00258-EJD      ID: 12702996,
                                         Document   1271 DktEntry:  36-12, Page
                                                          Filed 01/18/22   Page 114
                                                                                115 of
                                                                                    of 227
                                                                                       228
                                                                                         2888


12:11:43    1       ANSWER, AND I THINK THAT TAKES CARE OF IT SUCH THAT YOU DON'T

12:11:46    2       NEED TO GO INTO ANY OF THE OTHER THINGS THAT I TALKED ABOUT.

12:11:50    3                  MR. WADE:    RIGHT.   AND I UNDERSTAND THE COURT WILL

12:11:52    4       NOT LET ME GO INTO THOSE ISSUES.        CORRECT?

12:11:55    5                  THE COURT:    I WILL NOT LET YOU GO INTO THOSE.

12:11:58    6                  MR. WADE:    RIGHT, UNDERSTOOD.

12:11:59    7                  THE COURT:    AS WE PREVIOUSLY DISCUSSED.

12:12:01    8                  MR. WADE:    UNDERSTOOD.

12:12:01    9                  THE COURT:    THAT'S NOT TO SAY THAT YOU CAN'T --

12:12:04   10       YOU'RE GOING TO DO WHATEVER YOU'RE GOING TO DO ON RECROSS BASED

12:12:07   11       ON WHAT THE REDIRECT WAS.

12:12:09   12                  MR. WADE:    RIGHT.

12:12:09   13                  THE COURT:    OKAY.   ANY QUESTION ABOUT THAT?

12:12:11   14                  MR. BOSTIC:    NOT FROM THE GOVERNMENT, YOUR HONOR.

12:12:12   15       THANK YOU.

12:12:12   16                  THE COURT:    OKAY.   ALL RIGHT.    THANK YOU.

12:12:14   17             SHOULD WE ASK THE DOCTOR TO COME IN AND ASK OUR JURY TO

12:12:17   18      COME IN NOW?

12:12:19   19                  MR. WADE:    SURE.

12:12:19   20                  MR. BOSTIC:    YES, YOUR HONOR.

12:12:20   21                  THE COURT:    ARE WE READY?

12:12:26   22                  MR. BOSTIC:    YES.

12:12:27   23                  THE COURT:    OKAY.

12:12:36   24             (PAUSE IN PROCEEDINGS.)

12:12:37   25                  THE COURT:    OKAY.   FOLKS, I JUST WANT TO REMIND



                                         UNITED STATES COURT REPORTERS
                Case: 22-10312, 04/25/2023,
                Case 5:18-cr-00258-EJD      ID: 12702996,
                                         Document   1271 DktEntry:  36-12, Page
                                                          Filed 01/18/22   Page 115
                                                                                116 of
                                                                                    of 227
                                                                                       228
                                                                                         2889


12:12:40    1       EVERYONE THAT WE DON'T -- THOSE IN THE GALLERY, WE'RE NOT

12:12:43    2       HAVING BEVERAGES, AND SO IF YOU BROUGHT A BEVERAGE IN, YOU NEED

12:12:50    3       TO PLEASE REMOVE THE BEVERAGE, COFFEE DRINKS OR THOSE KINDS OF

12:12:54    4       THINGS.

12:12:57    5             (PAUSE IN PROCEEDINGS.)

12:14:12    6                  THE COURT:    CAN I ASK COUNSEL, IS IT STILL SUGGESTED

12:14:16    7       THAT -- WE'RE GOING TO GO UNTIL 3:00 TODAY.          IS IT SUGGESTED

12:14:21    8       STILL THAT WE BREAK AT THE 1:30 TIMEFRAME?          IS THAT A GOOD

12:14:24    9       TIMEFRAME?

12:14:25   10                  MR. WADE:    COURT'S INDULGENCE.

12:14:29   11             (DISCUSSION OFF THE RECORD AMONGST DEFENSE COUNSEL.)

12:14:40   12                  MR. WADE:    (NODS HEAD UP AND DOWN.)

12:14:42   13                  THE COURT:    OKAY.

12:14:43   14             (JURY IN AT 12:14 P.M.)

12:15:00   15                  THE COURT:    ALL RIGHT.    THANK YOU.    PLEASE BE SEATED.

12:15:07   16             WE'RE BACK ON THE RECORD.       OUR JURY AND ALTERNATES ARE

12:15:11   17      PRESENT.    ALL COUNSEL AND MS. HOLMES ARE PRESENT.

12:15:14   18      DR. ROSENDORFF IS ON THE STAND AGAIN.

12:15:15   19             AND YOU HAVE SOME -- YOU'D LIKE TO ASK SOME QUESTIONS ON

12:15:18   20      RECROSS?

12:15:19   21                  MR. WADE:    I DO, YOUR HONOR.

12:15:21   22                  THE COURT:    YES.

12:15:22   23             BUT FIRST, LADIES AND GENTLEMEN, BEFORE WE BEGIN

12:15:25   24      MR. WADE'S QUESTIONING, I DO WANT TO INSTRUCT YOU ON SOMETHING,

12:15:28   25      SO PLEASE DO LISTEN.



                                         UNITED STATES COURT REPORTERS
                Case: 22-10312, 04/25/2023,
                Case 5:18-cr-00258-EJD      ID: 12702996,
                                         Document   1271 DktEntry:  36-12, Page
                                                          Filed 01/18/22   Page 116
                                                                                117 of
                                                                                    of 227
                                                                                       228
                    ROSENDORFF RECROSS BY MR. WADE                                       2890


12:15:31    1             AT THE END OF HIS REDIRECT EXAMINATION, DR. ROSENDORFF WAS

12:15:35    2      ASKED TO COMPARE THERANOS WITH OTHER LABS WHERE HE HAS WORKED.

12:15:43    3      YOU MUST ENTIRELY DISREGARD BOTH THE QUESTION, THAT QUESTION,

12:15:48    4      AND DR. ROSENDORFF'S ANSWER.       IT WOULD BE IMPROPER FOR YOU TO

12:15:53    5      GIVE ANY WEIGHT WHATSOEVER EITHER TO THE QUESTION OR TO THE

12:15:58    6      ANSWER.

12:16:00    7             JUST TO BE CLEAR, I AM STRIKING THOSE, THE QUESTION AND

12:16:03    8      THE ANSWER FROM THE RECORD AND YOU ARE NOT, NOT TO CONSIDER

12:16:07    9      EITHER OF THOSE THINGS IN YOUR DELIBERATIONS.          THEY ARE

12:16:10   10      STRICKEN.

12:16:12   11             THANK YOU.

12:16:13   12                    MR. WADE:    THANK YOU, YOUR HONOR.    MAY I PROCEED?

12:16:14   13                    THE COURT:   YES.

12:16:16   14                                  RECROSS-EXAMINATION

12:16:16   15       BY MR. WADE:

12:16:17   16       Q.    GOOD AFTERNOON, DR. ROSENDORFF.

12:16:19   17       A.    HELLO.

12:16:20   18       Q.    I'D LIKE TO START BY BRINGING UP EXHIBIT 5417, WHICH IS IN

12:16:27   19       EVIDENCE AND THE GOVERNMENT ASKED YOU QUESTIONS ABOUT IT.

12:16:33   20             WE'LL PUT IT UP ON THE SCREEN IF IT'S EASIER FOR YOU,

12:16:36   21      DOCTOR.

12:16:36   22       A.    ALL RIGHT.

12:16:37   23       Q.    THIS WAS ONE OF THE LOOSE DOCUMENTS THAT THE GOVERNMENT

12:16:39   24       HANDED YOU.

12:16:40   25       A.    YES.



                                         UNITED STATES COURT REPORTERS
                Case: 22-10312, 04/25/2023,
                Case 5:18-cr-00258-EJD      ID: 12702996,
                                         Document   1271 DktEntry:  36-12, Page
                                                          Filed 01/18/22   Page 117
                                                                                118 of
                                                                                    of 227
                                                                                       228
                    ROSENDORFF RECROSS BY MR. WADE                                       2891


12:16:41    1       Q.    OKAY.    DO YOU RECALL THIS DOCUMENT?

12:16:42    2       A.    I HAVE IT IN FRONT OF ME.

12:16:44    3       Q.    OKAY.    IT'S A -- AND IF YOU'D LOOK AT THE -- IF WE CAN

12:16:48    4       BLOW UP THE BOTTOM EMAIL, YOU WERE ASKED SOME QUESTIONS ABOUT

12:16:50    5       THIS.

12:16:51    6             DO YOU SEE THAT?

12:16:52    7       A.    YES.

12:16:53    8       Q.    AND THE QUESTIONS THAT YOU WERE ASKED RELATED TO THE FACT

12:16:59    9       THAT MR. BALWANI STATED THAT HE WAS RUNNING THE CLIA LAB NOW,

12:17:06   10       SO HE WAS ASKING TO BE KEPT IN THE LOOP; RIGHT?

12:17:08   11       A.    YES.

12:17:09   12       Q.    AND YOU THOUGHT THIS WAS INAPPROPRIATE; CORRECT?

12:17:12   13       A.    YES.

12:17:13   14       Q.    OKAY.    AND I BELIEVE YOU TESTIFIED THAT HE MENTIONED

12:17:18   15       SOMETHING ABOUT THIS, BUT YOU HAD NO RESPONSE; RIGHT?

12:17:21   16       A.    CORRECT.

12:17:21   17       Q.    OKAY.    LET'S LOOK AT EXHIBIT 13950.

12:17:30   18             MAY I APPROACH, YOUR HONOR?

12:17:31   19                    THE COURT:    YES.

12:17:34   20                    MR. WADE:    (HANDING.)

12:17:36   21       Q.    DO YOU RECOGNIZE THIS TO BE AN EMAIL BETWEEN YOU AND

12:17:54   22       MR. BALWANI IN JUNE OF 2014 REGARDING CLIA LAB OPS?

12:18:00   23       A.    YES.

12:18:01   24                    MR. WADE:    OKAY.   MOVE THE ADMISSION OF 13950.

12:18:05   25                    MR. BOSTIC:   NO OBJECTION.



                                         UNITED STATES COURT REPORTERS
                Case: 22-10312, 04/25/2023,
                Case 5:18-cr-00258-EJD      ID: 12702996,
                                         Document   1271 DktEntry:  36-12, Page
                                                          Filed 01/18/22   Page 118
                                                                                119 of
                                                                                    of 227
                                                                                       228
                    ROSENDORFF RECROSS BY MR. WADE                                       2892


12:18:06    1                    THE COURT:   IT'S ADMITTED AND IT MAY BE PUBLISHED.

12:18:09    2             (DEFENDANT'S EXHIBIT 13950 WAS ADMITTED IN EVIDENCE.)

12:18:09    3                    MR. WADE:    THANK YOU.

12:18:10    4       Q.    LET'S START AT THE BOTTOM.

12:18:12    5             NOW, YOU PREVIOUSLY TESTIFIED THAT DR. PANDORI LEFT THE

12:18:15    6      LAB AROUND THIS TIME; RIGHT?

12:18:17    7       A.    YES.

12:18:17    8       Q.    AND IN RESPONSE TO THAT, FROM AN OPERATIONAL STANDPOINT,

12:18:23    9       MR. BALWANI STEPPED IN TO GIVE ASSISTANCE; CORRECT?

12:18:25   10       A.    YES.

12:18:29   11       Q.    OKAY.    AND IN THIS EMAIL, HE SPECIFICALLY RAISES THAT WITH

12:18:34   12       YOU; CORRECT?

12:18:35   13       A.    YES.

12:18:36   14       Q.    HE DIDN'T JUST WALK INTO THE LAB AND TAKE CONTROL OF IT

12:18:38   15       WITHOUT DISCUSSION WITH YOU, DID HE?

12:18:40   16       A.    YES.

12:18:41   17       Q.    THAT WOULD HAVE BEEN INAPPROPRIATE IF HE DID THAT; RIGHT?

12:18:43   18       A.    YES.

12:18:43   19       Q.    OKAY.    INSTEAD HE SENT YOU AN EMAIL AND HE SUGGESTED THAT

12:18:50   20       SINCE YOU'RE OUT FOR THE NEXT FEW DAYS, THIS IS NEEDED NO

12:18:53   21       MATTER WHAT.

12:18:54   22             DO YOU SEE THAT?

12:18:55   23       A.    YES.

12:18:56   24       Q.    BECAUSE YOU WERE ACTUALLY TAKING SOME VACATION DURING THIS

12:18:59   25       PERIOD.



                                         UNITED STATES COURT REPORTERS
                Case: 22-10312, 04/25/2023,
                Case 5:18-cr-00258-EJD      ID: 12702996,
                                         Document   1271 DktEntry:  36-12, Page
                                                          Filed 01/18/22   Page 119
                                                                                120 of
                                                                                    of 227
                                                                                       228
                    ROSENDORFF RECROSS BY MR. WADE                                       2893


12:19:00    1             DO YOU RECALL THAT?

12:19:01    2       A.    I DON'T RECALL.

12:19:01    3       Q.    OKAY.    BUT IS THAT WHAT YOU INFER FROM THAT COMMENT?

12:19:04    4       A.    YES.

12:19:05    5       Q.    OKAY.    AND IF DR. PANDORI WASN'T THERE AND YOU WEREN'T

12:19:07    6       THERE, HE WANTED TO MAKE SURE THERE WAS SOMEONE THERE TO HELP

12:19:11    7       KEEP THINGS MOVING; RIGHT?

12:19:12    8       A.    MY UNDERSTANDING IS THAT MR. BALWANI WANTED THIS TO BE A

12:19:18    9       PERMANENT ARRANGEMENT.

12:19:21   10       Q.    OKAY.    WELL, SO HE'S SAYING, BECAUSE -- NOW, WHEN

12:19:24   11       DR. PANDORI WAS THERE, YOU TESTIFIED THAT HE HAD SOME

12:19:27   12       SPECIALTIES?

12:19:28   13       A.    YES.

12:19:29   14       Q.    RIGHT?   BUT HE ALSO WAS VERY FOCUSSED ON THE LAB

12:19:32   15       OPERATIONS; RIGHT?

12:19:33   16       A.    YES.

12:19:34   17       Q.    HE WAS TAKING A LEAD ROLE IN THAT; RIGHT?

12:19:36   18       A.    WE BOTH WERE.

12:19:37   19       Q.    OKAY.    BUT IN THE LAB OPERATIONS, YOU DON'T NECESSARILY

12:19:39   20       HAVE TO BE A LAB DIRECTOR IF YOU'RE SUPERVISED BY A LAB

12:19:42   21       DIRECTOR; RIGHT?

12:19:43   22       A.    CORRECT.

12:19:44   23       Q.    OKAY.    AND SO DR. PANDORI WAS VERY INVOLVED IN TRYING TO

12:19:48   24       IMPLEMENT SOME OF THE PRACTICES AND PROCEDURES WITHIN THE LAB;

12:19:51   25       RIGHT?



                                         UNITED STATES COURT REPORTERS
                Case: 22-10312, 04/25/2023,
                Case 5:18-cr-00258-EJD      ID: 12702996,
                                         Document   1271 DktEntry:  36-12, Page
                                                          Filed 01/18/22   Page 120
                                                                                121 of
                                                                                    of 227
                                                                                       228
                    ROSENDORFF RECROSS BY MR. WADE                                       2894


12:19:51    1       A.    YES.

12:19:52    2       Q.    OKAY.   AND SO WHEN HE LEFT, MR. BALWANI GIVES YOU NOTICE

12:19:58    3       THAT HE WANTS TO STEP IN ON THE OPS ISSUES.

12:20:03    4             DO YOU SEE THAT?

12:20:04    5       A.    YES.

12:20:04    6       Q.    OKAY.   LIKE SCHEDULING, DEVICES, ORDERING INVENTORY,

12:20:09    7       DEPARTMENTALIZING PEOPLE, TEAM STRUCTURES, ET CETERA.

12:20:12    8             DO YOU SEE THAT?

12:20:13    9       A.    YES.

12:20:13   10       Q.    OKAY.   AND HE SAYS HE'LL FINALIZE AND PUT THIS IN PLACE

12:20:18   11       THIS WEEK.

12:20:19   12             YOU SEE THAT, OF COURSE?

12:20:20   13       A.    YES.

12:20:20   14       Q.    OKAY.   AND HE'LL KEEP YOU IN THE LOOP IN EVERY SINGLE

12:20:27   15       RELEVANT EMAIL OF COURSE, BUT BASICALLY WE NEED TO GET THE LAB

12:20:30   16       IN ORDER AS WE SCALE.

12:20:32   17             DO YOU SEE THAT?

12:20:32   18       A.    YES.

12:20:33   19       Q.    THAT'S BECAUSE THE NUMBER OF PATIENTS WAS INCREASING;

12:20:36   20       RIGHT?

12:20:36   21       A.    YES.

12:20:37   22       Q.    OKAY.   AND HE WANTED TO COME IN AND HELP FROM AN

12:20:40   23       OPERATIONAL STANDPOINT; RIGHT?

12:20:41   24       A.    WELL, HE WAS -- HE WAS DOING FAR MORE THAN THAT.

12:20:49   25       Q.    WELL, HE'S TELLING YOU HERE THAT HE'S GOING TO GET



                                         UNITED STATES COURT REPORTERS
                Case: 22-10312, 04/25/2023,
                Case 5:18-cr-00258-EJD      ID: 12702996,
                                         Document   1271 DktEntry:  36-12, Page
                                                          Filed 01/18/22   Page 121
                                                                                122 of
                                                                                    of 227
                                                                                       228
                    ROSENDORFF RECROSS BY MR. WADE                                        2895


12:20:51    1       INVOLVED IN THE LAB FROM AN OPERATIONAL STANDPOINT?

12:20:54    2       A.    THAT'S WHAT HE'S SAYING, YEAH.

12:20:56    3       Q.    AND HE ACTUALLY SAYS, I'M UNIQUELY GIFTED AT

12:20:59    4       ORGANIZATIONAL STRUCTURES AND OPS.

12:21:00    5             DO YOU SEE THAT?

12:21:01    6       A.    YES.

12:21:02    7       Q.    HE FELT, BASED ON HIS BUSINESS EXPERIENCE, HIS EXTENSIVE

12:21:07    8       PRIOR BUSINESS EXPERIENCE, THAT HE HAD TALENTS IN THE

12:21:11    9       OPERATIONAL ISSUES; RIGHT?

12:21:12   10       A.    YES.

12:21:12   11       Q.    OKAY.   AND HE SAYS HE'LL FOCUS ON THIS FOR THE NEXT FEW

12:21:15   12       WEEKS; RIGHT?

12:21:16   13       A.    YES.

12:21:16   14       Q.    AND YOUR RESPONSE -- LET'S LOOK AT YOUR RESPONSE.

12:21:23   15       A.    I'M READING IT.

12:21:25   16       Q.    YEAH.   YOU AGREED; RIGHT?

12:21:26   17       A.    I JUST ACKNOWLEDGED HIS EMAIL.

12:21:29   18       Q.    WELL, YOU SAY THANKS; RIGHT?

12:21:31   19       A.    I DIDN'T SAY GO AHEAD AND, YOU KNOW, TAKE CONTROL OF THE

12:21:34   20       CLIA LAB.     I JUST ACKNOWLEDGED HIS EMAIL.      THAT'S IT.

12:21:37   21       Q.    YOU SAID THANKS; RIGHT?

12:21:39   22       A.    YES.

12:21:40   23       Q.    OKAY.   AND SO YOU KNEW HE WAS COMING IN AND YOU SAID

12:21:42   24       THANKS; RIGHT?     THAT'S WHAT THE EMAIL SAYS?       THOSE ARE YOUR

12:21:49   25       WORDS?



                                         UNITED STATES COURT REPORTERS
                Case: 22-10312, 04/25/2023,
                Case 5:18-cr-00258-EJD      ID: 12702996,
                                         Document   1271 DktEntry:  36-12, Page
                                                          Filed 01/18/22   Page 122
                                                                                123 of
                                                                                    of 227
                                                                                       228
                    ROSENDORFF RECROSS BY MR. WADE                                       2896


12:21:50    1       A.    I'M THANKING HIM FOR HIS EMAIL.

12:21:51    2       Q.    OKAY.    AND YOU THEN TALK ABOUT ANOTHER PROPOSAL THAT YOU

12:21:54    3       HAVE SINCE MARK PANDORI IS GONE; RIGHT?

12:21:57    4       A.    YES.

12:21:57    5       Q.    AND SOME, SOME DIFFERENT WORK THAT YOU'RE GOING TO TAKE

12:22:00    6       ON?

12:22:00    7       A.    YES.

12:22:00    8       Q.    RIGHT?   SO THIS WAS -- I BELIEVE YOU, IN YOUR DIRECT -- IN

12:22:06    9       YOUR REDIRECT TESTIMONY, YOU ACTUALLY USED THE WORDS UNIQUELY

12:22:09   10       GIFTED AT ORGANIZATIONAL STRUCTURES OR SOMETHING TO THAT

12:22:12   11       EFFECT; RIGHT?

12:22:13   12       A.    YES.

12:22:13   13       Q.    OKAY.    AND THAT'S, IN FACT, WHAT HE WROTE IN THIS EMAIL?

12:22:17   14       A.    YES.

12:22:18   15       Q.    AND THE GOVERNMENT DIDN'T SHOW YOU THIS EMAIL IN YOUR

12:22:22   16       PREPARATION, EITHER, DID THEY?

12:22:23   17       A.    NO.

12:22:24   18       Q.    NO.    AND THIS IS IN, I'LL NOTE, IN JUNE OF 2014.

12:22:28   19             DO YOU SEE THAT?

12:22:29   20       A.    YES.

12:22:29   21       Q.    AND JUNE OF 2014, RIGHT IN THIS PERIOD IS THE PERIOD WHEN

12:22:36   22       YOU WERE ALSO DEALING WITH SOME OF THOSE HCG ISSUES AND OTHER

12:22:42   23       THINGS; RIGHT?

12:22:43   24       A.    OKAY.

12:22:43   25       Q.    DO YOU REMEMBER THAT?



                                         UNITED STATES COURT REPORTERS
                Case: 22-10312, 04/25/2023,
                Case 5:18-cr-00258-EJD      ID: 12702996,
                                         Document   1271 DktEntry:  36-12, Page
                                                          Filed 01/18/22   Page 123
                                                                                124 of
                                                                                    of 227
                                                                                       228
                    ROSENDORFF RECROSS BY MR. WADE                                       2897


12:22:44    1       A.    I THINK SO.

12:22:44    2       Q.    OKAY.   AND SO YOU WERE ASKED A LOT OF QUESTIONS ABOUT THE

12:22:48    3       FACT THAT MR. BALWANI WAS ON EMAILS DURING THIS PERIOD, BUT HE

12:22:51    4       WAS TELLING YOU THAT HE WAS GOING TO BE ON THE EMAILS AND WORK

12:22:55    5       TO INCLUDE YOU BECAUSE HE'S GOING TO TRY AND ADDRESS

12:22:58    6       OPERATIONAL ISSUES; RIGHT?       HE'S TELLING YOU THAT?

12:23:01    7       A.    IS THERE A QUESTION HERE, SIR?

12:23:05    8       Q.    YEAH.   HE'S TELLING YOU THAT, RIGHT, IN THIS EMAIL?

12:23:09    9       A.    HE'S SAYING THAT HE'S GOING TO BE INVOLVED IN OPERATIONAL

12:23:12   10       ISSUES, YES.

12:23:13   11       Q.    HE'S GIVING YOU NOTICE OF THAT AND HE'S SAYING, "I WILL

12:23:19   12       KEEP YOU IN THE LOOP IN EVERY SINGLE RELEVANT EMAIL OF COURSE."

12:23:23   13             DO YOU SEE THAT?

12:23:24   14       A.    YES.

12:23:24   15       Q.    OKAY.   AND YOU THANKED HIM FOR IT.

12:23:45   16             AND JUST SO WE'RE CLEAR, SIR, YOU TESTIFIED THAT THERE

12:23:48   17       WERE SEVERAL LABS THAT YOU WORKED IN WHERE YOU WERE A PART-TIME

12:23:48   18       LAB DIRECTOR; RIGHT?

12:23:50   19       A.    CORRECT.

12:23:51   20       Q.    AND WHEN YOU WEREN'T -- THAT MEANS SOMETIMES YOU WEREN'T

12:23:52   21       THERE; RIGHT?

12:23:54   22       A.    AT THERANOS?

12:23:55   23       Q.    NO, NOT AT THERANOS.

12:23:57   24             WHEN YOU SERVE ON OCCASION AS A PART-TIME LAB DIRECTOR --

12:23:57   25       A.    YES.



                                         UNITED STATES COURT REPORTERS
                Case: 22-10312, 04/25/2023,
                Case 5:18-cr-00258-EJD      ID: 12702996,
                                         Document   1271 DktEntry:  36-12, Page
                                                          Filed 01/18/22   Page 124
                                                                                125 of
                                                                                    of 227
                                                                                       228
                    ROSENDORFF RECROSS BY MR. WADE                                       2898


12:23:59    1       Q.    -- THAT MEANS SOMETIMES YOU'RE NOT ON SITE AT THE LAB?

12:24:02    2       A.    CORRECT.

12:24:02    3       Q.    AND WHEN THAT HAPPENS, THERE ARE OTHER PEOPLE WHO TAKE ON

12:24:05    4       RESPONSIBILITIES TO IMPLEMENT THINGS IN, IN AID OF YOUR

12:24:09    5       DIRECTORSHIP?

12:24:10    6       A.    YES, THEY'RE ON THE ROSTER.

12:24:12    7       Q.    RIGHT.

12:24:12    8       A.    SUNNY WASN'T ON THE ROSTER.

12:24:16    9       Q.    WELL, WE'LL DEAL WITH THAT SEPARATELY.

12:24:19   10             IN FACT, HE WAS ON THE ROSTER OF THE CLIA LAB, WAS HE NOT?

12:24:23   11       A.    I DON'T BELIEVE.     THAT'S NEWS TO ME.

12:24:26   12       Q.    OKAY.

12:24:26   13       A.    IN WHAT CAPACITY, SIR?

12:24:29   14       Q.    ISN'T IT TRUE THAT MR. BALWANI WAS LISTED IN THE CLIA FORM

12:24:32   15       ON THE ROSTER FOR THE CLIA LAB?

12:24:34   16       A.    I DON'T BELIEVE HE WAS, NO.

12:24:36   17       Q.    OKAY.

12:24:39   18       A.    HE WOULDN'T HAVE QUALIFIED FOR ANY POSITION.

12:24:42   19       Q.    I WANT TO ASK YOU ABOUT THE LAUNCH.        OKAY?

12:24:53   20       A.    OKAY.

12:24:54   21       Q.    THE GOVERNMENT SHOWED YOU EXHIBIT 1113.         LET'S PULL THAT

12:25:04   22       UP.

12:25:12   23             AND THIS APPEARS, I BELIEVE YOU SAID, TO BE A PRESS

12:25:14   24      RELEASE; RIGHT?

12:25:15   25       A.    YES.



                                         UNITED STATES COURT REPORTERS
                Case: 22-10312, 04/25/2023,
                Case 5:18-cr-00258-EJD      ID: 12702996,
                                         Document   1271 DktEntry:  36-12, Page
                                                          Filed 01/18/22   Page 125
                                                                                126 of
                                                                                    of 227
                                                                                       228
                    ROSENDORFF RECROSS BY MR. WADE                                       2899


12:25:16    1       Q.     YOU DON'T RECALL SEEING THIS PRESS RELEASE AT THE TIME?

12:25:18    2       A.     NO.

12:25:18    3       Q.     AND THE GOVERNMENT SHOWED YOU THE FIRST AND THIRD

12:25:23    4       PARAGRAPHS.      LET'S LOOK AT THE MIDDLE PARAGRAPH.

12:25:27    5              OKAY.    THIS SAYS THAT THERANOS AND WALGREENS ARE TAKING

12:25:32    6      THE FIRST STEP IN MAKING THIS SERVICE AVAILABLE TO CONSUMERS.

12:25:36    7              DO YOU SEE THAT?

12:25:37    8       A.     YES.

12:25:38    9       Q.     WITH THE FIRST THERANOS WELLNESS CENTER LOCATION OPENING

12:25:42   10       THIS MONTH.

12:25:44   11              DO YOU SEE THAT?

12:25:45   12       A.     YES.

12:25:46   13       Q.     IT DOESN'T SAY WHEN; RIGHT?

12:25:47   14       A.     YES.

12:25:48   15       Q.     IT DOESN'T SAY ON THAT DAY, DOES IT?       IT DOESN'T SAY IT'S

12:25:51   16       GOING TO HAPPEN ON SEPTEMBER 9TH?

12:25:54   17       A.     YES, CORRECT.

12:25:56   18       Q.     RIGHT.   AND, IN FACT, WHEN PEOPLE WERE WANTING TO MAKE

12:26:02   19       SURE THERE WAS TIME TO IMPLEMENT PROCEDURES, IN FACT, THEY

12:26:05   20       DELAYED THE PUBLIC LAUNCH UNTIL NOVEMBER OF 2013; CORRECT?

12:26:12   21       A.     I CAN'T SPECULATE ON WHY THE PUBLIC LAUNCH WAS DELAYED,

12:26:17   22       SIR.

12:26:17   23       Q.     BUT YOU KNOW IT WAS DELAYED?

12:26:18   24       A.     CORRECT.

12:26:19   25       Q.     OKAY.    AND --



                                         UNITED STATES COURT REPORTERS
                Case: 22-10312, 04/25/2023,
                Case 5:18-cr-00258-EJD      ID: 12702996,
                                         Document   1271 DktEntry:  36-12, Page
                                                          Filed 01/18/22   Page 126
                                                                                127 of
                                                                                    of 227
                                                                                       228
                    ROSENDORFF RECROSS BY MR. WADE                                        2900


12:26:21    1       A.    I'M ALSO NOT CLEAR ON WHAT YOU MEAN BY "PUBLIC."          YOU

12:26:24    2       KNOW, FRIENDS AND FAMILY ARE STILL MEMBERS OF THE PUBLIC.

12:26:27    3       Q.    RIGHT.   SO -- I'M GLAD YOU RAISED THAT, BECAUSE YOU WERE

12:26:30    4       ASKED SOME QUESTIONS ABOUT FRIENDS AND FAMILY.

12:26:31    5       A.    YEAH.

12:26:32    6       Q.    DO YOU RECALL THAT?

12:26:33    7       A.    YES.

12:26:34    8       Q.    AND YOU WERE ASKED ABOUT IF THERE WERE ISSUES WITH THOSE

12:26:36    9       TESTS OR THINGS, THOSE WOULD STILL BE REAL ISSUES; RIGHT?

12:26:42   10       THEY'RE STILL PATIENTS; RIGHT, IF THEY'RE FRIENDS AND FAMILY?

12:26:46   11             DO YOU RECALL THAT?

12:26:48   12       A.    YES.

12:26:48   13       Q.    OKAY.    AND THE GOVERNMENT SAID, AND IF ISSUES AROSE, EVEN

12:26:52   14       WITH A SMALL VOLUME, THOSE ARE STILL ISSUES THAT ARE SERIOUS;

12:26:57   15       RIGHT?

12:26:57   16       A.    CORRECT.

12:26:58   17       Q.    DO YOU RECALL THAT?

12:26:59   18       A.    CORRECT.

12:26:59   19       Q.    AND YOU SAID THEY WERE; RIGHT?

12:27:02   20       A.    YES.

12:27:02   21       Q.    NOW, YOU ACTUALLY DON'T KNOW OF ANY ISSUES THAT CAME UP

12:27:04   22       WITH RESPECT TO THE LAB RESULTS THAT WERE ACTUALLY PERFORMED

12:27:07   23       DURING THAT PUBLIC LAUNCH, DO YOU?

12:27:10   24       A.    I DON'T RECALL.

12:27:11   25       Q.    YOU HAVEN'T BEEN SHOWN A SINGLE EMAIL THAT SUGGESTS THAT



                                         UNITED STATES COURT REPORTERS
                Case: 22-10312, 04/25/2023,
                Case 5:18-cr-00258-EJD      ID: 12702996,
                                         Document   1271 DktEntry:  36-12, Page
                                                          Filed 01/18/22   Page 127
                                                                                128 of
                                                                                    of 227
                                                                                       228
                    ROSENDORFF RECROSS BY MR. WADE                                       2901


12:27:13    1       THERE WAS AN ISSUE WITH RESPECT TO THOSE FEW LAB TESTS THAT

12:27:18    2       WERE OFFERED IN THAT FRIENDS AND FAMILY LAUNCH, HAVE YOU?

12:27:22    3       A.    SO FROM WHAT YOU SHOWED ME, IT LOOKS LIKE THEY WERE

12:27:27    4       RUNNING CBC'S AND A1C'S FOR THE FIRST TWO WEEKS OR SO.

12:27:31    5       Q.    RIGHT.   THEY WERE RUNNING TWO TESTS; RIGHT, SIR?

12:27:34    6       A.    YES.

12:27:34    7       Q.    I JUST WANT THERE TO BE CLARITY ON THIS ISSUE.          TWO TESTS?

12:27:37    8       DO YOU RECALL THAT?

12:27:38    9       A.    YES.

12:27:39   10       Q.    INITIALLY, YOU THOUGHT THAT THEY WERE RUNNING A WHOLE

12:27:41   11       RANGE OF TESTS; RIGHT?

12:27:42   12       A.    THAT'S WHAT I BELIEVED, YES.

12:27:44   13       Q.    BUT IT LOOKS -- THERE'S NO EVIDENCE OF THAT; RIGHT?

12:27:46   14       A.    WELL, I -- I HAD NO TRANSPARENCY, OR I WAS NOT AWARE OF

12:27:51   15       EXACTLY WHAT THEY WERE OFFERING AT THAT TIME.

12:27:52   16       Q.    WELL, THERE WERE NO VALIDATION REPORTS IN PLACE BEFORE

12:27:55   17       THEN; RIGHT?

12:27:56   18       A.    YES.

12:27:56   19       Q.    SO YOU WOULDN'T HAVE -- YOU WOULDN'T HAVE LET A TEST IN

12:27:59   20       THE LAB IF THERE WAS NO VALIDATION REPORT, WOULD YOU?

12:28:02   21       A.    OF COURSE NOT.

12:28:03   22       Q.    OKAY.    AND YOU RECALL -- I'M HAPPY TO BRING UP THAT

12:28:12   23       EMAIL -- BUT YOU RECALL THE EXCHANGE THAT YOU HAD WITH

12:28:15   24       MR. BALWANI WHERE HE ASKED IF THERE WAS ANYTHING THAT YOU

12:28:17   25       NEEDED IN ADVANCE OF THE GENERAL PUBLIC LAUNCH IN EARLY



                                         UNITED STATES COURT REPORTERS
                Case: 22-10312, 04/25/2023,
                Case 5:18-cr-00258-EJD      ID: 12702996,
                                         Document   1271 DktEntry:  36-12, Page
                                                          Filed 01/18/22   Page 128
                                                                                129 of
                                                                                    of 227
                                                                                       228
                    ROSENDORFF RECROSS BY MR. WADE                                       2902


12:28:22    1       NOVEMBER OF 2013?

12:28:24    2       A.    YES.

12:28:24    3       Q.    YOU RECALL THAT?

12:28:25    4       A.    YES.

12:28:25    5       Q.    OKAY.   AND THAT'S WHEN THE LAB OPENED TO THE GENERAL

12:28:28    6       PUBLIC; RIGHT, SIR?

12:28:29    7       A.    FRIENDS AND FAMILY IS STILL THE PUBLIC.

12:28:34    8       Q.    OKAY.   LET'S BRING UP 24 -- 12464, WHICH IS IN EVIDENCE.

12:28:52    9             LET'S LOOK AT THE BOTTOM.

12:29:00   10             DO YOU SEE THAT?

12:29:01   11       A.    YES.

12:29:01   12       Q.    LET'S GO TO THE NEXT PAGE.

12:29:13   13             DO YOU SEE THAT THIS WAS THE POINT IN WHICH THIS WAS OPEN

12:29:17   14      TO PEOPLE OTHER THAN FRIENDS AND FAMILY; RIGHT, SIR?

12:29:19   15       A.    YES.

12:29:20   16       Q.    OKAY.   YOU WERE ASKED SOME QUESTIONS ABOUT THE

12:29:31   17       INSPECTIONS?

12:29:32   18       A.    YES.

12:29:32   19       Q.    THE INSPECTION IN 2013; CORRECT?

12:29:35   20       A.    YES.

12:29:35   21       Q.    NOW, THE GOVERNMENT BROUGHT UP A SERIES OF DOCUMENTS.

12:29:43   22       LET'S START WITH 4047, WHICH IS IN EVIDENCE.

12:29:55   23             OKAY.   YOU RECALL THAT THEY SHOWED YOU THIS ONE?

12:29:57   24       A.    YES.

12:29:58   25       Q.    OKAY.   AND THIS RELATES TO DISCUSSION ABOUT GOING TO THE



                                         UNITED STATES COURT REPORTERS
                Case: 22-10312, 04/25/2023,
                Case 5:18-cr-00258-EJD      ID: 12702996,
                                         Document   1271 DktEntry:  36-12, Page
                                                          Filed 01/18/22   Page 129
                                                                                130 of
                                                                                    of 227
                                                                                       228
                    ROSENDORFF RECROSS BY MR. WADE                                       2903


12:30:02    1       LAB; RIGHT?

12:30:03    2       A.    YES.

12:30:03    3       Q.    AND THEN LET'S BRING UP 4316.

12:30:18    4             THEY SHOWED YOU THIS DOCUMENT; CORRECT?

12:30:21    5       A.    YES.

12:30:22    6       Q.    AND MS. HOLMES IS NOT ON THIS DOCUMENT; RIGHT?

12:30:26    7       A.    CORRECT.

12:30:26    8       Q.    NOW, LET'S BRING UP 12479.       AND LET'S BLOW UP THE TOP.

12:30:50    9             AND, AGAIN, THIS DOCUMENT THEY DIDN'T SHOW YOU, DID THEY?

12:30:56   10       A.    NO, I'VE SEEN IT BEFORE.

12:31:01   11       Q.    YOU'VE SEEN IT BEFORE, BUT THEY DIDN'T SHOW THIS TO YOU IN

12:31:05   12       THE REDIRECT, DID THEY?

12:31:07   13       A.    NOT IN THE REDIRECT, NO.

12:31:08   14       Q.    AND THEY DIDN'T EMPHASIZE THAT YOU HAD PREVIOUSLY

12:31:11   15       TESTIFIED THAT MS. HOLMES SEEMED WILLING TO SHOW THEM THE LAB

12:31:15   16       DOWNSTAIRS; RIGHT?      YOU PREVIOUSLY TESTIFIED TO THAT?

12:31:20   17       A.    YES.

12:31:21   18       Q.    YEAH.    AND JUST SO WE'RE CLEAR, BECAUSE I -- YOU NEVER

12:31:27   19       CONCEALED ANYTHING FROM THESE INSPECTORS; RIGHT, SIR?

12:31:30   20       A.    CORRECT.

12:31:31   21       Q.    YOU WOULDN'T DO THAT, WOULD YOU?

12:31:32   22       A.    NO.

12:31:32   23       Q.    IF SOMEONE ASKED YOU TO DO IT, YOU WOULDN'T DO IT?

12:31:35   24       A.    CORRECT.

12:31:35   25       Q.    RIGHT.   AND WITH RESPECT TO THE EDISON LABS, YOU SHOWED



                                         UNITED STATES COURT REPORTERS
                Case: 22-10312, 04/25/2023,
                Case 5:18-cr-00258-EJD      ID: 12702996,
                                         Document   1271 DktEntry:  36-12, Page
                                                          Filed 01/18/22   Page 130
                                                                                131 of
                                                                                    of 227
                                                                                       228
                    ROSENDORFF RECROSS BY MR. WADE                                       2904


12:31:45    1       THEM AN EDISON VALIDATION REPORT; RIGHT?

12:31:47    2       A.    CORRECT.

12:31:48    3       Q.    YOU DISCUSSED THE EDISONS WITH THEM; RIGHT?

12:31:52    4       A.    YES, YES.

12:31:53    5       Q.    AND ARE YOU AWARE THERE WERE DETAILED -- THERE WAS

12:31:55    6       DETAILED INFORMATION ABOUT THE EDISONS AND ITS WHOLE TEST MENU

12:31:59    7       PROVIDED TO THE FDA AND CMS DURING THIS VERY SAME TIME PERIOD?

12:32:03    8       ARE YOU AWARE OF THAT?

12:32:04    9       A.    I WAS AWARE THAT THERANOS WAS VOLUNTARILY SUBMITTING DATA

12:32:09   10       TO THE FDA, OSTENSIBLY FOR THE PURPOSES OF GETTING FDA

12:32:17   11       APPROVAL.     I'M NOT REALLY SURE WHY THEY WERE DOING THAT.

12:32:20   12             I'M NOT AWARE OF ANY DOCUMENTATION THAT WAS SENT TO CMS

12:32:23   13      REGARDING THE EDISONS DURING THIS TIME.

12:32:25   14       Q.    OKAY.   YOU WEREN'T AWARE THAT THEY WERE DOING THAT BECAUSE

12:32:29   15       YOU WEREN'T INVOLVED IN THOSE PROCESSES; CORRECT?

12:32:31   16       A.    I DON'T -- I DON'T RECALL.

12:32:33   17       Q.    OKAY.   AND -- BUT YOU WERE AWARE THAT YOU SHARED

12:32:36   18       INFORMATION WITH THE INSPECTOR WHO WALKED IN THE DOOR IN 2013;

12:32:39   19       RIGHT?

12:32:39   20       A.    YES.

12:32:40   21       Q.    OKAY.   AND IF SHE HAD ASKED YOU TO GO DOWNSTAIRS AND SEE

12:32:45   22       THOSE DEVICES, YOU WOULD HAVE WALKED HER RIGHT DOWN; RIGHT?

12:32:48   23       A.    YES.

12:32:49   24       Q.    OKAY.   NOW, THE GOVERNMENT BROUGHT UP A LITTLE -- SOME

12:33:05   25       TESTIMONY WHERE IT WAS COMPARING THERANOS DEVICES AND



                                         UNITED STATES COURT REPORTERS
                Case: 22-10312, 04/25/2023,
                Case 5:18-cr-00258-EJD      ID: 12702996,
                                         Document   1271 DktEntry:  36-12, Page
                                                          Filed 01/18/22   Page 131
                                                                                132 of
                                                                                    of 227
                                                                                       228
                    ROSENDORFF RECROSS BY MR. WADE                                       2905


12:33:09    1       UNMODIFIED DEVICES; RIGHT?

12:33:10    2       A.    YES.

12:33:11    3       Q.    DO YOU RECALL THAT?

12:33:12    4       A.    YES.

12:33:12    5       Q.    AND THERE WERE A LOT OF TESTS THAT WERE PERFORMED ON

12:33:15    6       UNMODIFIED DEVICES; RIGHT?

12:33:17    7       A.    CORRECT.

12:33:17    8       Q.    AND YOU TALKED ABOUT THE ARIZONA LABORATORY.

12:33:22    9             DO YOU RECALL THAT?

12:33:23   10       A.    YES.

12:33:23   11       Q.    AND THAT LABORATORY WAS A MODERATE COMPLEXITY LABORATORY;

12:33:26   12       RIGHT?

12:33:27   13       A.    I DON'T RECALL.

12:33:27   14       Q.    OKAY.   THAT -- BUT YOU DO RECALL THAT IT ONLY HAD

12:33:31   15       COMMERCIAL DEVICES?

12:33:32   16       A.    YES.

12:33:33   17       Q.    CORRECT?

12:33:33   18       A.    THAT WAS MY BELIEF, YES.

12:33:35   19       Q.    AND THERE WAS A LOT OF VOLUME OF TESTING THAT WAS

12:33:37   20       HAPPENING ON COMMERCIAL DEVICES AT THERANOS; CORRECT?

12:33:40   21       A.    CAN YOU BE MORE SPECIFIC?

12:33:46   22       Q.    YEAH.   THERE WAS A -- THERE WERE A MENU OF DIFFERENT TESTS

12:33:51   23       THERE WERE BEING OFFERED; RIGHT?

12:33:52   24       A.    YES.

12:33:53   25       Q.    AND I FORGET THE EXACT NUMBER, BUT YOU SAID MAYBE SEVEN TO



                                         UNITED STATES COURT REPORTERS
                Case: 22-10312, 04/25/2023,
                Case 5:18-cr-00258-EJD      ID: 12702996,
                                         Document   1271 DktEntry:  36-12, Page
                                                          Filed 01/18/22   Page 132
                                                                                133 of
                                                                                    of 227
                                                                                       228
                    ROSENDORFF RECROSS BY MR. WADE                                          2906


12:33:57    1       NINE TESTS WERE OFFERED ON THE EDISON; RIGHT?

12:34:00    2       A.    IN WHAT TIME PERIOD?

12:34:02    3       Q.    IN YOUR TENURE AT THERANOS.

12:34:05    4       A.    YES.

12:34:05    5       Q.    OKAY.   SO IN THAT TENURE, THERE WERE ABOUT SEVEN TO NINE

12:34:09    6       TESTS ON THE EDISON DEVICE?

12:34:10    7       A.    YES.

12:34:11    8       Q.    OKAY.   AND WHAT -- THERE WERE MAYBE ANOTHER 50 TO 60 OF

12:34:18    9       THE MODIFIED PREDICATES THAT WERE RUN ON THE ADVIA; IS THAT

12:34:23   10       RIGHT?

12:34:23   11       A.    THERE WERE 50 TO 60 THAT WERE VALIDATED, I BELIEVE.           I

12:34:33   12       CAN'T TESTIFY HERE TODAY, MY RECOLLECTION IS NOT GOOD ENOUGH TO

12:34:38   13       SAY HOW MANY WERE ACTUALLY DONE USING THE LDT.

12:34:41   14       Q.    OKAY.   AND THE THIRD CATEGORY ARE THOSE COMMERCIAL

12:34:44   15       DEVICES; RIGHT?

12:34:45   16       A.    YES.

12:34:45   17       Q.    AND THERE WERE OVER 100 TESTS THAT WERE AVAILABLE ON THE

12:34:48   18       COMMERCIAL DEVICES; RIGHT?

12:34:49   19       A.    YES.

12:34:50   20       Q.    AND I BELIEVE YOUR TESTIMONY IS THAT THERE WERE BASICALLY

12:34:53   21       NO ISSUES WITH RESPECT TO THOSE TESTS; RIGHT?

12:34:55   22       A.    THE COMMERCIAL DEVICES?

12:34:56   23       Q.    YEAH.   THEY PERFORMED WELL; RIGHT?

12:34:59   24       A.    IN GENERAL, YES.

12:35:01   25       Q.    OKAY.   LET'S PULL UP 13893.



                                         UNITED STATES COURT REPORTERS
                Case: 22-10312, 04/25/2023,
                Case 5:18-cr-00258-EJD      ID: 12702996,
                                         Document   1271 DktEntry:  36-12, Page
                                                          Filed 01/18/22   Page 133
                                                                                134 of
                                                                                    of 227
                                                                                       228
                    ROSENDORFF RECROSS BY MR. WADE                                       2907


12:35:27    1             YOU RECALL YOU WERE ASKED SOME QUESTIONS ABOUT THIS, THE

12:35:29    2       ISE'S?

12:35:30    3       A.    YES.

12:35:30    4       Q.    LET'S GO TO THE SECOND PAGE.       THIS WAS THE REPORT OUT FROM

12:35:38    5       DR. YOUNG.

12:35:39    6             DO YOU RECALL THAT?

12:35:40    7       A.    YES.

12:35:40    8       Q.    AND WE TESTIFIED -- WE HAD SOME DISCUSSION ABOUT THIS ON

12:35:43    9       CROSS-EXAMINATION.

12:35:45   10             DO YOU RECALL?

12:35:45   11       A.    I BELIEVE SO.

12:35:46   12       Q.    OKAY.   AND WE TALKED ABOUT SOME OF THE FINDINGS IN THE

12:35:50   13       FIRST HALF.

12:35:51   14             DO YOU SEE THAT?

12:35:52   15       A.    YES.

12:35:53   16       Q.    AND THEN WE, WE NOTED THAT THERE WAS STILL WORK THAT WAS

12:35:56   17       GOING TO BE DONE; RIGHT?

12:35:57   18       A.    YES.

12:35:58   19       Q.    BECAUSE EVEN THOUGH THERE HAD BEEN SOME SUCCESS, THERE WAS

12:36:03   20       STILL A DESIRE TO CONTINUE TO IMPROVE THE ASSAY; CORRECT?

12:36:06   21       A.    YES.

12:36:06   22       Q.    AND LET'S GO BACK TO THE FIRST PAGE.

12:36:09   23             AND YOU -- IN THIS EMAIL, YOU CONGRATULATED DR. YOUNG ON

12:36:16   24      HAVING CRACKED THIS; RIGHT?

12:36:17   25       A.    YES.



                                         UNITED STATES COURT REPORTERS
                Case: 22-10312, 04/25/2023,
                Case 5:18-cr-00258-EJD      ID: 12702996,
                                         Document   1271 DktEntry:  36-12, Page
                                                          Filed 01/18/22   Page 134
                                                                                135 of
                                                                                    of 227
                                                                                       228
                    ROSENDORFF RECROSS BY MR. WADE                                       2908


12:36:18    1       Q.    BECAUSE EVERYONE BELIEVED AT THE TIME THAT THAT IS WHAT

12:36:20    2       HAD HAPPENED; RIGHT?

12:36:21    3       A.    YES.

12:36:22    4       Q.    IN GOOD FAITH; RIGHT?

12:36:23    5       A.    YES.

12:36:23    6       Q.    AND WHEN YOU OFFERED THE TEST, YOU BELIEVED IN GOOD FAITH

12:36:28    7       THAT IT WAS -- THAT THE PROBLEM HAD BEEN SOLVED?

12:36:30    8       A.    YES.

12:36:31    9       Q.    OKAY.   YOU WERE ASKED SOME QUESTIONS ON DIRECT ABOUT THE

12:36:46   10       LIS, OR ON REDIRECT ABOUT THE LIS.

12:36:50   11             DO YOU RECALL THAT?

12:36:50   12       A.    YES.

12:36:51   13       Q.    AND ONE THING THE GOVERNMENT ASKED YOU ABOUT WAS WHETHER

12:36:54   14       THE TEST RESULT INFORMATION THAT YOU WOULD GET FROM OTHER

12:36:58   15       COMPANIES WAS STORED WITHIN LIS.

12:37:02   16             DO YOU RECALL THAT?

12:37:02   17       A.    YES, YES.

12:37:03   18       Q.    AND YOU SAID OF COURSE IT WAS NOT; RIGHT?

12:37:05   19       A.    YES.

12:37:06   20       Q.    YEAH.   WHEN -- BUT WHEN INQUIRIES OF THAT KIND WOULD COME

12:37:12   21       IN AND YOU WOULD HAVE TO CONSIDER HOW THOSE RESULTS COMPARED TO

12:37:19   22       THERANOS'S RESULTS, YOU'D HAVE TO GO AND PULL A WHOLE LOT OF

12:37:23   23       INFORMATION FROM THE LIS INFORMATION SYSTEM; RIGHT?

12:37:26   24       A.    YES.    I WOULD SEE HOW THE THERANOS RESULTS HAD BEEN

12:37:31   25       TRENDING, I WOULD SEE HOW MANY ARE OUT OF REFERENCE RANGE, I



                                         UNITED STATES COURT REPORTERS
                Case: 22-10312, 04/25/2023,
                Case 5:18-cr-00258-EJD      ID: 12702996,
                                         Document   1271 DktEntry:  36-12, Page
                                                          Filed 01/18/22   Page 135
                                                                                136 of
                                                                                    of 227
                                                                                       228
                    ROSENDORFF RECROSS BY MR. WADE                                       2909


12:37:36    1       WOULD DO AN INVESTIGATION.

12:37:36    2       Q.    DETAILS OF THE VISIT, PATIENT VISIT THAT WERE IN THERE;

12:37:40    3       RIGHT?    ANY INFORMATION?

12:37:42    4       A.    AT THE THERANOS COLLECTION SITE?

12:37:44    5       Q.    TO THE EXTENT THERE WAS INFORMATION ABOUT WHEN THE SAMPLE

12:37:46    6       WAS LOGGED?

12:37:48    7       A.    OH, YEAH, THAT'S PART OF THE ACCESSION.

12:37:54    8       Q.    DETAILS OF THE DEVICE IT WAS RUN ON?

12:37:57    9       A.    YES.

12:37:57   10       Q.    TIME AND LOCATION OF THE DRAW?

12:38:00   11       A.    YES.

12:38:01   12       Q.    THE PHLEBOTOMIST MAYBE IF IT WAS IN THERE?

12:38:07   13       A.    I DON'T RECALL.     THAT'S NOT A REQUIREMENT.

12:38:09   14       Q.    OKAY.   THE IMAGES OF THE SAMPLE YOU MIGHT LOOK AT?         WE'VE

12:38:12   15       SEEN THAT?

12:38:13   16       A.    I -- I DON'T RECALL IF THE IMAGES WERE AVAILABLE IN LIS.

12:38:17   17       Q.    YOU RECALL PULLING THOSE FOR PURPOSES OF LOOKING AT

12:38:20   18       WHETHER THERE WAS HEMOLYSIS IN THE SAMPLE?         YOU'D LOOK AT THE

12:38:24   19       IMAGES OF THE SAMPLE?

12:38:25   20       A.    I THINK IT WAS CLOTTING, AND I THINK SOMEBODY SENT ME

12:38:28   21       THOSE IMAGES.

12:38:29   22       Q.    OKAY.   BUT IN ANY EVENT, YOU MIGHT LOOK AT THE REFERENCE

12:38:32   23       RANGE; CORRECT?

12:38:32   24       A.    YES.

12:38:33   25       Q.    YOU MIGHT LOOK AT A WHOLE HOST OF OTHER INFORMATION THAT



                                         UNITED STATES COURT REPORTERS
                Case: 22-10312, 04/25/2023,
                Case 5:18-cr-00258-EJD      ID: 12702996,
                                         Document   1271 DktEntry:  36-12, Page
                                                          Filed 01/18/22   Page 136
                                                                                137 of
                                                                                    of 227
                                                                                       228
                    ROSENDORFF RECROSS BY MR. WADE                                       2910


12:38:36    1       YOU HAVE WITHIN THE LAB AT THERANOS; RIGHT?

12:38:38    2       A.    YES.

12:38:39    3       Q.    AND THAT WOULD -- THE VAST MAJORITY OF THAT INFORMATION

12:38:42    4       WOULD BE STORED WITHIN LIS; CORRECT?

12:38:44    5       A.    YES, YES.

12:38:45    6       Q.    AND WITH RESPECT TO WHETHER -- HOW THE RESULTS COMPARED TO

12:38:55    7       OTHER RESULTS, THAT'S NOT SOMETHING THAT YOU KNOW JUST FROM --

12:39:01    8       OFF THE CUFF; RIGHT?      YOU NEED TO GATHER ALL THE RELEVANT FACTS

12:39:05    9       TO KNOW IF YOU'RE COMPARING APPLES TO APPLES; RIGHT?

12:39:08   10       A.    YES.

12:39:09   11       Q.    AND THERE IS -- I BELIEVE YOU'VE TESTIFIED BEFORE THERE'S

12:39:12   12       ALWAYS VARIABILITY TO A DEGREE, OR OFTEN VARIABILITY BETWEEN

12:39:16   13       TWO TESTS; RIGHT?

12:39:17   14       A.    CAN YOU CLARIFY YOUR STATEMENT?

12:39:20   15       Q.    WELL, YOU RECALL I WAS TALKING ABOUT THE SCALE THAT I

12:39:23   16       WOULD STEP ON, AND OFTENTIMES --

12:39:25   17       A.    OKAY.

12:39:26   18       Q.    I COULD DO IT THREE TIMES IN A ROW AND IT MIGHT BE A

12:39:29   19       LITTLE DIFFERENT?

12:39:29   20       A.    MINOR VARIATIONS.

12:39:31   21       Q.    MINOR VARIATIONS.

12:39:32   22             AND SO THERE COULD BE DIFFERENT VARIATIONS THAT WOULD --

12:39:35   23      THAT MIGHT -- THAT YOU HAVE TO ASSESS WHEN YOU'RE CONSIDERING

12:39:38   24      WHETHER OR NOT THE DIFFERENCES BETWEEN THE THERANOS TEST AND

12:39:43   25      THE TEST AT ANOTHER LAB ARE MEANINGFUL; RIGHT?



                                         UNITED STATES COURT REPORTERS
                Case: 22-10312, 04/25/2023,
                Case 5:18-cr-00258-EJD      ID: 12702996,
                                         Document   1271 DktEntry:  36-12, Page
                                                          Filed 01/18/22   Page 137
                                                                                138 of
                                                                                    of 227
                                                                                       228
                    ROSENDORFF RECROSS BY MR. WADE                                       2911


12:39:47    1       A.    RIGHT.   SO THE ONE ISSUE IS WHAT IS THE ERROR WITHIN THE

12:39:54    2       SAME METHOD IF YOU REPEAT THE SAMPLE?         THAT'S CALLED PRECISION.

12:39:59    3             THE OTHER MEDICAL ISSUE IS IF YOU GET A VASTLY DIFFERENT

12:40:03    4      RESULT DESPITE THE -- DESPITE THE SMALL AMOUNT OF ERROR THAT

12:40:09    5      HAPPENS WITH A GOOD LABORATORY TEST -- GOOD LABORATORY TESTS

12:40:13    6      DON'T HAVE VERY MUCH ERROR, RIGHT?

12:40:16    7             SO AS A PHYSICIAN, I WOULD HAVE TO LOOK AT THE QUEST

12:40:21    8      RESULTS, FOR INSTANCE, AND DETERMINE WHETHER THEY WERE

12:40:23    9      COMPARABLE TO THE THERANOS RESULTS.

12:40:25   10       Q.    AND BECAUSE SOMETIMES DIFFERENT METHODS REACH DIFFERENT

12:40:29   11       RESULTS ON THE SAME BLOOD; RIGHT?

12:40:34   12       A.    THEY SHOULDN'T BE THAT DIFFERENT.        NO, THEY SHOULDN'T BE.

12:40:37   13       Q.    WELL, YOU'RE AWARE THAT THERE'S A WHOLE MOVEMENT WITHIN

12:40:39   14       THE LAB, LABORATORY SCIENCE ABOUT HARMONIZATION OF DATA.            ARE

12:40:43   15       YOU AWARE OF THAT?

12:40:44   16       A.    I'M AWARE OF IT FOR A1C.

12:40:46   17       Q.    OKAY.    AND IT EXISTS FOR VITAMIN D AS WELL; RIGHT?

12:40:51   18             AND ARE YOU AWARE THAT THERE ARE EFFORTS AND TASK FORCES

12:40:56   19      THAT LOOK AT DIFFERENCES BETWEEN DATA AND TRY TO FIND WAYS TO

12:40:59   20      MAKE -- TO HARMONIZE THEM ACCORDING TO ONE STANDARD; RIGHT?

12:41:03   21       A.    YES.

12:41:03   22       Q.    OKAY.    BECAUSE SOMETIMES THOSE DIFFERENCES EXIST BETWEEN

12:41:06   23       DIFFERENT ASSAYS; RIGHT?

12:41:08   24       A.    RIGHT.   GO AHEAD.

12:41:10   25       Q.    SO THAT'S WHY, WHEN YOU GET THAT INFORMATION IN, YOU HAVE



                                         UNITED STATES COURT REPORTERS
                Case: 22-10312, 04/25/2023,
                Case 5:18-cr-00258-EJD      ID: 12702996,
                                         Document   1271 DktEntry:  36-12, Page
                                                          Filed 01/18/22   Page 138
                                                                                139 of
                                                                                    of 227
                                                                                       228
                    ROSENDORFF RECROSS BY MR. WADE                                       2912


12:41:13    1       TO ACTUALLY LOOK AT ALL OF THE RELEVANT FACTS BEFORE REACHING A

12:41:17    2       JUDGMENT; RIGHT?

12:41:17    3       A.    YES.

12:41:18    4       Q.    YOU WERE ASKED SOME QUESTIONS ABOUT AAP ON REDIRECT.

12:42:25    5             DO YOU RECALL THAT?

12:42:26    6       A.    YES.

12:42:27    7       Q.    AND THEY BROUGHT YOU BACK TO THAT EMAIL THAT MS. CHEUNG

12:42:36    8       SENT AROUND; RIGHT?

12:42:37    9       A.    YES.

12:42:38   10       Q.    AND AT THE TIME, JUST SO THE RECORD IS CLEAR, THAT WASN'T

12:42:41   11       AN APPLICATION OF THE AAP POLICY; CORRECT?

12:42:44   12       A.    NO.

12:42:44   13       Q.    OKAY.   AND IF THERE WAS CONFUSION AS A RESULT OF THAT,

12:42:49   14       THAT PEOPLE THOUGHT THAT TESTS FAILED AAP OR PT, THEY WOULD BE

12:42:55   15       MISTAKEN; CORRECT?

12:42:56   16       A.    CORRECT.

12:42:57   17       Q.    BECAUSE THAT WASN'T AAP OR PT?

12:43:00   18       A.    WELL, IT WAS A QC SPOT CHECK USING PT SAMPLES.          SO I CAN

12:43:06   19       UNDERSTAND THE LEVEL OF CONCERN THAT WAS IN THE COMPANY.

12:43:08   20       Q.    WELL, AND YOU CAN UNDERSTAND WHY THERE WAS SOME CONFUSION;

12:43:11   21       RIGHT?    BECAUSE IT WAS PRECISION TESTING MATERIAL; RIGHT?

12:43:14   22       A.    PROFICIENCY.

12:43:15   23       Q.    THANK YOU AGAIN, DOCTOR.

12:43:18   24             PROFICIENCY TESTING MATERIAL?

12:43:21   25       A.    YES.



                                         UNITED STATES COURT REPORTERS
                Case: 22-10312, 04/25/2023,
                Case 5:18-cr-00258-EJD      ID: 12702996,
                                         Document   1271 DktEntry:  36-12, Page
                                                          Filed 01/18/22   Page 139
                                                                                140 of
                                                                                    of 227
                                                                                       228
                    ROSENDORFF RECROSS BY MR. WADE                                       2913


12:43:22    1       Q.    BUT IT WASN'T BEING USED IN -- ACCORDING TO THE

12:43:25    2       PROFICIENCY TESTING POLICY AT THERANOS; RIGHT?

12:43:27    3       A.    CORRECT.

12:43:29    4       Q.    OKAY.   AND THE -- AGAIN, THAT PROFICIENCY TESTING POLICY

12:43:43    5       AND THE IMPLEMENTATION OF IT WAS THE RESPONSIBILITY OF YOU AND

12:43:47    6       MR. GEE AND OTHERS WITHIN THE LABORATORY; CORRECT?

12:43:53    7       A.    I THINK WE'VE DISCUSSED THE CHALLENGES AROUND THE

12:43:55    8       IMPLEMENTATION.

12:43:57    9       Q.    I THINK WE HAVE DISCUSSED THE CHALLENGES AROUND

12:44:00   10       IMPLEMENTATION, BUT IT WAS YOUR RESPONSIBILITY; RIGHT?

12:44:02   11       A.    YES.

12:44:03   12       Q.    AND I ALSO BELIEVE THAT YOU'VE TESTIFIED THAT THERE WAS

12:44:08   13       NOT A SINGLE EMAIL THAT YOU SENT ASKING FOR MORE RESOURCES FROM

12:44:12   14       MS. HOLMES THAT WAS NOT RESPONDED TO; CORRECT?

12:44:15   15       A.    IT WAS DISCUSSED IN THE MEETING WITH -- IN THE AAP

12:44:18   16       MEETING.

12:44:18   17       Q.    IN OCTOBER OF 2014?

12:44:20   18       A.    YEAH.

12:44:20   19       Q.    THE ONE YOU RESCHEDULED; RIGHT?

12:44:23   20       A.    CORRECT.

12:44:24   21       Q.    YEAH.   AND THE ONE THAT THERE WAS FOLLOW-UP ALMOST

12:44:28   22       IMMEDIATELY; CORRECT?

12:44:29   23       A.    CORRECT.

12:44:29   24       Q.    AND THE ONE WHERE YOU LEFT ABOUT A MONTH LATER; RIGHT?

12:44:32   25       A.    I BELIEVE SO.



                                         UNITED STATES COURT REPORTERS
                Case: 22-10312, 04/25/2023,
                Case 5:18-cr-00258-EJD      ID: 12702996,
                                         Document   1271 DktEntry:  36-12, Page
                                                          Filed 01/18/22   Page 140
                                                                                141 of
                                                                                    of 227
                                                                                       228
                    ROSENDORFF RECROSS BY MR. WADE                                       2914


12:44:32    1       Q.    OKAY.    YOU WERE QUESTIONED ABOUT THE CLIA REGULATIONS.

12:44:58    2             DO YOU RECALL THAT?

12:44:59    3       A.    IN -- ON REDIRECT?

12:45:01    4       Q.    ON REDIRECT.

12:45:01    5       A.    YEAH.

12:45:02    6       Q.    I'M TRYING TO LIMIT MY QUESTIONING TO MATTERS THAT WERE

12:45:04    7       RAISED BY MR. BOSTIC RECENTLY.

12:45:06    8       A.    UM-HUM.

12:45:07    9       Q.    DO YOU RECALL THAT?

12:45:08   10       A.    YES.

12:45:08   11       Q.    AND THERE WAS DISCUSSION OF -- WITH MR. BOSTIC ABOUT YOUR

12:45:15   12       RESPONSIBILITY UNDER THOSE REGULATIONS; CORRECT?

12:45:17   13       A.    YES.

12:45:18   14       Q.    AND HE ASKED YOU ABOUT -- YOU NOTED THE FACT THAT THE

12:45:22   15       OWNER AND OPERATOR IS RESPONSIBLE; RIGHT?

12:45:25   16       A.    YES.

12:45:26   17       Q.    OKAY.    AND THAT DOESN'T MEAN THAT THERE -- THAT THEY HAVE

12:45:31   18       THE SAME AUTHORITY; RIGHT?

12:45:32   19       A.    CLIA DOES NOT USE THE WORD "AUTHORITY" OR ADDRESS

12:45:40   20       AUTHORITY IN THE REGULATIONS.

12:45:41   21       Q.    RIGHT.    THAT'S MY POINT.    THE RESPONSIBILITY FOR ACTUALLY

12:45:43   22       DOING THE FUNCTIONS IS THE LAB DIRECTOR'S; RIGHT?

12:45:46   23       A.    YES.

12:45:47   24       Q.    AND THE RESPONSIBILITY FOR IMPLEMENTING ALL OF THE

12:45:52   25       PROCEDURES IS THE LAB DIRECTOR'S; RIGHT?



                                         UNITED STATES COURT REPORTERS
                Case: 22-10312, 04/25/2023,
                Case 5:18-cr-00258-EJD      ID: 12702996,
                                         Document   1271 DktEntry:  36-12, Page
                                                          Filed 01/18/22   Page 141
                                                                                142 of
                                                                                    of 227
                                                                                       228
                    ROSENDORFF RECROSS BY MR. WADE                                       2915


12:45:59    1       A.    I TAKE OBJECTION TO YOUR INFERENCE THAT I WAS RESPONSIBLE

12:46:03    2       FOR THE EXECUTION OF THESE PROCEDURES.

12:46:07    3       Q.    WELL, ULTIMATELY THE REGULATIONS THERE SAY THAT IT IS YOUR

12:46:12    4       RESPONSIBILITY UNDER THE FEDERAL CLIA REGULATIONS TO IMPLEMENT

12:46:19    5       QUALITY CONTROL, AAP, TEST VALIDATION AND VERIFICATION, AND

12:46:26    6       OTHER ITEMS; CORRECT?

12:46:28    7       A.    YES.

12:46:28    8       Q.    OKAY.    AND YOU'RE ABLE TO DELEGATE THAT RESPONSIBILITY TO

12:46:32    9       PEOPLE?

12:46:32   10       A.    YES.

12:46:33   11       Q.    CORRECT?

12:46:34   12       A.    YES.

12:46:34   13       Q.    BUT ULTIMATELY IF IT GOES WRONG, IT'S YOUR RESPONSIBILITY;

12:46:38   14       RIGHT?

12:46:38   15       A.    AND THE OWNER/OPERATOR.

12:46:41   16       Q.    RIGHT.   BUT YOU HAVE TO BE SPECIALLY QUALIFIED TO DO THAT

12:46:44   17       WORK; RIGHT?

12:46:45   18       A.    YES.

12:46:45   19       Q.    OKAY.    AND JUST BECAUSE SOMEONE IS AN OWNER/OPERATOR

12:46:48   20       DOESN'T MEAN THEY CAN COME IN AND BE A LAB DIRECTOR; RIGHT?

12:46:51   21       A.    NO.

12:46:52   22       Q.    RIGHT.   SO IF THE OWNER/OPERATOR CAME IN AND STARTED

12:46:57   23       SAYING, LET'S OFFER THESE TESTS, THAT WOULD BE WRONG; RIGHT?

12:46:59   24       A.    YES.

12:47:00   25       Q.    AND IF THE OWNER/OPERATOR CAME IN AND STARTED ISSUING



                                         UNITED STATES COURT REPORTERS
                Case: 22-10312, 04/25/2023,
                Case 5:18-cr-00258-EJD      ID: 12702996,
                                         Document   1271 DktEntry:  36-12, Page
                                                          Filed 01/18/22   Page 142
                                                                                143 of
                                                                                    of 227
                                                                                       228
                    ROSENDORFF RECROSS BY MR. WADE                                       2916


12:47:03    1       DIRECTIVES AND TELLING YOU EXACTLY WHAT TO DO WITHOUT THE

12:47:07    2       REQUISITE TRAINING, THAT WOULD BE WRONG; RIGHT, SIR?

12:47:09    3       A.    YES.

12:47:10    4       Q.    OKAY.   AND MS. HOLMES NEVER DID THAT; RIGHT?        SHE NEVER

12:47:16    5       DIRECTED YOU TO DO THINGS OR OVERRULED YOU ON THINGS, DID SHE?

12:47:23    6       A.    NO.

12:47:23    7       Q.    THE GOVERNMENT WENT THROUGH A BUNCH OF QUESTIONS ON HCG.

12:47:49    8             DO YOU RECALL THAT?

12:47:50    9       A.    YES.

12:47:51   10       Q.    AND THE GIST OF THE QUESTIONS RELATED TO KIND OF WHAT WAS

12:47:59   11       HAPPENING IN THIS FIRST WEEKEND IN JUNE WHEN YOU PUT A HALT TO

12:48:06   12       REPORTING RESULTS FROM THE EDISON ON HCG; RIGHT?

12:48:11   13       A.    IT WAS MAY 30TH.

12:48:12   14       Q.    MAY 30TH IS WHEN YOU PUT THE HALT TO IT; RIGHT?

12:48:15   15       A.    CORRECT.

12:48:16   16       Q.    AND THE ISSUE HAD COME UP THE DAY BEFORE INITIALLY; RIGHT?

12:48:19   17       A.    I BELIEVE SO.

12:48:19   18       Q.    AND I THINK MAYBE EVEN ON THAT DAY, THEY WERE TEMPORARILY

12:48:23   19       HALTED, AND THEN IT WAS PERMANENTLY HALTED THE NEXT DAY; RIGHT?

12:48:27   20       A.    TO BE HONEST, REVIEWING THE EMAILS, I'M NOT SURE WHAT

12:48:32   21       WAS -- I'M NOT SURE -- I'VE SEEN EMAILS TO THE EFFECT THAT THEY

12:48:36   22       CONTINUED RUNNING THEM ON EDISONS.        I WAS SEEKING CLARIFICATION

12:48:40   23       OF WHAT METHOD WE WERE ACTUALLY USING.         DANIEL WAS CLAIMING

12:48:45   24       THAT HE WASN'T INFORMED THAT THE HCG SHOULD GO ON THE EDISONS.

12:48:49   25             SO IT'S A LITTLE UNCLEAR TO ME.



                                         UNITED STATES COURT REPORTERS
                Case: 22-10312, 04/25/2023,
                Case 5:18-cr-00258-EJD      ID: 12702996,
                                         Document   1271 DktEntry:  36-12, Page
                                                          Filed 01/18/22   Page 143
                                                                                144 of
                                                                                    of 227
                                                                                       228
                    ROSENDORFF RECROSS BY MR. WADE                                       2917


12:48:51    1       Q.    RIGHT.   AND I THINK YOU TESTIFIED YOU ACTUALLY -- APART

12:48:54    2       FROM THESE EMAILS, YOU DON'T HAVE ANY RECOLLECTION OF THIS;

12:48:57    3       RIGHT?

12:48:58    4       A.    I -- I DO NOT HAVE INDEPENDENT -- I REMEMBER THERE WAS A

12:49:02    5       PROBLEM WITH THE HCG.

12:49:03    6       Q.    YOU REMEMBER THERE WAS AN ISSUE THAT CAME UP WITH HCG?

12:49:05    7       A.    YES.

12:49:06    8       Q.    BUT WITH RESPECT TO WHO WAS DOING WHAT EXACTLY, YOU DON'T

12:49:09    9       RECALL THAT, DO YOU?

12:49:10   10       A.    NO.

12:49:11   11       Q.    OKAY.    LET'S LOOK -- I JUST WANT TO GO THROUGH -- I'VE

12:49:25   12       CREATED A DEMONSTRATIVE WHICH I'LL PUT UP, WHICH IS JUST

12:49:44   13       EXCERPTS FROM EMAILS THAT ARE IN EVIDENCE, AND I'M GOING TO

12:49:52   14       HAND IT TO YOU IN A SECOND.       I JUST WANT TO TELL YOU WHAT IT

12:49:55   15       IS.   OKAY?

12:49:55   16             YOU RECALL THAT THERE'S A LITTLE BIT OF CONFUSION AROUND

12:50:00   17      THIS ISSUE BECAUSE THERE ARE SEVERAL DIFFERENT EMAIL STRINGS

12:50:03   18      THAT ARE FROM DIFFERENT -- THAT HAVE DIFFERENT TIMED EMAILS ON

12:50:06   19      IT AND THEY'RE ALL KIND OF FLYING AROUND AT THE SAME TIME.

12:50:08   20             DO YOU RECALL THAT?

12:50:09   21       A.    YES.

12:50:09   22       Q.    OKAY.    WHAT WE'VE DONE IS WE'VE GONE THROUGH THOSE THREE

12:50:12   23       DIFFERENT EXHIBITS AND WE'VE JUST PUT THEM IN ORDER, OKAY,

12:50:17   24       ACCORDING TO THE TIME ON THE EMAILS.        OKAY?

12:50:19   25       A.    OKAY.



                                         UNITED STATES COURT REPORTERS
                Case: 22-10312, 04/25/2023,
                Case 5:18-cr-00258-EJD      ID: 12702996,
                                         Document   1271 DktEntry:  36-12, Page
                                                          Filed 01/18/22   Page 144
                                                                                145 of
                                                                                    of 227
                                                                                       228
                    ROSENDORFF RECROSS BY MR. WADE                                       2918


12:50:20    1                  MR. WADE:    AND I'M GOING TO OFFER THAT TO THE WITNESS

12:50:22    2       IF I MAY APPROACH.

12:50:23    3                  THE COURT:     YES.

12:50:24    4                  THE WITNESS:     YOUR HONOR, I HAVE TO PICK UP MY

12:50:25    5       DAUGHTER AT 3:45 AND I RESPECTFULLY ASK THE COURT THAT I BE

12:50:29    6       EXCUSED AT 2:00 O'CLOCK.

12:50:31    7                  THE COURT:     ALL RIGHT.   THANK YOU FOR LETTING ME KNOW

12:50:33    8       THAT.    THANK YOU.

12:50:37    9                  MR. WADE:    (HANDING.)

12:50:40   10                  THE WITNESS:     THANK YOU.

12:50:42   11                  MR. WADE:    YOUR HONOR, 2:00 O'CLOCK SHOULD NOT BE AN

12:50:44   12       ISSUE FROM OUR STANDPOINT.        I HOPE TO BE DONE WELL BEFORE 2:00

12:50:49   13       O'CLOCK.

12:50:53   14                  THE COURT:     OKAY.

12:51:01   15                  THE CLERK:     I'M JUST CONFIRMING THAT THIS CAN BE

12:51:04   16       DISPLAYED.

12:51:05   17                  MR. WADE:    MAY I DISPLAY THIS, YOUR HONOR?

12:51:07   18                  MR. BOSTIC:     NO OBJECTION FROM THE GOVERNMENT, YOUR

12:51:08   19       HONOR.

12:51:08   20       BY MR. WADE:

12:51:09   21       Q.    OKAY.   AND, AGAIN, ALL OF THESE EXHIBITS, I'M NOT -- I'M

12:51:13   22       TRYING TO SIMPLIFY THIS A LITTLE BIT.         BUT IF IT'S EVER

12:51:16   23       CONFUSING AND YOU WANT TO LOOK BACK AT THE INDIVIDUAL EXHIBITS,

12:51:19   24       FEEL FREE.    OKAY?

12:51:20   25       A.    SURE THING.



                                          UNITED STATES COURT REPORTERS
                Case: 22-10312, 04/25/2023,
                Case 5:18-cr-00258-EJD      ID: 12702996,
                                         Document   1271 DktEntry:  36-12, Page
                                                          Filed 01/18/22   Page 145
                                                                                146 of
                                                                                    of 227
                                                                                       228
                    ROSENDORFF RECROSS BY MR. WADE                                       2919


12:51:21    1       Q.    OKAY.    LET'S START WITH 5419.     OKAY?

12:51:24    2       A.    UM-HUM.

12:51:25    3       Q.    AND IN 5419, THIS IS -- I'M JUST PICKING UP AT THE TIME OF

12:51:30    4       YOUR DIRECTION.

12:51:32    5             DO YOU SEE THAT?

12:51:32    6       A.    YES.

12:51:33    7       Q.    OKAY.    AND YOU SAY IN THAT FIRST ENTRY, "ALL FURTHER HCG

12:51:38    8       TESTING (CTN OR VACUTAINER) IS TO BE RUN ON THE IMMULITE."

12:51:46    9             RIGHT?

12:51:47   10       A.    YES.

12:51:47   11       Q.    OKAY.    YOU THEN SAY, "HOLD ALL EDISON CTN RESULTS - DO NOT

12:51:53   12       RELEASE."     RIGHT?

12:51:54   13       A.    YES.

12:51:55   14       Q.    THAT WAS IMPORTANT; CORRECT?

12:51:56   15       A.    YES.

12:51:56   16       Q.    BECAUSE THE MOST IMPORTANT THING IS YOU WANT TO MAKE

12:51:58   17       SURE -- YOU DIDN'T WANT TO MAKE SURE THAT THERE WERE -- THAT

12:52:00   18       THE ACTUAL RESULTS WENT OUT THE DOOR UNTIL THE ISSUE WAS

12:52:03   19       UNDERSTOOD; CORRECT?

12:52:04   20       A.    CORRECT.

12:52:04   21       Q.    OKAY.    AND THEN YOU TALKED ABOUT THE NEED TO GO BACK AND

12:52:11   22       MAKE CONTACT IF THERE WAS A NEED FOR A REDRAW DUE TO

12:52:15   23       INSUFFICIENT VOLUME FOR THE IMMULITE.

12:52:17   24             DO YOU SEE THAT?

12:52:18   25       A.    YES.



                                           UNITED STATES COURT REPORTERS
                Case: 22-10312, 04/25/2023,
                Case 5:18-cr-00258-EJD      ID: 12702996,
                                         Document   1271 DktEntry:  36-12, Page
                                                          Filed 01/18/22   Page 146
                                                                                147 of
                                                                                    of 227
                                                                                       228
                    ROSENDORFF RECROSS BY MR. WADE                                       2920


12:52:18    1       Q.    OKAY.   SO THEN THAT WAS AT 7:52 ON THE 30TH; RIGHT?

12:52:22    2       A.    YES.

12:52:23    3       Q.    OKAY.   IF WE GO TO THE NEXT EMAIL ON THE CHAIN, YOU CAN

12:52:26    4       SEE THAT'S JUNE 4TH AT 5:03.

12:52:30    5             DO YOU SEE THAT?

12:52:31    6       A.    YES.

12:52:32    7       Q.    AND MS. ALAMDAR NOTES THAT THERE WERE SOME RESULTS IN LIS

12:52:39    8       FOR HCG FOR EDISON.

12:52:41    9             DO YOU SEE THAT?

12:52:42   10       A.    YES.

12:52:42   11       Q.    AND SHE'S WONDERING WHETHER IT CAN BE RELEASED?

12:52:50   12       A.    YES.

12:52:50   13       Q.    BECAUSE SHE WASN'T ON THE OTHER EMAIL MAYBE, OR DIDN'T SEE

12:52:53   14       IT, IT WOULD SEEM.

12:52:54   15       A.    SHE WAS ON THE CLS EMAIL DISTRIBUTION LIST, YES, SHE WAS.

12:52:59   16       Q.    OKAY.   AND SHE'S ASKING YOU A QUESTION AS TO WHETHER SHE

12:53:01   17       CAN RELEASE IT?

12:53:02   18       A.    YES.

12:53:02   19       Q.    OKAY.   AND THAT WOULD HAVE BEEN YOUR JUDGMENT TO RESPOND

12:53:04   20       TO HER AT THAT POINT; RIGHT?

12:53:05   21       A.    I'M JUST REALLY CONFUSED AS TO WHY THE TEST WAS RUN ON THE

12:53:09   22       EDISON AND ON THE IMMULITE AT THIS TIME.

12:53:11   23       Q.    WELL, YOU MADE THE -- YOU HALTED THE TESTS ON FRIDAY;

12:53:16   24       RIGHT?

12:53:17   25       A.    CORRECT.



                                         UNITED STATES COURT REPORTERS
                Case: 22-10312, 04/25/2023,
                Case 5:18-cr-00258-EJD      ID: 12702996,
                                         Document   1271 DktEntry:  36-12, Page
                                                          Filed 01/18/22   Page 147
                                                                                148 of
                                                                                    of 227
                                                                                       228
                    ROSENDORFF RECROSS BY MR. WADE                                       2921


12:53:17    1       Q.    AND IT MAY HAVE BEEN THAT IT TOOK AWHILE TO GET OUT TO THE

12:53:21    2       PATIENT SERVICE CENTERS TO REVISE THE METHOD FOR HCG; RIGHT?

12:53:26    3       THEY MIGHT HAVE KEPT GOING FOR AWHILE WITH CTN'S?

12:53:30    4       A.    IT'S POSSIBLE.

12:53:31    5       Q.    OKAY.   BUT THE MOST IMPORTANT THING WAS THAT THE RESULTS

12:53:33    6       NOT BE REPORTED; CORRECT?

12:53:35    7       A.    CORRECT.

12:53:35    8       Q.    OKAY.   AND SHE'S ASKING WHETHER THE RESULTS COULD BE

12:53:38    9       REPORTED?

12:53:38   10       A.    YES.

12:53:39   11       Q.    AND I DON'T KNOW THAT WE HAVE A RESPONSE, BUT SHE'S

12:53:44   12       DIRECTING THAT INQUIRY TO YOU; RIGHT?

12:53:46   13       A.    YES.

12:53:47   14       Q.    OKAY.   LET'S LOOK AT THE NEXT EMAIL AT 5:09.

12:53:52   15             DO YOU SEE THAT?

12:53:53   16       A.    YES.

12:53:53   17       Q.    OKAY.   AND THAT SAYS THAT DANIEL -- DANIEL REPORTS TO

12:53:59   18       MR. BALWANI THAT HE WAS JUST SPEAKING WITH YOU ABOUT THIS.

12:54:02   19             DO YOU SEE THAT?

12:54:03   20       A.    YES.

12:54:03   21       Q.    AND DO YOU RECALL THERE WAS THAT EMAIL WHERE MR. BALWANI

12:54:06   22       WAS KIND OF MAD, HE WANTED TO MAKE SURE HE GOT YOU IN THE LOOP

12:54:10   23       WITH DANIEL, WITH DR. YOUNG AND DR. PANGARKAR?

12:54:13   24       A.    SEPARATE ISSUE.

12:54:15   25       Q.    NO, IT WAS ON THIS ISSUE IN THIS TIME PERIOD.



                                         UNITED STATES COURT REPORTERS
                Case: 22-10312, 04/25/2023,
                Case 5:18-cr-00258-EJD      ID: 12702996,
                                         Document   1271 DktEntry:  36-12, Page
                                                          Filed 01/18/22   Page 148
                                                                                149 of
                                                                                    of 227
                                                                                       228
                    ROSENDORFF RECROSS BY MR. WADE                                       2922


12:54:18    1       A.    I RECALL AN EMAIL ABOUT R&D RUNNING EXPERIMENTS IN THE

12:54:21    2       CLIA LAB AND ME WANTING TO BE INFORMED OF THAT.

12:54:27    3       Q.    RIGHT.   AND DO YOU RECALL THOSE WERE HCG RESULTS RELATING

12:54:30    4       TO A STUDY THEY WERE DOING RIGHT IN THIS SAME TIME PERIOD?

12:54:33    5       A.    I DON'T RECALL.

12:54:33    6       Q.    OKAY.    WE'LL KEEP GOING.

12:54:35    7             DO YOU SEE THEN THE NEXT EMAIL IN THAT CHAIN, WHICH IS AT

12:54:39    8      5:12 -- OH, BY THE WAY, THE PRIOR EMAIL, IT SAYS, "WE WILL HOLD

12:54:44    9      THE RESULT," THE EMAIL FROM DANIEL, IT SAYS, "WE WILL HOLD THE

12:54:49   10      RESULT UNTIL THE STUDY WE ARE RUNNING ON THE EDISON ASSAY IS

12:54:53   11      DONE."

12:54:54   12             DO YOU SEE THAT?

12:54:55   13       A.    YES.

12:54:55   14       Q.    OKAY.    SO, AGAIN, HOLDING THE RESULTS; CORRECT?

12:54:58   15       A.    YES.

12:54:59   16       Q.    OKAY.    THAT WAS THE MOST IMPORTANT THING; RIGHT?

12:55:01   17       A.    YES.

12:55:01   18       Q.    OKAY.    LET'S GO TO THE NEXT EMAIL.

12:55:05   19             THIS IS AT 5:12 P.M.

12:55:07   20       A.    IT'S NOT CLEAR TO ME FROM DANIEL'S EMAIL WHAT RESULT HE'S

12:55:11   21       REFERRING TO, WHETHER IT'S RESULTS FROM THE IMMULITE OR RESULTS

12:55:14   22       FROM EDISON.

12:55:15   23       Q.    WELL, HE REFERS TO THE EDISON ASSAY, RIGHT, IN THAT EMAIL?

12:55:20   24       A.    YES.

12:55:20   25       Q.    OKAY.    BUT I -- FAIR POINT.     IT'S NOT CLEAR; RIGHT?      BUT



                                         UNITED STATES COURT REPORTERS
                Case: 22-10312, 04/25/2023,
                Case 5:18-cr-00258-EJD      ID: 12702996,
                                         Document   1271 DktEntry:  36-12, Page
                                                          Filed 01/18/22   Page 149
                                                                                150 of
                                                                                    of 227
                                                                                       228
                    ROSENDORFF RECROSS BY MR. WADE                                       2923


12:55:25    1       HE SAYS HE'S HOLDING RESULTS UNTIL THE STUDY IS DONE?

12:55:30    2       A.    YEAH.    SO WHY IS HE WEIGHING IN ABOUT WHAT RESULTS SHOULD

12:55:34    3       BE HELD AND WHAT SHOULD BE RELEASED?

12:55:36    4       Q.    I THINK -- YOU SEE HE SAYS HERE, I WAS JUST SPEAKING WITH

12:55:40    5       ADAM ABOUT THIS?

12:55:40    6       A.    OKAY.

12:55:41    7       Q.    RIGHT?   MAYBE YOU WERE WEIGHING IN AND HE WAS JUST

12:55:44    8       CONVEYING THAT TO MR. BALWANI?

12:55:45    9       A.    I DON'T RECALL.

12:55:46   10       Q.    OKAY.    BECAUSE YOU DON'T REMEMBER ANY OF THIS; RIGHT?

12:55:49   11       A.    I'M SORRY?

12:55:51   12       Q.    DIDN'T YOU SAY --

12:55:52   13       A.    THAT'S A VERY BROAD STATEMENT.

12:55:54   14       Q.    YOU RECALL THERE WAS AN ISSUE; RIGHT?

12:55:55   15       A.    YES.

12:55:56   16       Q.    BUT YOU DON'T RECALL ANY OF THE SPECIFICS; RIGHT?

12:55:58   17       A.    CORRECT.

12:55:58   18       Q.    OKAY.    LET'S GO TO THE NEXT EMAIL.

12:56:02   19             AND IT SAYS -- THAT'S AN EMAIL FROM, IN RESPONSE TO THE

12:56:07   20      PRIOR ONE THAT SAYS, FROM DANIEL YOUNG, "BY THE WAY, WE NEVER

12:56:13   21      SWITCHED TO IMMULITE IN LIS - IT WAS NOT CLEAR TO ME THAT THIS

12:56:17   22      DECISION WAS MADE."

12:56:19   23             DO YOU SEE THAT?

12:56:20   24       A.    YES.

12:56:22   25       Q.    AND YOU DON'T KNOW WHAT "THIS DECISION" HE'S REFERRING TO



                                         UNITED STATES COURT REPORTERS
                Case: 22-10312, 04/25/2023,
                Case 5:18-cr-00258-EJD      ID: 12702996,
                                         Document   1271 DktEntry:  36-12, Page
                                                          Filed 01/18/22   Page 150
                                                                                151 of
                                                                                    of 227
                                                                                       228
                    ROSENDORFF RECROSS BY MR. WADE                                       2924


12:56:24    1       THERE IS, DO YOU?

12:56:26    2       A.    I THINK HE'S TALKING ABOUT THE DECISION TO SWITCH HCG ONTO

12:56:29    3       THE IMMULITE.

12:56:29    4       Q.    RIGHT.   AND THAT'S WHETHER OR NOT IT WOULD BE COMMUNICATED

12:56:34    5       OUT TO THE PATIENT SERVICE CENTERS TO ALTER THE DRAW METHOD;

12:56:38    6       RIGHT?

12:56:38    7       A.    THAT WOULD BE PART OF IT, YEAH.

12:56:41    8       Q.    RIGHT?

12:56:41    9       A.    I DON'T KNOW IF DANIEL WAS ON THE CLS DISTRIBUTION LIST.

12:56:45   10       I JUST DON'T REMEMBER THAT.

12:56:46   11       Q.    BUT HE'S NOT SAYING THERE THAT YOU'RE GOING TO RELEASE ANY

12:56:49   12       RESULTS; RIGHT?     IT'S JUST A QUESTION OF WHETHER THAT CHANGE IN

12:56:53   13       COLLECTION METHOD HAD BEEN IMPLEMENTED IN LIS; RIGHT?

12:56:56   14       A.    I DON'T UNDERSTAND YOUR QUESTION.

12:57:02   15       Q.    DO YOU SEE ANY INDICATION THERE THAT HE'S GOING TO RELEASE

12:57:04   16       RESULTS?

12:57:09   17       A.    NO.

12:57:09   18       Q.    NO.   LET'S GO TO THE NEXT EMAIL.

12:57:13   19       A.    WELL, HE MIGHT BE -- I DON'T KNOW.        HE MIGHT BE STILL

12:57:16   20       AUTHORIZING RELEASE OF IMMULITE RESULTS.         I JUST DON'T -- IT'S

12:57:19   21       NOT CLEAR TO ME.

12:57:20   22       Q.    YOU DON'T SEE ANY INDICATION THAT HE IS, THOUGH, FROM

12:57:23   23       THESE EMAILS, DO YOU?      DO YOU?

12:57:24   24       A.    I CAN'T ANSWER YES OR NO.

12:57:25   25       Q.    OKAY.    YOU DON'T REMEMBER THAT LEVEL OF DETAIL ABOUT THESE



                                         UNITED STATES COURT REPORTERS
                Case: 22-10312, 04/25/2023,
                Case 5:18-cr-00258-EJD      ID: 12702996,
                                         Document   1271 DktEntry:  36-12, Page
                                                          Filed 01/18/22   Page 151
                                                                                152 of
                                                                                    of 227
                                                                                       228
                    ROSENDORFF RECROSS BY MR. WADE                                       2925


12:57:29    1       EVENTS; RIGHT?

12:57:31    2       A.    NO.    IT WAS SEVEN YEARS AGO.

12:57:33    3       Q.    OKAY.

12:57:33    4       A.    MORE THAN SEVEN YEARS AGO.

12:57:34    5       Q.    LET'S JUST KEEP LOOKING AT THE EMAILS, BECAUSE I BELIEVE

12:57:37    6       THAT'S WHAT YOU'VE BEEN TESTIFYING ABOUT AND I JUST WANT TO

12:57:39    7       MAKE SURE THE RECORD IS CLEAR ON THE EMAILS.          OKAY?

12:57:42    8       A.    OKAY.

12:57:43    9       Q.    OKAY.   SO THEN THE NEXT EMAIL AT 5:14 IS A QUESTION FROM

12:57:46   10       MR. BALWANI ABOUT THE STUDY?

12:57:47   11       A.    YES.

12:57:48   12       Q.    YOU'RE NOT ON THAT?

12:57:48   13       A.    YES.

12:57:49   14       Q.    AND THEN THE NEXT EMAIL AT 5:16 IS AN EMAIL FROM YOU;

12:57:53   15       RIGHT?

12:57:53   16       A.    YES.

12:57:54   17       Q.    OKAY.   AND YOU, YOU NOTE THAT DANIEL, CHINMAY AND I

12:58:01   18       DISCUSSED THE PLAN FOR HCG; RIGHT?

12:58:03   19       A.    YES.

12:58:03   20       Q.    YOU'RE WORKING TOGETHER ON THIS; RIGHT?

12:58:05   21       A.    YES.

12:58:06   22       Q.    OKAY.   AND ALTHOUGH THERE ARE SEPARATE EMAIL CHAINS GOING,

12:58:09   23       YOU'RE BOTH REFERRING TO DISCUSSIONS YOU'RE HAVING WITH EACH

12:58:12   24       OTHER; RIGHT?

12:58:12   25       A.    YES.



                                         UNITED STATES COURT REPORTERS
                Case: 22-10312, 04/25/2023,
                Case 5:18-cr-00258-EJD      ID: 12702996,
                                         Document   1271 DktEntry:  36-12, Page
                                                          Filed 01/18/22   Page 152
                                                                                153 of
                                                                                    of 227
                                                                                       228
                    ROSENDORFF RECROSS BY MR. WADE                                       2926


12:58:13    1       Q.    AND YOU -- I TAKE IT IF YOU WROTE THAT YOU WERE DISCUSSING

12:58:16    2       THAT WITH THEM, YOU BELIEVED THAT TO BE TRUE AT THE TIME?

12:58:18    3       A.    YES.

12:58:19    4       Q.    OKAY.    AND YOU TALKED ABOUT THE METHOD --

12:58:21    5       A.    SIR, TO -- I BELIEVE WE'VE GONE OVER THIS EMAIL BEFORE IN

12:58:24    6       YOUR PRIOR QUESTIONING.      IS IT NECESSARY TO REVISIT IT?

12:58:30    7       Q.    YOUR OBJECTION IS NOTED.

12:58:32    8             LET'S LOOK AT THE --

12:58:33    9                    THE COURT:   HE GETS TO ASK YOU QUESTIONS.

12:58:35   10                    THE WITNESS:   OKAY.

12:58:36   11       BY MR. WADE:

12:58:36   12       Q.    LET'S LOOK AT THE GOING FORWARD.

12:58:39   13             OKAY?    DO YOU SEE THE GOING FORWARD?

12:58:40   14       A.    YES.

12:58:41   15       Q.    OKAY.    AND YOU ARE THE ONE WHO LAYS OUT EXACTLY WHAT'S

12:58:44   16       GOING TO HAPPEN THERE; RIGHT?

12:58:46   17       A.    YES.

12:58:46   18       Q.    OKAY.    BASED ON YOUR DISCUSSIONS WITH DANIEL AND CHINMAY;

12:58:49   19       RIGHT?

12:58:50   20       A.    YES.

12:58:50   21       Q.    AND YOU'RE REPORTING THAT TO MR. BALWANI?

12:58:52   22       A.    YES.

12:58:53   23       Q.    CORRECT?

12:58:54   24       A.    YES.

12:58:54   25       Q.    OKAY.    AND THEN THE NEXT EMAIL IN THIS WINDOW IS FROM



                                         UNITED STATES COURT REPORTERS
                Case: 22-10312, 04/25/2023,
                Case 5:18-cr-00258-EJD      ID: 12702996,
                                         Document   1271 DktEntry:  36-12, Page
                                                          Filed 01/18/22   Page 153
                                                                                154 of
                                                                                    of 227
                                                                                       228
                    ROSENDORFF RECROSS BY MR. WADE                                       2927


12:58:59    1       DR. PANGARKAR.

12:59:00    2             DO YOU SEE THAT?

12:59:01    3       A.    YES.

12:59:02    4       Q.    AND THAT'S EXHIBIT 5419.      THAT'S AN EMAIL WHERE HE'S

12:59:09    5       TALKING ABOUT THE STUDY THAT'S BEING DONE?

12:59:11    6       A.    YES.

12:59:11    7       Q.    AND THE IQP?

12:59:13    8             DO YOU SEE THAT?

12:59:14    9       A.    YES.

12:59:14   10       Q.    OKAY.   AND WE HAVE JUST TWO MORE.       I'LL BRING YOU TO THE

12:59:23   11       NEXT PAGE.

12:59:26   12             THIS IS NOW AT 6:29 P.M.; RIGHT?

12:59:29   13       A.    YES.

12:59:30   14       Q.    AND WE'RE IN A DIFFERENT EMAIL CHAIN NOW?

12:59:31   15       A.    YES.

12:59:32   16       Q.    BUT JUST AFTER THAT, IT'S THE NEXT EMAIL SEQUENTIALLY.

12:59:37   17             DANIEL NOTES THAT THEY'RE REPEATING THE IQP; RIGHT?

12:59:41   18       A.    YES.

12:59:42   19       Q.    AND THEN HE NOTES, IF WE NEED TO COLLECT THE VACUTAINERS

12:59:46   20       TOMORROW, WE'LL NEED TO SEND SPECIAL INSTRUCTIONS TO THE PSC'S;

12:59:51   21       RIGHT?

12:59:51   22             DO YOU SEE THAT?

12:59:52   23       A.    YES.

12:59:52   24       Q.    AND IT'S -- AND YOU'RE ON THIS EMAIL?

12:59:54   25       A.    YES.



                                         UNITED STATES COURT REPORTERS
                Case: 22-10312, 04/25/2023,
                Case 5:18-cr-00258-EJD      ID: 12702996,
                                         Document   1271 DktEntry:  36-12, Page
                                                          Filed 01/18/22   Page 154
                                                                                155 of
                                                                                    of 227
                                                                                       228
                    ROSENDORFF RECROSS BY MR. WADE                                       2928


12:59:55    1       Q.    OKAY.   AND IT SAYS RIGHT NOW WE'RE NOT PLANNING ON DOING

12:59:58    2       THIS; RIGHT?

12:59:58    3       A.    YES.

12:59:59    4       Q.    OKAY.   AND SO WHAT HE'S SAYING IS THERE'S BASICALLY A

01:00:04    5       HOLD, AND IF WE DECIDE WE NEED REDRAWS SO THAT WE CAN SWITCH

01:00:10    6       THIS, THE CTN'S THAT WERE GOING TO THE EDISONS TO VACUTAINERS,

01:00:15    7       WE'LL DO IT; RIGHT?

01:00:16    8       A.    YES.

01:00:16    9       Q.    THAT'S WHAT HE'S SAYING RIGHT THERE; RIGHT?

01:00:18   10       A.    MY READING OF THIS IS THAT HE'S UNWILLING TO TELL THE

01:00:27   11       PSC'S TO SWITCH TO VACUTAINERS.

01:00:30   12       Q.    WELL, THERE'S A STUDY UNDERWAY; RIGHT, DOCTOR?

01:00:32   13       A.    YES.

01:00:33   14       Q.    OKAY.   AND WHAT HE'S -- ISN'T WHAT HE'S ESSENTIALLY SAYING

01:00:36   15       IS LET'S -- WE'RE ALMOST DONE, LET'S WAIT AND SEE WHAT IT

01:00:39   16       SHOWS?

01:00:39   17       A.    YES.

01:00:40   18       Q.    AND IF WE DON'T NEED TO GO OUT AND BOTHER THESE PEOPLE TO

01:00:43   19       GET ANOTHER BLOOD DRAW, WE WON'T DO IT; RIGHT?

01:00:46   20       A.    YES.

01:00:46   21       Q.    BUT IF WE DO NEED TO BOTHER THEM, WE'LL DO IT; RIGHT?

01:00:51   22       A.    THAT'S -- THAT'S AN INFERENCE.

01:00:57   23       Q.    IT SAYS, IF WE NEED TO COLLECT VACUTAINERS TOMORROW, WE

01:01:01   24       WOULD NEED TO SEND SPECIAL INSTRUCTIONS TO THE PSC'S; RIGHT?

01:01:04   25       A.    YES.



                                         UNITED STATES COURT REPORTERS
                Case: 22-10312, 04/25/2023,
                Case 5:18-cr-00258-EJD      ID: 12702996,
                                         Document   1271 DktEntry:  36-12, Page
                                                          Filed 01/18/22   Page 155
                                                                                156 of
                                                                                    of 227
                                                                                       228
                    ROSENDORFF RECROSS BY MR. WADE                                       2929


01:01:05    1       Q.    OKAY.   AND THEN THE LAST EMAIL IN THIS CHAIN JUST RELATES

01:01:11    2       TO HOW THAT WILL WORK WITHIN THE OPERATIONAL COMPONENTS OF THE

01:01:16    3       LIS; RIGHT?

01:01:17    4       A.    YES.

01:01:18    5       Q.    AND HOW IT WOULD BE COMMUNICATED OUT TO THE LAB, OR TO THE

01:01:23    6       PSC'S; RIGHT?

01:01:25    7       A.    YES.

01:01:25    8       Q.    THERE'S NOTHING IN ANY OF THESE EMAILS THAT SAYS THAT

01:01:28    9       THEY'RE GOING TO RELEASE RESULTS; RIGHT?

01:01:30   10       A.    CORRECT.

01:01:30   11       Q.    OKAY.   AND THERE'S NOTHING IN ANY OF THESE EMAILS THAT

01:01:35   12       SUGGESTS THAT YOUR DIRECTION, WHICH WAS THE FIRST EMAIL IN THE

01:01:38   13       CHAIN, HAS BEEN COUNTERMANDED; RIGHT?

01:01:40   14       A.    I'M NOT SURE IF THE CLS'S WERE RELEASING RESULTS BETWEEN

01:01:45   15       MAY 30TH AND JUNE 4TH.      I JUST DON'T KNOW.

01:01:48   16       Q.    WELL, YOU SEE THAT THEY'RE, THEY'RE ASKING YOU QUESTIONS

01:01:51   17       ABOUT WHETHER THEY CAN RELEASE RESULTS; RIGHT?

01:01:53   18       A.    YES.

01:01:54   19       Q.    AND WOULD YOU HAVE ANSWERED THOSE QUESTIONS IF THEY ASKED

01:01:56   20       THEM?

01:01:57   21       A.    YES.

01:01:57   22       Q.    AND WHAT ANSWER WOULD YOU HAVE GIVEN?

01:01:59   23       A.    TO NOT RELEASE RESULTS.

01:02:01   24       Q.    OKAY.   AND THE GOVERNMENT ALSO SHOWED YOU SOME DOCUMENTS

01:02:09   25       THAT RELATED TO QC THAT WAS PERFORMED.



                                         UNITED STATES COURT REPORTERS
                Case: 22-10312, 04/25/2023,
                Case 5:18-cr-00258-EJD      ID: 12702996,
                                         Document   1271 DktEntry:  36-12, Page
                                                          Filed 01/18/22   Page 156
                                                                                157 of
                                                                                    of 227
                                                                                       228
                    ROSENDORFF RECROSS BY MR. WADE                                       2930


01:02:16    1             DO YOU RECALL THAT?      ON THE EDISONS IN JUNE OF 2014?

01:02:24    2       A.    ON REDIRECT?

01:02:28    3       Q.    YES.

01:02:28    4       A.    ON REDIRECT?

01:02:29    5       Q.    YES.    DO YOU RECALL THAT?

01:02:30    6       A.    YES, I THINK AT THE VERY -- AT THE VERY BEGINNING OF THE

01:02:36    7       DAY, YES.

01:02:37    8       Q.    OKAY.    AND YOU'LL RECALL, MUCH OF THE QUESTIONING ON

01:02:43    9       CROSS-EXAMINATION CAME UP BECAUSE THE QUESTION WAS ASKED OF YOU

01:02:50   10       IN YOUR DIRECT EXAMINATION WHETHER YOU KNEW ABOUT THE FACT THAT

01:02:56   11       HCG WENT BACK ONTO EDISONS AFTER YOU ISSUED THAT DIRECTIVE AND

01:03:03   12       YOU SAID YOU WERE UNAWARE OF THAT; RIGHT?

01:03:06   13       A.    YES.

01:03:06   14       Q.    OKAY.    AND I SHOWED YOU SOME DOCUMENTS IN

01:03:11   15       CROSS-EXAMINATION THAT SUGGESTED YOU PROBABLY WERE AWARE IN MID

01:03:16   16       TO LATE MARCH; RIGHT?

01:03:18   17             DO YOU RECALL THAT?

01:03:18   18       A.    MY ORDER TO CEASE TESTING FOR HCG ON THE EDISONS WENT OUT

01:03:25   19       ON MAY 30TH.

01:03:27   20       Q.    RIGHT.   AND DO YOU RECALL IN CROSS-EXAMINATION I SHOWED

01:03:29   21       YOU MANY EMAILS FROM MID TO LATE MARCH THAT INDICATED THAT

01:03:32   22       EDISON WAS BACK ON?

01:03:34   23             DO YOU RECALL THAT?

01:03:35   24       A.    I'M SORRY.    MARCH IS BEFORE MAY.

01:03:39   25       Q.    I'M SORRY.



                                         UNITED STATES COURT REPORTERS
                Case: 22-10312, 04/25/2023,
                Case 5:18-cr-00258-EJD      ID: 12702996,
                                         Document   1271 DktEntry:  36-12, Page
                                                          Filed 01/18/22   Page 157
                                                                                158 of
                                                                                    of 227
                                                                                       228
                    ROSENDORFF RECROSS BY MR. WADE                                       2931


01:03:39    1       A.    I DON'T UNDERSTAND YOUR TIMELINE.

01:03:41    2       Q.    I'M SORRY.    I'M CONFUSING MY MONTHS BETWEEN MY HEAD AND MY

01:03:46    3       MOUTH.

01:03:46    4       A.    YOU REALLY ARE.

01:03:47    5       Q.    YEAH, I AM.    THANKS.

01:03:49    6             LET ME TRY IT AGAIN.

01:03:52    7             I SHOWED YOU A NUMBER OF EMAILS IN MID TO LATE JUNE --

01:03:58    8       A.    YES.

01:04:00    9       Q.    -- THAT SUGGESTED THAT YOU WERE AWARE THAT EDISON HCG

01:04:05   10       TESTS WERE BACK UP AND RUNNING; RIGHT?

01:04:07   11       A.    YES.

01:04:07   12       Q.    DO YOU RECALL THAT?

01:04:08   13       A.    YES.

01:04:09   14       Q.    AND THE GOVERNMENT DIDN'T SHOW YOU THOSE; RIGHT?

01:04:12   15       A.    CORRECT.

01:04:13   16       Q.    AND THEY DIDN'T SHOW YOU THOSE IN THE MEETING; RIGHT?

01:04:16   17       A.    CORRECT.

01:04:17   18       Q.    THAT YOU HAD ANSWERED WERE YOU AWARE, AND YOU SAID I WAS

01:04:19   19       NOT AWARE; RIGHT?

01:04:20   20       A.    YES.

01:04:20   21       Q.    OKAY.   LET'S LOOK AT EXHIBITS 5421 AND 5422.

01:04:39   22             NOW, THESE ARE GOVERNMENT EXHIBITS ABOUT THE QUALITY

01:04:43   23      CONTROL ON EDISONS; RIGHT?

01:04:46   24       A.    YES.

01:04:48   25       Q.    IN LATE JUNE; RIGHT?



                                         UNITED STATES COURT REPORTERS
                Case: 22-10312, 04/25/2023,
                Case 5:18-cr-00258-EJD      ID: 12702996,
                                         Document   1271 DktEntry:  36-12, Page
                                                          Filed 01/18/22   Page 158
                                                                                159 of
                                                                                    of 227
                                                                                       228
                    ROSENDORFF RECROSS BY MR. WADE                                       2932


01:04:49    1       A.     YES.

01:04:50    2       Q.     AND IT TALKS ABOUT THE FACT THAT HCG IS COMING UP ON THE

01:04:54    3       EDISON; RIGHT?

01:04:55    4       A.     YES.

01:04:56    5       Q.     OKAY.    AND SO WHEN THE GOVERNMENT WAS ASKING YOU

01:04:59    6       QUESTIONS, THEY KNEW THAT HCG HAD COME BACK UP ON EDISONS AND

01:05:06    7       THAT YOU WERE AWARE OF IT BECAUSE THEY HAD THESE EMAILS, BUT

01:05:08    8       THEY DIDN'T SHOW YOU THESE EMAILS, DID THEY?

01:05:11    9       A.     THIS EMAIL SAYS THAT NINE EDISONS ARE FAILING LEVEL 1 FOR

01:05:19   10       HCG.

01:05:21   11       Q.     RIGHT.   BUT IT SAYS THEY'RE BRINGING UP HCG ON EDISONS;

01:05:24   12       RIGHT?    ISN'T THAT THE IMPLICATION OF THIS EMAIL?

01:05:27   13       A.     IT SAYS INSTRUMENT BRING UP.

01:05:31   14       Q.     RIGHT.   THEY'RE BRINGING THE HCG TEST --

01:05:33   15       A.     THEY'RE TRYING TO.

01:05:35   16       Q.     RIGHT.   SO IT WAS BACK ON EDISONS IF IT PASSED QUALITY

01:05:38   17       CONTROL; RIGHT?

01:05:39   18       A.     BUT IT -- THIS EMAIL INDICATES THAT HCG DID NOT PASS

01:05:43   19       QUALITY CONTROL.

01:05:44   20       Q.     WHICH EMAIL ARE YOU LOOKING AT, SIR?

01:05:46   21       A.     THE ONE ON THE LEFT.

01:05:47   22       Q.     THE ONE ON THE LEFT.     RIGHT.

01:05:52   23              AND IT INDICATES THAT WITHIN THE LABORATORY BRING UP,

01:05:56   24      THEY'RE WORKING TO GET THE HCG UP ONTO THE EDISON; RIGHT?

01:06:00   25       A.     YES.



                                         UNITED STATES COURT REPORTERS
                Case: 22-10312, 04/25/2023,
                Case 5:18-cr-00258-EJD      ID: 12702996,
                                         Document   1271 DktEntry:  36-12, Page
                                                          Filed 01/18/22   Page 159
                                                                                160 of
                                                                                    of 227
                                                                                       228
                    ROSENDORFF RECROSS BY MR. WADE                                       2933


01:06:00    1       Q.    OKAY.   AND THE OTHER EMAIL INDICATES THAT AS WELL; RIGHT?

01:06:03    2       A.    YES.

01:06:03    3       Q.    YEAH.   AND WE SAW THE OTHER DOCUMENTS WHERE YOU KNEW THAT

01:06:07    4       THE GOVERNMENT DIDN'T SHOW YOU; RIGHT?         THE OTHER DOCUMENTS

01:06:10    5       WHERE YOU KNEW IN LATE JUNE THAT HCG WAS BROUGHT UP ON THE

01:06:13    6       EDISON?

01:06:16    7       A.    THESE EMAILS SHOW THAT QC WAS BEING RUN FOR HCG ON THE

01:06:21    8       EDISONS.

01:06:22    9       Q.    SIR, THE GOVERNMENT NEVER SHOWED YOU THESE EMAILS ON YOUR

01:06:25   10       DIRECT TESTIMONY WHEN YOUR TESTIMONY WAS IN ERROR; RIGHT?

01:06:30   11       A.    CORRECT.

01:06:31   12       Q.    YEAH.   AND BY THE WAY, THOSE -- THE QUALITY CONTROL

01:06:56   13       RESULTS THAT WERE DEPICTED IN THOSE DOCUMENTS, YOU WERE GETTING

01:06:59   14       THEM IT LOOKED LIKE DAILY; RIGHT?        THEY SHOWED YOU A COUPLE OF

01:07:02   15       DAYS WORTH OF THOSE EMAILS FROM MR. GEE; RIGHT?

01:07:06   16       A.    NO, I WAS NOT RECEIVING QC INFORMATION DAILY FROM MR. GEE,

01:07:10   17       NO.

01:07:11   18       Q.    WELL, YOU SAW THE INSTRUMENT BRING UP INFORMATION?

01:07:13   19       A.    YES.

01:07:13   20       Q.    AND YOU WERE GETTING THOSE EMAILS DAILY; RIGHT?

01:07:15   21       A.    JUST IN THAT TIME PERIOD, THE 6-24 TIME PERIOD, 6-24,

01:07:23   22       6-25, YES.

01:07:23   23       Q.    BUT YOU GOT THAT INFORMATION; RIGHT, SIR?

01:07:25   24       A.    YES.

01:07:25   25       Q.    AND WE'VE TALKED ABOUT HOW YOU GOT OTHER INFORMATION FROM



                                         UNITED STATES COURT REPORTERS
                Case: 22-10312, 04/25/2023,
                Case 5:18-cr-00258-EJD      ID: 12702996,
                                         Document   1271 DktEntry:  36-12, Page
                                                          Filed 01/18/22   Page 160
                                                                                161 of
                                                                                    of 227
                                                                                       228
                    ROSENDORFF RECROSS BY MR. WADE                                       2934


01:07:28    1       MR. GEE ON QUALITY CONTROL; RIGHT?

01:07:29    2       A.    YES.

01:07:30    3       Q.    AND IF YOU HAD ANY CONCERNS AS A RESULT OF THAT

01:07:32    4       INFORMATION ABOUT THE ACCURACY AND RELIABILITY OF THE TEST, YOU

01:07:35    5       WOULD HAVE TAKEN ACTION IMMEDIATELY; RIGHT?

01:07:37    6       A.    YES.

01:07:37    7       Q.    OKAY.   AND THAT'S TRUE GENERALLY WITH RESPECT TO CONCERNS,

01:07:43    8       BECAUSE YOU TALKED SOMETIMES ABOUT CONCERNS -- AND MAYBE IT

01:07:47    9       COMES UP WITH THE BENEFIT OF HINDSIGHT OR SOMETHING -- BUT WHEN

01:07:50   10       YOU WERE IN THE LAB IN REAL TIME, IF THERE WAS A CONCERN ABOUT

01:07:52   11       THE ACCURACY OR RELIABILITY OF A TEST, YOU ACTED ON IT; RIGHT?

01:07:56   12       A.    YES.

01:07:56   13       Q.    AND YOU WERE THE MOST KNOWLEDGEABLE, QUALIFIED, COMPETENT

01:08:00   14       PERSON TO ACT IN THAT REGARD WITHIN THERANOS; RIGHT?

01:08:03   15       A.    YES.

01:08:10   16       Q.    YOU WERE ASKED ON REDIRECT ABOUT COMPLAINTS.

01:08:18   17             DO YOU RECALL THAT?

01:08:19   18       A.    YES.

01:08:19   19       Q.    AND YOU WENT BACK ESSENTIALLY TO THE TESTIMONY THAT THE

01:08:27   20       COMPLAINTS WERE MORE FREQUENT AT THERANOS THAN THEY WERE AT THE

01:08:30   21       UNIVERSITY OF PITTSBURGH.

01:08:32   22             DO YOU RECALL THAT?

01:08:33   23       A.    ON A PERCENTAGE BASIS, YES.

01:08:35   24       Q.    YEAH.   YOU RECALL THAT THEY WERE MORE FREQUENT; RIGHT?

01:08:39   25       A.    ON A PERCENTAGE BASIS.



                                         UNITED STATES COURT REPORTERS
                Case: 22-10312, 04/25/2023,
                Case 5:18-cr-00258-EJD      ID: 12702996,
                                         Document   1271 DktEntry:  36-12, Page
                                                          Filed 01/18/22   Page 161
                                                                                162 of
                                                                                    of 227
                                                                                       228
                    ROSENDORFF RECROSS BY MR. WADE                                       2935


01:08:40    1       Q.    AND YOU RECALL I SHOWED YOU YESTERDAY YOUR TESTIMONY FROM

01:08:44    2       2019 IN WHICH YOU SAID THAT THE DOCTOR COMPLAINTS WERE NOT MORE

01:08:49    3       FREQUENT; RIGHT?

01:08:51    4       A.    JUST IN TERMS OF THE NUMBER OF COMPLAINTS.         I BELIEVE I

01:08:54    5       CLARIFIED MY MEANING.

01:08:55    6       Q.    RIGHT.   YOU TESTIFIED THAT -- WELL, WE CAN LOOK AT IT.

01:09:00    7       LET'S LOOK AT IT.     11000, WHICH IS IN YOUR YELLOW BINDER.         AND

01:09:23    8       IT'S PAGE 122, DOCTOR.

01:09:43    9       A.    OKAY.

01:09:44   10       Q.    AND IF YOU LOOK AT LINE 12 OF 122?

01:09:50   11       A.    YES.

01:09:57   12       Q.    DOES THIS REFRESH YOUR RECOLLECTION THAT YOU WERE ASKED,

01:10:01   13       "WERE THESE TYPES OF PHYSICIAN COMPLAINTS COMMON DURING YOUR

01:10:04   14       TIME AT THERANOS?"

01:10:07   15             AND YOU ANSWERED, "THEY WEREN'T MORE COMMON THAN WHAT ONE

01:10:11   16      USUALLY SEES IN SOME LABS WITH HIGH VOLUME."

01:10:15   17             DO YOU SEE THAT?

01:10:16   18       A.    YES.

01:10:16   19       Q.    AND WAS THAT TRUTHFUL TESTIMONY AT THE TIME?

01:10:18   20       A.    YES.

01:10:19   21       Q.    OKAY.    AND YOU WERE ASKED IN THE NEXT QUESTION AND ANSWER

01:10:24   22       ABOUT HOW IT COMPARED TO YOUR TIME -- OR YOU OFFERED A

01:10:30   23       COMPARISON TO YOUR TIME AT UNIVERSITY OF PITTSBURGH.

01:10:33   24             DO YOU SEE THAT?

01:10:33   25       A.    YES.



                                         UNITED STATES COURT REPORTERS
                Case: 22-10312, 04/25/2023,
                Case 5:18-cr-00258-EJD      ID: 12702996,
                                         Document   1271 DktEntry:  36-12, Page
                                                          Filed 01/18/22   Page 162
                                                                                163 of
                                                                                    of 227
                                                                                       228
                    ROSENDORFF RECROSS BY MR. WADE                                       2936


01:10:34    1       Q.     OKAY.    AND YOU TESTIFIED THAT THEY WERE NOT MORE ANOMALOUS

01:10:41    2       THAN WHAT YOU SAW AT THE UNIVERSITY OF PITTSBURGH; CORRECT?

01:10:47    3       A.     YES.

01:10:48    4       Q.     OKAY.    AND THIS TESTIMONY THAT YOU OFFERED WAS IN 2019;

01:10:51    5       RIGHT?

01:10:51    6       A.     YES.

01:10:52    7       Q.     THAT WAS BEFORE THE EVENTS RELATING TO YOUR INSPECTION AT

01:10:58    8       CMS, AT PERKIN ELMER; RIGHT?

01:11:03    9       A.     YES.

01:11:05   10       Q.     AND YOU WERE TRUTHFUL IN THIS TESTIMONY; RIGHT, SIR?

01:11:15   11       A.     YES.

01:11:18   12                     MR. WADE:    I HAVE NO FURTHER QUESTIONS, YOUR HONOR.

01:11:43   13                     THE COURT:    MR. BOSTIC?

01:11:44   14                     MR. BOSTIC:    NO FURTHER QUESTIONS, YOUR HONOR.     THANK

01:11:46   15       YOU.

01:11:46   16                     THE COURT:    MAY THIS WITNESS BE EXCUSED?

01:11:48   17                     MR. BOSTIC:    FROM THE GOVERNMENT'S PERSPECTIVE, YES.

01:11:50   18                     MR. WADE:    HE MAY, YOUR HONOR.

01:11:52   19                     THE COURT:    YOU'RE EXCUSED, SIR.   THANK YOU.

01:11:55   20                     THE WITNESS:   THANK YOU VERY MUCH, YOUR HONOR.

01:11:56   21                     THE COURT:    YOU'RE WELCOME.

01:12:22   22              DOES THE GOVERNMENT HAVE ANOTHER WITNESS?

01:12:25   23                     MR. LEACH:    WE DO, YOUR HONOR.   THE UNITED STATES

01:12:27   24       CALLS STEVE BURD.

01:12:29   25                     THE CLERK:    YOUR HONOR, I NEED A FEW MINUTES TO



                                          UNITED STATES COURT REPORTERS
                Case: 22-10312, 04/25/2023,
                Case 5:18-cr-00258-EJD      ID: 12702996,
                                         Document   1271 DktEntry:  36-12, Page
                                                          Filed 01/18/22   Page 163
                                                                                164 of
                                                                                    of 227
                                                                                       228
                                                                                         2937


01:12:31    1       COLLECT THESE ITEMS.

01:12:32    2                  THE COURT:    OKAY.     ARE THESE -- ARE THESE YOUR

01:12:35    3       DOCUMENTS HERE?

01:12:42    4             THANK YOU.

01:12:46    5             (PAUSE IN PROCEEDINGS.)

01:13:29    6                  THE COURT:    SIR, JUST GIVE ME JUST A MOMENT.        IF YOU

01:13:32    7       WOULD JUST WAIT JUST A MOMENT, SIR.        JUST HANG ON A SECOND.

01:13:37    8             (PAUSE IN PROCEEDINGS.)

01:13:53    9                  THE COURT:    LADIES AND GENTLEMEN, STAND UP AND

01:13:55   10       STRETCH IF YOU'D LIKE FOR A MOMENT.

01:13:58   11             (STRETCH BREAK.)

01:14:10   12                  THE COURT:    WE'RE GOING TO BREAK AT 3:00 O'CLOCK.           I

01:14:12   13       UNDERSTAND WE'LL PROBABLY TAKE A BRIEF RECESS IN ABOUT 20

01:14:17   14       MINUTES, LADIES AND GENTLEMEN.         IT'LL BE A BRIEF RECESS AND

01:14:19   15       THEN WE'LL CONTINUE.

01:14:21   16             ALL RIGHT.    SIR, IF YOU'D COME FORWARD, PLEASE.

01:14:24   17             PLEASE BE SEATED.     THANK YOU.

01:14:25   18             IF YOU'D COME FORWARD.        AND IF YOU WOULD FACE OUR

01:14:29   19      COURTROOM DEPUTY AND RAISE YOUR RIGHT HAND, SHE HAS A QUESTION

01:14:32   20      FOR YOU.

01:14:33   21                  THE WITNESS:     OKAY.

01:14:35   22             (GOVERNMENT'S WITNESS, STEVE BURD, WAS SWORN.)

01:14:37   23                  THE WITNESS:     YES.

01:14:43   24                  THE COURT:    THANK YOU, SIR.

01:14:44   25             LET ME INVITE YOU TO TAKE A SEAT HERE AND MAKE YOURSELF



                                         UNITED STATES COURT REPORTERS
                Case: 22-10312, 04/25/2023,
                Case 5:18-cr-00258-EJD      ID: 12702996,
                                         Document   1271 DktEntry:  36-12, Page
                                                          Filed 01/18/22   Page 164
                                                                                165 of
                                                                                    of 227
                                                                                       228
                    BURD DIRECT BY MR. LEACH                                             2938


01:14:48    1      COMFORTABLE.      FEEL FREE TO ADJUST THE CHAIR AND MICROPHONE AS

01:14:51    2      YOU NEED, AND I'LL ENCOURAGE YOU TO SPEAK DIRECTLY INTO THE

01:14:54    3      MICROPHONE.

01:14:55    4             WHEN YOU ARE COMFORTABLE, WOULD YOU PLEASE STATE YOUR NAME

01:14:57    5      AND THEN SPELL IT, PLEASE.

01:14:59    6                  THE WITNESS:     SURE.   MY NAME IS STEVE BURD, SPELLED

01:15:03    7       S-T-E-V-E, LAST NAME B-U-R-D.

01:15:07    8                  THE COURT:    THANK YOU.

01:15:09    9             COUNSEL.

01:15:10   10                  MR. LEACH:    THANK YOU, YOUR HONOR.

01:15:11   11                                 DIRECT EXAMINATION

01:15:12   12       BY MR. LEACH:

01:15:13   13       Q.    MR. BURD, IF YOU'RE VACCINATED AND COMFORTABLE, WITH THE

01:15:17   14       COURT'S PERMISSION, YOU'RE FREE TO REMOVE YOUR MASK.

01:15:20   15                  THE COURT:    YES.

01:15:21   16                  THE WITNESS:     THANK YOU.

01:15:22   17                  THE COURT:    YOU'RE WELCOME.

01:15:23   18       BY MR. LEACH:

01:15:24   19       Q.    GOOD AFTERNOON.     HOW ARE YOU, SIR?

01:15:25   20       A.    I'M TERRIFIC.

01:15:26   21       Q.    GREAT.   WAS THERE A TIME WHEN YOU SERVED AS THE CHIEF

01:15:29   22       EXECUTIVE OFFICER, OR CEO, OF SAFEWAY?

01:15:33   23       A.    YES, FOR A TOTAL OF 20 YEARS.

01:15:35   24       Q.    OKAY.    WHEN WERE YOU THE CEO OF SAFEWAY?

01:15:37   25       A.    IT WOULD HAVE BEEN MAY OF 1993 AT THE ANNUAL SHAREHOLDER'S



                                         UNITED STATES COURT REPORTERS
                Case: 22-10312, 04/25/2023,
                Case 5:18-cr-00258-EJD      ID: 12702996,
                                         Document   1271 DktEntry:  36-12, Page
                                                          Filed 01/18/22   Page 165
                                                                                166 of
                                                                                    of 227
                                                                                       228
                    BURD DIRECT BY MR. LEACH                                             2939


01:15:47    1       MEETING, RETIRING 20 YEARS LATER IN 2013 AT THAT SAME ANNUAL

01:15:53    2       SHAREHOLDER'S MEETING.

01:15:54    3       Q.     AND SAFEWAY IS THE SUPERMARKET CHAIN WITH THE LARGE

01:15:59    4       PRESENCE HERE IN THE NORTHERN DISTRICT OF CALIFORNIA?

01:16:01    5       A.     THAT'S CORRECT.

01:16:02    6       Q.     OKAY.   WAS SAFEWAY A PUBLIC COMPANY WHILE YOU WERE THE

01:16:06    7       CEO?

01:16:06    8       A.     IT WAS A PUBLIC COMPANY.

01:16:07    9       Q.     OKAY.   AND WHAT DOES THAT MEAN, TO BE A PUBLIC COMPANY?

01:16:10   10       A.     IT MEANS YOU HAVE A LARGE NUMBER OF SHAREHOLDERS AND YOU

01:16:16   11       HAVE OBLIGATIONS TO REPORT YOUR EARNINGS AND DISCUSS THE

01:16:21   12       DETAILS OF THOSE EARNINGS ON A QUARTERLY BASIS.

01:16:25   13              AND YOU OPERATE, I THINK, UNDER A SLIGHTLY DIFFERENT

01:16:28   14      REGULATORY AND SECURITY STRUCTURE THAN A PRIVATELY HELD

01:16:31   15      COMPANY.

01:16:31   16       Q.     OKAY.   AND YOU STEPPED DOWN AS THE CEO OF SAFEWAY IN ABOUT

01:16:35   17       MAY OF 2013?

01:16:37   18       A.     THAT'S CORRECT.

01:16:37   19       Q.     OKAY.   CAN YOU GIVE US A BALLPARK OF WHAT SAFEWAY'S ANNUAL

01:16:42   20       REVENUES IN THAT 2013 TIME PERIOD WERE?

01:16:45   21       A.     SURE.   IT WOULD HAVE BEEN IN THE RANGE OF $45 BILLION IN

01:16:50   22       SALES.    WE OPERATED IN 22 U.S. STATES, FIVE CANADIAN PROVINCES.

01:16:57   23       THOSE STATES INCLUDED ALASKA AND HAWAII.

01:17:00   24              AND WE HAD A 49 PERCENT INTEREST IN A MEXICAN RETAILER,

01:17:05   25       THE COMPANY WAS CALLED CASA LEY, C-A-S-A, L-E-Y.



                                         UNITED STATES COURT REPORTERS
                Case: 22-10312, 04/25/2023,
                Case 5:18-cr-00258-EJD      ID: 12702996,
                                         Document   1271 DktEntry:  36-12, Page
                                                          Filed 01/18/22   Page 166
                                                                                167 of
                                                                                    of 227
                                                                                       228
                    BURD DIRECT BY MR. LEACH                                             2940


01:17:14    1       Q.    AND WOULD YOU BRIEFLY DESCRIBE YOUR EDUCATIONAL AND

01:17:17    2       PROFESSIONAL BACKGROUND BEFORE YOU BECAME THE CEO OF SAFEWAY?

01:17:20    3       A.    SURE.   TWO DEGREES IN ECONOMICS, ONE FROM CARROLL

01:17:27    4       UNIVERSITY IN WAUKESHA, WISCONSIN; A GRADUATE DEGREE AND

01:17:32    5       MASTER'S DEGREE IN ECONOMICS FROM THE UNIVERSITY OF WISCONSIN

01:17:36    6       IN MILWAUKEE.

01:17:37    7             I TOOK MY FIRST JOB IN SAN FRANCISCO WITH WHAT I WOULD

01:17:40    8       CALL A MINI CONGLOMERATE CONTROLLED BY A RAILROAD CALLED

01:17:44    9       SOUTHERN PACIFIC.     THEY, FOR EXAMPLE, FOUNDED THE COMPANY

01:17:47   10       CALLED SPRINT TODAY, WHICH EVERYBODY KNOWS.

01:17:49   11             I SPENT ABOUT FOUR YEARS THERE; WENT BACK TO WASHINGTON,

01:17:52   12      D.C., SERVED AS AN ECONOMIST FOR THE ASSOCIATION OF AMERICAN

01:17:57   13      RAILROADS; CAME BACK, ENDED UP IN THE FINANCE DEPARTMENT AT

01:18:01   14      THIS RAILROAD; LEFT THERE IN THE EARLY '80S TO JOIN A

01:18:05   15      CONSULTING FIRM, ARTHUR D. LITTLE.

01:18:08   16             I HAD BUILT A REPUTATION OF BEING A BIT OF A TURNAROUND

01:18:13   17      MANAGEMENT LEADER, AND SO I STARTED A STEADY LINE OF TURNAROUND

01:18:20   18      WORK, STUMBLED INTO A PRIVATE EQUITY FIRM CALLED KKR,

01:18:28   19      KOHLBERG, KRAVIS, ROBERTS & COMPANY, AND THEY GAVE ME A STEADY

01:18:30   20      DIET OF WORK.

01:18:31   21             PRIVATE EQUITY IS A TECHNIQUE WHERE YOU BUY COMPANIES,

01:18:34   22      MUCH THE WAY MOST OF US BUY HOMES, AND SO MOSTLY DEBT AND A

01:18:39   23      LITTLE BIT OF EQUITY.

01:18:40   24             AND SAFEWAY WAS ONE OF THOSE INVESTMENTS.         THEY INSTALLED

01:18:45   25      ME AS PRESIDENT IN 1992, AND SIX MONTHS LATER I WAS THE CEO.



                                         UNITED STATES COURT REPORTERS
                Case: 22-10312, 04/25/2023,
                Case 5:18-cr-00258-EJD      ID: 12702996,
                                         Document   1271 DktEntry:  36-12, Page
                                                          Filed 01/18/22   Page 167
                                                                                168 of
                                                                                    of 227
                                                                                       228
                    BURD DIRECT BY MR. LEACH                                             2941


01:18:48    1       Q.    I'D LIKE TO DRAW YOUR ATTENTION, PLEASE, TO THE TIME

01:18:53    2       PERIOD 2010.

01:18:54    3             DO YOU HAVE THAT TIME PERIOD IN MIND?

01:18:56    4       A.    SURE.

01:18:57    5       Q.    IN OR AROUND THIS TIME, DID YOU BECOME FAMILIAR WITH A

01:19:00    6       COMPANY CALLED THERANOS?

01:19:01    7       A.    I DID.

01:19:01    8       Q.    HOW DID YOU BECOME FAMILIAR WITH THERANOS?

01:19:04    9       A.    I HAD FORMED A COMPANY CALLED SAFEWAY HEALTH, IT WAS FULLY

01:19:12   10       OWNED BY SAFEWAY, BECAUSE WE HAD DONE SOME EXTRAORDINARY THINGS

01:19:15   11       IN HEALTH CARE AND WE DECIDED WE WOULD DO THOSE THINGS FOR

01:19:18   12       OTHERS.

01:19:19   13             SO A COUPLE OF THE FOLKS FROM SAFEWAY HEALTH HAD HAD A

01:19:23   14      MEETING WITH ELIZABETH HOLMES SOMETIME IN I THINK MARCH OF THAT

01:19:32   15      YEAR, AND I DON'T KNOW HOW I LEARNED ABOUT IT, BUT SOMEBODY

01:19:35   16      TOLD ME ABOUT THIS MEETING AND I WAS IMMEDIATELY INTERESTED IN,

01:19:41   17      IN MEETING THERANOS, AND PARTICULARLY THE FOUNDER.

01:19:45   18             SO WE REACHED OUT, SET UP ANOTHER MEETING, AND I CAN

01:19:49   19      RECALL -- I DON'T KNOW THE DATE -- BUT IT WAS THE DAY I WAS

01:19:52   20      LEAVING FOR EUROPE ON VACATION, SO IT REALLY NEEDED TO HAPPEN

01:19:57   21      QUICKLY.

01:19:58   22       Q.    WHY WERE YOU IMMEDIATELY INTERESTED?

01:20:00   23       A.    IT WAS A FASCINATING CONCEPT.       YOU KNOW, THE NOTION -- YOU

01:20:06   24       KNOW, I WORKED FOR SAFEWAY FOR 20 YEARS, WHICH IS A LOW MARGIN

01:20:10   25       RETAILER.     WE MAKE 1 TO 3 PERCENT ON EACH DOLLAR OF SALES.



                                         UNITED STATES COURT REPORTERS
                Case: 22-10312, 04/25/2023,
                Case 5:18-cr-00258-EJD      ID: 12702996,
                                         Document   1271 DktEntry:  36-12, Page
                                                          Filed 01/18/22   Page 168
                                                                                169 of
                                                                                    of 227
                                                                                       228
                    BURD DIRECT BY MR. LEACH                                             2942


01:20:15    1             AND SO THE COST REDUCTION APPEALED TO ME, THE IDEA OF

01:20:19    2      GETTING A BLOOD TEST IN 20 OR 30 MINUTES APPEALED TO ME, THE

01:20:24    3      IDEA THAT IT WAS MINIATURIZED.

01:20:27    4             YOU KNOW, WE MADE A PRACTICE OF PUTTING DIFFERENT

01:20:29    5      BUSINESSES INSIDE OF OUR STORE SO WE COULD CONTINUE TO GROW TOP

01:20:33    6      LINE SALES, WE PUT PHARMACIES IN, WE PUT DELIS IN, WE PUT

01:20:40    7      BAKERIES IN.

01:20:40    8             THIS WAS AN OPPORTUNITY TO DO SOMETHING THAT WOULD BRING

01:20:43    9      EXTRA BUSINESS TO THE STORE.

01:20:44   10             WE BUILT 400-PLUS GAS STATIONS.       WHEN I PUT A GAS STATION

01:20:50   11      IN THE PARKING LOT, MY SALES WENT UP 6 PERCENT IN THE STORE.

01:20:54   12             SO I KNEW THIS WOULD HAVE NOT ONLY A PROFIT INTEREST OF

01:20:57   13      ITS OWN, BUT IT WOULD ALSO AFFECT THE ATTRACTION OF SAFEWAY TO

01:21:00   14      SHOPPERS AT LARGE.

01:21:02   15       Q.    AND I THINK I HEARD YOU SAY YOU WERE IMMEDIATELY

01:21:04   16       INTERESTED IN MEETING THE FOUNDER.        DID I HEAR THAT RIGHT?

01:21:07   17       A.    CORRECT.

01:21:07   18       Q.    WHY WAS THAT?

01:21:08   19       A.    WELL, THEY WERE STILL A SMALL COMPANY.         VISION WAS

01:21:14   20       IMPORTANT TO ME, AND WHO BETTER COULD EXPLAIN THAT VISION THAN

01:21:17   21       THE FOUNDER?

01:21:18   22             AND WHAT I HAD BEEN TOLD ABOUT ELIZABETH HOLMES, I WAS

01:21:24   23      EAGER TO MEET HER.

01:21:26   24       Q.    OKAY.   AND IN BETWEEN MARCH OF 2010 AND SEPTEMBER OF 2010,

01:21:31   25       DID YOU PURSUE THE POSSIBILITY OF A COMMERCIAL ARRANGEMENT WITH



                                         UNITED STATES COURT REPORTERS
                Case: 22-10312, 04/25/2023,
                Case 5:18-cr-00258-EJD      ID: 12702996,
                                         Document   1271 DktEntry:  36-12, Page
                                                          Filed 01/18/22   Page 169
                                                                                170 of
                                                                                    of 227
                                                                                       228
                    BURD DIRECT BY MR. LEACH                                             2943


01:21:36    1       THERANOS?

01:21:36    2       A.    WE DID.    IF I RECALL CORRECTLY, IT WAS SOMETIME IN

01:21:40    3       SEPTEMBER, AFTER MONTHS OF DISCUSSION AND NEGOTIATION, THAT WE

01:21:45    4       ACTUALLY SIGNED A CONTRACT.

01:21:47    5       Q.    OKAY.    IN BETWEEN THAT MARCH TIMEFRAME AND THE SIGNING OF

01:21:51    6       THE CONTRACT, DID YOU MEET WITH MS. HOLMES?

01:21:52    7       A.    ABSOLUTELY.

01:21:53    8       Q.    AND DID YOU HAVE CONVERSATIONS WITH HER?

01:21:55    9       A.    I DID.

01:21:55   10       Q.    OKAY.    ON MORE THAN ONE OCCASION?

01:21:58   11       A.    MORE THAN ONE OCCASION.

01:21:59   12       Q.    AND WERE YOU IMPRESSED?

01:22:00   13       A.    I WAS VERY IMPRESSED.

01:22:03   14       Q.    HOW SO?

01:22:04   15       A.    WELL, YOU KNOW, THERE ARE VERY FEW PEOPLE THAT I'VE MET IN

01:22:08   16       BUSINESS THAT I WOULD ACTUALLY SAY ARE CHARISMATIC.           SHE WAS

01:22:13   17       CLEARLY CHARISMATIC.      SHE WAS VERY SMART, OKAY?      AND SHE WAS

01:22:21   18       DOING ONE OF THE HARDEST THINGS THAT YOU CAN DO IN BUSINESS,

01:22:25   19       AND THAT'S TO CREATE AN ENTERPRISE FROM SCRATCH.

01:22:28   20             I HAVE DONE SIX STARTUPS ON MY OWN.        I'VE CREATED SEVERAL

01:22:33   21      COMPANIES INSIDE OF SAFEWAY.       THAT'S EASY.

01:22:36   22             DOING IT ON THE OUTSIDE IS REALLY HARD.

01:22:38   23       Q.    AND WHAT WAS THE NATURE OF THE BUSINESS RELATIONSHIP THAT

01:22:42   24       YOU WERE DISCUSSING WITH MS. HOLMES IN OR AROUND THIS TIME

01:22:45   25       PERIOD?



                                         UNITED STATES COURT REPORTERS
                Case: 22-10312, 04/25/2023,
                Case 5:18-cr-00258-EJD      ID: 12702996,
                                         Document   1271 DktEntry:  36-12, Page
                                                          Filed 01/18/22   Page 170
                                                                                171 of
                                                                                    of 227
                                                                                       228
                    BURD DIRECT BY MR. LEACH                                             2944


01:22:45    1       A.    SURE.   YOU KNOW, AS SOON AS I HEARD THE STORY, I REMEMBER

01:22:51    2       SENDING AN EMAIL, YOU KNOW, THE NEXT DAY, EVEN THOUGH I WAS IN

01:22:56    3       EUROPE, AND IT WAS -- IT WAS A SOMEWHAT DETAILED EMAIL.

01:23:00    4             I CAN'T GIVE YOU EVERY SPECIFIC, BUT WHEN SOMEBODY NEW

01:23:03    5       COMES IN WITH A PRODUCT OR WHATEVER, FIRST THING I WANT IS I

01:23:10    6       WANT AN EXCLUSIVE.      IF I CAN'T GET AN EXCLUSIVE, I WANT IT FOR

01:23:13    7       A YEAR.    YOU KNOW, I WANT SOMETHING BECAUSE I WANT TO PUT SOME

01:23:16    8       EFFORT INTO HELPING MAKE THIS HAPPEN, AND SO I WANT TO OWN IT

01:23:20    9       FOR AWHILE.

01:23:22   10             AND WE DID THAT WITH PRODUCE.       THERE'S A WATERMELON CALLED

01:23:26   11      A PURE HEART AND IT HAS A VERY SMALL RIND.         I MEAN -- AND WE

01:23:34   12      HAD THAT FOR OURSELVES FOR OVER A YEAR.

01:23:36   13             SO THAT WAS ONE THING I WANTED.

01:23:38   14             THE OTHER THING, WE HAD BUILT A COMPANY THAT WE LATER TOOK

01:23:44   15      PUBLIC, IT HAD A VALUATION OF ABOUT $3 AND A HALF BILLION, AND

01:23:47   16      IT WAS A -- IT WAS A FINANCIAL COMPANY THAT IF YOU GO INTO ANY

01:23:51   17      SUPERMARKET IN THE UNITED STATES, YOU'RE LIKELY TO FIND GIFT

01:23:55   18      CARDS THAT WE RESELL.

01:23:57   19             SO WE HAD CREATED A NETWORK INITIALLY THAT DIDN'T COMPETE

01:24:00   20      WITH SAFEWAY, AND THEN LEARNED WE COULD ACTUALLY SELL THEM TO

01:24:04   21      EVERY SUPERMARKET.

01:24:05   22             SO I WANTED TO BUILD A NETWORK FOR THIS NEW, NEW LAB

01:24:12   23      COMPANY THAT WOULD GIVE ME ANOTHER STREAM OF INCOME, NOT JUST

01:24:16   24      THE INCOME FOR HAVING A LAB IN OUR STORES.

01:24:18   25       Q.    OKAY.   YOU TALKED A LITTLE BIT ABOUT EXCLUSIVITY, A LITTLE



                                         UNITED STATES COURT REPORTERS
                Case: 22-10312, 04/25/2023,
                Case 5:18-cr-00258-EJD      ID: 12702996,
                                         Document   1271 DktEntry:  36-12, Page
                                                          Filed 01/18/22   Page 171
                                                                                172 of
                                                                                    of 227
                                                                                       228
                    BURD DIRECT BY MR. LEACH                                             2945


01:24:23    1       BIT ABOUT HAVING THE NETWORK.

01:24:26    2             LET'S TAKE A STEP BACK, AND DESCRIBE FOR ME WHAT WAS IT

01:24:29    3      YOU THOUGHT THERANOS COULD OFFER SAFEWAY?

01:24:31    4       A.    WELL, YOU KNOW, THEY WERE TALKING ABOUT REPLACING A FULL

01:24:35    5       SCALE LAB, WHICH MEANT THAT YOU COULD DO ALMOST EVERY BLOOD

01:24:41    6       TEST IMAGINABLE.     I MEAN, EVEN, EVEN SOME OF THE NAME BRAND

01:24:45    7       LABS OUT THERE WILL GO TO A REFERENCE LAB FOR SOME VERY UNIQUE

01:24:49    8       THINGS.

01:24:50    9             AND SO WE THOUGHT, THAT'S A NICE CONNECTION TO THE

01:24:54   10      PHARMACIST.    WE WERE ALREADY DEEPLY INTO THE VACCINATION

01:24:59   11      BUSINESS, SO IT WAS AN ADD-ON INCOME STREAM.

01:25:04   12             IMAGINE COMING IN WITH A SCRIPT FOR HAVING A BLOOD TEST,

01:25:08   13      GETTING YOUR BLOOD DRAWN, AND WHILE SHOPPING -- IF YOU'RE DOING

01:25:12   14      YOUR WEEKLY SHOPPING, YOU'RE GOING TO BE IN THAT STORE FOR MORE

01:25:16   15      THAN 30 MINUTES.     AND BEFORE YOU LEAVE, YOU KNOW THE RESULTS OF

01:25:21   16      THAT BLOOD TEST -- THAT WAS THE OFFERING -- AND YOU COULD THEN

01:25:28   17      GO BACK TO THE PHARMACY AND, AFTER HAVING CALLED YOUR DOCTOR ON

01:25:32   18      YOUR CELL PHONE, YOU COULD GET A PRESCRIPTION.

01:25:34   19             SO THAT WAS AN INCREDIBLE PROCESS THAT WAS APPEALING TO

01:25:39   20      US.

01:25:39   21       Q.    AT ANY POINT IN TIME, DID MS. HOLMES SHOW YOU THE DEVICE

01:25:44   22       WITH WHICH SHE WOULD REPLACE THE CENTRAL LAB?

01:25:47   23       A.    SHE DID.    SHE ACTUALLY BROUGHT IT TO ONE OF OUR BOARD

01:25:51   24       MEETINGS.    I HAD HER PRESENT TO THE BOARD.       WE HAD A BOX IN THE

01:25:57   25       BACK OF THE ROOM.



                                         UNITED STATES COURT REPORTERS
                Case: 22-10312, 04/25/2023,
                Case 5:18-cr-00258-EJD      ID: 12702996,
                                         Document   1271 DktEntry:  36-12, Page
                                                          Filed 01/18/22   Page 172
                                                                                173 of
                                                                                    of 227
                                                                                       228
                    BURD DIRECT BY MR. LEACH                                             2946


01:25:59    1             A BOARD MEMBER OFFERED TO BE A TEST CASE AND WE SAID, YOU

01:26:06    2       KNOW, JUST DO A PSA TEST, WHICH IS A PROSTATE SPECIFIC ANTIGEN

01:26:13    3       THAT YOU WANT TO KEEP AN EYE ON AS YOU GROW OLDER BECAUSE IT

01:26:17    4       COULD BE AN INDICATOR POSSIBLY OF EARLY PROSTATE CANCER.

01:26:22    5             AND SO THE BLOOD WAS DRAWN IN THE FINGERSTICK, IT WAS PUT

01:26:25    6      INTO THE MACHINE, THE MACHINE MADE A BUNCH OF NOISE -- IT

01:26:28    7      WASN'T REAL LOUD, BUT YOU COULD HEAR SOMETHING GOING ON -- AND

01:26:30    8      WE NEVER GOT A RESULT.

01:26:33    9             AND LATER, AS THIS BOARD MEMBER REACHED OUT TO FIND OUT

01:26:38   10      WHAT HIS PSA WAS -- AND IT WASN'T THE PSA HE WAS INTERESTED IN,

01:26:42   11      HE WANTED TO MAKE SURE THAT THERE WAS SOME CONFIRMATION

01:26:45   12      THERE -- HE WAS APPARENTLY TOLD --

01:26:48   13                  MR. DOWNEY:     YOUR HONOR, JUST OBJECTION, HEARSAY, THE

01:26:51   14       NATURE OF THE TESTIMONY.

01:26:52   15                  THE WITNESS:     I'M SORRY.

01:26:53   16                  THE COURT:    WHY DON'T YOU ASK ANOTHER QUESTION?

01:26:55   17                  THE WITNESS:     YEAH.

01:26:56   18                  THE COURT:    ASK ANOTHER QUESTION.

01:26:57   19       BY MR. LEACH:

01:26:58   20       Q.    WAS THERE SOMETHING ABOUT THE SIZE OF THE DEVICE THAT WAS

01:27:00   21       ATTRACTIVE TO YOU?

01:27:01   22       A.    IT WAS QUITE SMALL.

01:27:03   23       Q.    WHY WAS THAT OF INTEREST TO SAFEWAY?

01:27:05   24       A.    IT WAS OF INTEREST BECAUSE IF IT WAS GOING TO TAKE 20 OR

01:27:08   25       30 MINUTES TO PROCESS A CARTRIDGE, I COULDN'T HAVE 12 PEOPLE IN



                                         UNITED STATES COURT REPORTERS
                Case: 22-10312, 04/25/2023,
                Case 5:18-cr-00258-EJD      ID: 12702996,
                                         Document   1271 DktEntry:  36-12, Page
                                                          Filed 01/18/22   Page 173
                                                                                174 of
                                                                                    of 227
                                                                                       228
                    BURD DIRECT BY MR. LEACH                                             2947


01:27:11    1       THE WAITING ROOM AND JUST IMAGINE SIX HOURS FROM NOW WE'LL GET

01:27:15    2       TO YOU.

01:27:17    3             AND SO THE CONCEPT WAS TO STACK SIX OF THESE ON TOP OF ONE

01:27:21    4      ANOTHER AND PUT ANOTHER SIX NEXT TO IT, SO WE CREATED A SPACE

01:27:26    5      MUCH THE SIZE OF A LARGE REFRIGERATOR.

01:27:29    6       Q.    YOU ALSO TALKED ABOUT THE TIME PERIOD WITHIN WHICH RESULTS

01:27:33    7       COULD BE RETURNED, POSSIBLY WHEN SOMEBODY WAS SHOPPING.           WHY --

01:27:40    8       WAS THERE SOMETHING ABOUT THE SPEED OF THE DEVICE WHICH WAS OF

01:27:43    9       INTEREST TO YOU?

01:27:43   10       A.    YEAH.   IT WAS -- YOU KNOW, IF YOU HAVE A REALLY GOOD LAB,

01:27:46   11       YOUR DOCTOR MIGHT GET THE RESULTS IN 24 HOURS.          THEY MIGHT

01:27:49   12       DRIBBLE IN TO YOU A BIT AFTER THAT.

01:27:52   13             BUT AS I SAID EARLIER, THIS NOTION OF GETTING THE RESULTS

01:27:56   14      AND GETTING A PRESCRIPTION POSSIBLY BEFORE EVEN LEAVING THE

01:27:59   15      STORE, WE KNEW THAT WOULD BE APPEALING TO CUSTOMERS.

01:28:02   16       Q.    AND DID MS. HOLMES MAKE REPRESENTATIONS TO YOU IN THIS

01:28:06   17       PRELIMINARY PERIOD ABOUT THE SPEED WITH WHICH THERANOS COULD

01:28:09   18       TURN AROUND RESULTS?

01:28:10   19       A.    YES.    IT WAS DESCRIBED AS A RANGE OF 20 TO 30 MINUTES.

01:28:13   20       Q.    DID SHE ALSO DESCRIBE FOR YOU THE ACCURACY OF THE RESULTS

01:28:19   21       THAT COULD BE PRODUCED BY THE DEVICE?

01:28:20   22       A.    IN ONE OF HER PRESENTATIONS, THERE WAS A -- THERE WAS --

01:28:26   23       THERE WAS SOME COMMENT ABOUT THE ACCURACY, YOU KNOW, BEING EVEN

01:28:29   24       MORE ACCURATE THAN, YOU KNOW, TRADITIONAL, TRADITIONAL TESTING

01:28:33   25       UNITS.



                                         UNITED STATES COURT REPORTERS
                Case: 22-10312, 04/25/2023,
                Case 5:18-cr-00258-EJD      ID: 12702996,
                                         Document   1271 DktEntry:  36-12, Page
                                                          Filed 01/18/22   Page 174
                                                                                175 of
                                                                                    of 227
                                                                                       228
                    BURD DIRECT BY MR. LEACH                                             2948


01:28:35    1             BUT IT WAS NEVER -- WE NEVER GOT ANY DEEP INFORMATION

01:28:38    2       ABOUT THAT.    AND I'D BE HAPPY IF IT WERE JUST AS ACCURATE.

01:28:42    3       Q.    WAS ACCURACY RELEVANT TO YOU?

01:28:45    4       A.    OF COURSE.

01:28:45    5       Q.    WHY DO YOU SAY OF COURSE?

01:28:47    6       A.    WELL, WE -- YOU KNOW, WHEN YOU PUT ANOTHER BRAND IN YOUR

01:28:51    7       STORE -- AND WE PUT MANY OF THEM, YOU'LL FIND WELLS FARGOS AND

01:28:55    8       OTHER BRANDS IN OUR STORE, MAYBE A PANDA EXPRESS HERE AND

01:28:59    9       THERE -- OUR BRAND IS ON THE FRONT, THEIR BRAND IS INSIDE.

01:29:02   10             PEOPLE ARE GOING TO COME BACK TO US IF THEY GOT A NUMBER

01:29:06   11       THAT DIDN'T MAKE ANY SENSE TO THEIR PHYSICIAN.

01:29:11   12             AND, YOU KNOW, WE MUCH PREFER THEY COME BACK TO THERANOS,

01:29:14   13       BUT WE KNOW IT HAPPENED IN OUR STORE.

01:29:16   14             AND SO I THINK IT'S ALWAYS TRUE IN BUSINESS THAT YOU WANT

01:29:22   15      TO ALWAYS DEAL WITH FIRST RATE COMPANIES, PARTICULARLY WHEN YOU

01:29:29   16      ARE IN THE SAME ENVIRONMENT.

01:29:31   17             AND SO THAT WAS IMPORTANT TO US.

01:29:32   18       Q.    DID MS. HOLMES ALSO DESCRIBE FOR YOU THE NUMBER OF TESTS

01:29:36   19       THAT THE DEVICE COULD PERFORM?

01:29:37   20       A.    IT WAS DESCRIBED VARIOUS DIFFERENT WAYS.         SOMETIMES

01:29:43   21       REPLACING A TRADITIONAL LAB.       THAT WOULD IMPLY WELL OVER 300

01:29:49   22       DIFFERENT TESTS.

01:29:52   23             I REMEMBER ONE OF HER CARTRIDGE WAS DESCRIBED AS CAPABLE

01:29:56   24      OF DOING 95 PERCENT OF ALL TESTS.        THAT WAS IMPORTANT TO US

01:30:01   25      BECAUSE WE HAD TO INVENTORY THE CARTRIDGES AND WE HAD A LIMITED



                                         UNITED STATES COURT REPORTERS
                Case: 22-10312, 04/25/2023,
                Case 5:18-cr-00258-EJD      ID: 12702996,
                                         Document   1271 DktEntry:  36-12, Page
                                                          Filed 01/18/22   Page 175
                                                                                176 of
                                                                                    of 227
                                                                                       228
                    BURD DIRECT BY MR. LEACH                                             2949


01:30:05    1      AMOUNT OF SPACE.

01:30:06    2             SO WE WERE CONSISTENTLY TOLD THAT IT ESSENTIALLY REPLACES

01:30:11    3      A TRADITIONAL, FULL BLOWN LAB.

01:30:15    4                    MR. LEACH:   MAY I APPROACH THE WITNESS, YOUR HONOR?

01:30:17    5                    THE COURT:   YES.

01:30:20    6                    MR. LEACH:   (HANDING.)

01:30:27    7                    THE WITNESS:   THANK YOU.

01:30:29    8       BY MR. LEACH:

01:30:33    9       Q.    MR. BURD, I'VE PLACED BEFORE YOU A BINDER OF DOCUMENTS AND

01:30:37   10       I'D LIKE TO DRAW YOUR ATTENTION, PLEASE, TO WHAT WE HAVE MARKED

01:30:41   11       AS EXHIBIT 336.

01:30:54   12       A.    YES, I SEE IT.

01:30:56   13       Q.    DO YOU SEE THERE'S SOME HANDWRITING ON THE FIRST PAGE OF

01:30:59   14       336 UP IN THE TOP RIGHT CORNER?

01:31:02   15       A.    YES.

01:31:02   16       Q.    DO YOU RECOGNIZE THE HANDWRITING?

01:31:04   17       A.    IT'S MY HANDWRITING.

01:31:05   18       Q.    OKAY.    AND DO YOU SEE A DATE DOWN IN THE BOTTOM LEFT

01:31:08   19       CORNER WHERE IT SAYS "BOARD MEETING, MAY 19TH, 2010"?

01:31:13   20       A.    I DO.

01:31:14   21       Q.    DO YOU RECOGNIZE THIS DOCUMENT?

01:31:15   22       A.    YES.

01:31:17   23       Q.    IS THIS A TRUE AND CORRECT COPY OF A POWERPOINT THAT YOU

01:31:22   24       PRESENTED TO THE SAFEWAY BOARD IN OR AROUND THIS TIME PERIOD?

01:31:25   25       A.    THAT'S CORRECT.



                                         UNITED STATES COURT REPORTERS
                Case: 22-10312, 04/25/2023,
                Case 5:18-cr-00258-EJD      ID: 12702996,
                                         Document   1271 DktEntry:  36-12, Page
                                                          Filed 01/18/22   Page 176
                                                                                177 of
                                                                                    of 227
                                                                                       228
                    BURD DIRECT BY MR. LEACH                                             2950


01:31:27    1       Q.    OKAY.   AND DID YOU PREPARE THIS AT OR NEAR THE TIME OF THE

01:31:30    2       BOARD MEETING?

01:31:31    3       A.    IT WOULD HAVE BEEN PREPARED VERY CLOSE TO THE BOARD

01:31:36    4       MEETING.    YOU KNOW, I ALWAYS WAS IMPROVING THINGS, SO THESE DID

01:31:43    5       NOT GET HANDED OUT IN ADVANCE OF THE BOARD MEETING.           THIS WAS

01:31:46    6       PRESENTED LIVE TO THE BOARD MEMBERS FOR THE FIRST TIME.

01:31:50    7       Q.    OKAY.   AND DID YOU KEEP POWERPOINTS SUCH AS THIS IN THE

01:31:53    8       ORDINARY COURSE OF BUSINESS?

01:31:55    9       A.    WE USED THEM ALL THE TIME.

01:31:57   10       Q.    OKAY.   IT WAS YOUR REGULAR PRACTICE TO CREATE

01:31:59   11       PRESENTATIONS FOR THE BOARD ABOUT POSSIBLE OPPORTUNITIES FOR

01:32:03   12       THE COMPANY?

01:32:03   13       A.    IT WAS THE WAY WE CONDUCTED OUR BOARD MEETINGS, SO ALL THE

01:32:06   14       OTHER MATERIAL WAS IN A PRESENTATION FORMAT.

01:32:08   15       Q.    OKAY.   AND DID YOU DO YOUR BEST TO ACCURATELY REPORT THE

01:32:12   16       OPPORTUNITY THERANOS PRESENTED HERE TO SAFEWAY'S BOARD?

01:32:16   17       A.    ABSOLUTELY.

01:32:16   18       Q.    OKAY.   AND DOES THIS REFLECT YOUR UNDERSTANDING OF THE

01:32:19   19       POSSIBLE ARRANGEMENT FOR SAFEWAY?

01:32:21   20       A.    THAT'S CORRECT.

01:32:22   21                  MR. LEACH:    YOUR HONOR, I OFFER EXHIBIT 336.

01:32:25   22                  MR. DOWNEY:     NO OBJECTION, YOUR HONOR.

01:32:26   23                  THE COURT:    IT'S ADMITTED.     IT MAY BE PUBLISHED.

01:32:30   24             (GOVERNMENT'S EXHIBIT 336 WAS ADMITTED IN EVIDENCE.)

01:32:30   25                  MR. LEACH:    AND, MS. HOLLIMAN, IF WE COULD PLEASE GO



                                         UNITED STATES COURT REPORTERS
                Case: 22-10312, 04/25/2023,
                Case 5:18-cr-00258-EJD      ID: 12702996,
                                         Document   1271 DktEntry:  36-12, Page
                                                          Filed 01/18/22   Page 177
                                                                                178 of
                                                                                    of 227
                                                                                       228
                    BURD DIRECT BY MR. LEACH                                             2951


01:32:38    1       TO PAGE 2 OF THIS EXHIBIT.

01:32:40    2       Q.    DO YOU SEE UP AT THE TOP, MR. BURD, WHERE IT SAYS

01:32:43    3       DISRUPTIVE TECHNOLOGY OPPORTUNITY?

01:32:45    4       A.    CORRECT.

01:32:46    5       Q.    AND BENEATH THAT, THERE'S A BULLET, "CREATE A NEW IN STORE

01:32:51    6       PHARMACY SERVICE WITH A MINI-DIAGNOSTIC LAB."

01:32:55    7             IS THAT A TERM THAT MS. HOLMES USED WITH YOU,

01:32:59    8      MINI-DIAGNOSTIC LAB?

01:33:01    9       A.    YES.

01:33:02   10       Q.    I DIDN'T MEAN TO CUT YOU OFF.

01:33:03   11       A.    WELL, I WAS GOING TO TELL YOU THAT IT WOULD BE -- IT WOULD

01:33:07   12       BE COMMON PRACTICE FOR ME TO REVIEW THIS, YOU KNOW, WITH

01:33:13   13       ELIZABETH BEFORE I PRESENTED IT BECAUSE I'M OUT OF MY POWER

01:33:21   14       ALLEY, YOU KNOW, IN PRESENTING THESE THINGS.

01:33:24   15             SO I CAN'T -- I CAN'T TELL YOU FOR CERTAIN I DID, BUT THAT

01:33:27   16      WAS MY PRACTICE.

01:33:27   17       Q.    OKAY.   IS IT FAIR TO SAY THE INFORMATION RELATING TO

01:33:30   18       THERANOS IN THIS POWERPOINT CAME IN ONE FORM OR ANOTHER FROM

01:33:34   19       MS. HOLMES?

01:33:35   20       A.    CORRECT.

01:33:35   21       Q.    OKAY.   AND THAT TERM, "MINI-DIAGNOSTIC LAB," WHAT DID THAT

01:33:40   22       MEAN TO YOU?

01:33:41   23       A.    IT DOES WHAT A BIG LAB DOES.

01:33:43   24       Q.    AND WAS THAT ATTRACTIVE TO YOU AT THE TIME?

01:33:47   25       A.    VERY MUCH SO.



                                         UNITED STATES COURT REPORTERS
                Case: 22-10312, 04/25/2023,
                Case 5:18-cr-00258-EJD      ID: 12702996,
                                         Document   1271 DktEntry:  36-12, Page
                                                          Filed 01/18/22   Page 178
                                                                                179 of
                                                                                    of 227
                                                                                       228
                    BURD DIRECT BY MR. LEACH                                             2952


01:33:48    1       Q.    OKAY.   LET ME DRAW YOUR ATTENTION TO PAGE 3.        AND IF WE

01:33:55    2       COULD ZOOM IN ON THE FOUR BULLETS.

01:33:57    3             DO YOU SEE WHERE IT SAYS "FULL DIAGNOSTIC BLOOD, SALIVA

01:34:02    4      AND URINE LAB IN A BOX"?

01:34:06    5       A.    CORRECT.

01:34:06    6       Q.    IS THAT LAB IN A BOX SYNONYMOUS WITH MINI-DIAGNOSTIC LAB?

01:34:12    7       A.    CORRECT.

01:34:13    8       Q.    THE NEXT BULLET SAYS "BLOOD TEST SAMPLES RESULT FROM A

01:34:17    9       FINGERSTICK."

01:34:18   10             IS THAT YOUR UNDERSTANDING OF WHAT THERANOS WAS OFFERING?

01:34:21   11       A.    CORRECT.

01:34:21   12       Q.    THERE'S THE TEST RESULTS IN 20 MINUTES.

01:34:23   13             IS THAT A REFERENCE TO GETTING THE TEST WHILE FOLKS WERE

01:34:26   14       GETTING THEIR GROCERIES?

01:34:27   15       A.    YES.

01:34:27   16       Q.    AND WAS THAT TIMING IMPORTANT TO YOU?

01:34:29   17       A.    IT WAS IMPORTANT, SURE.

01:34:31   18       Q.    AND WHY WAS THAT?

01:34:32   19       A.    BECAUSE THEY'LL GET THE RESULTS BEFORE THEY LEAVE THE

01:34:34   20       STORE.

01:34:35   21       Q.    THE LAST BULLET SAYS, "RETAIL PRICE IS 40 TO 70 PERCENT

01:34:39   22       LOWER THAN TWO DOMINANT COMPETITORS."

01:34:42   23             DO YOU SEE THAT LANGUAGE?

01:34:44   24       A.    YES.

01:34:44   25       Q.    WAS THAT RELEVANT TO YOU?



                                         UNITED STATES COURT REPORTERS
                Case: 22-10312, 04/25/2023,
                Case 5:18-cr-00258-EJD      ID: 12702996,
                                         Document   1271 DktEntry:  36-12, Page
                                                          Filed 01/18/22   Page 179
                                                                                180 of
                                                                                    of 227
                                                                                       228
                    BURD DIRECT BY MR. LEACH                                              2953


01:34:45    1       A.    YES, IT WAS.

01:34:46    2       Q.    HOW SO?

01:34:47    3       A.    IT'S MUCH EASIER TO TAKE MARKET SHARE FROM EXISTING

01:34:54    4       COMPETITORS IF YOUR PRICE POINT IS CONSIDERABLY LOWER.

01:34:58    5             AND THAT WOULD ALSO BE ATTRACTIVE TO ALL OF THE INSURANCE

01:35:00    6       COMPANIES THAT WOULD BE, YOU KNOW, ADJUDICATING THESE CLAIMS

01:35:05    7       FOR ANYBODY THAT GOES TO A LAB.

01:35:07    8       Q.    AND WAS IT YOUR IMPRESSION, BASED ON YOUR DIALOGUE WITH

01:35:10    9       MS. HOLMES, THAT THIS WAS SOMETHING THERANOS COULD DO

01:35:13   10       PROFITABLY?

01:35:14   11       A.    YES.    THEY WEREN'T IN THE BUSINESS FOR CHARITY.        THEY

01:35:19   12       OBVIOUSLY MADE MONEY ON IT SOMEHOW.

01:35:20   13       Q.    OKAY.   LET ME DRAW YOUR ATTENTION TO THE NEXT PAGE,

01:35:24   14       PAGE 4.

01:35:31   15             DO YOU SEE WHERE IT SAYS PHYSICAL DEVICE AND CARTRIDGES?

01:35:34   16       A.    UM-HUM.

01:35:35   17       Q.    AND THERE'S AN IMAGE --

01:35:37   18       A.    YES.

01:35:38   19       Q.    -- OF THE DEVICE?

01:35:39   20       A.    YES.

01:35:39   21       Q.    OKAY.   AT ANY POINT, DID YOU SEE A DEVICE LIKE THAT?

01:35:42   22       A.    I SAW A SIMILAR DEVICE.      I USED TO DESCRIBE IT AS A, THE

01:35:47   23       SIZE OF A LARGE BAGEL TOASTER, YOU KNOW?

01:35:51   24             SO I DIDN'T SEE THIS EXACT DEVICE.        IT WAS GOING THROUGH A

01:35:55   25       SERIES OF CHANGES, AND IT CONTINUED TO GO THROUGH CHANGES ALL



                                         UNITED STATES COURT REPORTERS
                Case: 22-10312, 04/25/2023,
                Case 5:18-cr-00258-EJD      ID: 12702996,
                                         Document   1271 DktEntry:  36-12, Page
                                                          Filed 01/18/22   Page 180
                                                                                181 of
                                                                                    of 227
                                                                                       228
                    BURD DIRECT BY MR. LEACH                                             2954


01:36:01    1       DURING OUR DISCUSSIONS BECAUSE THIS WOULD NOT HAVE BEEN

01:36:03    2       STACKABLE IN THE SAME WAY THAT I HAD TALKED ABOUT EARLIER.

01:36:07    3       Q.    OKAY.   BUT YOUR UNDERSTANDING WAS IT WAS A DEVICE,

01:36:10    4       SOMETHING THE SIZE OF A BAGEL TOASTER, THAT COULD RUN A LARGE

01:36:16    5       VOLUME OF TESTS?

01:36:17    6       A.    YES.    I SAW PICTURES OF OTHER GENERATIONS OF THIS, AND SO

01:36:22    7       I'VE SEEN IT EVOLVE.

01:36:23    8       Q.    OKAY.   AND TO THE RIGHT THERE'S SOMETHING CALLED

01:36:26    9       CARTRIDGE.

01:36:27   10             WHAT WAS YOUR UNDERSTANDING OF THE CARTRIDGE?

01:36:29   11       A.    THE CARTRIDGE LOOKED TO ME LIKE IT WAS MADE OUT OF SOME

01:36:34   12       PLASTIC MATERIAL, AND THE EXTRACTED BLOOD SAMPLE WOULD GO

01:36:39   13       SOMEWHERE INTO THAT CARTRIDGE AND THE CARTRIDGE WOULD GO INTO

01:36:42   14       THE MACHINE.

01:36:43   15       Q.    WE'LL COME BACK TO THE CARTRIDGE IN A MINUTE.

01:36:48   16             BUT LET'S LOOK AT PAGE 5, IF WE COULD.

01:36:59   17             UP AT THE TOP, DO YOU SEE WHERE IT SAYS TECHNOLOGY

01:37:01   18      PARTNER - THERANOS?

01:37:04   19       A.    I DO.

01:37:05   20       Q.    OKAY.   I WANT TO DRAW YOUR ATTENTION TO THE SECOND BULLET

01:37:09   21       WHERE IT SAYS, "CURRENTLY CASH FLOW NEUTRAL WITH A CLIENT BASE

01:37:13   22       OF PHARMACEUTICAL COMPANIES."

01:37:15   23             IS THAT SOMETHING MS. HOLMES TOLD YOU?

01:37:18   24       A.    YES, IT IS.

01:37:19   25       Q.    OKAY.   WAS THAT RELEVANT TO YOU?



                                         UNITED STATES COURT REPORTERS
                Case: 22-10312, 04/25/2023,
                Case 5:18-cr-00258-EJD      ID: 12702996,
                                         Document   1271 DktEntry:  36-12, Page
                                                          Filed 01/18/22   Page 181
                                                                                182 of
                                                                                    of 227
                                                                                       228
                    BURD DIRECT BY MR. LEACH                                             2955


01:37:21    1       A.    IT IS, BECAUSE IF THEY'RE CASH NEUTRAL AND WE'RE ABOUT TO

01:37:24    2       CREATE SOMETHING MUCH LARGER, IT SUGGESTS THAT WE CAN EASILY

01:37:28    3       GET THE PROFITABILITY, WHICH WOULD MAKE IT EASIER FOR HER TO

01:37:32    4       SHARE A MARGIN WITH US.

01:37:33    5       Q.    IF THERANOS WERE NOT CASH FLOW NEUTRAL, WOULD THAT HAVE

01:37:38    6       BEEN A DETERRENT TO YOU GOING FORWARD?

01:37:40    7       A.    IT WOULDN'T HAVE NECESSARILY PREVENTED US, BUT IT WOULD

01:37:45    8       HAVE BEEN CONSIDERED BECAUSE THEN THE ISSUE IS, WELL, HOW CLOSE

01:37:49    9       ARE YOU?    HOW MUCH MORE CAPITAL DO YOU NEED?        WHEN IS THIS

01:37:52   10       GOING TO GET DONE?

01:37:53   11             BUT THE FACT THAT THEY WERE CASH FLOW NEUTRAL SUGGESTED

01:37:56   12      THAT THEY HAD A REVENUE STREAM.

01:37:57   13       Q.    OKAY.   AND THEY WERE READY TO SCALE UP RIGHT NOW?         IS THAT

01:38:00   14       FAIR?

01:38:01   15       A.    THEY WERE READY TO GO.

01:38:02   16                   MR. LEACH:   OKAY.   YOUR HONOR, THIS IS -- WOULD THIS

01:38:06   17       BE A CONVENIENT TIME FOR A BREAK?

01:38:08   18                   THE COURT:   I THINK IT WOULD.     THANK YOU.

01:38:10   19             WE'RE GOING TO TAKE A BREAK JUST NOW, LADIES AND

01:38:12   20      GENTLEMEN.     LET'S TAKE ABOUT 15 MINUTES, PLEASE, 15 MINUTES.

01:38:16   21             YOU CAN STAND DOWN, SIR, AND WE'LL CONTINUE IN 15 MINUTES.

01:38:32   22             (RECESS FROM 1:38 P.M. UNTIL 1:59 P.M.)

01:59:46   23             (JURY IN AT 1:59 P.M.)

01:59:48   24                   THE COURT:   ALL RIGHT.    WE'RE BACK ON THE RECORD.

01:59:53   25       OUR JURY IS PRESENT.      ALL COUNSEL AND MS. HOLMES ARE PRESENT.



                                         UNITED STATES COURT REPORTERS
                Case: 22-10312, 04/25/2023,
                Case 5:18-cr-00258-EJD      ID: 12702996,
                                         Document   1271 DktEntry:  36-12, Page
                                                          Filed 01/18/22   Page 182
                                                                                183 of
                                                                                    of 227
                                                                                       228
                    BURD DIRECT BY MR. LEACH                                             2956


01:59:57    1             AND YOU CAN CONTINUE YOUR EXAMINATION.

01:59:58    2                    MR. LEACH:   THANK YOU, YOUR HONOR.

01:59:59    3       Q.    MR. BURD, WE WERE, BEFORE THE BREAK, ON EXHIBIT 336, AND

02:00:07    4       I'D LIKE TO NOW DRAW YOUR ATTENTION, PLEASE, TO PAGE 16.

02:00:11    5             THIS IS YOUR POWERPOINT PRESENTATION TO THE SAFEWAY BOARD

02:00:14    6      ABOUT THE THERANOS OPPORTUNITY.

02:00:17    7       A.    OKAY.    YOU SAY 16.   I'M NOT SURE WHERE I WOULD FIND THAT.

02:00:31    8       SO I'M JUST PAGING THROUGH TO MATCH WHAT YOU HAVE ON THE

02:00:35    9       SCREEN.

02:00:35   10       Q.    DOWN AT THE BOTTOM OF THE DOCUMENT --

02:00:37   11       A.    OH, OKAY, IN THE FAR RIGHT.       I WAS LOOKING FOR 1-6 AND I

02:00:43   12       WASN'T LOOKING FOR 0-0-1-6.

02:00:44   13       Q.    OKAY.    WE DO IT TO MAXIMIZE CONFUSION.

02:00:47   14       A.    OKAY.

02:00:47   15       Q.    ARE YOU NOW ON PAGE 16, AND YOU SEE IT ON THE SCREEN?

02:00:50   16       A.    YES, I AM.

02:00:51   17       Q.    OKAY.    AND THIS IS A SLIDE TITLED ROLLOUT STRATEGY?

02:00:54   18       A.    YES.

02:00:54   19       Q.    OKAY.    AND THIS WAS WHAT YOU WERE ENVISIONING AT THE TIME

02:00:59   20       FOR A POTENTIAL ROLLOUT OF THE THERANOS DEVICE WITHIN SAFEWAY

02:01:03   21       STORES?

02:01:04   22       A.    CORRECT.

02:01:05   23       Q.    OKAY.    THE FOURTH BULLET, "BUILD A NETWORK OF MINI-LABS

02:01:21   24       AND PREPARE FOR LAUNCH," WHAT DID THAT REFER TO?

02:01:26   25       A.    THAT REFERRED TO GETTING OUR SUPERMARKETS TO ULTIMATELY



                                         UNITED STATES COURT REPORTERS
                Case: 22-10312, 04/25/2023,
                Case 5:18-cr-00258-EJD      ID: 12702996,
                                         Document   1271 DktEntry:  36-12, Page
                                                          Filed 01/18/22   Page 183
                                                                                184 of
                                                                                    of 227
                                                                                       228
                    BURD DIRECT BY MR. LEACH                                             2957


02:01:29    1       PARTICIPATE IN PUTTING MINI LABS IN THEIR STORES, AND BECAUSE

02:01:33    2       WE HAD BUILT A NETWORK FOR THIS OTHER COMPANY CALLED BLACK HAWK

02:01:37    3       NETWORK, WE THOUGHT WE COULD DO IT HERE.

02:01:41    4       Q.    LET'S LOOK AT THE NEXT PAGE, PAGE 17.

02:01:46    5             DO YOU SEE WHERE IT SAYS, ANTICIPATED PROGRAM ROLLOUT?

02:01:49    6       A.    I DO.

02:01:50    7       Q.    AND IS THIS YOUR DESCRIPTION OF THE TIMELINE YOU AND

02:01:56    8       MS. HOLMES HAD BEEN DISCUSSING ABOUT A POTENTIAL ROLLOUT OF THE

02:02:00    9       THERANOS MINI LAB?

02:02:02   10       A.    YES, AT THAT TIME, AND THIS WAS IN MAY OF 2010, THAT WAS

02:02:10   11       THE SCHEDULE.

02:02:12   12       Q.    OKAY.   AND DID THAT CHANGE AT SOME POINT?

02:02:18   13       A.    IT CONTINUOUSLY CHANGED.

02:02:21   14       Q.    OKAY.   TO THE LEFT, THERE'S A COLUMN ACTIVITY/WORK STEPS,

02:02:24   15       AND THERE'S ROW, CLOSE DEAL.

02:02:27   16             DO YOU SEE THAT?

02:02:28   17       A.    I DO.

02:02:29   18       Q.    OKAY.   AND THAT WAS ANTICIPATED FOR THE SECOND QUARTER OF

02:02:32   19       2010?

02:02:32   20       A.    YES, AND THAT'S THE -- CLOSE DEAL MEANT THE CONTRACT WHICH

02:02:36   21       WAS DONE IN SEPTEMBER.

02:02:37   22       Q.    OKAY.   CAN YOU EXPLAIN FOR US WHAT IS MEANT BY THE OTHER

02:02:39   23       ROWS, REIMBURSEMENT NEGOTIATIONS, UNDER-THE-RADAR TEST,

02:02:44   24       NORTHERN CALIFORNIA PILOT, AND SO FORTH?

02:02:46   25       A.    SURE.   REIMBURSEMENT NEGOTIATIONS MEANT THAT THERANOS



                                         UNITED STATES COURT REPORTERS
                Case: 22-10312, 04/25/2023,
                Case 5:18-cr-00258-EJD      ID: 12702996,
                                         Document   1271 DktEntry:  36-12, Page
                                                          Filed 01/18/22   Page 184
                                                                                185 of
                                                                                    of 227
                                                                                       228
                    BURD DIRECT BY MR. LEACH                                             2958


02:02:50    1       NEEDED TO HAVE DISCUSSIONS WITH ALL THE KEY INSURANCE COMPANIES

02:02:57    2       TO MAKE SURE THAT THEY WOULD ACCEPT THEM AS A LAB AND THEY

02:03:01    3       WOULD AGREE TO A CERTAIN LEVEL OF PAY.         SO THAT WAS NOT -- THAT

02:03:05    4       WAS NOT SAFEWAY'S BURDEN, THAT WAS THE BURDEN OF THERANOS.

02:03:10    5             UNDER-THE-RADAR TEST, YOU KNOW, THERANOS WAS ALWAYS

02:03:16    6      CONCERNED ABOUT SECRECY, AND SO RATHER THAN DO THIS IN THE

02:03:22    7      BAY AREA -- WHICH I WOULD HAVE ENJOYED, BUT I UNDERSTOOD THE

02:03:29    8      SECRECY ASPECTS -- WE WOULD DO IT IN A REMOTE LOCATION WHERE

02:03:33    9      THERE WAS NOT EITHER A LABCORP OR QUEST, AND THOSE ARE THE TWO

02:03:36   10      LARGEST LABS IN THE NATION.       THEY EACH HAVE ABOUT 8,000 LABS.

02:03:42   11       Q.    AND THEN THE NORTHERN CALIFORNIA PILOT, WHAT DID THAT

02:03:45   12       MEAN?

02:03:46   13       A.    AT SOME POINT, ONCE WE CONFIRMED THAT EVERYTHING WAS

02:03:51   14       WORKING, THAT, YOU KNOW, OUR COSTS AND MARGINS WERE, YOU KNOW,

02:03:57   15       NEAR WHAT WE EXPECTED, WE WOULD CONSIDER A NORTHERN CALIFORNIA

02:04:01   16       PILOT.

02:04:03   17             NORTHERN -- SAFEWAY WAS ORGANIZED BY DIVISIONS, AND SO

02:04:07   18       NORTHERN CALIFORNIA, WHICH YOU CAN CONSIDER FROM ABOUT FRESNO

02:04:11   19       NORTH, THAT WAS NORTHERN CALIFORNIA.        SO SOMEWHERE IN THAT

02:04:15   20       GEOGRAPHY WE WOULD, WE WOULD DO A PILOT.

02:04:18   21       Q.    OKAY.   AND YOU WERE TELLING THE SAFEWAY BOARD, BASED ON

02:04:22   22       YOUR CONVERSATIONS WITH MS. HOLMES, THAT THIS WAS CONTEMPLATED

02:04:26   23       FOR THE FIRST QUARTER OF 2011?

02:04:29   24       A.    THAT'S -- THAT'S CORRECT.

02:04:30   25       Q.    OKAY.   THE NEXT ROW IS SWY CHAIN ROLLOUT.        IS SWY AN



                                         UNITED STATES COURT REPORTERS
                Case: 22-10312, 04/25/2023,
                Case 5:18-cr-00258-EJD      ID: 12702996,
                                         Document   1271 DktEntry:  36-12, Page
                                                          Filed 01/18/22   Page 185
                                                                                186 of
                                                                                    of 227
                                                                                       228
                    BURD DIRECT BY MR. LEACH                                             2959


02:04:36    1       ACRONYM FOR SAFEWAY?

02:04:37    2       A.    YES, IT IS.

02:04:38    3       Q.    AND THAT'S A ROLLOUT WITHIN SAFEWAY STORES AS OPPOSED TO

02:04:43    4       THE BLACK HAWK NETWORK THAT YOU'VE DESCRIBED?

02:04:46    5       A.    IT -- YES.    IT WAS SAFEWAY ONLY.

02:04:51    6             BLACK HAWK WAS JUST A VEHICLE WE'D USED ONCE BEFORE.           THIS

02:04:55    7       WOULDN'T BE BLACK HAWK.

02:04:57    8             THIS WOULD BE A NETWORK THAT WE CREATED, BUT WE WOULD

02:05:00    9       BEGIN IN SOME OF THOSE MARKETS AT THE SAME TIME WE ROLLED OUT,

02:05:03   10       BUT IT WOULD TAKE US LONGER TO COMPLETE.

02:05:05   11       Q.    SO THIS IS IN MAY OF 2010, MR. BURD.

02:05:11   12             I'D LIKE TO MOVE FORWARD IN TIME TO JULY OF 2010 AND DRAW

02:05:15   13       YOUR ATTENTION TO WHAT HAS BEEN MARKED AS EXHIBIT 370.

02:05:25   14             AND I OFFER 370 INTO EVIDENCE.

02:05:27   15                  MR. DOWNEY:     NO OBJECTION.

02:05:28   16                  THE COURT:    IT'S ADMITTED.     IT MAY BE PUBLISHED.

02:05:30   17             (GOVERNMENT'S EXHIBIT 370 WAS ADMITTED IN EVIDENCE.)

02:05:31   18                  MR. LEACH:    AND, MS. HOLLIMAN, IF WE COULD PLEASE

02:05:33   19       ENLARGE THE SUBSTANCE OF THE EMAIL IN THE FIRST HALF, WITH THE

02:05:37   20       HEADER.    IF WE COULD CAPTURE THE NAME AT THE TOP, TOO, PLEASE,

02:05:41   21       THAT WOULD BE GREAT.      THANK YOU.

02:05:46   22       Q.    MR. BURD, DOES THIS APPEAR TO BE AN EMAIL FROM MS. HOLMES

02:05:54   23       TO YOU AND SOMEONE NAMED ROBERT EDWARDS WITH A COPY TO

02:05:59   24       SUNNY BALWANI?

02:05:59   25       A.    THAT'S CORRECT.



                                         UNITED STATES COURT REPORTERS
                Case: 22-10312, 04/25/2023,
                Case 5:18-cr-00258-EJD      ID: 12702996,
                                         Document   1271 DktEntry:  36-12, Page
                                                          Filed 01/18/22   Page 186
                                                                                187 of
                                                                                    of 227
                                                                                       228
                    BURD DIRECT BY MR. LEACH                                             2960


02:06:00    1       Q.    OKAY.   WHO IS ROBERT EDWARDS?

02:06:01    2       A.    ROBERT EDWARDS AT THE TIME WAS THE CHIEF FINANCIAL OFFICER

02:06:04    3       OF SAFEWAY.

02:06:05    4       Q.    AND UP IN THE LEFT, THERE'S THE NAME BOB GORDON.

02:06:10    5             DO YOU SEE THAT?

02:06:12    6       A.    I DO.

02:06:13    7       Q.    WHO IS BOB GORDON?

02:06:15    8       A.    BOB GORDON WAS THE GENERAL COUNSEL OF SAFEWAY AT THAT

02:06:18    9       TIME.

02:06:18   10       Q.    OKAY.   AND THE SUBJECT OF THIS IS THERANOS FINANCIAL

02:06:23   11       PROJECTIONS.

02:06:24   12             DO YOU SEE THAT?

02:06:25   13       A.    I DO.

02:06:25   14       Q.    AND DO YOU SEE THERE'S AN ATTACHMENT, THERANOS PRO FORMA

02:06:29   15       STATEMENTS.XLS?

02:06:31   16       A.    YES.

02:06:32   17       Q.    AND DO YOU SEE WHERE MS. HOLMES WROTE, "DEAR STEVE,

02:06:36   18       ROBERT, AS PROMISED, PLEASE FIND HIGH LEVEL PROJECTIONS

02:06:39   19       ATTACHED TO THIS EMAIL."

02:06:42   20             WHAT'S YOUR UNDERSTANDING OF WHY MS. HOLMES WAS SENDING

02:06:45   21      THIS TO YOU?

02:06:46   22       A.    WE HAD ASKED FOR IT.

02:06:47   23       Q.    OKAY.   WHY DID YOU ASK FOR THIS?

02:06:48   24       A.    WE WANTED TO UNDERSTAND HOW THEY WERE PROJECTING THE

02:06:53   25       FUTURE AND HOW FAST THE BUSINESS MIGHT RAMP UP, AND THIS MIGHT



                                         UNITED STATES COURT REPORTERS
                Case: 22-10312, 04/25/2023,
                Case 5:18-cr-00258-EJD      ID: 12702996,
                                         Document   1271 DktEntry:  36-12, Page
                                                          Filed 01/18/22   Page 187
                                                                                188 of
                                                                                    of 227
                                                                                       228
                    BURD DIRECT BY MR. LEACH                                             2961


02:06:59    1       BE HELPFUL.     HIGH LEVEL MEANS NOT A FULL INCOME STATEMENT LINE

02:07:02    2       BY LINE, VERY HIGH LEVEL.

02:07:04    3       Q.    WAS THIS RELEVANT INFORMATION FOR YOU ASSESSING TO ENTER

02:07:13    4       INTO THE POSSIBLE OPPORTUNITY WITH THERANOS?

02:07:14    5       A.    YES, IT WAS.

02:07:16    6       Q.    HOW SO?

02:07:17    7       A.    WELL, THE REVENUE PROJECTIONS, YOU KNOW, WERE VERY STRONG,

02:07:24    8       AND THE OPERATING EXPENSES, YOU KNOW, WERE OBVIOUSLY LESS,

02:07:30    9       SAYING THAT WE'D BE PROFITABLE, THERANOS WOULD BE PROFITABLE.

02:07:33   10             AND, YOU KNOW, WHEN YOU HAVE A PARTNER IN BUSINESS AND YOU

02:07:37   11       NEGOTIATE AS BEST YOU CAN FOR YOUR MARGIN, YOU HAVE TO MAKE

02:07:40   12       SURE YOU'VE LEFT ENOUGH MARGIN FOR THEM THAT THEY ALSO MAKE

02:07:44   13       MONEY.    OTHERWISE YOU DON'T HAVE A PARTNERSHIP.

02:07:47   14       Q.    YOU'VE USED THAT TERM "MARGIN" A COUPLE TIMES, MR. BURD.

02:07:50   15       A.    YES.

02:07:51   16       Q.    CAN YOU JUST EXPLAIN TO US WHAT MARGIN IS?

02:07:53   17       A.    SURE.    SO MARGIN, IT'S USED IN LOTS OF DIFFERENT WAYS.

02:07:56   18             IN THIS PARTICULAR CASE, I'M TALKING ABOUT YOU GET, YOU

02:07:59   19       GET $10 IN REVENUE AND YOU'VE GOT $7 IN COST, YOUR MARGIN WOULD

02:08:03   20       BE $3.

02:08:05   21             AND OUT OF THAT MARGIN YOU HAVE TO PAY -- YOU KNOW, THAT'S

02:08:09   22      PER TEST.      YOU HAVE TO PAY SALARIES AND RENT ON THE STORES AND

02:08:12   23      A BUNCH OF OTHER THINGS.

02:08:14   24       Q.    SO LOW MARGIN MEANS YOU'RE MAKING A SMALL AMOUNT ON ANY

02:08:17   25       GIVEN SALE, AND A HIGH MARGIN MEANS YOU'RE MAKING A LARGE



                                         UNITED STATES COURT REPORTERS
                Case: 22-10312, 04/25/2023,
                Case 5:18-cr-00258-EJD      ID: 12702996,
                                         Document   1271 DktEntry:  36-12, Page
                                                          Filed 01/18/22   Page 188
                                                                                189 of
                                                                                    of 227
                                                                                       228
                    BURD DIRECT BY MR. LEACH                                             2962


02:08:20    1       AMOUNT ON ANY GIVEN SALE?

02:08:22    2       A.    THAT'S CORRECT.

02:08:23    3       Q.    OKAY.   LET'S LOOK AT THE PROJECTIONS THAT ARE ATTACHED.

02:08:26    4             IF WE COULD PLEASE GO TO PAGE 2, AND IF IT'S POSSIBLE TO

02:08:29    5      HIGHLIGHT THE SUBSTANCE, ALL THE WAY DOWN.         GREAT.

02:08:40    6             DO YOU SEE WHERE IT SAYS PRO FORMA STATEMENT OF INCOME,

02:08:43    7      MR. BURD?

02:08:44    8       A.    YES, I DO.

02:08:45    9       Q.    AND TO THE RIGHT, THERE'S DIFFERENT YEARS, 2010, 2011,

02:08:49   10       2012, AND 2013?

02:08:51   11       A.    YES.

02:08:52   12       Q.    OKAY.   WHY WERE YOU INTERESTED IN A PRO FORMA STATEMENT OF

02:08:56   13       INCOME FROM THERANOS?

02:08:58   14       A.    WELL, IF THEY WEREN'T GOING TO BE PROFITABLE, THEN THIS

02:09:02   15       PARTNERSHIP WASN'T GOING TO LAST LONG.         SO WE WANTED TO SEE HOW

02:09:07   16       THEY WERE GOING TO PROJECT THEIR OWN RESULTS HERE.

02:09:11   17       Q.    OKAY.   IN THE COLUMN 2011, THERE'S A ROW FOR U.S. REVENUE,

02:09:18   18       REVENUE FROM SAFEWAY NETWORK.

02:09:21   19             DID YOU UNDERSTAND THAT TO BE THE REVENUE THERANOS

02:09:24   20      ANTICIPATED EARNING FROM A RELATIONSHIP WITH SAFEWAY?

02:09:31   21             LET ME ASK A BETTER QUESTION.

02:09:33   22       A.    YEAH.

02:09:34   23       Q.    WHAT DID YOU UNDERSTAND THAT TO MEAN?

02:09:36   24       A.    YOU KNOW, LOOKING AT THIS THING 11 YEARS LATER, IT'S NOT

02:09:42   25       CLEAR TO ME -- IT'S LABELED REVENUE FROM SAFEWAY NETWORK.            THAT



                                         UNITED STATES COURT REPORTERS
                Case: 22-10312, 04/25/2023,
                Case 5:18-cr-00258-EJD      ID: 12702996,
                                         Document   1271 DktEntry:  36-12, Page
                                                          Filed 01/18/22   Page 189
                                                                                190 of
                                                                                    of 227
                                                                                       228
                    BURD DIRECT BY MR. LEACH                                             2963


02:09:47    1       WOULD SUGGEST IT'S THE NETWORK REVENUE ONLY.

02:09:50    2       Q.    OKAY.

02:09:50    3       A.    RIGHT?   AND THEN THE ALL OTHER REVENUE, IT'S ANYBODY'S

02:09:56    4       GUESS.    IS THAT OTHER CLIENTS PLUS SAFEWAY?        OR IS THAT JUST

02:10:00    5       SAFEWAY?     I CAN'T TELL YOU.

02:10:02    6       Q.    OKAY.    I DRAW YOUR ATTENTION TO -- WHAT WAS THE TOTAL U.S.

02:10:06    7       REVENUE THAT WAS PROJECTED BY THERANOS FOR 2011?

02:10:10    8       A.    223 MILLION.

02:10:14    9       Q.    OKAY.    AND THEN BENEATH THAT, THERE'S OPERATING EXPENSES

02:10:18   10       AND COST OF REVENUE AND THERE'S 167 MILLION IN PARENTHESES.

02:10:23   11             WHAT DID YOU UNDERSTAND THAT TO BE?

02:10:26   12       A.    THAT WOULD BE -- YOU KNOW, ALL OF THE -- I'M NOT SURE WHY

02:10:30   13       THEY SAY COST OF REVENUE, BUT IT WOULD BE ALL THE OPERATING

02:10:33   14       EXPENSES OF THE BUSINESS.

02:10:34   15       Q.    OKAY.    AND WAS IT ATTRACTIVE TO YOU THAT THERANOS WAS

02:10:39   16       PROJECTING 223 MILLION IN REVENUE WITH OPERATING EXPENSES OF

02:10:44   17       167 MILLION?

02:10:44   18       A.    YES.

02:10:45   19       Q.    OKAY.    HOW SO?

02:10:46   20       A.    WELL, IT SAYS THEY'RE PROFITABLE.        IF YOU LOOK DOWN ONE

02:10:50   21       LINE FURTHER, IT'S CALLED EBITDA, IT'S IN THE SECOND BOX, THEY

02:10:56   22       HAVE CASH FLOW POSITIVE, AFTER PAYING ALL EXPENSES, OF

02:10:59   23       $56 MILLION.     THAT'S A GOOD RESULT.

02:11:03   24       Q.    AND WAS THIS CONSISTENT WITH STATEMENTS MS. HOLMES HAD

02:11:06   25       MADE TO YOU ABOUT THERANOS BEING CASH FLOW NEUTRAL?



                                         UNITED STATES COURT REPORTERS
                Case: 22-10312, 04/25/2023,
                Case 5:18-cr-00258-EJD      ID: 12702996,
                                         Document   1271 DktEntry:  36-12, Page
                                                          Filed 01/18/22   Page 190
                                                                                191 of
                                                                                    of 227
                                                                                       228
                    BURD DIRECT BY MR. LEACH                                             2964


02:11:09    1       A.    WELL, YOU KNOW, THIS WAS 2010, SO THERE'S REALLY NOTHING

02:11:13    2       ON THE INCOME SIDE OF THIS STATEMENT THAT SAYS ANYTHING ABOUT

02:11:18    3       2010.    SO WE DIDN'T GET ANY CONFIRMATION THAT THEY WERE CASH

02:11:22    4       FLOW NEUTRAL IN 2010.

02:11:25    5       Q.    OTHER THAN WHAT MS. HOLMES HAD TOLD YOU PREVIOUSLY?

02:11:28    6       A.    CORRECT.

02:11:29    7       Q.    THIS WASN'T GIVING YOU CONFIRMATION OF THAT?

02:11:31    8       A.    IT DIDN'T GIVE US ANY NUMBERS.

02:11:34    9       Q.    OKAY.   HOW ABOUT THE FUTURE PERIODS, THE REVENUE OF

02:11:38   10       464 MILLION IN 2012 AND 934 MILLION IN 2013?          WAS THAT

02:11:45   11       ATTRACTIVE TO YOU?

02:11:46   12       A.    YES.

02:11:46   13       Q.    OKAY.   HOW SO?

02:11:48   14       A.    WELL, IT SAYS THE BUSINESS IS CONTINUING TO BUILD AND CASH

02:11:53   15       FLOW AND INCOME WOULD CONTINUE TO RISE, AND SO WE'RE NOT JUST

02:11:58   16       THREE YEARS AND IT'S OVER.       YOU KNOW, THERE'S SOME

02:12:02   17       SUSTAINABILITY HERE.

02:12:03   18       Q.    OKAY.   LET ME DRAW YOUR ATTENTION, PLEASE, TO EXHIBIT 378.

02:12:20   19             DO YOU HAVE THAT IN FRONT OF YOU, SIR?

02:12:23   20       A.    I BELIEVE I DO.     AUGUST 24TH?

02:12:25   21       Q.    YES.

02:12:26   22       A.    YES.

02:12:26   23       Q.    DO YOU SEE SOME HANDWRITING IN THE, I GUESS IT'S THE UPPER

02:12:32   24       LEFT CORNER IF IT'S ONE WAY, THE UPPER RIGHT CORNER IF

02:12:36   25       YOU'RE --



                                         UNITED STATES COURT REPORTERS
                Case: 22-10312, 04/25/2023,
                Case 5:18-cr-00258-EJD      ID: 12702996,
                                         Document   1271 DktEntry:  36-12, Page
                                                          Filed 01/18/22   Page 191
                                                                                192 of
                                                                                    of 227
                                                                                       228
                    BURD DIRECT BY MR. LEACH                                             2965


02:12:37    1       A.    YES.

02:12:37    2       Q.    OKAY.    AND DO YOU SEE THE FOOTER, BOARD MEETING UNDERSCORE

02:12:42    3       AUGUST 24TH, 2010?

02:12:43    4       A.    I DO.

02:12:44    5       Q.    OKAY.    IS THIS ANOTHER POWERPOINT RELATING TO THERANOS

02:12:49    6       THAT YOU PRESENTED TO THE SAFEWAY BOARD?

02:12:50    7       A.    YES, IT IS.

02:12:55    8                    MR. LEACH:    OKAY.   YOUR HONOR, I OFFER EXHIBIT 378

02:12:57    9       INTO EVIDENCE.

02:12:58   10                    MR. DOWNEY:   NO OBJECTION.

02:12:59   11                    THE COURT:    IT'S ADMITTED.   IT MAY BE PUBLISHED.

02:13:01   12             (GOVERNMENT'S EXHIBIT 378 WAS ADMITTED IN EVIDENCE.)

02:13:02   13                    MR. LEACH:    AND MS. HOLLIMAN, IF WE COULD PLEASE GO

02:13:08   14       TO PAGE 2.

02:13:11   15       Q.    DO YOU SEE WHERE IT SAYS, THERANOS MINI BLOOD LAB DEAL,

02:13:16   16       MR. BURD?

02:13:17   17       A.    I DO.

02:13:17   18       Q.    OKAY.    AND IS THAT A REFERENCE TO THE MINI LAB DEVICE THAT

02:13:21   19       YOU UNDERSTOOD THERANOS WANTED TO PUT IN SAFEWAY STORES?

02:13:25   20       A.    YES, IT IS.

02:13:26   21       Q.    OKAY.    AND THERE ARE FOUR BULLETS, THE NETWORK; FEE

02:13:31   22       STRUCTURE; SAFEWAY'S FINANCIAL COMMITMENT; AND FINANCIALS.

02:13:35   23             DO YOU SEE THAT?

02:13:38   24       A.    YES.

02:13:39   25       Q.    I WANT TO DRAW YOUR ATTENTION, PLEASE, TO THE SLIDE FOR



                                         UNITED STATES COURT REPORTERS
                Case: 22-10312, 04/25/2023,
                Case 5:18-cr-00258-EJD      ID: 12702996,
                                         Document   1271 DktEntry:  36-12, Page
                                                          Filed 01/18/22   Page 192
                                                                                193 of
                                                                                    of 227
                                                                                       228
                    BURD DIRECT BY MR. LEACH                                             2966


02:13:41    1       THE THERANOS FEE STRUCTURE.       IT'S ON PAGE 4.

02:13:54    2             DO YOU SEE THE FIRST BULLET, "WALGREENS AND SAFEWAY WILL

02:13:58    3      BE GUARANTEED TO HAVE THE LOWEST COST OF GOODS"?

02:14:04    4       A.    YES.

02:14:05    5       Q.    WHAT DID THAT MEAN?

02:14:06    6       A.    WE HAD BEEN TOLD THAT WALGREENS WAS ALSO GOING TO CARRY

02:14:09    7       THIS MINI LAB, AND IT WAS IMPORTANT TO US THAT THEY NOT GET OUT

02:14:13    8       AHEAD OF US.

02:14:15    9             AND SO THIS SAID THAT, ON THE COST SIDE OF THE EQUATION,

02:14:20   10       THEY WOULDN'T HAVE A COST ADVANTAGE.        WE'D HAVE -- YOU KNOW,

02:14:24   11       BOTH COMPANIES WOULD HAVE THE LOWEST COST, WHICH GAVE THEM THE

02:14:27   12       FREEDOM TO CHARGE NEW RETAILERS A HIGHER PRICE IF THEY CHOSE TO

02:14:32   13       DO SO.

02:14:34   14       Q.    OKAY.   AND THEN THE NEXT BULLET SAYS, "SAFEWAY WILL BE

02:14:39   15       GUARANTEED AN AVERAGE $10 GROSS MARGIN PER TEST."

02:14:47   16             WHAT DID THAT REFER TO?

02:14:48   17       A.    WHENEVER YOU DRAW BLOOD, HOWEVER YOU DRAW IT, IT CAN BE --

02:14:54   18       YOU CAN OFTEN GET SEVERAL DIFFERENT BLOOD TESTS FROM A SINGLE

02:14:58   19       VIAL OR A SINGLE SAMPLE.

02:15:00   20             AND SO IF YOU HAD A CHOLESTEROL TEST, THAT'S ONE TEST.             IF

02:15:05   21      YOU HAD A PSA TEST, THAT'S A SECOND TEST.         IF YOU HAD AN HBA1C,

02:15:11   22      ET CETERA.

02:15:13   23       Q.    OKAY.   LET ME DRAW YOUR ATTENTION TO THE NEXT PAGE,

02:15:18   24       PAGE 5, AND FOCUS ON SAFEWAY'S FINANCIAL COMMITMENT.

02:15:27   25             AT A HIGH LEVEL, MR. BURD, CAN YOU DESCRIBE FOR US WHAT'S



                                         UNITED STATES COURT REPORTERS
                Case: 22-10312, 04/25/2023,
                Case 5:18-cr-00258-EJD      ID: 12702996,
                                         Document   1271 DktEntry:  36-12, Page
                                                          Filed 01/18/22   Page 193
                                                                                194 of
                                                                                    of 227
                                                                                       228
                    BURD DIRECT BY MR. LEACH                                             2967


02:15:32    1      DEPICTED HERE?

02:15:33    2       A.    WELL, WE INDICATED A POSSIBLE INVESTMENT IN THERANOS THAT

02:15:41    3       WOULD BE $55 MILLION.      THAT WOULD COME IN TWO EVENTS.       ONE IS A

02:15:49    4       PRE-PURCHASE OF INVENTORY WHEN CERTAIN MILESTONES WERE HIT, AND

02:15:56    5       THE 25 WOULD COME LATER.

02:15:57    6             AND THEN WE -- EARLY ON, WE ANTICIPATED SPENDING

02:16:01    7      $30 MILLION OF MONEY REMODELING OUR STORES.         THAT NUMBER TURNED

02:16:05    8      OUT TO BE VERY LOW BECAUSE WE PUT A BATHROOM IN EACH FACILITY,

02:16:09    9      WHICH MEANT WE DUG UP THE STORE AND THE CONCRETE.

02:16:12   10       Q.    OKAY.   SO I THINK YOU'RE REFERRING TO THE, AT FIRST, THE

02:16:17   11       FIRST BULLET, 55 MILLION CASH INVESTMENT.

02:16:21   12             DO YOU SEE THAT LANGUAGE?

02:16:22   13       A.    YES.

02:16:22   14       Q.    AND THEN IT SAYS, "25 MILLION IN NOTES CONVERTIBLE TO

02:16:25   15       EQUITY."

02:16:26   16             DO YOU SEE THAT?

02:16:27   17       A.    YES.

02:16:28   18       Q.    WHAT ARE NOTES CONVERTIBLE TO EQUITY?

02:16:31   19       A.    NOTES ARE BASICALLY A LOAN, YOU KNOW, LIKE A MORTGAGE OR

02:16:34   20       SOMETHING.    BUT YOU COULD CONVERT THAT INTO EQUITY AT SOME

02:16:38   21       POINT IN THE FUTURE IF THAT MADE GOOD SENSE TO YOU.

02:16:41   22       Q.    AND WHY WAS SAFEWAY INTERESTED IN DOING THAT?

02:16:45   23       A.    WELL, IF THE COMPANY WAS GOING TO BE A HIGH FLIER, YOU

02:16:50   24       KNOW, WE WOULDN'T WANT TO JUST HOLD DEBT.         WE WOULD WANT SOME

02:16:54   25       EQUITY IN THE COMPANY.



                                         UNITED STATES COURT REPORTERS
                Case: 22-10312, 04/25/2023,
                Case 5:18-cr-00258-EJD      ID: 12702996,
                                         Document   1271 DktEntry:  36-12, Page
                                                          Filed 01/18/22   Page 194
                                                                                195 of
                                                                                    of 227
                                                                                       228
                    BURD DIRECT BY MR. LEACH                                             2968


02:16:55    1       Q.    AND THEN THERE'S A "30 MILLION FOR PRE-PURCHASE OF

02:17:00    2       INVENTORY."

02:17:02    3             WHAT IS INVENTORY IN THIS CONTEXT?

02:17:05    4       A.    IN THIS CONTEXT, IT WAS THE CARTRIDGES.

02:17:09    5             SO AT THIS POINT, I'M NOT SURE WE HAD AN AGREEMENT ON THE

02:17:12    6       PRICE OF THE CARTRIDGE, BUT WE HAD TO WAREHOUSE THESE

02:17:17    7       CARTRIDGES AND WE HAD TO KEEP THEM IN OUR STORES.

02:17:20    8       Q.    LET'S LOOK AT THE NEXT PAGE, PLEASE, PAGE 6.

02:17:29    9             DO YOU SEE WHERE IT SAYS PILOT TESTS?

02:17:32   10       A.    YES.

02:17:33   11       Q.    AND THE FIRST BULLET, "JANUARY 2011 SCHEDULED FOR INITIAL

02:17:36   12       TEST."

02:17:37   13       A.    CORRECT.

02:17:38   14       Q.    WAS THAT YOUR UNDERSTANDING OF THE TIMING THAT YOU WERE

02:17:40   15       LOOKING FOR FOR THIS DEAL?

02:17:42   16       A.    YES.

02:17:43   17       Q.    OKAY.   "RURAL WASHINGTON STATE MARKET SELECTED DUE TO LACK

02:17:47   18       OF RETAIL LAB COMPETITORS."

02:17:51   19             YOU MENTIONED REMOTE LOCATIONS.       IS THAT RURAL WASHINGTON

02:17:55   20      STATE?

02:17:55   21       A.    THAT'S IT.

02:17:55   22       Q.    OKAY.   THAT'S WHERE YOU WANTED TO DO THE MINI PILOT?

02:17:59   23       A.    YES.

02:17:59   24       Q.    OKAY.   THAT'S WHERE THERANOS WANTED TO DO THE MINI PILOT?

02:18:03   25       A.    YEAH.   I THINK WE CALLED IT THE INITIAL TEST.



                                         UNITED STATES COURT REPORTERS
                Case: 22-10312, 04/25/2023,
                Case 5:18-cr-00258-EJD      ID: 12702996,
                                         Document   1271 DktEntry:  36-12, Page
                                                          Filed 01/18/22   Page 195
                                                                                196 of
                                                                                    of 227
                                                                                       228
                    BURD DIRECT BY MR. LEACH                                             2969


02:18:12    1       Q.    OKAY.   LET'S BRIEFLY LOOK AT PAGE 9, PLEASE.

02:18:22    2             AND IS THIS ANOTHER DESCRIPTION OF THE ANTICIPATED PROGRAM

02:18:26    3      ROLLOUT AS YOU SAW IT IN THIS TIME PERIOD?

02:18:29    4       A.    YES, IT IS.

02:18:31    5       Q.    OKAY.   THIS IS SIMILAR TO THE SLIDE WE SAW IN THE PRIOR

02:18:35    6       BOARD MEETING?

02:18:36    7       A.    SIMILAR.

02:18:36    8       Q.    OKAY.   LET ME PLEASE DRAW YOUR ATTENTION TO WHAT HAS BEEN

02:18:40    9       MARKED AS EXHIBIT 387.

02:18:46   10             AND I OFFER THIS INTO EVIDENCE.

02:18:48   11                   MR. DOWNEY:    YOUR HONOR, I HAVE NO OBJECTION TO THIS.

02:18:50   12             I THINK THIS IS THE SAME AS THE SIGNED VERSION OF THE

02:18:53   13       DOCUMENT.     THIS VERSION IS NOT FULLY SIGNED, SO MAYBE WE CAN

02:18:57   14       SUBSTITUTE THAT AT THE APPROPRIATE TIME.

02:18:59   15                   MR. LEACH:    I THINK IT'S SIGNED IN DIFFERENT PARTS,

02:19:01   16       WHICH I'LL GO THROUGH, YOUR HONOR.

02:19:03   17                   THE COURT:    OKAY.   THIS IS ADMITTED AND IT MAY BE

02:19:05   18       PUBLISHED.

02:19:05   19             (GOVERNMENT'S EXHIBIT 387 WAS ADMITTED IN EVIDENCE.)

02:19:06   20                   MR. LEACH:    AND IF WE COULD PLEASE HIGHLIGHT THE --

02:19:14   21       OR ZOOM IN ON THE SUBSTANCE OF THE DOCUMENT, MS. HOLLIMAN, ALL

02:19:18   22       THE WAY DOWN TO SCHEDULE H.

02:19:22   23                   THE WITNESS:    DID YOU SAY A OR 8?

02:19:25   24       BY MR. LEACH:

02:19:26   25       Q.    I WAS GIVING MS. HOLLIMAN, OUR PARALEGAL, SOME DIRECTIONS



                                         UNITED STATES COURT REPORTERS
                Case: 22-10312, 04/25/2023,
                Case 5:18-cr-00258-EJD      ID: 12702996,
                                         Document   1271 DktEntry:  36-12, Page
                                                          Filed 01/18/22   Page 196
                                                                                197 of
                                                                                    of 227
                                                                                       228
                    BURD DIRECT BY MR. LEACH                                             2970


02:19:30    1       ON WHAT TO HIGHLIGHT ON THE SCREEN.

02:19:31    2       A.    OKAY.

02:19:32    3       Q.    SO I'M GOING TO STAY ON PAGE 1 FOR NOW, AND YOU CAN EITHER

02:19:36    4       LOOK ON THE SCREEN OR AT THE HARD COPY, WHATEVER YOU PREFER,

02:19:39    5       MR. BURD.

02:19:40    6             DO YOU SEE AT THE TOP WHERE IT SAYS THERANOS MASTER

02:19:43    7      PURCHASE AGREEMENT?

02:19:44    8       A.    I DO.

02:19:45    9       Q.    OKAY.    AND IS THIS THE WRITTEN AGREEMENT BETWEEN SAFEWAY

02:19:47   10       AND THERANOS THAT WE'VE BEEN -- THAT YOU WERE CONTEMPLATING UP

02:19:52   11       UNTIL THIS POINT?

02:19:53   12       A.    YES.

02:19:53   13       Q.    OKAY.    AND YOU HAD A HAND IN NEGOTIATING THIS?

02:19:56   14       A.    I DID.

02:19:56   15       Q.    WHO DID YOU NEGOTIATE WITH FROM THERANOS?

02:19:59   16       A.    IT WAS ALMOST EXCLUSIVELY WITH ELIZABETH HOLMES.

02:20:08   17       SUNNY BALWANI WAS INVOLVED IN A COUPLE OF DISCUSSIONS, BUT MOST

02:20:12   18       OF IT WAS WITH ELIZABETH.

02:20:14   19       Q.    OKAY.    WAS THAT UNUSUAL?

02:20:18   20       A.    WHAT WAS UNUSUAL ABOUT IT IS THAT WE NEVER SAW AN

02:20:24   21       ATTORNEY.     AND YOU KNOW IT'S CUSTOMARY, WHEN YOUR GENERAL

02:20:28   22       COUNSEL IS IN THE ROOM, THEIR GENERAL COUNSEL'S ON THE PHONE.

02:20:31   23             SO ELIZABETH APPEARED TO BE NEGOTIATING THIS COMPLETELY ON

02:20:34   24       HER OWN, PROBABLY TALKING TO COUNSEL OFFLINE.          BUT I'VE NEVER

02:20:38   25       SEEN THAT DONE.



                                         UNITED STATES COURT REPORTERS
                Case: 22-10312, 04/25/2023,
                Case 5:18-cr-00258-EJD      ID: 12702996,
                                         Document   1271 DktEntry:  36-12, Page
                                                          Filed 01/18/22   Page 197
                                                                                198 of
                                                                                    of 227
                                                                                       228
                    BURD DIRECT BY MR. LEACH                                             2971


02:20:38    1       Q.    THE DATE OF THIS AT THE TOP IS SEPTEMBER 20TH, 2010.           IS

02:20:44    2       THAT CONSISTENT WITH YOUR MEMORY?

02:20:46    3       A.    YES.

02:20:50    4       Q.    OKAY.   AND THIS AGREEMENT CONSISTS OF DIFFERENT SCHEDULES

02:20:53    5       A THROUGH H.

02:20:54    6             DO YOU SEE THAT IN THE BOTTOM RIGHT?

02:20:55    7       A.    I DO.

02:20:56    8       Q.    OKAY.   AND IF WE LOOK AT PAGE 2, PLEASE.

02:21:09    9             DO YOU SEE MS. HOLMES'S SIGNATURE?

02:21:13   10       A.    I DO.

02:21:14   11       Q.    OKAY.   AND IF WE COULD PLEASE GO TO PAGE 54.

02:21:27   12             IS THAT YOUR SIGNATURE?

02:21:29   13       A.    YES, IT IS.

02:21:30   14       Q.    OKAY.   AND YOU THINK THIS MAY HAVE BEEN -- OR COULD IT

02:21:33   15       HAVE BEEN THIS WAS SIGNED AT DIFFERENT TIMES BY THE DIFFERENT

02:21:36   16       PARTIES?

02:21:37   17       A.    IF IT WAS, IT WAS, YOU KNOW, ONE DAY AND THEN THE NEXT.

02:21:40   18       Q.    OKAY.   LET'S LOOK AT THE SCHEDULE A, PROGRAM OVERVIEW, ON

02:21:45   19       PAGE 3.    AND IF WE COULD ZOOM IN ON THE TOP HALF OF THE

02:21:56   20       DOCUMENT, PLEASE, MS. HOLLIMAN.

02:22:02   21             MR. BURD, DO YOU SEE THE FIRST PARAGRAPH UNDER THE

02:22:04   22      HEADING 1, BACKGROUND?

02:22:07   23       A.    YES.

02:22:08   24       Q.    OKAY.

02:22:09   25       A.    YES.



                                         UNITED STATES COURT REPORTERS
                Case: 22-10312, 04/25/2023,
                Case 5:18-cr-00258-EJD      ID: 12702996,
                                         Document   1271 DktEntry:  36-12, Page
                                                          Filed 01/18/22   Page 198
                                                                                199 of
                                                                                    of 227
                                                                                       228
                    BURD DIRECT BY MR. LEACH                                             2972


02:22:09    1       Q.    AND THIS SAYS, "THERANOS HAS DEVELOPED, AND IS DEVELOPING,

02:22:13    2       GENERATIONS OF 'MINI-LAB' DEVICES THAT CAN RUN ANY BLOOD TEST

02:22:19    3       IN REAL-TIME FOR LESS THAN THE TRADITIONAL COST OF CENTRAL LAB

02:22:23    4       TESTS."

02:22:24    5             IS THAT SOMETHING THAT MS. HOLMES HAD SAID TO YOU

02:22:26    6      PREVIOUSLY?

02:22:27    7       A.    YES, SHE DID.

02:22:28    8       Q.    OKAY.   AND WAS THAT RELEVANT TO YOU IN DECIDING TO ENTER

02:22:32    9       INTO THIS AGREEMENT AND PURCHASE THE NOTES?

02:22:35   10       A.    IT WAS ESSENTIAL.

02:22:36   11       Q.    OKAY.   "THE THERANOS SYSTEMS WILL RUN ROUTINE LABORATORY

02:22:41   12       TESTS AND PROPRIETARY TESTS THAT DETECT THE APPEARANCE OF

02:22:44   13       DISEASES, ENABLING EARLY INTERVENTION AND INITIATION OF

02:22:48   14       TREATMENT LONG BEFORE COMPLICATIONS EMERGE."

02:22:50   15             WAS THAT SOMETHING MS. HOLMES DESCRIBED TO YOU?

02:22:53   16       A.    YES.

02:22:53   17       Q.    OKAY.   AND WAS THAT RELEVANT TO YOU?

02:22:55   18       A.    YES.

02:22:56   19       Q.    WHY WAS THAT?

02:22:58   20       A.    I THINK THIS WAS PART OF THE VISION THAT, YOU KNOW,

02:23:03   21       CONSUMERS WOULD SOME DAY BE ABLE TO DO THIS ON THEIR OWN AND

02:23:08   22       OBVIOUSLY GET IT INTERPRETED BY A PROFESSIONAL.

02:23:11   23             BUT THAT WOULD SAY THAT IT WOULD BE HIGH DEMAND, YOU KNOW,

02:23:15   24      FOR THIS KIND OF SERVICE.

02:23:17   25       Q.    TO THE RIGHT THERE'S AN IMAGE OF WHAT LOOKS LIKE A MOBILE



                                         UNITED STATES COURT REPORTERS
                Case: 22-10312, 04/25/2023,
                Case 5:18-cr-00258-EJD      ID: 12702996,
                                         Document   1271 DktEntry:  36-12, Page
                                                          Filed 01/18/22   Page 199
                                                                                200 of
                                                                                    of 227
                                                                                       228
                    BURD DIRECT BY MR. LEACH                                             2973


02:23:23    1       DEVICE AND THEN ANOTHER DEVICE IN THE MIDDLE AND SOMETHING TO

02:23:28    2       THE RIGHT.

02:23:29    3             DOES THAT APPEAR TO BE THE CARTRIDGE AND THE DEVICE THAT

02:23:32    4      WAS IN SOME OTHER BOARD SLIDES WE'VE LOOKED AT?

02:23:34    5       A.    IT DOES.

02:23:35    6       Q.    OKAY.   AND IS THIS WHAT YOU WERE CONTEMPLATING WOULD BE

02:23:39    7       USED IN SAFEWAY STORES?

02:23:41    8       A.    YOU KNOW, IT OR SOME VERSION OF IT.        YOU KNOW, AS I SAID,

02:23:44    9       IT CONTINUED TO EVOLVE.

02:23:46   10       Q.    OKAY.   IF WE COULD PLEASE ZOOM OUT, MS. HOLLIMAN, AND GO

02:23:50   11       TO THE BOTTOM TWO PARAGRAPHS.

02:23:57   12             MR. BURD, DO YOU SEE WHERE IT SAYS, "THE ABILITY TO RUN

02:24:00   13      BLOOD TESTS FROM A FINGER-STICK IN 30 MINUTES OR LESS AT

02:24:03   14      SAFEWAY'S STORES CREATES A NEW WORKFLOW AND A NEW DIAGNOSTIC

02:24:09   15      PARADIGM FOR HEALTH CARE"?

02:24:10   16             IS THAT CONSISTENT WITH REPRESENTATIONS THAT MS. HOLMES

02:24:14   17      MADE TO YOU?

02:24:14   18       A.    YES.

02:24:15   19       Q.    AND WAS THAT RELEVANT TO YOU?

02:24:16   20       A.    YES.

02:24:17   21       Q.    AND WAS THAT SOMETHING YOU BELIEVED THERANOS COULD DO AT

02:24:21   22       THE TIME?

02:24:21   23       A.    I SURE DID.

02:24:25   24       Q.    OKAY.   LET ME DRAW YOUR ATTENTION TO PAGE 5.        WE'VE TALKED

02:24:38   25       A LITTLE BIT ABOUT THE CONVERTIBLE NOTES, MR. BURD.



                                         UNITED STATES COURT REPORTERS
                Case: 22-10312, 04/25/2023,
                Case 5:18-cr-00258-EJD      ID: 12702996,
                                         Document   1271 DktEntry:  36-12, Page
                                                          Filed 01/18/22   Page 200
                                                                                201 of
                                                                                    of 227
                                                                                       228
                    BURD DIRECT BY MR. LEACH                                               2974


02:24:41    1              AND IF WE COULD PLEASE HIGHLIGHT THE ENTIRETY OF 6A AND B?

02:24:45    2      DOWN A LITTLE BIT MORE, PLEASE.         A LITTLE BIT MORE.    THAT'LL

02:24:50    3      DO, MS. HOLLIMAN.     THAT'S GREAT.     THANK YOU.

02:24:55    4              DO YOU SEE IN NUMBER 6 WHERE IT SAYS CONVERTIBLE NOTES,

02:24:59    5      MR. BURD, UP IN THE TOP LEFT?

02:25:04    6       A.     YEAH, UP IN THE TOP LEFT.

02:25:08    7              IN THE FIRST PARAGRAPH, SMALL A?

02:25:10    8       Q.     WELL, I WAS TALKING JUST ABOUT THE HEADING, 6?

02:25:12    9       A.     OH, IN THE HEADING.     OKAY.   I WAS A LITTLE LOWER THAN YOU.

02:25:15   10       Q.     OKAY.   AND I WANTED TO DRAW YOUR ATTENTION TO 6B?

02:25:20   11       A.     YES.

02:25:21   12       Q.     1, 2, 3.

02:25:23   13              DOES THIS PROVIDE FOR SAFEWAY ACQUIRING -- HAVING THE

02:25:28   14      OPTION TO ACQUIRE A CONVERTIBLE NOTE IN THE AMOUNT OF

02:25:34   15      $10 MILLION?

02:25:34   16       A.     YES.

02:25:35   17       Q.     OKAY.   AND THERE ARE CERTAIN CONDITIONS ON SAFEWAY'S

02:25:39   18       ABILITY TO DO THAT?

02:25:40   19       A.     CORRECT.

02:25:41   20       Q.     AND WHEN YOU SAY CONVERTIBLE NOTE, AT SOME POINT THAT CAN

02:25:45   21       BE CONVERTED INTO EQUITY?

02:25:46   22       A.     CORRECT.

02:25:47   23       Q.     IS THAT WHAT YOU SAID EARLIER?      OKAY.

02:25:50   24              LET'S START -- LET ME DRAW YOUR ATTENTION TO THE BOTTOM

02:25:54   25      PART.    AND DO YOU SEE WHERE IT SAYS ADDITIONAL CONVERTIBLE



                                         UNITED STATES COURT REPORTERS
                Case: 22-10312, 04/25/2023,
                Case 5:18-cr-00258-EJD      ID: 12702996,
                                         Document   1271 DktEntry:  36-12, Page
                                                          Filed 01/18/22   Page 201
                                                                                202 of
                                                                                    of 227
                                                                                       228
                    BURD DIRECT BY MR. LEACH                                             2975


02:26:04    1      NOTE?

02:26:04    2       A.     I DO.

02:26:05    3       Q.     AND DOES THIS PROVIDE FOR -- GIVE SAFEWAY THE ABILITY TO

02:26:09    4       ACQUIRE AN ADDITIONAL NOTE CONVERTIBLE INTO EQUITY, INTO

02:26:15    5       THERANOS EQUITY?

02:26:16    6       A.     YES, IT DOES.

02:26:17    7       Q.     OKAY.   LET ME DRAW YOUR ATTENTION, PLEASE, TO PAGE 8.

02:26:30    8              AND IF WE COULD ZOOM IN ON THE TOP PORTION OF THIS, ALL

02:26:34    9       THE WAY DOWN TO 3B.

02:26:42   10              MR. BURD, DO YOU SEE WHERE IT SAYS SCHEDULE B, PURCHASING

02:26:46   11      TERMS AND CONDITIONS?

02:26:47   12       A.     YES.

02:26:48   13       Q.     AND DOES THIS SCHEDULE LAY OUT ADDITIONAL TERMS OF THE

02:26:55   14       PURCHASE OF CARTRIDGES, THE PILOT PROGRAM, AND OTHER DETAILS

02:26:58   15       RELATING TO THE POTENTIAL LAUNCH IN SAFEWAYS?

02:27:01   16       A.     YES.

02:27:01   17       Q.     OKAY.   PARAGRAPH 2 INCLUDES SOMETHING CALLED BEST PRICE

02:27:06   18       GUARANTEE.

02:27:07   19              DO YOU SEE THAT?

02:27:08   20       A.     YES, I DO.

02:27:09   21       Q.     OKAY.   AND THIS SAYS, "FOR ALL CARTRIDGES DEFINED AS

02:27:15   22       AVAILABLE CARTRIDGES, THERANOS AGREES THAT NO UNITED STATES

02:27:20   23       RETAILER OR ENTITY OPERATING IN A RETAIL ENVIRONMENT SELLING

02:27:24   24       THERANOS SYSTEMS OR ANY DOCTOR," AND THEN IT CONTINUES.

02:27:31   25              IS THIS THE -- WHAT IS THIS PARAGRAPH GETTING AT?



                                         UNITED STATES COURT REPORTERS
                Case: 22-10312, 04/25/2023,
                Case 5:18-cr-00258-EJD      ID: 12702996,
                                         Document   1271 DktEntry:  36-12, Page
                                                          Filed 01/18/22   Page 202
                                                                                203 of
                                                                                    of 227
                                                                                       228
                    BURD DIRECT BY MR. LEACH                                             2976


02:27:33    1       A.     IN SOME CONTEXTS, THIS IS REFERRED TO AS KIND OF A FAVORED

02:27:37    2       NATIONS CLAUSE.     IT BASICALLY SAYS THAT WE WILL ALWAYS HAVE THE

02:27:43    3       LOWEST PRICE OFFERED IN THE MARKET.

02:27:44    4       Q.     OKAY.   AND WAS THAT IMPORTANT TO YOU?

02:27:47    5       A.     YES.

02:27:47    6       Q.     OKAY.   IF WE CAN PLEASE ZOOM OUT, MS. HOLLIMAN, AND I WANT

02:27:52    7       TO FOCUS ON 3B, THE PRE-PILOT PERIOD.         ALL THE WAY DOWN, YES.

02:28:09    8              DOES THIS PORTION LAY OUT SOME OF THE RESPONSIBILITIES OF

02:28:12    9      THE PARTIES RELATING TO THE PRE-PILOT PERIOD, MR. BURD?

02:28:16   10       A.     YES, IT DOES.

02:28:16   11       Q.     OKAY.   AND IN 3B1, IT SAYS, "THERANOS WILL SECURE THE

02:28:22   12       REGULATORY APPROVALS AND SAFEWAY WILL SECURE ANY APPROVALS

02:28:25   13       REQUIRED FOR THE PILOT OF THE PROGRAM UNDER CLIA AND OTHER

02:28:29   14       APPLICABLE LAWS, RULES AND REGULATIONS."

02:28:32   15              WAS THAT RELEVANT TO YOU?

02:28:33   16       A.     YES.

02:28:34   17       Q.     WHY WAS THERANOS SECURING REGULATORY APPROVALS RELEVANT TO

02:28:38   18       YOU?

02:28:38   19       A.     YOU CAN'T OPERATE A LAB ANYWHERE IN THIS COUNTRY THAT'S

02:28:45   20       NOT CLIA APPROVED, AND SO THEY NEEDED THAT TO GET SANCTIONED TO

02:28:54   21       HAVE A LAB AT ALL.

02:28:55   22       Q.     FURTHER DOWN IN 3B5, IT SAYS, "THERANOS WILL MEET AGREED

02:29:00   23       UPON SERVICE STANDARDS, INCLUDING THE PROVISION OF BLOOD TEST

02:29:03   24       RESULTS IN 30 MINUTES OR LESS, AND SATISFACTORY SERVICE AND

02:29:06   25       SUPPORT OF THE DELIVERABLES."



                                         UNITED STATES COURT REPORTERS
                Case: 22-10312, 04/25/2023,
                Case 5:18-cr-00258-EJD      ID: 12702996,
                                         Document   1271 DktEntry:  36-12, Page
                                                          Filed 01/18/22   Page 203
                                                                                204 of
                                                                                    of 227
                                                                                       228
                    BURD DIRECT BY MR. LEACH                                             2977


02:29:08    1             DO YOU SEE THAT LANGUAGE?

02:29:10    2       A.    YES.

02:29:10    3       Q.    AND WAS THAT 30 MINUTES OR LESS RELEVANT TO YOU?

02:29:12    4       A.    YES, THAT'S WHY IT WAS PUT HERE.

02:29:15    5       Q.    OKAY.   LET'S MOVE AHEAD TO PAGE 26.

02:29:33    6             AND DOES THIS SCHEDULE, MR. BURD, LAY OUT SOME OF THE

02:29:36    7      DEFINITIONS THAT ARE USED IN THIS AGREEMENT?

02:29:38    8       A.    YES.

02:29:39    9       Q.    OKAY.   IS THIS AN IMPORTANT PART OF THE AGREEMENT FOR YOU?

02:29:41   10       A.    YOU KNOW, DEFINITIONS ARE IMPORTANT.        THEY'RE IN EVERY

02:29:45   11       CONTRACT REGARDLESS OF WHO YOU'RE SIGNING IT WITH.

02:29:48   12       Q.    OKAY.   I'D LIKE TO DRAW YOUR ATTENTION TO NUMBER 8,

02:29:55   13       DEVICE.

02:29:58   14             DO YOU SEE WHERE IT SAYS, "'DEVICE' MEANS THERANOS'S

02:30:05   15      READER CAPABLE OF RUNNING CARTRIDGES," AND THEN CONTINUING ON?

02:30:09   16       A.    YES, I SEE THAT.

02:30:11   17       Q.    OKAY.   IS THAT CONSISTENT WITH YOUR IDEA OF THE MINI LAB

02:30:15   18       THAT WAS GOING TO BE PUT IN SAFEWAY STORES?

02:30:17   19       A.    YES, IT IS.

02:30:18   20       Q.    AT ANY POINT IN TIME, DID YOU DISCUSS WITH MS. HOLMES THE

02:30:23   21       IDEA OF PUTTING THIRD PARTY MACHINES IN SAFEWAY STORES?

02:30:30   22       A.    MEANING ANOTHER LAB?

02:30:32   23       Q.    CORRECT.

02:30:32   24       A.    NO.

02:30:32   25       Q.    HOW ABOUT MACHINES MANUFACTURED BY SOME PARTY OTHER THAN



                                         UNITED STATES COURT REPORTERS
                Case: 22-10312, 04/25/2023,
                Case 5:18-cr-00258-EJD      ID: 12702996,
                                         Document   1271 DktEntry:  36-12, Page
                                                          Filed 01/18/22   Page 204
                                                                                205 of
                                                                                    of 227
                                                                                       228
                    BURD DIRECT BY MR. LEACH                                             2978


02:30:36    1       THERANOS?

02:30:36    2       A.    NO.

02:30:37    3       Q.    WERE YOU AT ALL INTERESTED IN THAT?

02:30:39    4       A.    NO.

02:30:39    5       Q.    WHY NOT?

02:30:43    6       A.    IT DIDN'T -- WHEN YOU CREATE A NEW BUSINESS LIKE THIS AND

02:30:47    7       A NEW OPPORTUNITY FOR A PARTNER, IT HAS TO BE SUFFICIENTLY

02:30:51    8       DIFFERENT FROM EVERYBODY ELSE IN THE MARKET.          IT HAS TO BE

02:30:54    9       LOWER COST, IT HAS TO BE QUICKER, IT HAS TO BE BETTER.           THOSE

02:30:57   10       ARE FEATURES THAT ARE ATTRACTIVE TO NEW CONSUMERS.

02:31:01   11       Q.    SO SAFEWAY SIGNS THE AGREEMENT WITH THERANOS IN OR AROUND

02:31:08   12       SEPTEMBER OF 2010?

02:31:10   13       A.    CORRECT.

02:31:10   14       Q.    OKAY.   SUBSEQUENT TO THAT TIME PERIOD, DID YOU HAVE

02:31:16   15       MEETINGS AND CONVERSATIONS WITH MS. HOLMES ABOUT THE ONGOING

02:31:19   16       RELATIONSHIP?

02:31:20   17       A.    WE, WE HAD LOTS OF PHONE CALLS, EMAILS.         WE WORKED -- WE

02:31:29   18       BOTH WORKED VERY HARD ON THIS, AND THIS WAS -- IT WAS STRATEGIC

02:31:33   19       TO SAFEWAY, WHICH IS WHY THE CEO OF SAFEWAY IS INVOLVED IN

02:31:37   20       THIS.    IT'S A BIG DEAL.

02:31:38   21       Q.    THAT'S WHAT I WANTED TO GET AT, MR. BURD.

02:31:40   22             WHO AT THERANOS DID YOU HAVE CONTACT WITH?

02:31:43   23       A.    MY CONTACT WAS ELIZABETH HOLMES.

02:31:46   24       Q.    OKAY.   DID YOU HAVE CONTACT WITH OTHERS AT THERANOS?

02:31:49   25       A.    SOME.   I HAD CONTACT WITH SUNNY BALWANI.        HE WOULD HAVE



                                         UNITED STATES COURT REPORTERS
                Case: 22-10312, 04/25/2023,
                Case 5:18-cr-00258-EJD      ID: 12702996,
                                         Document   1271 DktEntry:  36-12, Page
                                                          Filed 01/18/22   Page 205
                                                                                206 of
                                                                                    of 227
                                                                                       228
                    BURD DIRECT BY MR. LEACH                                             2979


02:31:56    1       BEEN THE SECOND MOST CONTACTED.

02:31:59    2             I HAD CONTACT WITH ELIZABETH'S BROTHER, I THINK HIS FIRST

02:32:05    3      NAME WAS CHRISTOPHER, BUT MUCH MORE LIMITED.

02:32:09    4             AND THEN I MET A FEW PEOPLE FROM THERANOS, BUT ONLY WHILE

02:32:13    5      DOWN AT THERANOS.

02:32:14    6       Q.    OKAY.   DID YOU MEET WITH THEM ONE ON ONE, OR WAS

02:32:18    7       MS. HOLMES INVOLVED IN THOSE CONTACTS?

02:32:20    8       A.    WE HAD A -- WE HAD A SMALL TEAM AT SAFEWAY THAT HAD A BIT

02:32:26    9       MORE INTERACTION WITH ELIZABETH'S BROTHER.         I WAS INVOLVED IN A

02:32:34   10       COUPLE OF THOSE PHONE CALLS.

02:32:37   11             WHEN ELIZABETH CAME UP TO THE COMPANY, MORE OFTEN THAN NOT

02:32:42   12      IT WAS JUST HER.

02:32:43   13             WHEN I WENT DOWN TO THERANOS -- I HAVE TO THINK ABOUT IT.

02:32:49   14      I THINK IT WAS COMMON FOR THE MEETING TO BE MOSTLY ELIZABETH

02:32:52   15      AND SHE WOULD BRING PEOPLE IN MAYBE FOR DIFFERENT THINGS.

02:32:55   16       Q.    OKAY.   WERE THERE OCCASIONS WHERE YOU MET WITH MS. HOLMES

02:32:59   17       AND MR. BALWANI TOGETHER?

02:33:00   18       A.    YES.

02:33:01   19       Q.    IN THOSE MEETINGS, WHO WAS IN CHARGE?

02:33:04   20       A.    ELIZABETH.

02:33:05   21       Q.    WHY DO YOU SAY THAT?

02:33:07   22       A.    I SAY THAT BECAUSE SHE NEVER HESITATED -- OR SHE NEVER

02:33:15   23       LOOKED OVER AT SUNNY TO SEE WHAT HE MIGHT HAVE BEEN THINKING.

02:33:19   24       SHE ANSWERED THESE QUESTIONS HERSELF.

02:33:24   25             YOU KNOW, SHE'S THE KIND OF LEADER -- YOU KNOW, IN MANY



                                         UNITED STATES COURT REPORTERS
                Case: 22-10312, 04/25/2023,
                Case 5:18-cr-00258-EJD      ID: 12702996,
                                         Document   1271 DktEntry:  36-12, Page
                                                          Filed 01/18/22   Page 206
                                                                                207 of
                                                                                    of 227
                                                                                       228
                    BURD DIRECT BY MR. LEACH                                             2980


02:33:28    1       WAYS, I'M THAT KIND OF LEADER.       I'M INTO THE DETAILS AND I CAN

02:33:35    2       ANSWER ALL OF THE QUESTIONS THAT YOU WOULD ASK ME ABOUT A

02:33:38    3       SUPERMARKET.

02:33:38    4       Q.    SO AS THE CEO OF SAFEWAY, I TAKE IT YOU'VE HAD

02:33:42    5       INTERACTIONS WITH CEO'S OF OTHER COMPANIES?

02:33:45    6       A.    YES.

02:33:45    7       Q.    AND YOU'VE HAD INTERACTIONS WITH POLITICIANS OR REGULATORS

02:33:51    8       RELEVANT TO SAFEWAY'S BUSINESS?

02:33:52    9       A.    IN BOTH CATEGORIES, HUNDREDS.

02:33:54   10       Q.    OKAY.   AND HOW WOULD YOU COMPARE THOSE INTERACTIONS TO

02:33:58   11       YOUR INTERACTIONS WITH MS. HOLMES?

02:33:59   12       A.    I WOULD SAY THAT NOT ALL CEO'S ARE ALIKE, AND SHE WOULD

02:34:12   13       RISE TO THE TOP OF THE PILE IN TERMS OF, IN TERMS OF VISION, IN

02:34:18   14       TERMS OF COMMAND OF THE INFORMATION, CLEARLY IN TERMS OF

02:34:24   15       DELIVERY.     THERE WAS NOTHING ABOUT ELIZABETH HOLMES THAT WAS --

02:34:32   16       SHE WAS ALWAYS DECISIVE.

02:34:36   17       Q.    HOW ABOUT HER COMMAND WITHIN A PARTICULAR MEETING?          WOULD

02:34:41   18       YOU COMPARE IT TO ANYBODY ELSE?

02:34:42   19       A.    YOU KNOW, I'VE SOMETIMES USED THE TERM "OWNS THE ROOM,"

02:34:52   20       OKAY?    SO WHEN SHE PRESENTED TO OUR BOARD, WHEN SHE WAS

02:34:56   21       TALKING, SHE OWNED THE ROOM.

02:35:00   22             WHEN SHE -- WHENEVER SHE WAS TALKING, SHE OWNED THE ROOM.

02:35:05   23             I'VE HAD THE, I GUESS THE PRIVILEGE OF MEETING FOUR U.S.

02:35:09   24      PRESIDENTS.     WHEN THE PRESIDENT IS IN THE ROOM, LET ME JUST

02:35:13   25      TELL YOU, THE PRESIDENT OWNS THE ROOM.         NO ONE TALKS UNLESS



                                         UNITED STATES COURT REPORTERS
                Case: 22-10312, 04/25/2023,
                Case 5:18-cr-00258-EJD      ID: 12702996,
                                         Document   1271 DktEntry:  36-12, Page
                                                          Filed 01/18/22   Page 207
                                                                                208 of
                                                                                    of 227
                                                                                       228
                    BURD DIRECT BY MR. LEACH                                             2981


02:35:18    1      SPOKEN TO.

02:35:20    2              BUT I WOULD TELL YOU THAT HER STYLE WAS VERY -- IT WAS

02:35:25    3      WARM, IT WAS FRIENDLY, IT WASN'T DICTATORIAL.          I ALWAYS THOUGHT

02:35:32    4      SHE WAS A GOOD LISTENER.

02:35:33    5       Q.     WERE YOU AWARE AT ANY POINT -- OR PRIOR TO 2015, WERE YOU

02:35:39    6       AWARE THAT MS. HOLMES HAD A ROMANTIC RELATIONSHIP WITH

02:35:43    7       MR. BALWANI?

02:35:43    8       A.     NO.    NO, I WAS NOT.

02:35:45    9       Q.     OKAY.   WOULD THAT HAVE BEEN RELEVANT TO YOU?

02:35:47   10       A.     YES.

02:35:50   11       Q.     WHY?

02:35:50   12       A.     IT WOULD HAVE SAID THAT -- I MEAN, IF I FOUND OUT MID-WAY,

02:35:58   13       I WOULD HAVE SAID, YOU KNOW, WHY DIDN'T I KNOW THIS BEFORE?

02:36:01   14       YOU KNOW?

02:36:02   15              IT JUST RAISES A QUESTION OF WHAT ELSE IS HIDDEN FROM

02:36:06   16      VIEW.

02:36:06   17       Q.     LET ME MOVE FORWARD IN TIME.      SO THE AGREEMENT IS SIGNED

02:36:12   18       IN SEPTEMBER OF 2010.      I WANT TO DRAW YOUR ATTENTION TO WHAT

02:36:18   19       WE'VE MARKED AS EXHIBIT 423.

02:36:34   20              DO YOU HAVE THAT IN FRONT OF YOU, SIR?

02:36:36   21       A.     I DO.

02:36:36   22       Q.     OKAY.   AND DO YOU SEE AN EMAIL FROM MS. HOLMES TO YOU

02:36:39   23       DATED MARCH 15TH, 2011?

02:36:41   24       A.     YES.

02:36:43   25       Q.     AND IS THE SUBJECT PRESENTATION FOR TOMORROW?         OR IT LOOKS



                                         UNITED STATES COURT REPORTERS
                Case: 22-10312, 04/25/2023,
                Case 5:18-cr-00258-EJD      ID: 12702996,
                                         Document   1271 DktEntry:  36-12, Page
                                                          Filed 01/18/22   Page 208
                                                                                209 of
                                                                                    of 227
                                                                                       228
                    BURD DIRECT BY MR. LEACH                                             2982


02:36:50    1       LIKE IT MIGHT BE A MISSPELLING?

02:36:51    2       A.    I'M GOING TO HAVE TO LOOK AT THIS A LITTLE BIT.          PLEASE

02:36:56    3       SEE ATTACHED.

02:37:04    4             YES, WHAT SHE'S REFERRING TO IS THE PRESENTATION AT THE

02:37:07    5      UPCOMING SAFEWAY BOARD MEETING, WHICH SHE WILL PRESENT.           MUCH

02:37:15    6      THE WAY I WOULD SHARE MY MATERIALS, SHE SHARED HERS.

02:37:19    7                    MR. LEACH:    YOUR HONOR, I OFFER EXHIBIT 423.

02:37:22    8                    MR. DOWNEY:   NO OBJECTION.

02:37:23    9                    THE COURT:    IT'S ADMITTED.   IT MAY BE PUBLISHED.

02:37:26   10             (GOVERNMENT'S EXHIBIT 423 WAS ADMITTED IN EVIDENCE.)

02:37:27   11                    MR. LEACH:    AND IF WE COULD ZOOM IN ON THE TOP.

02:37:34   12       PERFECT, MS. HOLLIMAN.       THANK YOU.

02:37:36   13       Q.    SO THE ATTACHMENT, MR. BURD, SAYS THERANOS SWY BOD

02:37:44   14       MEETING.

02:37:44   15             YOU BELIEVE THAT TO BE A REFERENCE TO A SAFEWAY BOARD

02:37:47   16       MEETING WHERE MS. HOLMES PRESENTED?

02:37:49   17       A.    YES, IT IS.

02:37:50   18       Q.    OKAY.    AND YOU TESTIFIED EARLIER ABOUT A MEETING WHERE A

02:37:52   19       BOARD MEMBER'S FINGER WAS PRICKED AND TESTED ON THE THERANOS

02:37:57   20       DEVICE.

02:37:57   21       A.    YES.

02:37:58   22       Q.    OKAY.    AND WHAT HAPPENED WHEN -- DESCRIBE THAT FOR US, NOT

02:38:04   23       WHAT WAS -- NOT WHAT WAS REPORTED TO YOU LATER, BUT WHAT

02:38:07   24       HAPPENED IN THE BOARD MEETING WHEN THAT HAPPENED.

02:38:09   25       A.    WE LOOKED FOR A VOLUNTEER.       MIKE SHANNON SAID HE WOULD



                                         UNITED STATES COURT REPORTERS
                Case: 22-10312, 04/25/2023,
                Case 5:18-cr-00258-EJD      ID: 12702996,
                                         Document   1271 DktEntry:  36-12, Page
                                                          Filed 01/18/22   Page 209
                                                                                210 of
                                                                                    of 227
                                                                                       228
                    BURD DIRECT BY MR. LEACH                                             2983


02:38:16    1       VOLUNTEER.    AND HE WENT THROUGH THE FINGER PRICK, WHICH IS NOT

02:38:20    2       A BIG DEAL, AND THE SAMPLE WAS EXTRACTED AND ULTIMATELY PUT

02:38:26    3       INTO A CARTRIDGE.

02:38:27    4       Q.    AND WAS A RESULT GENERATED?

02:38:29    5       A.    A RESULT WAS NOT GENERATED WHILE WE WERE IN THE ROOM.

02:38:33    6       Q.    OKAY.   DID MS. HOLMES SAY ANYTHING?

02:38:35    7       A.    SHE SAID SOMETHING THAT MADE US THINK WE WOULD GET IT

02:38:40    8       LATER.

02:38:40    9       Q.    OKAY.   TO YOUR KNOWLEDGE, DID SAFEWAY GET IT LATER?

02:38:43   10       A.    NO.

02:38:43   11       Q.    LET'S LOOK AT THE POWERPOINT, PLEASE.        IF WE COULD DRAW

02:38:48   12       YOUR ATTENTION TO PAGE 2.

02:38:52   13             DO YOU SEE WHERE IT SAYS THERANOS AT SAFEWAY, EXECUTIVE

02:38:57   14      BRIEFING 03.2011?

02:39:02   15       A.    I'M ALWAYS ONE AHEAD OF YOU HERE.

02:39:04   16             I SEE THAT, YES.

02:39:06   17       Q.    OKAY.   AND YOU BELIEVE THIS TO BE A POWERPOINT THAT

02:39:08   18       MS. HOLMES PRESENTED TO THE SAFEWAY BOARD?

02:39:10   19       A.    YES, I DO.

02:39:11   20       Q.    OKAY.   LET'S LOOK AT PAGE 3, PLEASE.

02:39:21   21             AND I WANT TO DRAW YOUR ATTENTION, MR. BURD, TO THE FIRST

02:39:25   22      BULLET ON THIS POWERPOINT WHERE IT SAYS, "THERANOS'S

02:39:30   23      PROPRIETARY, PATENTED TECHNOLOGY RUNS COMPREHENSIVE BLOOD TESTS

02:39:34   24      FROM A FINGER-STICK AND TESTS FROM MICRO-SAMPLES AND OTHER

02:39:40   25      MATRICES IN REAL-TIME OUTSIDE THE TRADITIONAL LAB SETTINGS AND



                                         UNITED STATES COURT REPORTERS
                Case: 22-10312, 04/25/2023,
                Case 5:18-cr-00258-EJD      ID: 12702996,
                                         Document   1271 DktEntry:  36-12, Page
                                                          Filed 01/18/22   Page 210
                                                                                211 of
                                                                                    of 227
                                                                                       228
                    BURD DIRECT BY MR. LEACH                                             2984


02:39:43    1      GENERATES SIGNIFICANTLY HIGHER INTEGRITY DATA THAN CURRENTLY

02:39:47    2      POSSIBLE."

02:39:47    3             DO YOU SEE THAT LANGUAGE?

02:39:49    4       A.    I DO.

02:39:50    5       Q.    AND WAS THAT CONSISTENT WITH WHAT MS. HOLMES HAD BEEN

02:39:52    6       SAYING TO YOU FOR THE BETTER COURSE OF A YEAR IN CONNECTION

02:39:55    7       WITH THE SAFEWAY ARRANGEMENT?

02:39:56    8       A.    IT IS.   I THINK THE, THE INTEGRITY ELEMENT, MEANING

02:40:00    9       SUPERIOR, WASN'T SOMETHING THAT I LOCKED IN ON.          IT MAY HAVE

02:40:06   10       BEEN SAID BEFORE.     IT MAY NOT HAVE BEEN.

02:40:08   11       Q.    OKAY.    IT'S BEING SAID HERE IN THE POWERPOINT TO THE

02:40:11   12       SAFEWAY BOARD?

02:40:11   13       A.    YES.

02:40:14   14       Q.    AND WAS THAT RELEVANT TO YOU?

02:40:16   15       A.    YOU KNOW, AS LONG AS IT WAS JUST AS ACCURATE, I WAS FINE.

02:40:21   16             BUT THE OTHER ELEMENTS WERE QUITE RELEVANT, YOU KNOW,

02:40:25   17      REAL-TIME, COMPREHENSIVE.

02:40:29   18       Q.    OKAY.    LET'S LOOK AT PAGE 5, PLEASE.

02:40:38   19             IS THIS ANOTHER DEPICTION OF THE MINI LAB DEVICE AND THE

02:40:42   20       CARTRIDGES THAT WE'VE SEEN PREVIOUSLY?

02:40:44   21       A.    YES, IT IS.

02:40:47   22       Q.    AND WAS THIS CONSISTENT WITH YOUR UNDERSTANDING OF

02:40:50   23       THERANOS'S SYSTEMS?

02:40:51   24       A.    YES.

02:40:52   25       Q.    OKAY.    LET ME LOOK -- DRAW YOUR ATTENTION TO PAGE 6.



                                         UNITED STATES COURT REPORTERS
                Case: 22-10312, 04/25/2023,
                Case 5:18-cr-00258-EJD      ID: 12702996,
                                         Document   1271 DktEntry:  36-12, Page
                                                          Filed 01/18/22   Page 211
                                                                                212 of
                                                                                    of 227
                                                                                       228
                    BURD DIRECT BY MR. LEACH                                             2985


02:41:00    1             DO YOU SEE WHERE IT SAYS, "VALIDATION OF THERANOS

02:41:04    2      SYSTEMS"?

02:41:04    3       A.    I DO.

02:41:05    4       Q.    AND THE FIRST PARAGRAPH, "THERANOS SYSTEMS HAVE BEEN

02:41:09    5       COMPREHENSIVELY VALIDATED OVER THE COURSE OF THE LAST SEVEN

02:41:12    6       YEARS BY TEN OF THE FIFTEEN LARGEST PHARMACEUTICAL COMPANIES,

02:41:16    7       WITH HUNDREDS OF THOUSANDS OF ASSAYS PROCESSED."

02:41:19    8             WAS THAT INFORMATION RELEVANT TO YOU?

02:41:21    9       A.    YES.

02:41:22   10       Q.    WHY?

02:41:23   11       A.    WELL, IT, IT MADE A BOLD STATEMENT THAT IT HAD BEEN FIELD

02:41:29   12       TESTED.    RESPECTABLE, YOU KNOW, COMPANIES, TECHNOLOGY

02:41:36   13       COMPANIES, YOU KNOW, HAD PROVED THIS TECHNOLOGY TO BE TRUE.

02:41:39   14       Q.    LET'S MOVE FORWARD IN TIME TO AUGUST OF 2011, AND I DRAW

02:41:49   15       YOUR ATTENTION, PLEASE, TO EXHIBIT 5426.

02:42:04   16       A.    YOU SAID 5426?

02:42:07   17       Q.    5426.    IT SHOULD BE IN THE BACK.

02:42:09   18       A.    OH, OKAY.

02:42:10   19                    MR. LEACH:    AND I'LL OFFER THIS IN EVIDENCE.

02:42:15   20                    THE WITNESS:    THAT WAS A HELPFUL HINT.     I'D HAVE BEEN

02:42:18   21       UP HERE FOR AWHILE.        OKAY.

02:42:21   22                    MR. DOWNEY:    SORRY, YOUR HONOR.    BEAR WITH ME ONE

02:42:23   23       SECOND, PLEASE.

02:42:24   24             (PAUSE IN PROCEEDINGS.)

02:42:38   25                    MR. DOWNEY:    NO OBJECTION.



                                         UNITED STATES COURT REPORTERS
                Case: 22-10312, 04/25/2023,
                Case 5:18-cr-00258-EJD      ID: 12702996,
                                         Document   1271 DktEntry:  36-12, Page
                                                          Filed 01/18/22   Page 212
                                                                                213 of
                                                                                    of 227
                                                                                       228
                    BURD DIRECT BY MR. LEACH                                             2986


02:42:39    1                    THE COURT:    IT'S ADMITTED.   IT MAY BE PUBLISHED.

02:42:42    2             (GOVERNMENT'S EXHIBIT 5426 WAS ADMITTED IN EVIDENCE.)

02:42:42    3                    MR. LEACH:    IF WE -- IF THERE'S A WAY TO HIGHLIGHT

02:42:49    4       THE SUBSTANCE ALL THE WAY FROM BANK OF AMERICA DOWN,

02:42:52    5       MS. HOLLIMAN.

02:42:58    6       Q.    DOES THIS APPEAR TO BE A, A WIRE PAYMENT BETWEEN THERANOS

02:43:05    7       AND SAFEWAY, MR. BURD?

02:43:08    8       A.    THAT'S WHAT IT APPEARS TO BE.

02:43:09    9       Q.    OKAY.    AND DO YOU SEE IN THE DEBIT AMOUNT THE VALUE,

02:43:16   10       $30 MILLION?

02:43:16   11       A.    YES.

02:43:17   12       Q.    OKAY.    AND IS THAT CONSISTENT WITH YOUR MEMORY OF THE

02:43:21   13       AMOUNT OF MONEY THAT SAFEWAY PAID TO THERANOS IN PART FOR THE

02:43:26   14       CONVERTIBLE NOTES?

02:43:27   15       A.    YES, IT IS.

02:43:28   16       Q.    OKAY.    AND DO YOU SEE THE VALID DATE, AUGUST 19TH, 2011?

02:43:36   17       A.    YES.

02:43:36   18       Q.    AND IS THAT CONSISTENT WITH YOUR MEMORY OF THE TIME PERIOD

02:43:40   19       OF SAFEWAY'S PAYMENT OF THE 30 MILLION?

02:43:42   20       A.    I DON'T ACTUALLY RECALL THE TIMEFRAME.

02:43:45   21       Q.    OKAY.

02:43:49   22             LET ME DRAW YOUR ATTENTION, PLEASE, TO EXHIBIT 495.

02:43:58   23             AND I OFFER 495 INTO EVIDENCE.

02:44:00   24                    MR. DOWNEY:   NO OBJECTION, YOUR HONOR.

02:44:02   25                    THE COURT:    IT'S ADMITTED.   IT MAY BE PUBLISHED.



                                         UNITED STATES COURT REPORTERS
                Case: 22-10312, 04/25/2023,
                Case 5:18-cr-00258-EJD      ID: 12702996,
                                         Document   1271 DktEntry:  36-12, Page
                                                          Filed 01/18/22   Page 213
                                                                                214 of
                                                                                    of 227
                                                                                       228
                    BURD DIRECT BY MR. LEACH                                             2987


02:44:04    1             (GOVERNMENT'S EXHIBIT 495 WAS ADMITTED IN EVIDENCE.)

02:44:05    2       BY MR. LEACH:

02:44:10    3       Q.    MR. BURD, DOES THIS APPEAR TO BE A COPY OF ONE OF THE

02:44:13    4       CONVERTIBLE PROMISSORY NOTES THAT SAFEWAY PURCHASED?

02:44:17    5       A.    YES.

02:44:18    6       Q.    OKAY.    AND DO YOU SEE THE DOLLAR AMOUNT IN THE LEFT FOR

02:44:20    7       $10 MILLION?

02:44:21    8       A.    I DO.

02:44:22    9       Q.    OKAY.    AND TO THE RIGHT, DO YOU SEE THE DATE,

02:44:25   10       DECEMBER 30TH, 2011?

02:44:26   11       A.    YES.

02:44:29   12       Q.    I DRAW YOUR ATTENTION, PLEASE, TO PAGE 6.

02:44:42   13             DO YOU SEE IN PARAGRAPH 3, IT SAYS, "REPRESENTATIONS AND

02:44:46   14      WARRANTIES OF INVESTOR"?

02:44:48   15             DO YOU SEE THAT?

02:44:50   16       A.    YES.

02:44:50   17       Q.    OKAY.    AND THE INVESTOR IN THIS CONTEXT IS SAFEWAY?

02:44:53   18       A.    LET ME JUST READ THIS A LITTLE BIT.

02:44:58   19       Q.    YES, PLEASE.

02:44:59   20             (PAUSE IN PROCEEDINGS.)

02:45:12   21                    THE WITNESS:   CAN YOU ASK YOUR QUESTION AGAIN?

02:45:14   22       BY MR. LEACH:

02:45:15   23       Q.    THE INVESTOR IN THIS CONTEXT, IS THAT SAFEWAY?

02:45:22   24       A.    YES.

02:45:22   25       Q.    OKAY.    ONE OF THE REPRESENTATIONS AND WARRANTIES OF



                                         UNITED STATES COURT REPORTERS
                Case: 22-10312, 04/25/2023,
                Case 5:18-cr-00258-EJD      ID: 12702996,
                                         Document   1271 DktEntry:  36-12, Page
                                                          Filed 01/18/22   Page 214
                                                                                215 of
                                                                                    of 227
                                                                                       228
                    BURD DIRECT BY MR. LEACH                                             2988


02:45:24    1       INVESTOR IN 3B, THERE'S A HEADING, EXPERIENCE.

02:45:30    2             DO YOU SEE THAT?

02:45:31    3       A.    YES.

02:45:31    4       Q.    AND IT SAYS, "INVESTOR IS EXPERIENCED IN INVESTING IN THE

02:45:35    5       SECURITIES OF DEVELOPMENT STAGE COMPANIES SUCH AS THE COMPANY.

02:45:39    6       INVESTOR IS ABLE TO FEND FOR ITSELF, CAN BEAR THE ECONOMIC

02:45:43    7       RISK."

02:45:43    8             DO YOU SEE THAT LANGUAGE?

02:45:44    9       A.    I DO.

02:45:45   10       Q.    AND THIS REPRESENTATION WAS TRUE AT THE TIME?

02:45:47   11       A.    YES.

02:45:56   12       Q.    FURTHER DOWN, IN F, THERE'S A PARAGRAPH, ACCREDITED

02:46:02   13       INVESTOR.

02:46:09   14       A.    I DO.

02:46:09   15       Q.    DO YOU SEE WHERE IT SAYS, "INVESTOR REPRESENTS THAT IT IS

02:46:12   16       AN 'ACCREDITED INVESTOR'"?

02:46:17   17       A.    I DO.

02:46:17   18       Q.    DO YOU UNDERSTAND THAT TO BE A TERM OF ART UNDER THE

02:46:20   19       SECURITIES LAWS?

02:46:21   20       A.    YEAH, SOMETHING TO DO WITH SECURITIES LAWS.         BUT MY

02:46:24   21       GENERAL COUNSEL WOULD TELL ME THAT WE'RE ACCREDITED.

02:46:29   22       Q.    OKAY.   THE THRUST IS THAT SAFEWAY IS SOPHISTICATED AND

02:46:31   23       CAPABLE?

02:46:31   24       A.    CAPABLE, YES.

02:46:32   25       Q.    AND AT THE TIME YOU MADE THE DECISION -- DID YOU APPROVE



                                         UNITED STATES COURT REPORTERS
                Case: 22-10312, 04/25/2023,
                Case 5:18-cr-00258-EJD      ID: 12702996,
                                         Document   1271 DktEntry:  36-12, Page
                                                          Filed 01/18/22   Page 215
                                                                                216 of
                                                                                    of 227
                                                                                       228
                    BURD DIRECT BY MR. LEACH                                             2989


02:46:34    1       THE PURCHASE OF THE CONVERTIBLE NOTES?

02:46:36    2       A.     I DID.

02:46:37    3       Q.     AT THE TIME, DID YOU RELY ON THE REPRESENTATIONS THAT

02:46:39    4       MS. HOLMES HAD MADE TO YOU OVER THE COURSE OF A NUMBER OF

02:46:42    5       YEARS?

02:46:42    6       A.     YES.

02:46:42    7       Q.     AND DID YOU BELIEVE THEM TO BE TRUE AND ACCURATE?

02:46:47    8       A.     I DID AT THE TIME.

02:46:48    9       Q.     LET'S LOOK BRIEFLY AT PAGE 11.

02:47:00   10              DO YOU SEE MS. HOLMES'S SIGNATURE LINE IN THE CONVERTIBLE

02:47:04   11      NOTE?

02:47:04   12       A.     YES.

02:47:05   13       Q.     LET ME DRAW YOUR ATTENTION TO 496.

02:47:11   14              AND I OFFER EXHIBIT 496 INTO EVIDENCE.

02:47:23   15                     MR. DOWNEY:   I'M SORRY, MR. LEACH.     I DON'T THINK I

02:47:26   16       HAVE 496.

02:47:27   17                     MR. LEACH:    I THINK I SHOWED IT TO YOU THIS MORNING.

02:47:30   18       YOU CAN HAVE MINE (HANDING).

02:47:38   19                     MR. DOWNEY:   OBJECTION, YOUR HONOR.

02:47:40   20                     THE COURT:    IT'S ADMITTED.   IT MAY BE PUBLISHED.

02:47:43   21              (GOVERNMENT'S EXHIBIT 496 WAS ADMITTED IN EVIDENCE.)

02:47:44   22       BY MR. LEACH:

02:47:47   23       Q.     MR. BURD, IS THIS THE SECOND OF THE CONVERTIBLE NOTES THAT

02:47:50   24       SAFEWAY PURCHASED AT SOME POINT IN 2011?

02:47:52   25       A.     IT APPEARS TO BE.



                                          UNITED STATES COURT REPORTERS
                Case: 22-10312, 04/25/2023,
                Case 5:18-cr-00258-EJD      ID: 12702996,
                                         Document   1271 DktEntry:  36-12, Page
                                                          Filed 01/18/22   Page 216
                                                                                217 of
                                                                                    of 227
                                                                                       228
                    BURD DIRECT BY MR. LEACH                                              2990


02:47:56    1       Q.    OKAY.   DO YOU SEE THE AMOUNT OF $15 MILLION TO THE LEFT?

02:47:59    2       A.    I DO.

02:48:00    3       Q.    OKAY.   AND DO YOU SEE THE DATE OF DECEMBER 30TH, 2011 TO

02:48:03    4       THE RIGHT?

02:48:04    5       A.    YES.

02:48:04    6       Q.    OKAY.   AND DO YOU SEE MS. HOLMES'S SIGNATURE ON PAGE 10?

02:48:08    7       A.    I DO.

02:48:19    8       Q.    LET ME MOVE FORWARD IN TIME, MR. BURD, TO THE TIME PERIOD

02:48:23    9       OF 2012.

02:48:26   10             DO YOU HAVE THAT TIME PERIOD IN MIND?

02:48:28   11       A.    OKAY.

02:48:29   12       Q.    OKAY.   AT THIS POINT, HAD SAFEWAY ROLLED OUT ANY THERANOS

02:48:36   13       DEVICES IN ITS STORES?

02:48:38   14       A.    NO.

02:48:38   15       Q.    BY THE END OF 2012, HAD THAT HAPPENED?

02:48:45   16       A.    NO.

02:48:45   17       Q.    OKAY.   OVER THE COURSE OF TIME, WERE YOU BECOMING

02:48:50   18       FRUSTRATED?

02:48:51   19       A.    YES.

02:48:51   20       Q.    WHY WERE YOU BECOMING FRUSTRATED?

02:48:53   21       A.    YOU KNOW, DEADLINES WERE CONTINUING TO BE MISSED.          WE

02:49:01   22       OFTEN WEREN'T GIVEN A LOT OF EXPLANATION FOR THAT.

02:49:03   23             AND I KEPT ASKING, YOU KNOW, GIVE ME SOME DETAILS HERE,

02:49:11   24       YOU KNOW, MAYBE WE CAN HELP.       WE'RE A BIG COMPANY, WE'VE GOT

02:49:14   25       LOTS OF RESOURCES.



                                         UNITED STATES COURT REPORTERS
                Case: 22-10312, 04/25/2023,
                Case 5:18-cr-00258-EJD      ID: 12702996,
                                         Document   1271 DktEntry:  36-12, Page
                                                          Filed 01/18/22   Page 217
                                                                                218 of
                                                                                    of 227
                                                                                       228
                    BURD DIRECT BY MR. LEACH                                             2991


02:49:16    1             SO THAT WAS THE FRUSTRATING PART.

02:49:18    2             WE ALWAYS TRIED TO HELP THEM IN ANY WAY THAT WE COULD.

02:49:22    3       Q.    DID MS. HOLMES EVER ATTRIBUTE -- EVER ATTRIBUTE DELAYS IN

02:49:28    4       THE LAUNCH TO SOME TECHNICAL ISSUE WITH THE MINI LAB DEVICE?

02:49:32    5       A.    THE ONLY TECHNICAL ISSUE I GUESS THAT I RECALL WAS I WAS

02:49:40    6       TOLD THAT PART OF THE DELAY WAS THAT IN THINKING THROUGH

02:49:45    7       STACKING, YOU KNOW, SIX OF THESE MACHINES AND SIDE-BY-SIDE --

02:49:52    8       BECAUSE IF IT TAKES 30 MINUTES, YOU'VE GOT TO HAVE MORE THAN

02:49:55    9       ONE MACHINE -- THAT THERE WAS A LOT OF HEAT GENERATED AND THEY

02:50:00   10       WERE STRUGGLING WITH HOW TO DISSIPATE THAT HEAT SO THAT IT

02:50:04   11       WOULDN'T COMPROMISE THE INTEGRITY OF THE MACHINES.

02:50:07   12             AND I IMMEDIATELY OFFERED UP MY ENGINEERING TEAM BECAUSE

02:50:11   13      WE DEAL WITH HEAT AND COLD A LOT.

02:50:16   14             BUT SHE SAID THEY WOULD, THEY WOULD SOLVE IT.

02:50:18   15       Q.    OTHER THAN THIS HEAT ISSUE THAT AROSE FROM STACKING OF THE

02:50:22   16       DEVICES, DID MS. HOLMES EVER ATTRIBUTE THE DELAY TO SOME FORM

02:50:27   17       OF TECHNICAL ISSUE WITH THE MINI LAB DEVICE?

02:50:29   18       A.    I DON'T RECALL EVER HEARING ABOUT A TECHNICAL ISSUE.

02:50:32   19       Q.    OKAY.   DID SHE EVER TELL YOU THAT THERANOS HAD YET TO

02:50:36   20       VALIDATE A SINGLE TEST ON ITS MINI LAB DEVICE FOR USE IN THE

02:50:39   21       CLIA LAB?

02:50:40   22       A.    NO.

02:50:40   23       Q.    IN 2012, WOULD IT SURPRISE YOU TO LEARN THAT THERANOS HAD

02:50:47   24       YET TO VALIDATE A SINGLE TEST ON ITS MINI LAB DEVICE FOR USE IN

02:50:51   25       THE CLIA LAB?



                                         UNITED STATES COURT REPORTERS
                Case: 22-10312, 04/25/2023,
                Case 5:18-cr-00258-EJD      ID: 12702996,
                                         Document   1271 DktEntry:  36-12, Page
                                                          Filed 01/18/22   Page 218
                                                                                219 of
                                                                                    of 227
                                                                                       228
                    BURD DIRECT BY MR. LEACH                                             2992


02:50:52    1       A.    YES.

02:50:53    2       Q.    WHY WOULD THAT HAVE SURPRISED YOU?

02:50:55    3       A.    BECAUSE I THOUGHT THE VALIDATION HAD TAKEN PLACE MUCH

02:50:58    4       EARLIER.

02:50:59    5       Q.    OKAY.   DID MS. HOLMES EVER TELL YOU THAT THERANOS WAS

02:51:03    6       USING ONLY FDA APPROVED MACHINES AND FDA APPROVED TESTS IN THE

02:51:07    7       CLIA LAB IN THIS 2012 TIME PERIOD?

02:51:10    8       A.    I'M NOT SURE I UNDERSTAND THE QUESTION.         ARE YOU -- ARE

02:51:14    9       YOU ASKING IF THEY'RE USING MACHINES THAT THEY DIDN'T DEVELOP?

02:51:18   10       Q.    YES.

02:51:18   11       A.    THAT'S A LITTLE COMPLICATED.

02:51:27   12       Q.    LET ME ASK --

02:51:28   13       A.    I CAN ANSWER IT.

02:51:32   14             WE WANTED THEM TO PUT A LAB ON CAMPUS SO WE COULD HAVE

02:51:35   15      REAL TIME, YOU KNOW, EXPERIENCE, AND WE THOUGHT THAT LAB WAS

02:51:40   16      GOING TO BE A MINI LAB.

02:51:43   17             AND THEN ELIZABETH EXPRESSED CONCERN ABOUT SECRECY BECAUSE

02:51:47   18      ONLY SAFEWAY EMPLOYEES WOULD BE USING THIS LAB.

02:51:51   19             AND SO WE KNEW AT THAT POINT THAT THEY WERE DRAWING BOTH

02:51:56   20      FINGERSTICK WHERE THEY COULD AND FULL VIALS AND THAT THEY WERE,

02:52:02   21      THEY WERE, I THINK, DOING SOME KIND OF VALIDATION, AND I THINK

02:52:05   22      IT WAS DESCRIBED MAYBE AS, YOU KNOW, REFINING.          OKAY?

02:52:09   23             AND SO SOME OF THOSE VIALS I BELIEVE WERE USED TO CREATE A

02:52:15   24      NUMBER OF BLOOD SAMPLES TO MAKE SURE YOU GOT CONSISTENT -- I

02:52:20   25      CONSIDERED IT AS A CALIBRATION PROCESS.



                                         UNITED STATES COURT REPORTERS
                Case: 22-10312, 04/25/2023,
                Case 5:18-cr-00258-EJD      ID: 12702996,
                                         Document   1271 DktEntry:  36-12, Page
                                                          Filed 01/18/22   Page 219
                                                                                220 of
                                                                                    of 227
                                                                                       228
                    BURD DIRECT BY MR. LEACH                                             2993


02:52:23    1             AND WE ALSO KNEW THAT THEY WERE SENDING SOME OF THOSE OUT

02:52:27    2      TO OTHER LABS.

02:52:30    3       Q.    SO LET ME TRY TO UNPACK THAT A LITTLE BIT.

02:52:33    4             AT SOME POINT DID SAFEWAY REQUEST FOR SOME FORM OF PILOT

02:52:38    5      TO BE DONE ON ITS CAMPUS TO TEST THE THERANOS PROCESS?

02:52:42    6       A.    YES.

02:52:42    7       Q.    TELL US ABOUT THAT, PLEASE.

02:52:43    8       A.    WELL, WE WERE FAR INTO THIS THING AND WE'D NEVER REALLY

02:52:50    9       SEEN THE BOX WORK.      SO WE HAD A WELLNESS CENTER ON CAMPUS.           WE

02:52:56   10       HAD NURSES ON CAMPUS.      AND SO THAT BUILDING WAS SEPARATED FROM

02:53:01   11       THE MAIN OFFICE, SO WE THOUGHT IT WAS A PERFECT PLACE TO PUT

02:53:05   12       THIS LAB.

02:53:08   13             AND INITIALLY I THOUGHT WE WERE GOING TO GET THE REAL MINI

02:53:13   14      LAB, AND THEN I WAS TOLD, NO, WE'RE NOT GOING TO GET THE NEW

02:53:16   15      MINI LAB, WE'LL CONTINUE TO DO THOSE ANALYTICS DOWN AT

02:53:21   16      THERANOS.

02:53:21   17       Q.    OKAY.   AND I GUESS MY QUESTION WAS, DID MS. HOLMES EVER

02:53:28   18       TELL YOU THAT THE ONLY MACHINES THEY WERE USING IN THE CLIA LAB

02:53:31   19       WERE FDA APPROVED MACHINES IN THIS TIME PERIOD?

02:53:35   20       A.    SEE, I'M NOT SURE WHAT AN FDA APPROVED MACHINE IS, SO I

02:53:42   21       STRUGGLE WITH THAT QUESTION.

02:53:44   22             ARE YOU -- IF YOU'RE SAYING THEY'RE ONLY USING THE CLIA

02:53:52   23      WAVE MACHINES THAT THEY DEVELOPED THEMSELVES, IF THAT'S THE

02:53:54   24      QUESTION?

02:53:55   25       Q.    LET ME ASK A BETTER QUESTION.       WHEN YOU ENVISIONED WHAT



                                         UNITED STATES COURT REPORTERS
                Case: 22-10312, 04/25/2023,
                Case 5:18-cr-00258-EJD      ID: 12702996,
                                         Document   1271 DktEntry:  36-12, Page
                                                          Filed 01/18/22   Page 220
                                                                                221 of
                                                                                    of 227
                                                                                       228
                    BURD DIRECT BY MR. LEACH                                             2994


02:53:58    1       WAS HAPPENING IN THE CLIA LAB, DID YOU ENVISION THERANOS USING

02:54:01    2       THE MINI LAB DEVICES THAT HAD BEEN SHOWN TO YOU?

02:54:04    3       A.    YES.

02:54:05    4       Q.    AND IN 2012, WOULD IT SURPRISE YOU THAT NO MINI LAB WAS

02:54:13    5       USED IN THE CLIA LAB IN 2012?

02:54:15    6       A.    THAT NO MINI LAB?      YES.

02:54:20    7       Q.    AND WHY IS THAT?

02:54:21    8       A.    BECAUSE I THOUGHT THEY WERE USING PREDOMINANTLY THEIR MINI

02:54:28    9       LAB, BUT THAT THEY WERE, YOU KNOW, CALIBRATING THE MACHINE.              SO

02:54:33   10       IT DIDN'T BOTHER ME THAT THEY MIGHT HAVE SOME STANDARD

02:54:36   11       EQUIPMENT, YOU KNOW, AS A CALIBRATION DEVICE.

02:54:42   12             BUT IF THEY WERE USING OTHER MACHINES ONLY, THEN ALL WE

02:54:49   13      WERE TESTING WAS THE PHLEBOTOMIST'S ABILITY TO PRICK A FINGER

02:54:54   14      AND DRAW BLOOD, AND WE WANTED TO TEST THE TECHNOLOGY.

02:54:57   15       Q.    OKAY.    LET ME DRAW YOUR ATTENTION, PLEASE, TO WHAT HAS

02:55:04   16       BEEN MARKED AS EXHIBIT 718.

02:55:24   17             AND I BELIEVE THERE'S A STIPULATION FOR 718.         I OFFER IT

02:55:28   18      INTO EVIDENCE.

02:55:28   19                    MR. DOWNEY:   YES, YOUR HONOR.    NO OBJECTION.

02:55:30   20                    THE COURT:    IT'S ADMITTED.   IT MAY BE PUBLISHED.

02:55:33   21             (GOVERNMENT'S EXHIBIT 718 WAS ADMITTED IN EVIDENCE.)

02:55:34   22       BY MR. LEACH:

02:55:36   23       Q.    MR. BURD, DOES THIS APPEAR TO BE AN EMAIL EXCHANGE BETWEEN

02:55:39   24       YOU AND MS. HOLMES IN OR AROUND DECEMBER 18TH, 2012?

02:55:43   25       A.    YES.



                                         UNITED STATES COURT REPORTERS
                Case: 22-10312, 04/25/2023,
                Case 5:18-cr-00258-EJD      ID: 12702996,
                                         Document   1271 DktEntry:  36-12, Page
                                                          Filed 01/18/22   Page 221
                                                                                222 of
                                                                                    of 227
                                                                                       228
                    BURD DIRECT BY MR. LEACH                                             2995


02:55:43    1       Q.    OKAY.   AND THE SUBJECT IS PHONE CALL TO DISCUSS SCHEDULE.

02:55:47    2             DO YOU SEE THAT?

02:55:48    3       A.    YES.

02:55:49    4       Q.    AND AT THIS POINT IN TIME, ARE YOU WORKING HARD TO TRY TO

02:55:55    5       GET THE SAFEWAY LAUNCH HAPPENING?

02:55:57    6       A.    YES.

02:55:58    7       Q.    I DRAW YOUR ATTENTION TO THE SECOND PARAGRAPH FROM THE

02:56:04    8       BOTTOM.    DO YOU SEE WHERE IT SAYS, "WITHOUT RECOUNTING ALL THE

02:56:09    9       MISSED DEADLINES, IT IS CRYSTAL CLEAR THAT EITHER THE MOST

02:56:12   10       RECENTLY COMMITTED DATES (SEPTEMBER 24TH AND LATER

02:56:17   11       DECEMBER 6TH) WERE FAR TOO AMBITIOUS, OR THERE HAVE BEEN SOME

02:56:20   12       OVERWHELMING SURPRISES ALONG THE WAY.         I ALSO WORRY THAT THE

02:56:24   13       DEMANDS OF YOUR CORE BUSINESS OR THE NEWLY ACQUIRED DOD

02:56:28   14       BUSINESS ARE CONSUMING RESOURCES THAT WOULD OTHERWISE BE

02:56:30   15       COMMITTED TO LAUNCH."

02:56:32   16             DO YOU SEE THAT LANGUAGE?

02:56:33   17       A.    I DO.

02:56:34   18       Q.    WHAT DID YOU MEAN BY "THE NEWLY ACQUIRED DOD BUSINESS"?

02:56:39   19       A.    YOU KNOW, AS I KEPT PRESSING, YOU KNOW, FOR LAUNCH, ALWAYS

02:56:47   20       WANTING TO MAKE SURE THAT WE HAD NAILED EVERYTHING DOWN, I KEPT

02:56:52   21       ASKING WHY, WHAT ARE THE OBSTACLES, WHAT'S IN THE WAY?

02:56:55   22             AND ON -- IT WAS EITHER A PHONE CALL OR AN EMAIL, SHE TOLD

02:56:59   23       ME THAT THEY HAD BEEN DOING SOME WORK FOR THE DEPARTMENT OF

02:57:03   24       DEFENSE, THAT HER DEVICE WAS IN MEDEVAC UNITS AROUND THE WORLD

02:57:11   25       IN PLACES THAT, YOU KNOW, A LOT OF AMERICANS DIDN'T EVEN KNOW



                                         UNITED STATES COURT REPORTERS
                Case: 22-10312, 04/25/2023,
                Case 5:18-cr-00258-EJD      ID: 12702996,
                                         Document   1271 DktEntry:  36-12, Page
                                                          Filed 01/18/22   Page 222
                                                                                223 of
                                                                                    of 227
                                                                                       228
                    BURD DIRECT BY MR. LEACH                                             2996


02:57:15    1       WE WERE.

02:57:17    2             AND WHEN I THOUGHT ABOUT THE COMPOSITION OF HER BOARD,

02:57:22    3      THAT WASN'T THAT -- IT WAS DISAPPOINTING, BUT IT WASN'T THAT

02:57:25    4      SURPRISING.

02:57:28    5       Q.    WHEN -- YOU MENTIONED SOMETHING ABOUT A MEDEVAC UNIT.

02:57:35    6       A.    YES.

02:57:36    7       Q.    WHAT DO YOU MEAN BY THAT?

02:57:37    8       A.    THAT MIGHT NOT BE THE RIGHT TERMINOLOGY HERE.

02:57:40    9             BUT, YOU KNOW, THAT'S WHERE YOU HAVE A -- YOU HAVE MEDICAL

02:57:45   10       CAPABILITY IN THE FIELD OF BATTLE THAT IS DEALING WITH INJURIES

02:57:54   11       WHEN PEOPLE THAT HAVE BEEN SHOT, AND OFTEN INFECTION IN THAT

02:57:59   12       FIELD IS A BIG DEAL.

02:58:01   13             AND SO TO BE ABLE TO, IN 20 MINUTES, DETERMINE THE KIND OF

02:58:05   14      INFECTION COULD SAVE SOMEBODY'S LIFE.

02:58:09   15             AND SO IT MADE SENSE THAT THE DOD WOULD WANT THIS UNIT IF

02:58:14   16      IT COULD DO THAT.

02:58:15   17             AND THEN THERE WERE GENERALS AND ADMIRALS AND OTHERS ON

02:58:20   18      THE BOARD, SO, YOU KNOW, I DIDN'T LIKE THE IDEA -- SHE SAID

02:58:24   19      THAT, TRUST ME, YOU KNOW, STRATEGICALLY, THIS WILL HAVE VALUE

02:58:28   20      TO US.

02:58:29   21             I THINK PRESUMABLY SOME KIND OF BRANDING VALUE WHEN YOU

02:58:33   22      COULD MAKE IT AVAILABLE.

02:58:34   23       Q.    IN THIS CONTEXT, DID MS. HOLMES TELL YOU THAT THERANOS

02:58:38   24       DEVICES WERE BEING USED ON THE BATTLEFIELD?

02:58:41   25       A.    I DON'T KNOW ABOUT THE WORD BATTLEFIELD BECAUSE, YOU KNOW,



                                         UNITED STATES COURT REPORTERS
                Case: 22-10312, 04/25/2023,
                Case 5:18-cr-00258-EJD      ID: 12702996,
                                         Document   1271 DktEntry:  36-12, Page
                                                          Filed 01/18/22   Page 223
                                                                                224 of
                                                                                    of 227
                                                                                       228
                    BURD DIRECT BY MR. LEACH                                             2997


02:58:47    1       WE'VE HAD THESE SKIRMISHES, YOU KNOW.         BUT YOU CAN THINK OF

02:58:53    2       IRAQ OR AFGHANISTAN OR SOMETHING LIKE THAT.

02:58:55    3              BUT I'M NOT SURE THAT BATTLEFIELD IS THE RIGHT

02:58:59    4      DESCRIPTION, YOU KNOW, OF THAT.

02:59:00    5       Q.     LET ME ASK A BETTER QUESTION.      WHAT -- DESCRIBE THE

02:59:03    6       SUBSTANCE OF WHAT MS. HOLMES SAID TO YOU IN CONNECTION WITH THE

02:59:07    7       DOD.

02:59:07    8       A.     THE SUBSTANCE WAS WHERE THERE'S A MEDICAL NEED IN THE

02:59:11    9       MILITARY IN A REMOTE OUTPOST WHERE LABS ARE NOT AVAILABLE, WE

02:59:21   10       HAVE THE PERFECT SOLUTION.

02:59:22   11       Q.     OKAY.   AND SHE WAS USING THIS AS AN EXPLANATION FOR WHY

02:59:25   12       THERANOS WAS UNABLE TO GO FORWARD WITH SAFEWAY?

02:59:27   13       A.     THAT HAD NOT YET PULLED THE PLUG ON GOING FORWARD.

02:59:32   14       Q.     WITH SAFEWAY?

02:59:32   15       A.     WITH SAFEWAY.

02:59:33   16       Q.     OKAY.   AND DID SHE MAKE REFERENCE TO A MEDEVAC HELICOPTER?

02:59:37   17       A.     YES.

02:59:38   18       Q.     OKAY.   WHAT DID SHE SAY?

02:59:40   19       A.     I THINK SHE USED THE TERM THAT THEY WERE IN MEDEVAC

02:59:45   20       HELICOPTERS, SO THAT'S EVEN CLOSER THAN, YOU KNOW, HAVING A,

02:59:51   21       YOU KNOW, FACILITY SOMEWHERE IN AFGHANISTAN.

02:59:54   22       Q.     DID SHE TELL YOU THAT THIS INFORMATION COULD BE WIDELY

02:59:59   23       SHARED OR DISTRIBUTED WITHIN SAFEWAY?

03:00:02   24       A.     SHE SAID IT WAS, YOU KNOW, VERY CONFIDENTIAL.

03:00:05   25       Q.     AND AT THE TIME, WAS THIS EXPLANATION SATISFACTORY TO YOU?



                                         UNITED STATES COURT REPORTERS
                Case: 22-10312, 04/25/2023,
                Case 5:18-cr-00258-EJD      ID: 12702996,
                                         Document   1271 DktEntry:  36-12, Page
                                                          Filed 01/18/22   Page 224
                                                                                225 of
                                                                                    of 227
                                                                                       228
                    BURD DIRECT BY MR. LEACH                                             2998


03:00:14    1       A.    THAT KIND OF IMPLIES I WAS HAPPY.

03:00:22    2             I WAS BOTHERED BY IT.      I WAS DISAPPOINTED.

03:00:28    3             IT SEEMED PLAUSIBLE.       IT JUST SEEMED LIKE ONE MORE DELAY

03:00:32    4      FOR US.

03:00:32    5       Q.    YOU WERE BOTHERED BY THE DELAY, BUT THE EXPLANATION AT THE

03:00:35    6       TIME MADE SENSE TO YOU?      IS THAT FAIR?

03:00:37    7       A.    IT MADE -- IT MADE SENSE.

03:00:39    8                  MR. LEACH:    OKAY.

03:00:40    9             YOUR HONOR, I'M MINDFUL OF THE TIME.        THIS MIGHT BE A GOOD

03:00:43   10      TIME FOR A BREAK.

03:00:43   11                  THE COURT:    ALL RIGHT.    LET'S DO THAT.

03:00:45   12             LADIES AND GENTLEMEN, I PROMISED YOU WE'D BREAK AT 3:00

03:00:49   13      TODAY, 3:00 TODAY.

03:00:50   14             WE'LL HAVE TO RESUME TUESDAY NEXT.        TUESDAY AT 9:00 A.M.,

03:00:54   15      COUNSEL, WE'LL RESUME.

03:00:56   16             SO, SIR, YOU'LL HAVE TO COME BACK TUESDAY NEXT AT

03:01:00   17      9:00 A.M. TO CONTINUE YOUR EXAMINATION.

03:01:02   18                  THE WITNESS:     SURE.

03:01:02   19                  THE COURT:    THANK YOU.

03:01:03   20             LADIES AND GENTLEMEN, IT'S A LONG WEEKEND, AND I JUST WANT

03:01:06   21       TO REMIND YOU AGAIN OF THE ADMONITION.

03:01:10   22             PLEASE DO NOT DO ANY INVESTIGATION ABOUT ANYONE, ANYTHING

03:01:14   23       INVOLVED IN THIS CASE.      DO NOT VISIT ANY LOCATIONS.       AND

03:01:18   24       PLEASE, AS BEST YOU CAN, AVOID ANY SOCIAL MEDIA, ANY RADIO,

03:01:25   25       TELEVISION, NEWSPAPER, ANYTHING THAT TOUCHES ON THIS ARTICLE.



                                         UNITED STATES COURT REPORTERS
                Case: 22-10312, 04/25/2023,
                Case 5:18-cr-00258-EJD      ID: 12702996,
                                         Document   1271 DktEntry:  36-12, Page
                                                          Filed 01/18/22   Page 225
                                                                                226 of
                                                                                    of 227
                                                                                       228
                                                                                         2999


03:01:27    1             SHOULD YOU INADVERTENTLY COME ACROSS SOMETHING, PLEASE

03:01:30    2       TURN THAT, DISABLE THE DEVICE, TURN AWAY, DON'T OPEN THE PAGE

03:01:33    3       OF THE NEWSPAPER.     I DON'T REMEMBER HOW MANY OF YOU READ HARD

03:01:36    4       COPY NEWSPAPERS AS OPPOSED TO YOUR DEVICES, BUT PLEASE DON'T

03:01:40    5       ENGAGE THAT AT ALL.

03:01:43    6             IF DO YOU COME ACROSS THAT, WE'LL TALK ABOUT IT TUESDAY

03:01:46    7      WHEN I ASK YOU WHETHER OR NOT ANY OF THESE THINGS HAVE

03:01:49    8      HAPPENED.

03:01:50    9             THANK YOU FOR THAT.

03:01:51   10             ENJOY YOUR LONG WEEKEND.      BE SAFE, BE HEALTHY, AND WE'LL

03:01:55   11      SEE YOU BACK NEXT WEEK.      THANK YOU.

03:02:07   12                   THE WITNESS:    EXCUSE ME.   I CAN LEAVE THIS RIGHT

03:02:09   13       HERE?

03:02:09   14                   THE COURT:   YES, JUST LEAVE EVERYTHING THERE, SIR.

03:02:13   15                   THE WITNESS:    THANK YOU.

03:02:14   16                   THE COURT:   YOU'RE WELCOME.

03:02:19   17             (JURY OUT AT 3:02 P.M.)

03:02:25   18                   THE COURT:   AND YOU CAN STAND DOWN, SIR.       THANK YOU.

03:02:27   19                   THE WITNESS:    OKAY.   THANK YOU.

03:02:38   20                   THE COURT:   PLEASE BE SEATED.

03:02:53   21             ALL RIGHT.    THE RECORD SHOULD REFLECT THAT THE JURY -- OUR

03:02:56   22      JURY HAS LEFT FOR THE WEEKEND.       THE WITNESS HAS LEFT THE

03:02:59   23      COURTROOM.    ALL COUNSEL AND THE DEFENDANT ARE PRESENT.

03:03:01   24             ANYTHING FURTHER BEFORE WE BREAK FROM THE GOVERNMENT?

03:03:04   25                   MR. LEACH:   NO, YOUR HONOR.



                                         UNITED STATES COURT REPORTERS
                Case: 22-10312, 04/25/2023,
                Case 5:18-cr-00258-EJD      ID: 12702996,
                                         Document   1271 DktEntry:  36-12, Page
                                                          Filed 01/18/22   Page 226
                                                                                227 of
                                                                                    of 227
                                                                                       228
                                                                                         3000


03:03:08    1                  MR. DOWNEY:     NOTHING FROM THE DEFENSE, YOUR HONOR.

03:03:09    2                  THE COURT:     ALL RIGHT.   THANK YOU.

03:03:10    3             ENJOY YOUR LONG WEEKEND, AND I HOPE YOU CAN SEE FAMILY

03:03:14    4       AGAIN PERHAPS OVER THE WEEKEND.        ENJOY.   WE'LL SEE YOU TUESDAY

03:03:18    5       NEXT.    THANK YOU.

03:03:20    6                  MR. DOWNEY:     THANK YOU, YOUR HONOR.

03:03:20    7                  MR. LEACH:     THANK YOU, YOUR HONOR.

03:03:21    8                  THE CLERK:     COURT IS ADJOURNED.

03:03:23    9             (THE EVENING RECESS WAS TAKEN AT 3:03 P.M.)

           10

           11

           12

           13

           14

           15

           16

           17

           18

           19

           20

           21

           22

           23

           24

           25



                                          UNITED STATES COURT REPORTERS
     Case: 22-10312, 04/25/2023,
     Case 5:18-cr-00258-EJD      ID: 12702996,
                              Document   1271 DktEntry:  36-12, Page
                                               Filed 01/18/22   Page 227
                                                                     228 of
                                                                         of 227
                                                                            228


 1

 2

 3                              CERTIFICATE OF REPORTERS

 4

 5

 6

 7             WE, THE UNDERSIGNED OFFICIAL COURT REPORTERS OF THE

 8       UNITED STATES DISTRICT COURT FOR THE NORTHERN DISTRICT OF

 9       CALIFORNIA, 280 SOUTH FIRST STREET, SAN JOSE, CALIFORNIA, DO

10       HEREBY CERTIFY:

11             THAT THE FOREGOING TRANSCRIPT, CERTIFICATE INCLUSIVE, IS

12       A CORRECT TRANSCRIPT FROM THE RECORD OF PROCEEDINGS IN THE

13       ABOVE-ENTITLED MATTER.

14

15
                                     ______________________________
16                                   IRENE RODRIGUEZ, CSR, CRR
                                     CERTIFICATE NUMBER 8076
17

18
                                     _______________________________
19                                   LEE-ANNE SHORTRIDGE, CSR, CRR
                                     CERTIFICATE NUMBER 9595
20

21                                   DATED:   OCTOBER 6, 2021

22

23

24

25



                              UNITED STATES COURT REPORTERS
